 Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 1 of 382



                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


DAMIEN GUEDES,
             et al.


              Plaintiffs,
                                       Case No. 1:18-cv-02988-DLF
     v.                                The Hon. Judge Friedrich

BUREAU OF ALCOHOL, TOBACCO
FIREARMS, AND EXPLOSIVES,
               et al.


              Defendants.




DAVID CODREA,
                et al.


              Plaintiffs,
                                       Case No. 1:18-cv-03086-DLF
     v.                                The Hon. Judge Friedrich

BUREAU OF ALCOHOL, TOBACCO
FIREARMS, AND EXPLOSIVES,
               et al.


              Defendants.


                               EXHIBIT 1

                            Selected Comments
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 2 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                             ID: ATF-2018-0002-31210
                                                               Tracking Number: 1k2-93f3-s09b
For related information, Open Docket Folder

                                                                Document Information
                                                              Date Posted:
 Comment                                                      May 29, 2018
                                                              RIN:
 See Attached                                                 1140-AA52

                                                              Show More Details

 Attachments (4)
                                                                Submitter Information
                                                              Submitter Name:
          Email 013 (Historic Arms) rec 5-29-18               Len Savage III
          View Attachment:         + View more information    Organization Name:
                                                              Historic Arms LLC
            Abstract:
          Email
            4 Parts013  (Historic
                   to Document-- totalArms)
                                      66 pagesrec 5-29-18
          - Part2
          View Attachment:


          Email 013 (Historic Arms) rec 5-29-18
          - Part3
          View Attachment:


          Email 013 (Historic Arms) rec 5-29-18
          - Part4
          View Attachment:




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 0001
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 3 of 382




                        LEN SAVAGE, PRESIDENT

                       t1i~torie '(Irm~ .b.b.



                                                706-675-0287 Home
                                                706-675-0818 Shop


      Analysis and commentary regarding: DOCKET NUMBER: ATF 2017R-22
                                         &

   BUMP- STOCK -TYPE- DEVIC ES
ORIGIN

Why was the bump stock invented in the first place? The answer is that they would not
exist if the government had not effectively "banned" machineguns on May 19, 1986 with
implementation of the Hughes amendment of the Firearms Owners Protection Act.

A "bump-stock-type-device" is a direct result of the government banning something.
With the supply of citizen legal machineguns fixed, demand grew with the population
and that has caused prices of these "transferable" machineguns to skyrocket in price.

Prices drove the market into looking for an alternative. Simulating "full auto fire" with a
multitude of products that claim to increase the rate of fire had a ready made market
created by the government.

In most cases the product is more of a parlor trick than anything else. You do not hear of
any law enforcement agency or foreign military fielding them.

OPERATION

How does a bump stock work? A bump stock can do NOTHING without the skill and
coordination of the shooter. A specific skill based shooting technique called "bump
firing" must be utilized.

The United States Department of Justice on July 27, 2017 explained the operation of
bump-stock-type-devices to US district courts as:

       "Bump firing" is the process of using the recoil of a semiautomatic firearm to
       fire in rapid succession, simulating the effect of an automatic firearm when
       preformed with a high level of skill and precision by the shooter. Bump


Page 11

                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                    Ex. 1 Page 0002
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 4 of 382



          firing requires the shooter to manually and simultaneously pull and push the
          firearm in order for it to continue firing.

 (Case 3:16-cv-00243-RLY-MPB Document 28, Page 21) complete document attached

All firearms have a recoil impulse because in order to propel a projectile out the barrel,
an equal force in the opposite direction is also generated. A semiautomatic fireann, due
to its mechanical nature, has the ability to generate this recoil impulse every time the
trigger is activated.

This cycle of mechanical events that stait with the trigger activation and end with a new
round in the chamber ready to begin again is the cycle rate or how fast the firearm can
physically complete cycles (or rounds fired).

The fact is any semiautomatic AR-15 (or AK-4 7 for that matter) can fire as fast as a
machinegun version. Their cyclic rates are identical to the machinegun version. Their
essential operating mechanisms are identical, same ammo, same mags, same
reciprocating mass. The only small physical difference is the machineguns described
have a mechanical lever that "automatically" starts the new cycle as soon as the previous
cycle ends.

Some semiautomatic firearms can even fire faster than the full auto version because the
machinegun version having some form of a rate reducing mechanism.

ALL semiautomatic firearms can be "bump fired" regardless of any "bump-type-stock-
device" installed or not. It is a matter of skill and coordination to find the "rhythm", or
cyclic rate of the firearm at hand and the correct amount of counterforce to be applied and
when to apply them.

The only "self acting and self regulating" force of a bump-type-stock-device is provided
by the shooter and the firearm, none is provided by the stock. Basketballs don't dribble
automatically even if the skills of most the NBA players make it appear so.

A bump-type-stock-device allows a small amount of linear motion of the firearm frame,
allowing for safe control of the fireann while utilizing the bump fire shooting technique.
There is less risk of loss of control of the firearm when using bump-type-stock-device vs.
using the shooting technique without one.

Put bluntly, bump-stock-type-devices make using the bump fire shooting technique
safer for the shooter and those around the shooter.

ADMINISTRATIVE RECORD

Bill Akin seeking to fill a market need invented, patented, and then produced the Akin's
Accelerator. In his quest to simplify or make the bump fire shooting technique easier,
though similar to a bump-stock-type-device it was different in two ways.


Page 12

                                                                      Guedes v. ATF / Codrea v. ATF
                                                                                   Ex. 1 Page 0003
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 5 of 382




1.) No required bump fire skills or technique to function.
2.) Reduced shooter input required to function (no coordination required).

The ATF initially agreed with Mr. Akin that indeed the trigger of the firearm was being
activated with each shot. Mr Akin after securing his patent went into business making
the "Akins Accelerator" stock for the Ruger 10/22 rifle.

The .22 rim fire cartridge made the real skill in the Akins Accelerator the tuning process
involved in adjusting the operating spring that regulated his device. They were tricky to
set up to work, (lots of trial and error), but once set up ran like a sewing machine.

When the ATF reclassified his product Mr. Akins sought iudicial relief and took the ATF
and DOJ to court over the issue. The case went to the 11 t circuit court of appeals. The
Department of Justice documented through court proceedings just how much "extensive
legal analysis" was conducted by them on the subject ofmachineguns and bump-stock-
type-devices.

Mr. Akin researched ways to salvage his patent and hopefully come up with a lawful
replacement product that would pass ATF examination and classification.

I was a member of Mr. Akins legal team and my company later helped him research and
develop his compliant replacement product. 20% of the DOJ cited A TF classification
letters on "Bump-Stock-Type-Devices" are addressed to me. I have no commercial
interest in bump-stock-type devices other than the research and development completed.

The administrative record, such that it is, is VERY clear.

The basic premise of all current ATF classification letters as well as court pleadings by
ATF and DOJ to date are that a device not omit the required skill or the shooters required
input in order to achieve "bump fire".

The Department of Justice on September 13, 2017 on why a bump-stock-type-device is
NOT a machinegun:

       "Because of the manual, skill based methods required to operate a bump fire
       device" (case3:16-cv-00243-RLY-MPB, Document 33, page 8) complete
       document attached

The above policy is based on logic and science and is therefore demonstrable with a
simple scientific test.

ATF RULING 82-8 proves that DOJ knows that "grandfathering" a device when they
had; 1.) Previously declared the device to be lawful, 2.) Then later declared the device to
be a machinegun, as being perfectly lawful to possess if made before the ruling date.
Complete document attached


Page 13

                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 0004
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 6 of 382



Complete document attached

Furthermore on September 10, 2009, ATF experts were asked about the firearms
"grandfathered" in ATF Ruling 82-8 under oath. The ATF's official position is that the
firearms are machineguns, do not require registration, nor do they require a tax be paid on
them, and the ATF is aware they are in circulation (approximately 50,000), but are no
longer manufactured. (US vs. One Historic Anns Model54RCCS Case 1:09-CV-00192-
GET). Relevant document page attached

The Department of Justice cun·ently claims that an ordinary shoe string can be a
machine gun if installed on a semiautomatic firearm. There are documents dating from
1996, 2004, and 2007 from ATF on this issue. ATF letter to Brian Blakely June 25,
2007:
       "When the string is added to a semiautomatic firearm as you proposed in
       order to increase the cycling rate of that rifle, the result is a firearm that fires
       automatically and consequently would be classified as a machinegun"
       Complete document attached

It is significant that the DOJ claims that both shoe strings and bump-stock-type-devices
convert semiautomatic firearms into machineguns, yet has chosen NOT to regulate them
in any way, let alone ban all shoe strings and demand their forfeiture, destruction, or ban
further manufacture.

The documents prove that DOJ can indeed grandfather items that purportedly convert a
semiautomatic firearm into a machinegun as they have with the shoe string issue.

BUMP-STOCK-TYPE-DEVICE CRIME

Just how many crimes are committed using "'Bump-Stock-Type-Devices" anyway?
The only alleged use of a "bump-type-stock-device" during a crime was the Las Vegas
shooting incident on October 1, 2017.

Both ATF and FBI were specifically asked ifthey had ANY records of a "bump-type-
stock-device" being used in a crime on April9, 2018 via a Freedom Oflnformation Act
(FOIA) request. Complete document attached.

To date neither ATF nor FBI will confirm ANY crime being committed (including the
Oct 1, 2017 Las Vegas incident). In fact ATF Firearms Technology did not even receive
the firearms from the Oct. 1, 2017 shooting incident until April ofthis year.

No ATF "Report of Technical Examination" (ATF form 3311.2) has been released for
any of the firearms used in the incident. For all we know the firearms could have been a
machinegun with a "bump-stock-type-device" installed to throw off unwanted attention
from law enforcement as a ruse or decoy for reports of automatic gun fire.




Page 14

                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                    Ex. 1 Page 0005
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 7 of 382



There simply are no other known crimes committed with "bump-stock-type-devices".
No known military uses "bump-stock-type-devices, nor does any known law enforcement
agency.



 THE NPRM ENFORCEMENT SCHEME FATALLY FLAWED

The NPRM does not address several serious issues.

    1. The change in policy asks for a willing suspension of disbelief of basic science
       and physics.

    2. The change in policy will put ATF experts at risk of being impeached as expert
       witnesses.

    3. The summary of the NPRM is filled with demonstrably false or misleading
    statements that are disputed by DOJ's own experts at ATF.

ATF expert testimony in trials and in classification letters conflict factually with the
NPRM when it states on page 19:

"Because these bump stock type devices allow multiple rounds to be fired when the
shooter maintains pressure on the extension ledge of the device, they are a
machinegun".

The problem with that statement is that it is patently false.

Furthermore, it easily demonstrated as a false statement.

If that where all it took to make a bump-stock-type-device to function as the DOJ claims
a simple scientific test could be given to determine if the device is really self activating
and self regulating or whether there is coordinated skilled input :from the shooter:

 .... please demonstrate firing a bump type stock device equipped firearm using only
 your trigger band as described, using no skilled coordinated input from your other
 hand. (It can't be done as it takes two hands, skill, and coordination in order to
function.)

 No doubt such a requested demonstration would be part of any court proceedings should
this proposed rule be implemented and ultimately prosecuted.

One could point out the United States Department of Justice knows of this test, as they
certainly are familiar with the results of such a test:




Page 15

                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 0006
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 8 of 382



          "Bump firing" is the process of using the recoil of a semiautomatic firearm to
          fire in rapid succession, simulating the effect of an automatic firearm when
          preformed with a high level of skill and precision by the shooter. Bump
          firing requires the shooter to manually and simultaneously pull and push the
          firearm in order for it to continue firing.

(Case 3:16-cv-00243-RLY-MPB Document 28, Page 2l}Complete document attached.

If such a device were truly self acting and self regulating as the Department of Justice
now claims, then a bump-stock-type-device equipped firearm should fire as a
machinegun with no coordinated skilled effort from any other body prut (which is
impossible).

This same "coordinated input test" applied to an Akins Accelerator equipped
firearm would fire and operate with just one hand providing input and no coordinated
skilled effort from any other body part.

This same "coordinated input test" applied to the "shoe string" equipped firearm
would fire and operate with just one hand providing input and no coordinated skilled
effort from any other body part.

The document control number of every ATF classification letter contains the identity of
person drafting the communication. Furthermore, a simple search for the
"Correspondence Approval and Clearance" (ATF form 9310.3A) associated with any
bump stock letter assuring the item in question is not a firearm under the NFA and GCA
will indentify every person involved in the classification process. Under US v. Brady the
Department of Justice is mandated to providing this information to any future defendant
when they attempt to prosecute anyone on this policy.

The cost of this proposed rule will be the credibility of the ATF firearms expert trying to
explain or defend its preposterous claims under cross examination during some current or
future court case.

The definition of the word arbitrary: "Based on some random choice or personal
whim, rather than any reason or system".

THE SCOPE OF THE NPRM IS OVERLY BROAD DUE TO VAGUE LANGUAGE

The NPRM has descriptive language that is so vague it could be describing hundreds of
thousands of pump shotgun in the US, making each a potential machinegun. As there are
several models of shotguns that operate precisely as stated on page (1) of the NPRM
"firing without additional physical manipulation of the trigger by the shooter"
(There were approximately 500,000 Model37 pump shotguns made by Ithaca alone).

The vague language of the NPRM also describes every semiautomatic firearm made to
date. Because;


Page 16

                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                    Ex. 1 Page 0007
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 9 of 382




          1.) All semiautomatic firearms have the intrinsic ability to "bump fire" and are a
          type of device.

          2.) All semiautomatic firearms are by their very definition both a "self
          regulating", and a "self acting" mechanism.


Rate of fire is not regulated by the NFA or the GCA in any way. DOJ knows that ALL
semiautomatic firearms CAN fire as fast as a machinegun. This is because a
semiautomatic and a machinegun version of the same firearm have the same essential
operating mechanism (other than a few small parts in the trigger assembly).

Bump-stock-type-devices were created as a direct result of government regulation. They
simply would not exist if the purchase price of so called "transferable" machineguns were
not so expensive due to supply being fixed on May 19, 1986.

If the government really wanted bump-stock-type-devices to go away, and they claim
they have the right to reconsider its previous interpretations, then the government would
open the NFRTR to new transferable machineguns.

Nobody would bother with a bump-stock-type-devices and the government would know
precisely where each new machinegun was. 922(o) " .... Or under the authority of'.
The government could choose to simply "authorize" the new registrations.

OR: The Attorney General could simply declare a general amnesty under the NFA any
time he wishes to as long as they are not concurrent (must be separated by one calendar
day).

DOJ has had the power to do both and neither would have required any proposed rule
making.

Claims made by DOJ in the NPRM can only be described as deceptive; they are not
supported by scientific facts or DOJ' s own documents.




                                         Len Savage
                                     Historic Arms LLC
                                       May 25,2018


The documents are attached in the order they are referred to in the text.


Page 17

                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 0008
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 10 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 1 of 26 PageiD #: 153




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   EVANSVILLE DIVISION

 FREEDOM ORDNANCE MFG., INC.,                  )
                                               )
         Plaintiff,                            )
                                               )
 V.                                            ) Case No. 3:16-cv-243-RLY-MPB
                                               )
 THOMAS E. BRANDON, Director,                  )
 Bureau of Alcohol Tobacco Firearms            )
 and Explosives,                               )
                                               )
         Defendant.                            )

      BRIEF IN SUPPORT OF CROSS MOTION FOR SUMMARY JUDGMENT AND IN
         OPPOSITION TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

         Freedom Ordnance Manufacturing, Inc. ("Freedom") is a firearms manufacturer

 headquartered in Chandler, Indiana.    In this case, Freedom challenges a decision by the Bureau

 of Alcohol, Tobacco, Firearms, and Explosives ("ATF") that a device Freedom seeks to

 manufacture and market is a "machinegun" as defmed under the National Firearms Act, 26

 U.S.C. § 5845(b).    ATF's decision is not arbitrary and capricious, but is supported by the

 administrative record.   Based on the foregoing, ATF is entitled to summary judgment.




                                                  1




                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 00009
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 11 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 2 of 26 PageiD #: 154




                      STATEMENT OF MATERIAL FACTS NOT IN DISPUTE 1

         Freedom Ordnance Manufacturing, Inc. ("Freedom") is a federally-licensed firearms

 manufacturer with its principle place of business in Chandler, Indiana.     (Docket No. 1 ~ 2.)

 Freedom designed an Electronic Reset Assist Device ("ERAD") for commercial sale to the

 general public.   (Docket No. 1 ~ 9.)    The purpose of the ERAD, as described by Freedom, is to

 "improve firearm design" to assist the firearm user's "ability to continually pull the trigger in a

 rapid manner when a high rate of fire is desired."    (Administrative Record ("AR") 0025; Patent

 documents.)

         The Firearms and Ammunition Technology Division ("FATD") of ATF, through its

 Firearms Technology Industry Services Branch ("FTISB"), provides expert technical support to

 A TF, other Federal agencies, State and local law enforcement, the firearms industry, Congress,

 and the general public.    ATF, Firearms Ammunition and Technology (20 17), available at

 https://www.atf.gov/firearm s/firearms-and-ammunition- technology.       FTISB is responsible for

 technical determinations concerning types of firearms approved for importation into the United

 States and for rendering opinions regarding the classification of suspected illegal firearms and

 newly designed firearms.     Id.

        There is no requirement in the law or regulations for a manufacturer to seek an A TF

 classification of its product prior to manufacture.   See Bureau of Alcohol, Tobacco, Firearms

 and Explosives, National Firearms Act Handbook 7.2.4 (2017), available at


 1
  As discussed in Legal Background, Section D, the typical Fed. R. Civ. P. 56 standard and
 procedural structure does not apply in an APA review case. Accordingly, the Defendant is not
 required to marshal evidence showing material issues of fact in dispute and the typical
 "Statement of Material Facts Not In Dispute" does not apply, but is offered for factual context.
 Specific sections of the Record are cited in the relevant portions of the Argument section.

                                                   2




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 00010
           Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 12 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 3 of 26 PageiD #: 155




     https://www.atf.gov/flrearms/national-frrearms-act-handbook.          ATF, however, encourages

     firearms manufacturers to submit devices for classification before they are offered for sale to

     ensure that the sale of such devices would not violate the Federal firearms laws and regulations.

     !d.   A TF responds to classification requests with letter rulings that represent "the agency's

     official position concerning the status of the firearms under Federal frrearms laws."        !d. at

     7.2.4.1.

                A.       The November 2015 Submission

                In November 2015, Freedom submitted a request to FTISB to examine a "trigger reset

 device."            (AR 0002; 0005- 17 (photos of submission).)      Freedom submitted a prototype of the

 device, along with correspondence, and a Bushmaster Model XM15-E2S AR-type firearm to be

 used in testing the prototype.         (!d.)

             FTISB closely examined and tested the prototype.          (AR 0003.)   As part of the

 examination, FTISB staff fired an AR-type rifle 2 with the prototype attached.           (Jd.)   FTISB

 staff noted two instances of machinegun function with the prototype device attached.              (!d.)

 Specifically, FTISB found that trigger reset device, when attached to the test weapon, converted

 it into a weapon that frred automatically - "firing more than one shot without manual reloading

 by a single function of the trigger."          (!d.)   Based on the examination and testing conducted,

 FTISB determined that the trigger reset device was a "machinegun" as defined in 26 U.S.C. §

 5845(b), and notified Freedom in a letter dated March 23, 2016.            (AR 0002- 4.)

            B.          The April2016 Submission and October 27,2016 Classification Decision



 FTISB ended up using an A TF AR-type frrearm to field test the prototype device because it
 2

noted a deformity in the Bushmaster Model XM15-E2S AR-type firearm submitted by Freedom.
(AR 0003.)
                                            3




                                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                                Ex. 1 Page 00011
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 13 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 4 of 26 PageiD #: 156




         In April2016, Freedom submitted a new sample prototype of its trigger reset assist

 device (referred to as the "ERAD").      (AR 0001.)    According to Freedom, the new sample

 prototype "is a total redesign" of the initial prototype.   (AR 0001.)     In the submission,

 Freedom included two sample prototypes of the device, along with 9-volt lithium batteries, and

 DVDs showing demonstrations of live firing and disassembly ofthe device.           (Jd.)   Although

 Freedom did not explicitly request a classification from FTISB on its prototype, FTISB treated

 the submission as such because the letter referred back to the Agency's March 23, 2016,

 classification and stated that Freedom "worked very hard to correct" the issues identified in the

 March 23, 2016, letter.   (Jd.)

        On or about September 7, 2016, Freedom submitted a supplemental letter to FTIS~ in

 support of its April2016 request for classification of the ERAD.     (AR 0018- 24.)        The

 supplemental materials included a letter from Freedom's counsel setting forth Freedom' s

 position that the ERAD should not be classified as a machinegun.         (AR 0018- 24.)     The

 supplemental materials also included a sixteen minute demonstration video of the ERAD, and

 written materials, including Freedom's purported patent application for the ERAD.          (AR 0018;

AR0025- 46.)      In the video, Freedom states that the ERAD permits the shooter to discharge

450 to 500 rounds per minute. (AR 0047.)

        FTISB examined that submission and supplemental materials, including the

demonstration video. (AR 0070 -71.) Specifically, FTISB disassembled and examined the

two sample ERAD prototypes. (Id.) FTISB examined each component part of the ERAD and

its design features and characteristics. (AR 0071 -72.) FTISB staff also conducted field

testing of the ERAD by attaching it to and firing from commercially-available Remington and


                                                  4




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 00012
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 14 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 5 of 26 PageiD #: 157




  PMC rifles and a Bushmaster Model XM15-E2S AR-type firearm. (AR 0072.) During the

 test-fire portion of the examination, staff observed machine gun function six times. (Id.)

 Specifically, FTISB personnel observed that a single pull of the ERAD trigger - designated as the

 "primary trigger" - initiated the firing sequence, which caused firing until the trigger finger was

 removed. (AR 0073.)

         By letter dated October 27, 2016, FTISB issued a classification on Freedom's ERAD

 trigger system. (AR 0070 - 82.) In the eleven-page letter, FTISB described (1) the

 composition of the trigger and grip assembly, including its several constituent parts; (2) FTISB's

 process for examining and testing the ERAD trigger system; (3) its observations of the ERAD

 trigger system functionality and the firing effect that was produced when the ERAD was applied

 to a firearm (i.e., the prototype sent by Freedom) and test-fired; and (4) a breakdown of the firing

 sequence with and without the ERAD, including several accompanying illustrations. (Id.)

         FTISB concluded that the ERAD is properly classified as a machinegun. Significantly,

 FTISB found that "the firing sequence is initiated by a pull of the primary trigger and

 perpetuated automatically by shooter's constant pull and the reciprocating, battery-powered

 metal lobe repeatedly forcing the primary trigger forward." (AR 0073.) Thus, "[a] single pull

 of the trigger by the shooter therefore starts a firing sequence in which semiautomatic operation

 is made automatic by an electric motor." (Id.) FTISB found that because the shooter does not

 have to release the trigger for subsequent shots to be fired, the firing sequence is continually

 engaged as long as the shooter maintains constant rearward pressure (a pull) on the trigger and

 the motor continues to push the shooter's finger forward. (Id.) In other words, as long as the

 trigger is depressed, the firearm continues to fire until either the trigger finger is removed, the


                                                   5




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 00013
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 15 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 6 of 26 PageiD #: 158




 firearm malfunctions, or it runs out of ammunition. (!d.)

         FTISB therefore concluded that the installation of an ERAD on a semiautomatic firearm

 causes that firearm to shoot automatically (through the automatic functioning made possible by

 the electric motor), more than one shot, by a single function (a single constant pull) of the

 trigger. FTISB therefore properly concluded that the ERAD is classified as a combination of

 parts designed and intended for use in converting a semiautomatic rifle into a machinegun under

 26 U.S .C. § 5845(b). (AR at 79-80; 80-82.)

                       THE COURT MUST STRIKE AND DISREGARD
                        FREEDOM'S EXTRA-RECOR D EVIDENCE

        Freedom brings its claim under the Administrative Procedure Act, 5 U.S .C. § 704,

 challenging ATF's decision that Freedom ' s ERAD device be classified as a machinegun.

 (Docket No. 1; Docket No. 24.) As discussed further below, review of the agency's decision

 under the AP A is conducted using an arbitrary and capricious standard, and the Court's review is

 limited to the administrative record lodged by the agency. Fla. Power & Light Co. v. Lorion,

 470 U.S . 729, 743-44 (1985) ("The task of the reviewing court is to apply the appropriate APA

 standard of review, 5 U.S .C. § 706, to the agency decision based on the record the agency

 presents to the reviewing court."); Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.

 402, 420 (1971) ("That review is to be based on the full administrative record that was before the

 Secretary at the time he made his decision."), overruled on other grounds by Califano v.

Sanders, 430 U.S. 99 (1977); Highway J Citizens Grp. v. Mineta, 349 F.3d 938, 952 (7th Cir.

2003) ("the reviewing court considers only the administrative record already in existence, not

some new record made initially [in that court].").

        In support of its motion for summary judgment; Freedom submitted the declarations of

                                                 6




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 00014
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 16 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 7 of 26 PageiD #: 159



 Michael Winge (Pl.'s Ex. D, Docket No. 24-4) and Richard Vasquez (Pl.'s Ex. E, Docket No .

 24-5). Mr. Winge is one of the owners ofFreedom Manufacturing. (Pl.'s Ex. D, Docket No.

 24-4.) Several paragraphs of his declaration recount correspondence between FTISB and

 Freedom, which is already contained in the Administrative Record and which is the best

 evidence of its contents. (See Pl. ' s Ex. D, Docket No. 24-4, ~~ 18 - 20.) The remaining

 paragraphs contain Mr. Winge' s opinions about the ERAD and his arguments regarding why the

 ERAD should not be classified as a machinegun. Mr. Winge's opinions are merely that- his

 opinions- and are not part of the official record containing the information upon which A TF

 relied in issuing its decision. The Court should strike and disregard these opinions because the

 Court' s review is limited to the administrative record lodged by ATF. Freedom did not

 challenge or move to supplement that administrative record; therefore, it is complete. Highway

 J Citizens Grp. , 349 F.3d at 952; see also United States Postal Serv. v. Gregory, 534 U.S. 1, 10

 (2001) ("a presumption of regularity attaches to [g]overnment agencies ' actions."); Spiller v.

 Walker, No. A-98-CA-255-SS , 2002 U.S . Dist. Lexis 13194, *26-27 (W.D. Tex. July 19, 2002)

 ("any legal conclusions and post-[ decision] evidence within the declarations and argumentation

 offered simply to contest the agencies' experts are not admissible.").

        Richard Vasquez appears to be a witness who was retained by Freedom to provide his

 expert opinion regarding the ERAD's classification. (Pl. ' s Ex. E, Docket No. 24-5.) Expert

 reports are generally not permitted in an APA review case. Vt. Yankee N uclear Power Corp. v.

NRDC, 435 U.S. 519, 555 (1978) ("the role of a court in reviewing the sufficiency of an

 agency's consideration ... is a limited one, limited both by the time at which the decision was

 made and by the statute mandating review."). Both the Supreme Court and the Seventh Circuit


                                                  7




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 00015
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 17 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 8 of 26 PageiD #: 160




 have emphasized that "the focal point for judicial review should be the administrative record

 already in existence, not some new record made initially in the reviewing court." Camp v. Pitts,

 411 U.S. 138, 142 (1973); Cronin v. USDA, 919 F.2d 439, 443 (7th Cir. 1990) ("it is imprudent

 for the generalist judges of the federal district courts and courts of appeals to consider

 testimonial and documentary evidence bearing on those questions unless the evidence has first

 been presented to and considered by the agency.") ; see also Airport Cmtys Coal. v. Graves, 280

 F. Supp.2d 1207, 1213 (W.D. Wash. 2003) (holding that APA was intended to preclude

 "Monday morning quarterbacking").

        The Vasquez Declaration simply criticizes the agency' s analysis, but under the APA the

 Court must allow the agency to rely on its own experts' opinions even if a plaintiff has other

 expert opinions. Marsh v. Or. Natural Res. Council, 490 U.S . 360, 378 (1989) ("When

 specialists express conflicting views, an agency must have discretion to rely on the reasonable

 opinions of its own qualified experts, even if as an original matter, a court might find contrary

 views more persuasive."). Therefore, even if a so-called "expert" conclusion would contradict

 the agency's expert' s conclusions, this Court can give it no force. Greenpeace Action v.

 Franklin, 14 F.3d 1324, 1335 (9th Cir. 1992).

        Based on the foregoing, the Court must strike and disregard the Winge and Vasquez

 Declarations.

                                    LEGAL BACKGROUND

        A. The National Firearms Act and Gun Control Act

        The National Firearms Act of 1934, 26 U.S.C. Chapter 53, and the Gun Control Act of

 1968, 18 U.S.C. Chapter 44, comprise the relevant federal framework governing the firearm


                                                  8




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 00016
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 18 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 9 of 26 PageiD #: 161



     market.     The Gun Control Act generally makes it unlawful for a person to transfer or possess a

     machinegun manufactured on or after May 19, 1986.         18 U.S.C. § 922(o).   ATF is charged

     with administering and enforcing both the National Firearms Act and the Gun Control Act.           28

     C.F.R. § 0.130(a)(1)-(2).

               18 U.S.C. § 922(a)(4) states that it shall be unlawful-

            (4) for any person, other than a licensed importer, licensed manufacturer, licensed
            dealer, or licensed collector, to transport in interstate or foreign commerce any
            destructive device, machinegun (as defined in section 5845 of the Internal
            Revenue Code of 1986), short-barreled shotgun, or short-barreled rifle, except as
            specifically authorized by the Attorney General consistent with public safety and
            necessity;

            Accordingly, with the limited exception of State, Federal and local law enforcement

 agencies, it is unlawful for any person to transfer or possess a machinegun manufactured on or

 after May 19, 1986.         Moreover, machineguns must be registered in the National Firearms

 Registration and Transfer Record and may only be transferred upon the approval of an

 application.        26 U.S.C. § 5812.    The National Firearms Act makes it unlawful to manufacture

 a machine gun in violation of its provisions. 26 U.S.C. § 5861(f).          Specifically, the National

 Firearms Act requires that a person shall obtain approval from ATF to make a National Firearms

 Act firearm, which includes a machinegun. 26 U.S.C. §§ 5922, 5845(a).           Similarly, licensed

 manufacturers are required to notify A TF by the end of the business day following manufacture

 of a NFA firearm.         26 U.S.C. § 5841(c), 27 CFR 479.103.

           B. The Definition of a Machinegun

           The National Firearms Act, 26 U.S.C. § 5845(b), defmes a machinegun 3 as



 Although more commonly spelled "machine gun," the applicable statutes use the spelling
 3

"machinegun."
                                                       9




                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 00017
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 19 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 10 of 26 PageiD #: 162




          any weapon which shoots, is designed to shoot, or can be readily restored to
          shoot, automatically more than one shot, without manual reloading, by a single
          function of the trigger. The term shall also include the frame or receiver of any
          such weapon, any part designed and intended solely and exclusively, or
          combination of parts designed and intended, for use in converting a weapon into a
          machinegun, and any combination of parts from which a machinegun can be
          assembled if such parts are in the possession or under the control of a person.

  See also 27 C.F.R. § 478.11 (stating same).

          The Gun Control Act incorporates the National Firearms Act's defmition ofmachinegun

  and defmes machinegun identically to the National Forearms Act.         18 U.S.C . § 922(a)(4).

  Both statutory definitions of a machine gun therefore include a combination of parts designed and

  intended for use in converting a weapon into a machinegun.       Id    This language includes a

  device that, when activated by a single pull of the trigger, initiates an automatic firing cycle that

 continues until the fmger is released or the ammunition supply is exhausted.        See ATF Rule

  2006-2 (AR at 630-32.)

         C. The Administrative Procedure Act

         The Administrative Procedure Act (APA) requires that the Court "hold unlawful and set

 aside agency action, fmdings, and conclusions" that are "arbitrary, capricious, an abuse of

 discretion, or otherwise not in accordance with law."      5 U.S.C. § 706(2)(A). The "scope of

 review under the 'arbitrary and capricious' standard is narrow and a court is not to substitute its

 judgment for that of the agency."     Motor Vehicle M.frs. Ass'n of U.S., Inc. v. State Farm Mut.

 Auto. Ins. Co., 463 U.S . 29, 43 (1983).    The Court must be satisfied that the agency has

 "'examine[d] the relevant data and articulate[d) a satisfactory explanation for its action including

 a rational connection between the facts found and the choice made."' Alpharma, Inc. v. Leavitt,

 460 F.3d 1, 6 (D.C. Cir. 2006) (quoting State Farm, 463 U.S. at 43).       The agency's decisions


                                                   10




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 00018
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 20 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 11 of 26 PageiD #: 163



  are entitled to a "presumption of regularity," Citizens to Pres. Overton Park, Inc. v. Volpe, 401

  U.S. 402, 415 (1971), and although "inquiry into the facts is to be searching and careful, the

  ultimate standard of review is a narrow one," id. at 416.

         Federal courts are particularly deferential towards the '"scientific determinations"' of the

  agency, which are "presumed to be the product of agency expertise."       Franks v. Salazar, 816

  F.Supp.2d 49, 55 (D. D.C. 2011) (quoting Bait. Gas & Elec. Co. v. Natural Res. Def Council,

  Inc., 462 U.S. 87, 103 (1983)).   The Court's review is confined to the administrative record,

  subject to limited exceptions not at issue here.    See Camp v. Pitts, 411 U.S. 138, 142 (1973)

  ("[T]he focal point for judicial review should be the administrative record already in existence,

  not some new record made initially in the reviewing court.").     See also Sig Sauer, Inc. v. Jones,

  133 F. Supp. 3d 364, 371 (D.N.H. 2015), aff'd sub nom. Sig Sauer, Inc. v. Brandon, 826 F.3d

 598 (1st Cir. 2016) (recognizing that classification determinations "require expertise that is well

 within the ATF' s grasp" and that "its conclusions are entitled to substantial deference from a

 reviewing court.") (citing Marsh v. Or. Natural Res. Council, 490 U.S. 360, 378 (1989)).

         D. Summary Judgment in AP A Cases

         Under the APA, "courts are to decide, on the basis of the record the agency provides,

 whether the action passes muster under the appropriate AP A standard of review." Fla. Power &

 Light Co., 470 U.S. at 743-44. Because extra-record evidence and trials are inappropriate in

 APA cases, courts decide AP A claims via summary judgment based on the administrative record

 the agency compiles. Cronin, 919 F.2d at 445 ("Because the plaintiffs are not entitled to present

 evidence in court to challenge the [decision-maker's] decision ... , there will never be an

 evidentiary hearing in court."); Nw. Motorcycle Ass 'n v. USDA , 18 F .3d 1468, 1472 (9th Cir.


                                                     11




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 00019
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 21 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 12 of 26 PageiD #: 164



  1994).

           Although srnnmary judgment is the procedural mechanism by which the Government is

  presenting its case, the limited role federal courts play in reviewing such administrative decisions

  means that the typical Federal Rule 56 summary judgment standard does not apply. See

  Citizens for Appropriate Rural Roads, Inc. v. Foxx, 14 F. Supp. 3d 1217, 1228 (S.D. Ind. March

  31, 2014) (Barker, J.) (citing Cronin, 919 F.2d at 445); see also Sierra Club v. Mainella, 459

  F.Supp.2d 76, 89-90 (D. D.C. 2006). Instead, in APA cases, "[t]he factfinding capacity of the

  district court is thus typically unnecessary to judicial review of agency factfinding . . . . [C]ourts

  are to decide, on the basis of the record the agency provides, whether the action passes muster

  under the appropriate APA standard of review." Florida Power & Light Co. , 470 U.S. at 744-

  74.

                                                 ARGUMENT

           Plaintiff raises several challenges to FTISB' s classification decision. As discussed

 below, FTISB conducted a thorough examination of the ERAD, and fully disclosed the fmdings

 supporting its decision. FTISB' s decision was not arbitrary and capricious, but is supported by

 the facts as presented in the administrative record, and is a reasonable interpretation of the

 statute. Defendant is entitled to judgment in its favor on all of the Plaintiff's claims.

           A. ATF's Decision Is Not Arbitrary and Capricious.

           A machinegun is defmed in part as any weapon that shoots "automatically more than one

 shot, without manual reloading, by a single function of the trigger." 26 U.S.C. § 5845(b). The

 term also includes any "combination of parts designed and intended, for use in converting a

 weapon into a machinegun." !d. In the defmition of machinegun, neither the National


                                                   12




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 00020
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 22 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 13 of 26 PageiD #: 165



  Firearms Act nor the Gun Control Act further defme the phrase "single function of the trigger."

  The test firing ofPlaintiff's prototype-an AR-15 semi-automatic rifle (Bushmaster Model

  XM1150E2S) with an integrated ERAD grip-demonstrated that, once the grip button was pulled

  (activating the motor) concurrent with constant rearward pressure being applied to the trigger

  extension (which Plaintiffs refer to as the "reset bar"), the weapon fired more than one shot

  without manual reloading and without any additional action on the shooter' s part. Indeed, the

  weapon fired continuously until the shooter stopped applying rearward pressure to the trigger

  extension, or the ERAD ' s ammunition supply was exhausted. (AR at 79, 47 (demonstration

  video).) Additionally, when equipped with the ERAD, the weapon fired at a very high rate of

  speed, discharging up to 500 rounds per minute. (AR 0047.) Thus, the nature and mechanics

 of the ERAD support FTISB' s finding that it converted the semiautomatic firearm to a

 machine gun.

         FTISB' s conclusion is consistent with the National Firearm' s Act's legislative history, in

 which the drafters equated "single function of the trigger" with "single pull of the trigger." See

 National Firearms Act: Hearings Before the Committee on Ways and Means, H.R. Rep. No.

 9066, 73rd Cong., 2nd Sess., at 40 (1934) ("Mr. Frederick.[] The distinguishing feature of a

 machine gun is that by a single pull of the trigger the gun continues to fire as long as there is any

 ammunition in the belt or in the magazine. Other guns require a separate pull of the trigger for

 every shot fired, and such guns are not properly designated as machine guns. A gun, however,

 which is capable of firing more than one shot by a single pull of the trigger, a single function of

 the trigger, is properly regarded, in my opinion, as a machine gun."); see also George C. Nonte,

 Jr., Firearms Encyclopedia 13 (1973) (the term "automatic" is defined to include "any firearm in


                                                  13




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 00021
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 23 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 14 of 26 PageiD #: 166




  which a single pull and continuous pressure upon the trigger (or other firing device) will produce

  rapid discharge of successive shots so long as ammunition remains in the magazine or feed

  device - in other words, a machinegun").

           FTISB's decision is also consistent with the ordinary meaning of the term "function,"

  which includes "any of a group of related actions contributing to a larger action." Webster's

  Ninth New Collegiate Dictionary, 498 (1986); see also Random House Thesaurus College

  Edition, 297 (1984) (a synonym of function is "act"). Here, the action, or act, is pulling the

  trigger, which leads to the automatic firing.

           Courts have also interpreted "function" as the action of pulling the trigger. See Staples

  v. United States, 511 U.S. 600, 600 (1994) ("The National Firearms Act crirninalizes possession

  of an unregistered 'firearm,' 26 U.S.C. § 5861(d), including a 'machinegun,' § 5845(a)(6), which

  is defined as a weapon that automatically fires more than one shot with a single pull of the

 trigger,§ 5845(b)."); see also id. at 602 n.l ("As used here, the terms 'automatic' and ' fully

 automatic' refer to a weapon that fires repeatedly with a single pull of the trigger. That is, once

 its trigger is depressed, the weapon will automatically continue to fire until its trigger is released

 or the ammunition is exhausted. Such weapons are 'machineguns' within the meaning of the

 Act.").

           In United States v. Fleischli, 305 F.3d 643, 655-56 (7th Cir. 2002), the Seventh Circuit

 held that a "minigun" was a machinegun even though it was "activated by means of an electronic

 on-off switch rather than a more traditional mechanical trigger." Despite Fleischli' s arguments

 that the minigun was not a machinegun because it was not fired by pulling a traditional trigger,

 but rather was fired using an electronic switch, the court found to the contrary: "Fleischli's


                                                   14




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 00022
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 24 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 15 of 26 PageiD #: 167




  electronic switch served to initiate the firing sequence and the minigun continued to fire until the

  switch was turned off or the ammunition was exhausted. The minigun was therefore a machine

  gun as defined in the National Firearms Act." Jd. (superseded by statute on other grounds); see

  also United States v. Oakes, 564 F.2d 384, 388 (lOth Cir. 1977) (rejecting defendant's argument

  that because he had constructed a weapon with two triggers, it would not fire by a single function

  of the trigger, fmding "it is undisputed that the shooter could, by fully pulling the trigger, and it

  only, at the point of maximum leverage, obtain automation with a single trigger function. We

 are satisfied the gun was a machine gun within the statutory defmition both in law and fact.")

         Similarly here, the ERAD is a component that, when attached to a rifle, causes the rifle to

 function automatically. The ERAD allows the firing sequence to be initiated by a single pull of

 the primary trigger, which is continually engaged as long as the shooter maintains rearward

 pressure on the trigger and the motor continues to push the shooter's fmger forward. (AR 0073;

 79-80.) Because the ERAD is a combination of parts designed and intended for use in

 converting a semiautomatic firearm into weapon which shoots automatically more than one shot

 by a single action-the pull of the trigger-it is a machinegun. A TF' s decision is not arbitrary

 or capricious, but is consistent with the facts based on a thorough examination and testing of the

 ERAD' s functionality.

         B. ATF's Classification is Consistent with Public Policy.

         Because of their rapid rate of fire, machineguns have long been considered inherently

 dangerous and are therefore strictly regulated and generally unlawful to possess. See 18 U.S.C.

 § 922(o); United States v. Brock, 724 F.3d 817, 824 (7th Cir. 2013) ("Congress has grouped

 together sawed-off shotguns, machineguns, and a variety of dangerous explosive devices for


                                                   15




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 00023
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 25 of 382



        Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                  Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type               Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                      ID: ATF-2018-0002-15059
                                                                   Tracking Number: 1k2-92s1-vjeq


 Comment                                                           Document Information
                                                                  Date Posted:
                                                                  Apr 25, 2018
 I oppose this proposed ban on so-called "bump stocks" in
 the strongest terms.                                             RIN:
                                                                  1140-AA52
 They have been around for almost 10 years. The ATF said
                                                                  Show More Details
 that they were legal to purchase and use. They came with a
 letter saying so. Bump firing, without the stock, using belt
 loops or rubber bands, has around much longer than that.
                                                                   Submitter Information
 Shooting a machine gun is fun. Many ranges rent machine          Submitter Name:
 guns for that very reason. But the cost to purchase a civilian   Thomas Oas
 legal fully automatic AR-15/M-16/M4 machine gun is as
 much as my first house cost. Bump stocks simulate that
 experience for a few hundred dollars.

 And depending on the wording of the final rule, a future
 leftist president could interpret it to ban everything from
 ammunition magazines and target triggers to all semi
 automatic weapons.

 So one, and only one, demented lunatic uses these stocks
 in a horrific crime. So now, tens of thousands, maybe
 hundreds of thousands, maybe millions of Americans who
 have committed no crime, are in a position to have their
 private, legally purchased, property seized with no due
 process.

 Does not the prohibition on Ex Post Facto laws apply here?

 This is a travesty of justice, grossly unfair and
 unreasonable, and simply wrong.




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 0024
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 26 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2017-27898


The is a Comment on the Alcohol Tobacco Firearms and                   Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Application of the             Jan 25 2018, at 11:59 PM ET
Definition of Machinegun to Bump Fire Stocks and Other
Similar Devices
For related information, Open Docket Folder                             ID: ATF-2018-0001-1050
                                                                    Tracking Number: 1k1-90kr-x5jm



                                                                    Document Information
 Comment
                                                                   Date Posted:
                                                                   Jan 5, 2018
 Hello dear Sir/Ma'am, my name is Mason Hicks and I am
 commenting as a consumer.                                         RIN:
                                                                   1140-AA52
 To answer the questions on Docket No. 2017R-22 Pg. 8 for
                                                                   Show More Details
 Consumers:

 "21. In your experience, where have you seen these devices
 for sale and which of these
                                                                    Submitter Information
 has been the most common outlet from which consumers              Submitter Name:
 have purchased these                                              Mason Hicks
 devices (e.g., brick and mortar retail stores; online vendors;
 gun shows or similar
 events; or private sales between individuals)?"
 ANSWER: They were commonly sold in nearly all outdoor
 sporting goods (Brownell's, Cabelas, Academy Sports,
 Gander Mountain, Dick's, Field&Stream, et cetera), local
 gun stores, and countless online retailors (Amazon.com,
 Ebay.com cheaperthandirt.net, Impact guns, Bud's Gun
 Shop, et cetera) prior to the Las Vegas massacre.

 "22. Based on your experience or observations, what is (or
 has been) the price range
 for these devices?"
 ANSWER: They're retailing for around $200-ish right now,
 during the panick they could be bought new at retailers for
 as little as $300 to as much as $1500 used at online auction
 (Gunbroker, prior to delisting). Before the Las Vegas attack,
 they could be had for a little less than $100, for example, off
 of Amazon.com and other online retailers. Brick and morter
 stores sold them for more then the online retailers did,
 usually for around $150-$250 depending on retailer and
 brand of manufacturer.


                                                                               Guedes v. ATF / Codrea
                                                                                          Ex. 1 Page 00025
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 27 of 382



"23. For what purposes are the bump stock devices used or
advertised?"
ANSWER: Amusement. They serve no real practical
purpose, nor do I believe they can be made to. It's an
attempt to simulate full auto fire, but it's too awkward a
device to do so. It requires a skilled hand in order to work
correctly, and even then there's no practical way to use it
with the entire weapon shaking and and out of the operator's
shoulder pocket while they have to concentrate on keeping
forward momentum on the front handguard of the weapon.
It's simply a mag dump device for backyard and range use.
The device itself isn't even a necessary assist in that it's
simply taking advantage of the inherent nature of self-
loading rifles. Using the recoil of the rifle to reset the trigger,
the only real thing needed to bump fire a rifle is the
operator's index finger and practice. The bump stock itself is
essentially like the training wheels on a bicycle.

Now, with the docket questions answered, I feel it's
important to recognize that the main reason that bump fire
devices became popular on the market was mostly due to
the Hughes' amendment to the Firearm Owners Protection
Act of 1986. Before the bill's passing, a law abiding citizen
could pay a $200 tax in addition to the cost of the weapon
and fill out the necessary ATF paperwork (4467) to register
and own their own genuine machine gun under the National
Firearms Act of 1934. Consequently, hobbyists and
sportsmen had no affordable legal outlet to own weapons
such as these given supply and demand driving up the cost
of pre-'86 weapons.

As a direct result of the 1986 new machine gun sales ban
(the Hughes' amendment), bump fire devices like Hell fire,
Akins Accelerator (which was later decided illegal due to its
spring mechanism), Slide Fire, and others became popular.
Under the Hughes' amendment, if these devices are to be
reclassified as machine guns, they will be unregistrable and
henceforth banned. There are also unknown thousands out
there, including those which were cobbled together using
brackets, pistol grips, and buttstock parts and those
manufactured using home 3D printers ; the bump fire stock
is only a cheap piece of plastic. Rather than criminalizing
thousands of people with unregistrable accessories, It would
be more constructive to either grandfather them or have
them registered under something like the 1968 Machine
Gun Amnesty and to plead with/lobby Congress on behalf of
a hired registered lobbyist or Congressional liaison to repeal
the Hughes amendment which would allow for this. With a
Hughes' Amendment repeal, machine guns and bump fire
devices would be treated just as any other NFA item.
Legally owned machine guns have only been used in 3
crimes prior to Las Vegas since 1934; over a period of 83
years, that isn't many.




                                                                      Guedes v. ATF / Codrea v. ATF
                                                                                  Ex. 1 Page 00026
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 28 of 382



         Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




         Comment on FR Doc # 2017-27898


The is a Comment on the Alcohol Tobacco Firearms and                  Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Application of the            Jan 25 2018, at 11:59 PM ET
Definition of Machinegun to Bump Fire Stocks and Other
Similar Devices
For related information, Open Docket Folder                            ID: ATF-2018-0001-1259
                                                                   Tracking Number: 1k1-90ki-8eo2



                                                                   Document Information
 Comment
                                                                  Date Posted:
                                                                  Jan 5, 2018
 Alcohol, Tobacco, Firearms and Explosives Bureau
 Docket Number: 2017R-22                                          RIN:
                                                                  1140-AA52
 Answers to Consumer Questions
                                                                  Show More Details
 Q 21:

 New Bump Fire Stocks are sold via online vendors and at
                                                                   Submitter Information
 brick-and-mortar retail establishments. Private sales, gun       Submitter Name:
 shows, are a secondary market for used items.                    Ronald Devito

 Q 22:

 Bump fire stocks range in price from $180 - $500.

 Q 23:

 Bump Fire Stocks are advertised and marketed as
 "novelties" or "range toys," allowing the recreational shooter
 to simulate machine gun fire.

 ***My perspective as a shooter***

 Military and law enforcement agencies have machine guns.
 They don't need bump fire stocks, which are not suitable for
 combat or law enforcement. The bump fire stock consists of
 two pieces, wherein one piece slides in a track built into the
 other. This track could get clogged with grit and the stock
 would fail to function. The typical plastic bump stock would
 break when subjected to physical stress such as butt-
 stroking, or accidental drops. Finally, bump fire - with or
 without a bump fire stock - requires the shooter to change


                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 00027
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 29 of 382


the way he or she handles the weapon. With bump fire
stocks, you're still shouldering, but you're pulling the weapon
forward, while your trigger finger is on a finger rest and
using the recoil to cycle the gun. It takes skill to do this
without stalling the gun and inducing misfeeds.

26 U.S.C. 5845(b) defines a machine gun. The Obama-era
approval of bump fire stocks very clearly states these
devices are not machine guns and do not convert their host
gun into a machine gun. The simple reason: the trigger must
pulled one time for each round fired. To fire 30 rounds with a
bump fire stock requires 30 trigger pulls. To fire 30 rounds
with a machine gun requires only one trigger pull and
holding the trigger down.

The Obama era approval of these stocks also stipulates that
no mechanical assistance be provided to the shooter via
springs, etc. Approved bump fire stocks meet this
requirement.

Bump fire has been around as long as semi-auto firearms
have been. Bump fire is using the gun's own recoil to assist
the shooter in pulling the trigger much faster than the
shooter can move the trigger finger. From your proposed
rulemaking document:

"'Bump fire' stocks (bump stocks) are devices used with a
semiautomatic firearm to increase the firearm's cyclic firing
rate to mimic nearly continuous automatic fire. Since 2008,
ATF has issued a total of 10 private letters in which it
classified various bump stock devices to be unregulated
parts or accessories, and not machineguns or machinegun
conversion devices as defined in section 5845(b) of the NFA
or section 921(a)(23) of the GCA."

Bump fire can be achieved without any device at all - purely
by skill. It has a significant learning curve. The bump fire
stock is much safer than the typical method of holding the
weapon at the hip, and hooking the trigger finger through a
belt loop and pulling forward - which is what beginner bump
fire shooters do. It is possible to bump fire from the shoulder
or a bipod without any devices, but again, there is a long
learning curve.

The cone of fire generated by bump fire is much larger than
that generated by a machine gun. With a machine gun, the
shooter is holding the weapon steady and releasing a
stream of rounds with a single trigger pull. In bump fire, the
entire gun is moving as the shooter uses its recoil to
generate the rapid fire.

***Bump Fire vs. Directed, Aimed Fire***

I performed this experiment: the goal was to hit 10 2-liter
bottles at 10 yards. Using bump fire and a 30-round
magazine, I was able to hit TWO out of 10 bottles. I replaced
the two bottles hit with fresh ones and used directed, aimed,

                                                                  Guedes v. ATF / Codrea v. ATF
                                                                              Ex. 1 Page 00028
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 30 of 382


fire, but went fast. I hit all 10 bottles with 12 rounds, since
there were two misses. Directed, aimed fire is always more
effective in getting hits - by a factor of at least five times!

****Las Vegas Attack****

The Las Vegas attack was the first nefarious use of a bump
fire stock. One shooter was perched 32 stories up and bump
fired into a crowd 300 - 400 yards away resulting in 58
deaths, and hundreds wounded. Ironically, if the shooter
used directed, aimed, fire - if we were to extrapolate my own
numbers with the bottles - the death toll would have been
250 to 300 or even more! The shooter actually *mimimized*
casualties by bump firing, because he created a huge,
inaccurate cone of fire from a great distance. He was relying
on "shock and awe" and random hits.

The calls to re-classify bump fire stocks are rooted in
emotion. Per the ATF's 10 approval letters, these stocks
require a single trigger pull per round fired. It is my opinion
that the 10 approval letters - ironically issued during the
most anti-gun administration in our history - should stand as
is. Bump fire stocks should not be re-classified as machine
guns to appease emotions, and further infringe on our
Second Amendment rights.




                                                                  Guedes v. ATF / Codrea v. ATF
                                                                              Ex. 1 Page 00029
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 31 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2017-27898


The is a Comment on the Alcohol Tobacco Firearms and              Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Application of the         Jan 25 2018, at 11:59 PM ET
Definition of Machinegun to Bump Fire Stocks and Other
Similar Devices
For related information, Open Docket Folder                        ID: ATF-2018-0001-24397
                                                               Tracking Number: 1k2-9134-hs15



                                                                Document Information
 Comment
                                                              Date Posted:
                                                              Jan 26, 2018
 See attached file(s)
                                                              RIN:
                                                              1140-AA52

                                                              Show More Details
 Attachments (1)

                                                                Submitter Information
          Silencer Shop - Comment Bump fire
                                                              Submitter Name:
          View Attachment:                                    Dave Matheny
                                                              Organization Name:
                                                              Hill Country Class III, LLC d/b/a
                                                              Silencer Shop




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 00030
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 32 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                    Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                 Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                         ID: ATF-2018-0002-3251
                                                                     Tracking Number: 1k2-92c0-gshi


 Comment                                                             Document Information
                                                                    Date Posted:
 I oppose the proposed change in regulations which would
                                                                    Apr 5, 2018
 redefine "bump stock" devices as machineguns under the
 National Firearms Act.                                             RIN:
                                                                    1140-AA52
 There are a number of technical flaws with the proposed
                                                                    Show More Details
 ruling:

 1. Machineguns are defined by the NFA as "Any weapon
 which shoots, is designed to shoot, or can be readily
                                                                     Submitter Information
 restored to shoot, automatically more than one shot without        Submitter Name:
 manual reloading, by a single function of the trigger." The        Robert Hahn
 proposed ruling claims that bump stocks "initiate a
 continuous firing cycle with a single pull of the trigger." This
 is factually incorrect, since use of a bump stock requires the
 shooter to maintain continuous forward pressure on the
 firearm to actuate the trigger, firing one shot per function.

 2. The proposal states that devices currently owned would
 be contraband. Bump stocks in existence were
 manufactured, purchased, and used with the approval of the
 BATFE. Redefining them to be considered machineguns
 would be the equivalent of a ex post facto law, criminalizing
 behavior legal before passage of the ruling change.

 3. Repeated references are made to how a bump stock
 "harnesses the firearm's recoil energy in a continuous back-
 and-forth cycle that allows the shooter to attain continuous
 firing after a single pull of the trigger." This is again
 incorrect, since the recoil energy is irrelevant to the function
 of the firearm..

 4. The "need for regulatory action" section states "this
 rulemaking aims to apply Congress's policy decision to


                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 00031
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 33 of 382


prohibit machineguns." No such law has been passed by
Congress to prohibit machineguns on the Federal level. The
proposed regulatory action thus goes beyond administering
law and crosses the line into creating law, which power is
reserved to Congress.

Again, I do not support the proposed ruling and urge that it
not be considered.

Thank you.




                                                               Guedes v. ATF / Codrea v. ATF
                                                                           Ex. 1 Page 00032
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 34 of 382




______________________________________________________________________________

   COMMENT OF HILL COUNTRY CLASS III, LLC D/B/A SILENCER SHOP TO
  NOTICE OF APPLICATION OF THE DEFINITION OF MACHINEGUN TO BUMP
                 FIRE STOCKS AND OTHER SIMILAR DEVICES
______________________________________________________________________________




Respectfully submitted on behalf of Hill Country Class III, LLC d/b/a Silencer Shop.


                                                           _____________________________

                                                           Hill Country Class III, LLC
                                                           d/b/a Silencer Shop
                                                           13729 Research Blvd #630
                                                           Austin, TX 78750
                                                           (512) 931-4556




                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 00033
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 35 of 382




        Hill Country Class 3, LLC d/b/a/ Silencer Shop (“Silencer Shop”) files this comment

related to ATF-2018-0001-0001, docket number 2017R-22, RIN 1140-AA52, entitled Application

of the Definition of Machinegun to Bump Fire Stocks and Other Similar Devices. Silencer Shop

is the largest dealer of firearm silencers in the country. Silencer Shop has a public showroom in

Austin, Texas and a large online store available at www.silencershop.com. Silencer Shop sells

silencers and other firearms to law enforcement agencies, individual law enforcement officers, as

well as individuals. Silencer Shop customers use their silencers for a broad array of applications,

including use in their official duties as law enforcement officers, home and self-defense, hunting,

teaching, recreational shooting, varmint eradication, and collecting. Although Silencer Shop is a

licensed firearms dealer, Silencer Shop is not, nor has it ever been, in the business of selling bump-

fire stocks.

I.      “BUMP FIRE” STOCKS ARE SIMPLY NOT MACHINE GUNS.

        The National Firearms Act defines “machinegun” as any weapon which: “shoots, is

designed to shoot, or can be readily restored to shoot automatically more than one shot, without

manual reloading, by a single function of the trigger.” The term also includes “the frame or receiver

of any such weapon, any part designed and intended solely and exclusively, or combination of

parts designed and intended, for use in converting a weapon into a machinegun, and any

combination of parts from which a machinegun can be assembled if such parts are in the possession

or under the control of a person.” 26 U.S.C. 5845(b). Since 2008, ATF has issued a total of ten

letters in which it classified various bump stock devices to be unregulated parts or accessories, and

not machineguns or machinegun conversion devices as defined in section 5845(b) of the NFA or

section 921(a)(23) of the GCA. In its January 7, 2010, John Spencer the Chief of the Firearms

Technology Branch of the ATF correctly concluded that “[t]he stock has no automatically


COMMENT OF HILL COUNTRY CLASS III, LLC d/b/a SILENCER SHOP                                        Page 1
                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 00034
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 36 of 382




functioning mechanical parts or springs and performs no automatic function when installed. In

order to use the installed device, the shooter must apply constant forward pressure with the non-

shooting hand and constant rearward pressure with the shooting hand. Accordingly, we find that

the “bump-stock” is a firearm part and is not regulated as a firearm under the Gun Control Act or

the National Firearms Act.

       The bump-fire stock simply assists in rapid semi-automatic fire, not automatic. Each

individual shot comes from independent function of the trigger. With each shot, the trigger is fully

reset and must be pulled again. Simply because a firearm part allows this independent trigger

function to be accomplished in a more economic manner, does not make it “more than one shot”

coming with a “single function of the trigger.” As such, this device is simply not a machine gun.

       The ATF lacks to authority to classify a device as a machine gun simply because the device

received “a significant amount of public attention” and the “general public and from members of

both houses of Congress request[ed] that ATF re-examine its past classification.” In order to be

classified as a machine gun it must meet the statutory definition of a machine gun. Should those

members of Congress who requested the “reexamination” want the statutory definition of machine

gun changed it would be up to them to do so by legislation.




COMMENT OF HILL COUNTRY CLASS III, LLC d/b/a SILENCER SHOP                                      Page 2
                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 00035
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 37 of 382




II.    DEFINING “BUMP FIRE” STOCKS AS MACHINE GUNS WOULD CREATE
       FEAR OF PROSOCUTION FOR THOUNSANDS OF AMERICANS WHO
       RELIED ON THE ATF’S PRIOR RULING

       As the ATF notes in its request for comment it has at least 10 letters concluding that bump-

fire stocks are not machine guns. Since that time, thousands (perhaps even tens or hundreds of

thousands) of Americans have relied on these letters to purchase bump-fire stocks. The retroactive

classification of these devices as machine guns would have the enormous impact of making most

of these Americans illegally in possession of an unregistered machine gun. Additionally, because

of 922(o), there is no legal way for these Americans to register these firearms as machine guns.

Americans would be uncertain on how to handle the new contraband and could lead to countless

criminal felony prosecutions of unknowing citizens, who believed they were buying an “ATF

Approved” product.

A retroactive ban without a grandfather clause would be an unconstitutional taking unless
compensation was paid.

       The “Takings Clause” of the Fifth Amendment to the federal constitution prohibits taking

private property “for public use, without just compensation.” While the Takings Clause is often

discussed in the context of land and real estate, it also applies to personal property. The clause

applies to actual confiscations of property as well as to regulatory takings.

       In the context of firearms, several courts have ruled that bans are only not an

unconstitutional taking if they contain a grandfather clause.    See, e.g. Silveira v. Lockyer, 312

F.3d at 1092 (city’s assault weapon ban upheld only because it contained a grandfather clause).




COMMENT OF HILL COUNTRY CLASS III, LLC d/b/a SILENCER SHOP                                       Page 3
                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 00036
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 38 of 382




If the ATF moves forward with this rule it should allow amnesty registration.

       When the National Firearms Act was amended in 1968, a 30-day amnesty period

immediately following the law’s effective date was established during which persons possessing

unregistered firearms could register them.      The 1968 amendments also provided for the

establishment of additional amnesty periods at the discretion of the director. Such a period would

be appropriate here given the volume of contraband in the hands of the general public and the

serious penalties that could be imposed on buyers who relied on the ATF’s prior rulings.

       Such amnesty registrations are not unheard of when the ATF reclassifies a previously

unregulated item. For instance, on March 1, 1994, the Secretary of the Treasury announced that

the USAS 12, Streetsweeper, and Striker-12 shotguns had been classified as Destructive Devices

subject to registration and tax controls under the NFA. The ATF rulings was retroactive for

registration purposes as many had previously been imported as traditional shotguns. However, the

ATF allowed for retroactive registration, and waived the $200 tax. The ATF held the registration

period open from 1994 to 2001 and some 8,200 firearms were registered. See ATF Ruling 2001-

1.




COMMENT OF HILL COUNTRY CLASS III, LLC d/b/a SILENCER SHOP                                     Page 4
                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 00037
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 39 of 382




III.   ANSWERS TO CERTAIN QUESTIONS POSED BY THE ATF.

       Question 20: If ATF classified bump stock devices as “machineguns” under the Gun
       Control Act of 1968, as amended, and the National Firearms Act of 1934, as amended,
       do you believe that there would be a viable (profitable) law-enforcement and/or
       military market for these devices?

       Answer: No.

       Question 21: In your experience, where have you seen these devices for sale and which
       of these has been the most common outlet from which consumers have purchased
       these devices (e.g., brick and mortar retail stores; online vendors; gun shows or
       similar events; or private sales between individuals)?

       Answer: These devices are commonly sold online, at gun shows, in traditional brick and
       mortar stores (both firearm and non-firearm dealers), and in fact-to-face sales. Common
       retainers include Walmart, Cabela’s, Slide Fire and Bump Fire Systems.

       Question 22: Based on your experience or observations, what is (or has been) the price
       range for these devices?

       Answer: Prices typically range from $99 for the most basic model to $329.95 for high-end
       models with added features. Firearms equipped with bump-fire stocks range in price from
       $300 to $5000 and up, depending on the firearm used as the platform.

       Question 23: For what purposes are the bump stock devices used or advertised?

       Answer: These have been marketed as a product that would allow users to “bump-fire”
       firearms. Bump-fire is commonly understood to be a method of rapid semi-automatic fire
       by allowing the recoil of the firearm to cause a quick, but independent, pull of the trigger.
       Some companies advertise these devices specifically to users with limited mobility or
       handicaps. They are also marketed as “ATF Approved” items. Many retailers either
       include a copy of an ATF letter with the stock or actively tout that it was been ATF
       approved.

       We have seen these devices used for several lawful and legitimate purposes. Most
       importantly, licensed firearm manufacturers and retailers have used these devices to
       conduct reach and development and to test and evaluate firearms and parts. For instance,
       many silencer makers, retailers, and evaluators use these devices to “torture” test silencers
       for evaluation under extreme rapid semi-automatic shooting conditions. Bump-fire is an
       extremely valuable tool for this type of testing.




COMMENT OF HILL COUNTRY CLASS III, LLC d/b/a SILENCER SHOP                                      Page 5
                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 00038
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 40 of 382




      Some customers use these devices for hunting and other sporting purposes. This device is
      an important tool in varmint control and eradication. According to Smithsonian Magazine,
      “[w]ild hogs are among the most destructive invasive species in the United States today.”
      Wild hogs often herd together, so having the ability to use rapid semi-automatic fire can
      often result in the eradication of more hogs. For similar reason, these devices are also used
      in the control of other varmints including coyotes, foxes, gophers and prairie dogs. Some
      consumers use these devices for shooting competitions.

      Some consumers use these devices to conduct training and to practice for “real world”
      shooting scenarios. Many customers are military or law enforcement and often train off-
      duty with personal guns. Having a device that allows for rapid semi-automatic fire is
      essential for their training.

      Lastly, many customers simply use these devices in recreational shooting and “plinking”.
      Although often overlooked, recreational shooting is an important part of American’s
      connection with nature and is an important bonding time for many American families.




COMMENT OF HILL COUNTRY CLASS III, LLC d/b/a SILENCER SHOP                                     Page 6
                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 00039
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 41 of 382



        Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and               Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type             Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                    ID: ATF-2018-0002-0013
                                                                 Tracking Number: 1k2-92aj-z95i


 Comment                                                         Document Information
                                                               Date Posted:
 I will not disarm.
                                                               Apr 2, 2018

                                                               RIN:
                                                               1140-AA52

                                                               Show More Details



                                                                 Submitter Information
                                                               Submitter Name:
                                                               David Codrea
                                                               Organization Name:
                                                               Unorganized Militia




                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 00040
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 42 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                             ID: ATF-2018-0002-49591
                                                               Tracking Number: 1k2-93jz-dons
For related information, Open Docket Folder

                                                                Document Information
                                                              Date Posted:
 Comment                                                      Jun 15, 2018
                                                              RIN:
 I oppose this overreach of authority.                        1140-AA52

                                                              Show More Details



                                                                Submitter Information
                                                              Submitter Name:
                                                              Owen Monroe




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 00041
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 43 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                              ID: ATF-2018-0002-34581
                                                                 Tracking Number: 1k2-939x-erz7
For related information, Open Docket Folder

                                                                 Document Information
                                                                Date Posted:
 Comment                                                        May 31, 2018
                                                                RIN:
 In reference to ATF 2017R-22:                                  1140-AA52

 Do not reclassify the bump fire stock accessory as a           Show More Details
 machine gun. It does not meet the definition as such per the
 National Firearms Act.
                                                                 Submitter Information
 Thank you
                                                                Submitter Name:
                                                                Scott Heuman




                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 00042
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 44 of 382




               VERIFIED DECLARATION OF DAMIEN GUEDES


      I, Damien Guedes, am competent to state and declare the following based on my

personal knowledge:

   1. I am a resident of Whitehall Pennsylvania.

   2. In 2014, I became interested in a bump stock device.

   3. Prior to purchasing a Bump Fire Systems bump stock device, as I wanted to

       ensure the legality of the device, I went on Bump Fire Systems' website-

       wFlv.bur:rmftr~system~.~-om- to determine if the Bureau of Alcohol, Tobacco,

      Firearms and Explosives had approved the device.

   4. Bump Fire Systems' website stated that it had obtained approval from ATF and

       provided me with a copy of ATF's Apri12, 2012 determination letter. A copy of

      the letter is attached as Exhibit 1.

   5. In reliance on ATF's determination letter of April2, 2012, I purchased a Bump

      Fire Systems bump stock device at a cost of$99.99, plus $6.00 shipping, which I

      still own today. A redacted copy of the receipt is attached as Exhibit 2.

   6. It is my understanding, based upon ATF' s notice of proposed rulemaking - RIN

       1140-AA52, Fed. Reg. No. 2018-06292- that ATF intends to reclassify bump

      stock devices as machine guns in violation of Article 1, Section 9 of the United

       States Constitution (i.e. Ex Post Fact clause) and to require me to surrender or

      otherwise destroy my Bump Fire Systems bump stock device in the absence of

      any compensation, in violation of the Fifth Amendment to the United States

      Constitution.




                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                    Ex. 1 Page 00043
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 45 of 382




       I declare under penalty of perjury that the foregoing is true and correct to the best

of my information, knowledge and belief. Executed on April     j_, 2018.

                                                        ~
                                                      Damien Guedes




                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 00044
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 46 of 382




                       Exhibit 1




                                                    Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 00045
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 47 of 382



                                                                   l ·.s. Dl'lnu·tmcnt of ,Justin·

                                                                   Bwuw of Akohol, ·rooacco.
                                                                   hll.:arm;; and l·.xplosives



                                                                                                     903050:MRC
                                                                                                     3311/2012-196



                                                                   .APR 0 2 2012.




  This is in reference to your corrcspnndt.Tl<.:,; to the Bureau or Alcohol, Tobacco, Firearms and
  Explosives (ATF), Firearms Tcchnol•Jgy Bn:mch o:·J B). requesting FTB to evaluate an
  accompanying stock und detcrmbe if ib (k;;lgn vvould violate any Federal statutes.

  As background inf{mnation. the Nation;.:i fin.:·nrrn:; i\ct (Nb\), 26 U.S.C. Section 5845(b),
  defines '·machincgun" as~~
  " ... any weapon which shoot..,·, 1s d.::.>i);ncd io sftoot, or can be readily restored to shoot,
  C 7JIUiilafic,;iiy nwrc:inan um:srmt, "~<'Viihu<d muMnti rduuu'itit;, !:)':.; sirrsh.:fitri-Sikifi-<d'the trigger.
  The term shall also include the .frame or n:ccivf'r of'any such lveapon, any part designed and
  inte1tded solely and exclusively, or combination ofparts designed and intended,for use in
  co11verting a weapon into a machinegun~ and any combination o.fparts from which a
  machinegun can be assembled ifsuch part:; an~ in the pos~'iession or under the control ofa
  person."

  The FTB evaluation cont1rmcd that you h.,1.ve submitted a plastic shoulder stock designed to
  function on an AR-15 type ritle (see·enclosed photos). For your stock to function in the manner
  intended, it has to be attached to an AR.. l5 type platform that is assembled with a collapsible-
  stock receiver extension. Along with the shoulder stock, you have submitted what you have
  identified as a "receiver module." This module is a: plastic block approximately 1-5/16 inches
  high, about 1-3/8 inches long, and approximately 7/8-inch wide. Additionally, there are two
  extensions, one on each side, that ar+.! designed to travel in the two slots configured on the
  shoulder stock. The receiver module replaces the AR-15 pistol grip.

  Furtl1er, the submitted custom shoulder stock hicorporates a pistol grip. This grip section has a
. oaVit,:for the receiver modu)e,to'move forWard~ 'backwm'd. Additionally, two slots have been
 · · • · ·. .· · .·· '            · . t9 ~vel in. The upper section of the shQulder stock is
                                         ·       · ·           ~en$ioo. Further. the custom stock is




                                                   )   ~   '




                                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                                   Ex. 1 Page 00046
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 48 of 382


                                                 -2-




designed with a "lock pin." When the handle on the lock pin is facing in the 3- to 9-o'clock
positions, the stock is fixed and will not move; and when the handle on the lock pin is facing in
the 12- to 6-o'clock positions, the stock is movable.

The FTB live-fire testing of the submitted device indicates that if, as a shot is fired, an
inTermediate an1ount of pressure is applied to the fore-end with the support hand, the shoulder
stock device will recoil sufficiently rearward to allow the trigger to mechanically reset.
Continued intermediate pressure applied to the fore-end will then push the receiver assembly
forward until the trigger re-contacts the shooter's stationary firing hand finger, allowing a
subsequent shot to be fired. In this manner, the shooter pulls the firearm forward to fire each
shot, the firing of each shot being accomplished by a single trigger function. Further, each
subsequent shot depends on the shooter applying the appropriate amount of forward pressure to
the fore-end and timing it to contact the trigger finger on the firing hand, while maintaining
constant pressure on the trigger itself.

Since your device is incapable of initiating an automatic firing cycle that continues until either
the finger is released or the ammunition supply is exhausted, Fm finds that it is !!!U a
machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18 U.S.C.
921(a)(23).

Please be advised that our findings are based on the item as submitted. Any changes to its design
features or characteristics will void this classification. Further, we caution. that the addition of an
accelerator spring or any other non-manual source of energy which allows this device to operate
automatically as described will result in the manufacture of a maebip~gun as defined in the NFA,
584S(b).

TQ facilitate the.retun;LQf YOt.tr Sat1lP~;"to   . the~t.Ue, please provide FTB with the
appropriate FedBx··9f· &imitltr acCQunt        .   .~ 60 days of receipt of this letter. If their
return is not necessary, please fa FllMI:t 304~,16-4301 with authorization to destroy them on
     b.....h.Slf >
your.,~~~.


We thank y~ifo~:~p,; ·
·mq~····        ..
     '   ,'-::~-




                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                   Ex. 1 Page 00047
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 49 of 382




                       Exhibit 2




                                                    Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 00048
               Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 50 of 382
  From : Bump Fire Systems orders141 @burnpfiresystems.corn       .
Subject : Your BUMP FIRE SYSTEMS order receipt from October 30, 2014
  Date:                    22:27
     To:




      Your order has been received and is now being processed. Your order details are shown
      below for your reference:



       Order: #2872
           Product                                 Quantity            Price

           AR15 BFSystem                           1                   $99.99

           Cart Subtotal:                                              $99.99

           Shipping:                                                   $6.00 via Flat Rate

           Payment Method:                                             Credit Card

           Order Total:                                                $105.99



       Customer details
      Email:

      Tel:



       Billing address
      Damien Guedes



      Whitehall , Pennsylvania 18052

                                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                                 Ex. 1 Page 00049
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 51 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                             ID: ATF-2018-0002-75886
                                                               Tracking Number: 1k2-93y1-pyr1
For related information, Open Docket Folder

                                                                Document Information
                                                              Date Posted:
 Comment                                                      Jul 3, 2018
                                                              RIN:
 See attached file(s)                                         1140-AA52

                                                              Show More Details

 Attachments (19)
                                                                Submitter Information
                                                              Submitter Name:
          Comment to ATF re Bumpstocks                        Stephen Stamboulieh
          View Attachment:                                    Organization Name:
                                                              Stamboulieh Law, PLLC

          Form 1 Approval 9.5.1986_redacted
          View Attachment:


          17-530_6537
          View Attachment:


          HistoricArmsLLC bump stock analysis
          (1)_3
          View Attachment:


          MSI Comment
          View Attachment:


          HistoricArmsLLC bump stock analysis
          (1)_1



                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 00050
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 52 of 382


  View Attachment:


  HistoricArmsLLC bump stock analysis
  (1)_2
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_7
  View Attachment:


  March 15 Production 1-5
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_6
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_10
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_9
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_8
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_11
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_12
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_13
  View Attachment:




                                                    Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 00051
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 53 of 382


  March 15 production - full size
  version - reduced_Redacted_14
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_16
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_15
  View Attachment:




                                                    Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 00052
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 54 of 382




         Stamboulieh Law, PLLC
P.O. Box 4008, Madison, MS 39130 | (601) 852-3440 | stephen@sdslaw.us



                                        June 26, 2018


Attn: Vivian Chu, Mailstop 6N-518                 Via Regulations.gov Portal
Office of Regulatory Affairs
Enforcement Programs and Services
Bureau of Alcohol, Tobacco, Firearms and Explosives
99 New York Ave. NE
Washington, DC 20226
ATTN: 2017R-22
Facsimile: (202) 648-9741

       Re:    ATF 2017R-22
Dear Ms. Chu:
       I write this comment on behalf of Scott Heuman and other interested parties
regarding the Bureau of Alcohol, Tobacco, Firearms and Explosives’ (“ATF”) Notice
of Proposed Rulemaking (ID ATF-2018-0002-0001, Federal Register No. 2018-06292)
which attempts to regulate bumpstock type devices as machineguns.
       Specifically, the Notice states the following:
       On October 1, 2017, a shooter attacked a large crowd attending an
       outdoor concert in Las Vegas, Nevada. By using several AR-type rifles
       with attached bump-stock-type devices, the shooter was able to fire
       several hundred rounds of ammunition in a short period of time, killing
       58 people and injuring over 800. The bump-stock-type devices recovered
       from the hotel room from which the shooter conducted the attack
       included two distinct, but functionally equivalent, model variations from
       the same manufacturer.
Despite requests for documentation and information under the Freedom of
Information Act (“FOIA”) which would allow the public to verify that bumpstock type
devices were actually used during the shooting in Las Vegas, Nevada, no such document
has been produced. In fact, the Federal Bureau of Investigation (“FBI”) has refused to



                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                    Ex. 1 Page 00053
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 55 of 382

Vivian Chu
Office of Regulatory Affairs
ATF 2017R-22
June 26, 2018

release information related to the shooting, claiming that the information was
“compiled for a law enforcement purpose.”1
        The ATF produced several hundred documents to undersigned2, but none of the
documents demonstrate that the firearms with bumpstock type devices attached were
utilized during the shooting. It is also understood that ATF was precluded from
examining the firearms found in Las Vegas by the FBI and only recently received the
firearms for testing. In any event and with that backdrop, the ATF has moved to
regulate these devices as machineguns.
        Len Savage of Historic Arms L.L.C. was retained as an expert to provide an
analysis and commentary regarding Docket Number ATF 2017R-22 and bumpstock
type devices. Mr. Savage’s expert report, comment, and supporting documentation
were submitted to the ATF and are currently available to view on
https://www.regulations.gov/document?D=ATF-2018-0002-31210. For convenience,
Mr. Savage’s report, comment and supporting documentation are attached hereto and
fully incorporated herein. Additionally, this comment fully supports and incorporates
Maryland Shall Issue’s comment dated April 9, 2018. It is also attached to this
comment.
       The ATF’s proposal does nothing to address criminal misuse of either
machineguns or bumpstocks. Much like 18 USC § 922(o), it criminalizes mere
possession. This is why whether the Las Vegas shooter utilized bumpstocks is critically
important to this proposed regulation, since such alleged use provides the impetus for
this attempt at regulation. If the Las Vegas shooter did not utilize a bumpstock
equipped rifle, then the entire premise of this regulation is at best suspect and at worst
fraudulent.
      If, as the ATF alludes in its proposed rule, the shooter did in fact utilize a
bumpstock equipped rifle, then it would be the first (and since then, only) shooting
which utilized a bumpstock device. The ATF did not provide any documents
demonstrating prior crimes committed with bumpstocks and the FBI wholesale refused
to provide any documentation. So, how is it that this proposed rule “would affect the
criminal use of bump-stock-style-devices in mass shooting, such as the Las Vegas
shooting incident[]”? If the new regulation goes into effect and magically 519,927



1
  This denial has been appealed and we are presently waiting for the FBI to deny the appeal before commencing
litigation for the release of these records.
2
  For purposes of a complete record, all documents received in that FOIA are attached hereto.

                                                  Page 2 of 7

                                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                                 Ex. 1 Page 00054
          Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 56 of 382

Vivian Chu
Office of Regulatory Affairs
ATF 2017R-22
June 26, 2018

bumpstock devices3 are declared machineguns overnight, it still does not stop someone
from committing mass murder with a now illegal machinegun.
        It is a documented fact that legally owned machineguns are almost never utilized
in crimes. How does the public know that the rifle(s) utilized by the Las Vegas shooter
were not illegally modified machineguns? Unless either the ATF, the Las Vegas Metro
Police Department or the FBI provides actual documentary proof that the rifles were
not illegally modified machineguns, but were instead “regular” semi-automatic firearms
with bumpstock type devices attached, we will never know.
       The National Firearms Act (“NFA”) regulates the manufacture and transfer of
certain firearms by, in sum, requiring a person proposing to make or transfer an NFA
firearm to: (1) file an application with the BATFE; (2) obtain BATFE approval; (3) have
the firearm registered in the National Firearms Registration and Transfer Record
(completed by BATFE upon approval); and (4) pay a $200.00 tax which is evidenced
by the BATFE’s attachment of a tax stamp on the application, which is then returned
to the maker or transferor. 26 U.S.C. §§ 5812 and 5822. Possession of an NFA firearm
not registered to the possessor is a felony punishable by ten years imprisonment and a
fine of $250,000.00. 26 U.S.C. § 5861(d), 18 U.S.C. § 3571(b). Machineguns, defined
under federal law as any firearm capable of firing more than one round automatically
by a single function of the trigger, fall under the NFA’s purview. 26 U.S.C. § 5845(b).
     18 U.S.C. § 922(o) generally bans the transfer or possession of a machinegun
manufactured after May 19, 1986. The statute provides:
                    (1) Except as provided in paragraph (2), it shall be unlawful for any
                    person to transfer or possess a machinegun.
                    (2) This subsection does not apply with respect to—
                    (A) a transfer to or by, or possession by or under the authority of,
                    the United States or any department or agency thereof or a State,
                    or a department, agency, or political subdivision thereof; or
                    (B) any lawful transfer or lawful possession of a machinegun that
                    was lawfully possessed before the date this subsection takes effect.
       This provision was enacted in 1986 as §102(9) of the Firearm Owners’ Protection
Act, which amended the GCA of 1968. The legislative history of this amendment is,
for the most part, nonexistent, except for the mention on the floor by its sponsor,

3
    This number is the estimate provided in the proposed rule.

                                                     Page 3 of 7

                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 00055
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 57 of 382

Vivian Chu
Office of Regulatory Affairs
ATF 2017R-22
June 26, 2018

Representative Hughes, when he stated, “I do not know why anyone would object to
the banning of machine guns.” 132 Cong. Rec. H1750 (1986) (statement of Rep.
Hughes). While the House vote on the amendment failed, the amendment still made it
into the final bill.
       The prohibition on machineguns does not apply to all machineguns. Any
machinegun lawfully owned before May 19, 1986 may still be transferred or possessed.
Accordingly, there are tens of thousands, if not hundreds of thousands, of machineguns
lawfully possessed by private individuals and, but for §922(o), there would likely be
hundreds of thousands more lawfully possessed by private individuals. If bumpstocks
are now machineguns, then there are an additional 519,927 machineguns that are
typically owned by law abiding citizens for lawful purposes. This surpasses the
threshold of approximately 200,000 stun guns found to trigger a common use analysis
because a firearm cannot be banned unless it is both dangerous and unusual. See District
of Columbia v. Heller, 554 U.S. 570 (2008) and Caetano v. Massachusetts, 577 U.S. 1027
(2016). The proposed regulation attempts to downplay the significance of the numbers
of machineguns that would be in circulation that would be otherwise lawfully owned.
This is important because these cases referenced in the proposed regulation did not
surpass the threshold established by Caetano for common use protection.
       Argument
       First, "[i]t is a widely accepted principle of administrative law that the courts base
their review of an agency's actions on the materials that were before the agency at the
time its decision was made." IMS, P.C. v. Alvarez, 129 F.3d 618, 623, 327 U.S. App. D.C.
126 (D.C. Cir. 1997). This review generally must be based on the "whole record"—no
more or no less. See Overton Park, 401 U.S. at 420 ("[R]eview is to be based on the full
administrative record that was before the [agency] at the time [it] made [its] decision."
(emphasis added)); Walter O. Boswell Mem'l Hosp. v. Heckler, 749 F.2d 788, 792, 242 U.S.
App. D.C. 110 (D.C. Cir. 1984) ("If a court is to review an agency's action fairly, it
should have before it neither more nor less information than did the agency when it
made its decision."). Styrene Info. & Research Ctr., Inc. v. Sebelius, 944 F. Supp. 2d 71, 84
(D.D.C. 2013).

        As such, this proposed regulation should be able to easily demonstrate whether
bumpstocks were utilized in the Las Vegas shooting and that the shooter did not have
illegally modified machineguns in his possession. If not, then the stated reasons of the
ATF in attempting to regulate these as machineguns is arbitrary and capricious. This
comment does not take a position on whether bumpstocks were used or not, only that
if they were utilized, then evidence of that utilization should be produced.
                                         Page 4 of 7

                                                                      Guedes v. ATF / Codrea v. ATF
                                                                                  Ex. 1 Page 00056
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 58 of 382

Vivian Chu
Office of Regulatory Affairs
ATF 2017R-22
June 26, 2018


       Secondly, the proposed rule is vague as it redefines statutory law from “single
function of the trigger” to “single pull of the trigger.” The plain language of this new
proposed rule would appear to turn binary triggers into machineguns. If that is the
case, then this is further evidence that the ATF has not fully taken into consideration
the pitfalls of legislating by regulation as there are no numbers of binary triggers sold,
the costs associated with disposal of same, and in fact, the proposed rule is completely
silent with regard to binary triggers.

       Thirdly, this proposed regulation would turn, overnight, hundreds of thousands
of individuals who legally possess(ed) bumpstock devices into unwitting felons. A
firearm accessory heretofore specifically allowed by the ATF would be magically
declared a machinegun by administratively legislating through regulation. Further, this
proposed rule does not provide any relief to the owners of said bumpstocks and the
investment in those bumpstocks. Instead, once this regulation is final-ruled, the
instruction to the owners will be, “Mr. and Mrs. America, turn them all in.” This is a
governmental taking without compensation and is itself unconstitutional.

        Fourth, this regulation can be read, and indeed given the ATF’s previous
expansions of meanings of regulations and legislation, to prohibit belt loop bump firing
(perhaps even belt loops?) and bump firing in general if you gain the skill and ability to
do so. So, in essence, what the proposed rule could do is to affect a rate-of-fire
limitation in a few more iterations, revisions and expansive readings. If the ATF can
redefine statutory language in excess of the ATF’s authority, why not just propose a
one round per minute rule?

       Congress legislated the current statutes for what defines a machinegun. The ATF
simply has no authority to expand Congress’ definition when Congress specifically set
forth the rule. The statute is not vague. It is not ambiguous. And given the previous
ten or so years of ATF guidance, was not up for interpretation as the ATF has
*consistently* taken the position that a bumpstock was not a machinegun. But now,
the ATF wants to change its position based on the current political climate. In a recent
United States Supreme Court case, Wis. Cent., Ltd. v. United States, No. 17-530, 2018 U.S.
LEXIS 3837 (June 21, 2018), the Supreme Court interpreted a taxing statute that
differentiated between “money” and “stock.” For years, the statute was treated the
same way and the statute at issue unambiguously excluded “stock” from “money”. The
corollary here is that the NFA, as passed in 1934, used a definition of machinegun that

                                        Page 5 of 7

                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                Ex. 1 Page 00057
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 59 of 382

Vivian Chu
Office of Regulatory Affairs
ATF 2017R-22
June 26, 2018

has been consistent since its enactment using the standard of a “single function of the
trigger.” If Congress understood, in 1934, that a machinegun operated automatically
on the basis of a “single function of the trigger”, then it follows that under Wisconsin
Central, the ATF cannot expand the definition as it attempts to do so here because the
definition of machinegun (and how it has always been) is unambiguous.
       Take this quote from the recent case: “If Congress really thought everything is
money, why did it take such pains to differentiate between money and stock in the
Internal Revenue Code of 1939?” Wis. Cent., Ltd. v. United States, No. 17-530, 2018 U.S.
LEXIS 3837, at *12 (June 21, 2018) (attached). The same would hold true for
bumpstocks. If Congress wanted to expand the definition of machinegun, it would
have simply done so. However, in 1934 it was understood that machineguns could not
be banned and, instead, Congress infringed on the rights of Americans via the taxing
power. Further, and as just recently stated so eloquently by the Supreme Court,
“Congress alone has the institutional competence, democratic legitimacy, and (most
importantly) constitutional authority to revise statutes in light of new social problems
and preferences. Until it exercises that power, the people may rely on the original
meaning of the written law.” Id. at *17.
        Finally, should the ATF desire to classify these firearm accessories as
machineguns, it would have no choice but to declare an amnesty and allow for the
registration of these devices, as machineguns. The ATF could take the position that
922(o) prohibits this, but it is incorrect. §922(o) provides that the ATF could allow the
possession and/or transfer of any machinegun, even ones made after May 19, 1986
utilizing the “under the authority of” clause. In fact, this would evade the constitutional
takings clause issue and allow lawful possessors of said bumpstocks to continue to enjoy
and possess in compliance with federal law. In fact, the ATF is well aware of its
authority as it has previously allowed a Form 1 machinegun to be lawfully manufactured
and possessed after the May 19, 1986 cutoff. See Attachment.

       Ultimately, the ATF should choose to do nothing because it is beyond the scope
of your enabling statutes to redefine what Congress has already defined. Doing nothing
would allow Congress, if it chose, to revise its statutes and not rely on an unelected
agency to further erode citizens’ rights under the Second Amendment. Truthfully, that
courts have ignored and eviscerated the Second Amendment is a travesty. Machineguns
would no doubt have been protected when the Founders drafted the Second
Amendment as machineguns are the quintessential military weapon of today. In fact,


                                        Page 6 of 7

                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00058
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 60 of 382

Vivian Chu
Office of Regulatory Affairs
ATF 2017R-22
June 26, 2018

most agencies also have a nice collection of machineguns, but apparently the citizens
that fund these agencies just cannot be trusted to own these types of weapons.

       This comment incorporates the expert report of Mr. Len Savage from Historic
Arms, LLC as he sets forth in specific detail the problems with this proposed rule.
Additionally, this comment incorporates Maryland Shall Issue’s comment as a further
basis for why the proposed rule should not be implemented. In any event, should this
rule be finalized and implemented, we are prepared to litigate the matter immediately.

                                               Yours very truly,




                                      Page 7 of 7

                                                                   Guedes v. ATF / Codrea v. ATF
                                                                               Ex. 1 Page 00059
                     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 61 of 382
                                          v-8UREAU OF AI..COHOL., TOBACCO AND FIREARMS                           1.
      · oeARTMENTOf'THE~~E.ASTOuMAKE AND REGI STER A FIREARM
                APPLICATIOtY
                                                                                                                 ft • c~
~~--_:_=-~=~(S~Ub~ntJ~'!t~in~dup~~llc~a=~~·~s:e=e~lns~truc~~tt~
                                                   T~oo~ns;;~;;~;;.~;;~Z:;;;;i
                                                                                                                                M


[
    TO: ...UONI F1rwnna .AC1 _Branch. B!JrMU
                                              0 1 .Alcohol .       and
                                                                Flr..        rms,
                                                                      W11hlngt.On,           DC 20228                 ~=~r~
                                                                                                                      llble to t tM •
                                                                                                                      qulred " Na'.
                                           . .         r ulred by s.ctlonr 5821 end 6822 of the N.tlonal              yov.
        Tl'le unden"iped heriOY makes tfJ9hcat5o;''t: m:e end reglner the {lr"rm described below.
        Firwrmt ,Act, Title 26 U.S.C., Chapter •

              ""TION IS MADE BY:
    2. .APf'LI..,.                  ~ INDIVIDUAL
                          0 GOVERNMENT ENTITY
                                                                                                                 0 c. TAX EX
                                                                                                                      made by o
                                                                                                                      session oft'
                                                                                                                      •ubdivislo,.._
                                                                                                                      organlm lc. • - •• • ~ • •· • •
                                                                                                                      engeged In c:riminel lnvestigetfom.




                                                                                        Seen adjud icated as a ment11l defective or been
                                                                                        co mmitted to ony mentol institution?

                                                                                        Re nounced his or her CltlzeMh lp , having been a citizen
                                                                                        o f t he United S tates?                                                    X
                                                                                                  UNDER PENALTIES OF PERJUR Y, I DEC LARE thet I haw e~
                                                                            to the ben of my knowledge and belief it Is true, accurate and complete end the mlk.iD
                                                                co~1rtl 1:w~~ a violttlon of Chapter 44, Tltle 18, U.S.C., 0\aPter 53, Titl e 26, U.S.C., Tttle VII of ~
                                                 anli!lfldlt!d _          " '"'" '•''"'" of State or local lew.

                                                                                 .AN D T ITLE OF .AliTHOAI ZEO OF                .~ LOF FIRM          1 3. DATE
                                                                                 RPORAT ION (J.{appllcablt)
                                                                                                                                                      ~-:l/-8t.




                                                              DATE

                                                                                                                      Guedes v. ATF / Codrea v. ATF
                                                                                                                                  Ex. 1 Page 00060
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 62 of 382



        Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                     Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                   Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                          ID: ATF-2018-0002-1557
                                                                      Tracking Number: 1k2-92ai-gtxq


 Comment                                                              Document Information
                                                                     Date Posted:
 Because these bump-stock-type devices allow multiple
                                                                     Apr 3, 2018
 rounds to be fired when the shooter maintains pressure on
 the extension ledge of the device, ATF has determined that          RIN:
 bump-stock-type devices are machinegun conversion                   1140-AA52
 devices, and therefore qualify as machineguns under the
                                                                     Show More Details
 GCA and the NFA.

 In other words, removing the extension ledge means that
 there is no longer an extension ledge or similar item upon
                                                                      Submitter Information
 which the shooters finger can maintain rearward pressure,           Submitter Name:
 therefore the free moving finger would then have only the           Michael Taylor
 trigger itself upon which to apply rearward pressure and, in
                                                                     Organization Name:
 resetting the trigger, release pressure off of. Such a device
                                                                     Michael E. Taylor, Attorney at Law
 could therefore not be a machinegun under this
 interpretation rubric. This is likewise consistent with your
 proposed Alternative 3Opportunity alternatives wherein all of
 the techniques and devices employed do not have shelves
 on which to rest the shooters finger and in which the entire
 firearm is likewise allowed to reciprocate to facilitate rapid
 firing, and only the trigger, and not some other surface, is
 contacted, pulled or released by the shooters finger.

 Many times throughout this proposal we see variations on
 this statement, ATF Ruling 20062 determined that the
 phrase single function of the trigger in the statutory definition
 of machinegun was best interpreted to mean a single pull of
 the trigger. Also phrased as the language of the statute and
 the legislative history supported ATFs interpretation of the
 statutory phrase single function of the trigger as
 synonymous with a single pull of the trigger . Unfortunately,
 this interpretation and insistence that function is
 synonymous with pull must therefore result in the
 proliferation of new civilian owned M2 .50 Cal machineguns


                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 00061
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 63 of 382


(now non-machineguns) due to the fact that fire is most
assuredly initiated by a forward press, and 100% certainly
not by any manner of pull against a trigger. Furthermore, fire
initiated by voice command, electronic switch, swipe on a
touchscreen or pad, or any conceivable number of
interfaces not requiring a pull will open up a whole new fully
automatic non-machinegun market. The authors of the
original legislation were, in fact, intimately familiar with
spade grip, press activated machineguns, as they were
common to all Maxim, Browning 1917, M2 and other heavy
machineguns dating back to before World War One, and still
in common use today. The term function was chosen
intentionally. A pull, a push, a release, a voice command, a
swipe on a touch screen are all examples of functions, and if
fire continues automatically and constantly after that pull,
push, release, command, or swipe, then that single function
is what triggers automatic fire.

For this reason your interpretation that the term
automatically in your proposed changes to 478.11 Meaning
of terms - Machine Gun, as means functioning as the result
of a self-acting or self-regulating mechanism that allows the
firing of multiple rounds through a single function of the
trigger; and single function of the trigger means a single pull
of the trigger, is not a functional substitute or clarification of
the term single function. Saying that a function can include,
but is not limited to a pull will work in context with bump
stocks, and not open up a whole new can of worms by
limiting your interpretation of function exclusively to pulls. No
jury is going to interpret push as pull, or swipe as pull, or
release as pull, or say the magic word as pull. Certainly a
single function includes a single pull, but cannot be limited
to exclusively, or worse, as the ATF has argued
synonymously with only pull. Trying to limit function
regarding triggers will backfire. Any child who has seen a
door labeled push on one side, and pull on the other, knows
the difference; and likewise any jury given this example will
see it that way as well.

Thanks for taking the time to review this response.

Sincerely,
Michael E. Taylor, Attorney at Law




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                Ex. 1 Page 00061a
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 64 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                     Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                  Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                          ID: ATF-2018-0002-2593
                                                                     Tracking Number: 1k2-92b8-8hv6


 Comment                                                              Document Information
                                                                     Date Posted:
 After reading the ATF proposed regulation changes, below
                                                                     Apr 4, 2018
 are my options on this matter & alternatives to BANNING an
 item "Bump-Stocks", plus the alternatives I offer don't BAN         RIN:
 or make law abiding citizens in to criminals overnight. I will      1140-AA52
 also go over the states that have already banned "Bump-
                                                                     Show More Details
 Stocks" below.

 1. Removal of device's extension ledge. (Sample images will
 be provided)
                                                                      Submitter Information
 * The bump-stock-type device functions as a self-acting &           Submitter Name:
 self-regulating force that channels the firearm's recoil energy     Ryan Mulder
 in a continuous back-and-forth cycle that allows the shooter
 to attain continuous firing after a single pull of the trigger so
 long as the trigger finger remains stationary on the device's
 extension ledge (as designed).
 - I have tested with my friend a police officer an unmodified
 & altered bump-stock with ledge removed. The removed
 ledge reduces the devices effectiveness & wears out the
 shooter faster, only after about 3 mags, were the original
 with the ledge intact starts to wear out around 20-24 mags.
 This simple change can be done very easy to any bump-
 stock, & makes the device on function by shooters own
 trigger finger with no help from a ledge.
 - This does not BAN the item & would prevent it from be
 misused, because 3 mags is about the same you can bump
 fire a unmodified weapon before the shooter is wore out.
 - This mod to the bump-stock also takes longer to get use to
 in order to use the item, me & my cop friend it took almost
 20-30 mins to get it work without the device's extension
 ledge, where only 2-3 mins with the original.

 - People who have made homemade bump-stocks can easy
 remove the extension ledge from their version.


                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 00062
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 65 of 382



2. Add the following to all current option letters on bump-
stocks.
- Any felon or prohibited person bared for possession a
firearm, if found in possession of this accessory will be
subject to & not including imprisonment of up to 10 years, a
fine of up to $250,000.
- This simple change to the option letters is a good
deterrent, a felon would no want to go to jail for 10 years
over an accessory, but this won't affect law abiding citizen.
- In states that have already BANNED bump-stocks &
owners of them before the BAN should have them
"Grandfathered" because they were legal for over 8 years
when they purchased the item before the actions of 1 evil
man changes all that, they should not be punished or have
their property taken, & in the case of Massachusetts up to
LIFE in PRISON just for having an accessory, instead only
going after criminals.

3. In states that have BANNED bump-stocks as stated in
alternative #2, GRANDFATHERED any bump-stock before
ban, & only punish criminal found in possession of that type
of accessory. This leave the people that legally purchased
them before the ban alone & would only affect criminal
found with them & it can be left up to the states to decide if
the would like bump-stocks to be sold in their states, but
don't punish those that purchased them be for that decision.
- This prevents law abiding citizen's from becoming criminal
& felons overnight with the stroke of a pen, & the loss of
their legal purchased property with out compensation.

4. Change the way bump-stocks are sold in order to help
prevent evil people from getting their hands on them, & as in
alternative #2 change option letter so that if a felon or
prohibited person bared for possession a firearm is cot
with one is punished, but leave legal owners alone.
- Require all bump-stock sold to be shipped to a FFL & the
purchaser must provide the weapon it is to be installed on, &
once installed the must pass a background check to get the
provided weapon back.
- This can help find & imprison felons & prohibited person's
attempting to purchase a bump-stock, & because they are
bared for possession a firearm, if they come into to the FFL
with one to get a bump-stock they are incriminating them-
self.
- This will how get criminals & their weapons off the street,
but only causing a delay for law abiding citizens buy the
same item.

5. BANNING will not stop an evil person form getting their
hands an a item, look at drugs make them banned & highly
illegal has not stopped people from getting them.
- Bump fire is a just a way of shooting a weapon & can be
done with or without a bump-stock, again as stated in
alternative #2 make is so a felon "evil person" doesn't want
to be found in possession of the item without punishing law
abiding citizens.

                                                                 Guedes v. ATF / Codrea v. ATF
                                                                             Ex. 1 Page 00063
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 66 of 382


- Below is in uploads files are example of how easy bump-
stocks are to make at home, they can be done for as little as
$20 a simple 2 x 4 piece of wood & 4 nails or screws. They
have had the 3d blueprint available for over 6 years for free
download ^ can be printed up on most 3d printers in less
then 2 hours, I checked on known download link it had been
download 12.6 million times.

All the alternatives to the proposed rule changes don't
punish law abiding citizens & only affects criminals.

Thank You ATF for allowing me to give me option & input on
the issue.



Attachments (10)

         Homemade Bump-Stock 02
         View Attachment:


         Homemade Bump-Stock 03
         View Attachment:


         SSAR-15® MOD Side View
         View Attachment:


         Homemade Bump-Stock 01
         View Attachment:


         3D Printed Bum Stock 01
         View Attachment:


         SSAR-15® OGR 01
         View Attachment:


         SSAR-15® OGR 02
         View Attachment:


         SSAR-15® OGR Side View
         View Attachment:


         SSAR-15® OGR 04
         View Attachment:


                                                                Guedes v. ATF / Codrea v. ATF
                                                                            Ex. 1 Page 00064
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 67 of 382




  SSAR-15® OGR 03
  View Attachment:




                                                    Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 00065
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 68 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00066
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 69 of 38




                                  Guedes v. ATF / Codrea v. ATF
                                              Ex. 1 Page 00067
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 70 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00068
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 71 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00069
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 72 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00070
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 73 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00071
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 74 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00072
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 75 of 382




                                                                Guedes v. ATF / Codrea v. ATF
                                                                            Ex. 1 Page 00073
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 76 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00074
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 77 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00075
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 78 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                  Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type               Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                       ID: ATF-2018-0002-1123
                                                                  Tracking Number: 1k2-92ag-x22p


 Comment                                                           Document Information
                                                                  Date Posted:
 The first comment that comes to mind on this proposal is: Ri
                                                                  Apr 3, 2018
 - Dic - U - Lous! It is totally ridiculous that the BATFE is
 suddenly making a purely political move to reverse long-         RIN:
 standing determinations.                                         1140-AA52

                                                                  Show More Details
 My background consists of over forty years government
 service with the US Army, both active duty military and as a
 civilian employee, including service as a Master Gunner
 (19Z50C5) while in the military, and as both a Weapons
                                                                   Submitter Information
 Training Specialist (GS-1712-11) and an Administrative           Submitter Name:
 Officer (GS-341-11).                                             Thomas Currie

 While the BATFE has been known to flip-flop on some
 issues when faced with political pressure (most recently
 their double flip-flop on pistol braces) this proposed new
 regulation is the most egregious example of the BATFE
 attempting to completely bypass the legislative process.

 The definition of a machine gun is well established in federal
 law and the BATFE has repeatedly CORRECTLY
 determined that "bump stocks" and "binary triggers" do not
 fall within that definition.

 Recently we have a media-fueled public outcry "How can
 this be legal?" -- in response, the BATFE again correctly
 determined that such devices are completely legal under
 federal law and clearly stated that outlawing such devices
 would require a change to existing federal laws.

 Whether bump stocks and other devices should be outlawed
 is an issue for the US Congress -- not a regulatory agency
 whose charter is to interpret and enforce existing laws -- the
 BATFE has no authority to create new laws.


                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 00077
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 79 of 382



Further, the proposed regulations are technically flawed in
many ways. Nearly any semi-automatic rifle can be bump
fired without any special stock or other accessory. Bump
firing was being done long before the first "bump stock" was
created. While a so-called "bump stock" might make bump
firing a little easier, the simple fact is that anyone who can
learn to operate a bump stock can also learn to bump fire
the same gun without any accessory -- are we going to also
outlaw fingers and belt loops? Should we also outlaw simply
pressing a trigger very quickly?

The BATFE description stating "The device itself then
harnesses the recoil energy of the firearm, providing the
primary impetus for automatic fire." is plainly false from a
purely mechanical and technical standpoint. The "device" (a
so-called "bump stock") does not harness anything. The
recoil energy is being "harnessed" by the shooter's support
arm. Would the BATFE propose to outlaw using both hands
to operate a rifle (which, by the way, is part of the definition
of a rifle)?

If these devices are going to be outlawed, the first step
MUST be for Congress to pass appropriate legislation. Once
there is a legal basis, THEN AND ONLY THEN will to be the
role of BATFE to develop regulations to apply that
legislation -- and whatever regulations the BATFE then
adopts will need to be technically correct. The present
proposal lacks any legal basis and includes numerous
technical inaccuracies that would need to be corrected.




                                                                   Guedes v. ATF / Codrea v. ATF
                                                                               Ex. 1 Page 00078
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 80 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                    Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                 Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                        ID: ATF-2018-0002-12748
                                                                    Tracking Number: 1k2-92g3-qb1v


 Comment                                                             Document Information
                                                                    Date Posted:
 Regarding docket ATF 2017R-22.
                                                                    Apr 18, 2018
 To: Bureau of Alcohol, Tobacco, Firearms, and Explosives
 (BATFE)                                                            RIN:
                                                                    1140-AA52
 I do not support this proposed rule. This rule would
                                                                    Show More Details
 misinterpret the definitions used to determine if a firearm
 with a bump-stock is a machinegun.

 Cited from this docket:
                                                                     Submitter Information
 "V. Proposed Rule                                                  Submitter Name:
       Finally, it is reasonable to conclude, based on these        Isaac Arritt
 interpretations, that the term "machinegun" includes a
 device that allows a semiautomatic firearm to shoot more
 than one shot with a single pull of the trigger by harnessing
 the recoil energy of the semiautomatic firearm to which it is
 affixed so that the trigger resets and continues firing without
 additional physical manipulation of the trigger by the
 shooter. When a shooter who has affixed a bump-stock-type
 device to a semiautomatic firearm pulls the trigger, that
 movement initiates a firing sequence that produces more
 than one shot. And that firing sequence is "automatic"
 because the device harnesses the firearm's recoil energy in
 a continuous back-and-forth cycle that allows the shooter to
 attain continuous firing after a single pull of the trigger, so
 long as the trigger finger remains stationary on the device's
 ledge (as designed). Accordingly, these devices are
 included under the definition of machinegun and, therefore,
 come within the purview of the NFA."

      This information above is inaccurate. A bump-stock
 does not "harness the firearm's recoil energy in a continuous
 back-and-forth cycle that allows the shooter to attain
 continuous firing after a single pull of the trigger, so long as


                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 00079
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 81 of 382


the trigger finger remains stationary on the device's ledge
(as designed)." A bump-stock allows the trigger-finger to
remain in a position and requires the manual force of the
person's other hand to push the firearm forward. The bump-
stock does not have any automatic function to it. Without a
person manually pushing the firearm against the recoil it
would stay rearward and not fire a second time.

      Bump-firing is an intrinsic capability of most semi-
automatic firearms. Bump-firing is a technique that uses the
recoil of a firearm to reset the trigger while using forward
pressure with another hand to push the firearm into the
trigger-finger thereby pulling the trigger and firing another
shot. A bump-stock is only assists in the technique of a
person bump-firing.

      The 2nd Amendment of the United States clearly states
that "the right of the people to keep and bear Arms, shall not
be infringed." The National Firearms Act is a clear
infringement on the natural human rights of the people. This
proposed rule only further infringes on those fundamental
rights. I, in good conscious, oppose this rule been proposed.




                                                                 Guedes v. ATF / Codrea v. ATF
                                                                             Ex. 1 Page 00080
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 82 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                    Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                 Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                        ID: ATF-2018-0002-14969
                                                                    Tracking Number: 1k2-92qs-z5k6


 Comment                                                             Document Information
                                                                    Date Posted:
 After having read the proposed rule document, I felt it would
                                                                    Apr 23, 2018
 be appropriate to comment on it piece-by piece as I was
 reading therefore, given it's length and quotation I had to        RIN:
 make, it will have to be broken into pieces and submitted as       1140-AA52
 individual comments. ">" proceeds quotes, ">>" proceeds
                                                                    Show More Details
 comments. My personal recommendations are as follows:

 1. Call for a congressional hearing and send a
 representative and let them know in no uncertain terms that
                                                                     Submitter Information
 this was the fault of the 99th US congress for having tacked       Submitter Name:
 on the Hughes' Amendment to the Firearm Owners                     Mason Hicks
 Protection Act of 1986.

 2. Propose the authoring of a bill that would repeal 18
 U.S.C.922(o) as it is currently written, opening the registry to
 post-'86 machine guns, and amend GCA/NFA listing bump-
 fire assist devices as NFA items.

 3. Have an NFA amnesty similar to the Machine Gun
 Amnesty of 1968, have it open for a year, do not charge
 them their NFA tax (or at the very least allow for a
 considerable discount in order to negate the cost of this
 service), serialize all bump stocks and other bump-fire-
 assist devices which are brought in for registration, and
 have it open for all NFA items (which could include, but not
 limited to: destructive devices like the Striker 12/Street
 Sweeper, USAS-12's, Homemade and commercial machine
 guns/war trophies, SBS/SBR, et cetera)

 SUMMARY
 >"...such devices allow a shooter of a semiautomatic firearm
 to initiate a continuous firing cycle with a single pull of the
 trigger."


                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 00081
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 83 of 382


>>Incorrect, the weapon still only fires a single shot with a
single pull (function) of the trigger. The addition of the bump
stock does not change this fact.

>"Specifically, these devices convert an otherwise
semiautomatic firearm into a machinegun by functioning as
a self-acting or self-regulating mechanism that harnesses
the recoil energy of the semiautomatic firearm in a manner
that allows the trigger to reset and continue firing without
additional physical manipulation of the trigger by the
shooter. "
>>The weapon is still only semi automatic. The cyclic rate is
a function of the operator pulling the trigger into his/her
finger to fire one shot for every trigger pull. The recoil of the
weapon assists in reset, yes; however, the entir weapon has
to be continuously physically manipulated by the operator of
the weapon.

>"Hence, a semiautomatic firearm to which a bump-stock-
type device is attached is able to produce automatic fire with
a single pull of the trigger. "
>>Again, the weapon only fires once for each trigger pull.
The operator is only assisted in trigger reset by the recoil
energy of said weapon. This is not what makes a machine
gun as defined by the National Firearms Act of 1934 nor the
Gun Control Act of 1968.

>"The bump-stock-type devices covered by this proposed
rule were not in existence prior to the GCA's effective date,
and therefore would fall within the prohibition on
machineguns if this Notice of Proposed Rulemaking
(NPRM) is implemented. Consequently, current possessors
of these devices would be required to surrender them,
destroy them, or otherwise render them permanently
inoperable upon the effective date of the final rule."
>>Firstly, the device does not operate at all, it simply rests
with the operator's high pocket shoulder. The weapon itself
operates as it normally does as is the nature of any other
self-loading/semi-automatic firearm. Secondly, these
devices were legally purchased and owned, as ATF had
already given their approval of legality (and rightfully so
given what they are under the the laws upon which firearms
are defined and regulated) . Such a surrender/destruction
demand without financial compensation could also be
construed as unconstitutional under the 2nd, 4th, 5th, and
10th Amendments to the US constitution as well; although
the constitution never seems to matter unless a court says
so. Given the Circuit and Supreme courts' history of going
through outrageous mental gymnastics for the sake of
protecting the blatantly unconstitutional NFA and GCA, it
seems unlikely they'd ever defend a firearm accessory.

SUPPLEMENTARY INFORMATION

>"The device itself then harnesses the recoil energy of the
firearm, providing the primary impetus for automatic fire."
>>The device does not harness anything, the operator does.

                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                Ex. 1 Page 00082
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 84 of 382


It simply helps restrict the operator's placement of their
finger while reciprocating recoil motion of the rifle moves
independently of the stationary stock/pistol grip so that the
operator can work against recoil energy while pulling the
trigger into their finger. It essentially does the same work
that training wheels on a bicycle do: train the operator to
perform his/her intended operation.

>continued in next comment..<




                                                                Guedes v. ATF / Codrea v. ATF
                                                                            Ex. 1 Page 00083
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 85 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov


      Regulations.gov -
      Your Voice in Federal


        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                                 ID: ATF-2018-0002-91757
                                                                    Tracking Number: 1k2-93yo-td7z
For related information, Open Docket Folder

                                                                    Document Information
                                                                   Date Posted:
 Comment                                                           Jul 5, 2018

                                                                   RIN:
 In the rule proposed in Docket ATF 2017R-22, the ATF              1140-AA52
 states that the "relevant statutory question is whether a
 particular device causes a firearm to shoot * * *                 Show More Details
 automatically more than one shot, without manual
 reloading, by a single function of the trigger" and goes on
 to propose that "the definition of a machinegun includes a         Submitter Information
 device that allows semiautomatic firearms to shoot more
                                                                   Submitter Name:
 than one shot with a single pull of the trigger by harnessing
                                                                   Jason Cuny
 the recoil energy of the semiautomatic firearm to which it is
 affixed so that the trigger resets and continues firing
 without additional physical manipulation of the trigger by
 the shooter (commonly known as bump-stock-type
 devices)"

 In point of fact the firearm components commonly known
 as bump-stock-type devices do not shoot more than one
 shot with a single pull of the trigger by harnessing the recoil
 energy of the semiautomatic firearm to which it is affixed so
 that the trigger resets and continues firing without
 additional physical manipulation of the trigger by the
 shooter. For this reason the proposed ruling does not apply
 to commonly available bump-stock-type devices.

 In the case of the devices commonly marketed as bump
 stock devices, the trigger is reset by the recoil of the
 weapon, but is not fired again by any action of the stock
 device. The stock device harnesses no energy, and
 provides no forward motion to initiate another shot.
 Because the stock provides no forward motion of the rifle,
 and does not cause the trigger to come into contact with
 the shooter's finger, the device does not fall within the
 purview of the proposed rule as written since the stock
 device does not "harness the recoil energy of the


                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 00084
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 86 of 382


semiautomatic firearm to which it is affixed so that the
trigger resets and continues firing without additional
physical manipulation of the trigger by the shooter".

A bump stock does not harness recoil energy. The recoil
energy is merely spent in collision with the back of the
stock device. Without the shooter physically manipulating
the trigger by pulling the entire rifle forward to contact the
grip finger, the trigger is not pulled, and no continuance of
fire occurs. For this reason the devices commonly known
as bump-stock-type devices do not fall within the purview
of this new rule.

An animated gif file has been included in this attachment
which shows a shooter pulling the trigger of a regular semi-
automatic rifle equipped with a Fostech DefendAR sliding
stock. The shooter's finger comes to a stop on the stock's
finger rest. The rifle comes to a stop at the back of the
stock's slot. The stock harnesses no energy, and the
trigger is not pressed again. No continuance of fire occurs.
Under the proposed rule this devices is not a "bump-stock-
type device", since it does continue firing without additional
physical manipulation of the trigger by the shooter. It is not
subject to 18 USC 922(o) under the proposed rule. In order
for this firearm to continue firing, the shooter must
physically manipulate the trigger by pulling the entire rifle
forward until the trigger that moves with this firearm is
depressed by the shooter's stationary grip finger.

Given that the proposed rule demonstrably does not apply
to the firearms components commonly marketed as "bump
stocks", it should be clear that to move forward with this
ruling would be at the very least wasteful, and potentially
disastrous as mistaken enforcement actions may be taken
against owners of devices demonstrably not affected by
this rule, and will resort in law suits and potential damages.

The ATF should consider and publicly recognize the fact
that these stocks do nothing but provide additional support
and stability to the bump fire capability that virtually all
semi-automatic firearms are capable of, and discontinue
further action on the current rule proposal.



Attachments (1)

          FostechDefendAROneHandTest-sm
          View Attachment:




                                                                 Guedes v. ATF / Codrea v. ATF
                                                                             Ex. 1 Page 00085
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 87 of 382




                                     Guedes v. ATF / Codrea v. ATF
                                                 Ex. 1 Page 00086
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 88 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2017-27898


The is a Comment on the Alcohol Tobacco Firearms and                Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Application of the          Jan 25 2018, at 11:59 PM ET
Definition of Machinegun to Bump Fire Stocks and Other
Similar Devices
For related information, Open Docket Folder                          ID: ATF-2018-0001-1385
                                                                Tracking Number: 1k1-90mr-pzuz



                                                                 Document Information
 Comment
                                                                Date Posted:
                                                                Jan 5, 2018
 Agencies:
 Bureau of Alcohol, Tobacco, Firearms, and Explosives           RIN:
                                                                1140-AA52
 Agency/Docket Number:
                                                                Show More Details
 Docket No. 2017R-22

 Commenter standing: Consumer
                                                                 Submitter Information
 Credentials: Certified Pistol Instructor and Certified Range   Submitter Name:
 Safety Officer                                                 Bernard Owens

 Questions directed to consumer commenters are:

 "21. In your experience, where have you seen these devices
 for sale and which of these has been the most common
 outlet from which consumers have purchased these devices
 (e.g., brick and mortar retail stores; online vendors; gun
 shows or similar events; or private sales between
 individuals)?

 22. Based on your experience or observations, what is (or
 has been) the price range for these devices?

 23. For what purposes are the bump stock devices used or
 advertised?"

 Answers:

 21. In my experience, I have seen these devices for sale in
 brick and mortar retail stores, from online vendors, and at
 gun shows. I have most commonly seen them stocked in the
 largest numbers in brick and mortar stores. I have seen the


                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 00087
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 89 of 382


most sales at gun shows. I have no experience with any
private sale.

22. Based on my experience, the price range for these
devices has generally been USD$139.00 to USD$149.00.

23. The purposes for which bump stock devices have, in my
experience, been used or advertised is multi-faceted. Each
of the following paragraphs is based directly on my personal
experience.

First, given that bump-firing techniques that do not use
bump fire stocks are ubiquitously understood amongst
serious firearms enthusiasts, the stocks help reduce the
learning curve for shooters who wish to discharge a firearm
rapidly. While bump-firing is easily done by a number of
other methods, those methods require excessive and
potentially dangerous practice to become proficient. Bump-
fire stocks also require practice to use effectively but the
amount of effort expended in that practice is substantially
reduced compared to the older bump-fire techniques such
as two-handed free recoil against the shoulder, hooking the
trigger finger into a belt loop, using a bump stick, etc. in
order to obtain a similar level of skill.

Second, bump-fire stocks are used to better control aim
while bump firing. In other words, using one of the stocks
generally, for a given level of practice and/or instruction,
results in more accurate fire. This is a major advantage to
this technology; better accuracy during rapid fire means
fewer chances for errant shots to strike unintended targets.

Third, bump-fire stocks are used to better control the
number of shots fired when bump-firing. Older bump-firing
techniques and devices tend to result in less control over
the number of shots fired and it is often true that excessive
rounds are fired. With a bump stock, it is easy to limit firing
strings to two or three rounds.

Fourth, bump-fire stocks are advertised for the purpose in
the previous paragraph. A review of point-of-sale video
advertising used by Slide-Fire, for example, makes it very
clear that one of the primary purposes of the stock is to
enable firing 2 or 3 shots very quickly with good accuracy. In
situations where a rifle is used for lawful defensive
purposes, the ability to limit the number of rounds fired yet
also fire them very quickly is extremely important, even life-
saving.

Fifth, bump-fire stocks are advertised and used for lawful
recreational purposes. Many informal shooting endeavors
benefit from rapid fire, increasing the enjoyment of
participants. While similar results can be obtained by other
bump-firing methods, bump-fire stocks allow for easier,
more accurate rapid fire by shooters without the time,
facilities, money, and large quantities of ammunition
normally needed to obtain a given level of skill.

                                                                  Guedes v. ATF / Codrea v. ATF
                                                                              Ex. 1 Page 00088
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 90 of 382



In sum and in my experience, bump-fire stocks enable an
increased rapidity of fire in the many sporting and defensive
situations where such an increased rate of fire is appropriate
while also ensuring better control, greater accuracy, and, for
those reasons, substantially enhanced safety for all lawful
participants.

As an addendum, I would like to add a personal
observation. Bump-firing is now a known commodity well
beyond the firearms enthusiasts who have previously
practiced it. A rule defining bump stocks as machine guns
will reduce the numbers of them in circulation. It will not,
however, discourage a now much-larger audience of gun
owners from seeking ways to bump-fire. They will find ways;
such techniques have existed for at least a century.
However, the loss of the stocks as an easily-legal and
simple way to bump-fire will inevitably result in people trying
to bump-fire without instruction with unsafe results. The
"bump-fire genie" is out of the bottle. The availability of the
stocks ensures that even shooters of a low skill level can
bump-fire safely, with reasonable accuracy and control,
even without formal training. Their removal from society will
substantially increase the dangers that accompany people
trying to learn to bump-fire without such a useful shooting
aid.




                                                                  Guedes v. ATF / Codrea v. ATF
                                                                              Ex. 1 Page 00089
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 91 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2017-27898


The is a Comment on the Alcohol Tobacco Firearms and              Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Application of the         Jan 25 2018, at 11:59 PM ET
Definition of Machinegun to Bump Fire Stocks and Other
Similar Devices
For related information, Open Docket Folder                        ID: ATF-2018-0001-20294
                                                               Tracking Number: 1k2-9119-zmoz



                                                                Document Information
 Comment
                                                              Date Posted:
                                                              Jan 25, 2018
 Comments Attached.
                                                              RIN:
                                                              1140-AA52

                                                              Show More Details
 Attachments (5)

                                                                Submitter Information
          Attachment_1_Bumpfire_Stock_Com
          ments                                               Submitter Name:
                                                              Nathan Johnson
          View Attachment:


          Attachment_2_Bumpfire-Beltloop
          View Attachment:


          Attachment_3_Bumpfire_Board-Stick
          View Attachment:


          Attachment_4_Bumpfire_Shoestring
          View Attachment:


          Attachment_5_Bumpfire_Scratch-
          Built_Stock
          View Attachment:




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 00090
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 92 of 382



I am commenting as an individual citizen, one who has not purchased a bump-stock, nor have I any
intention to do so, for reasons which will be included below.



Regarding your specific questions,



21) In my experience, where I have seen these devices for sale has been exclusively on the internet, as
no local gun store has had such devices in stock when I have visited. I have not, to my recollection, seen
them at a gun show, but I usually go on the second day, so I may have missed them.



22. The prices I have seen have ranged from $129.95 for a Bump Fire Systems brand stock, or $179.95-
$329.95 for Slide Fire brand stocks.



23. I'll let their marketing statements speak for themselves:



Slide Fire: "Bump-fire is a well-established technique utilizing the recoil of a semi-automatic firearm to
fire multiple shots in rapid succession. The patented Slide Fire® stock allows shooters to bump-fire their
rifles without compromising safety and accuracy."



Bump Fire Systems: "Did you know that you can do simulated full-auto firing and it is absolutely legal?
Bump Fire Systems is here to introduce you to Bump Fire Stock, that allows you to recreate the feeling
of automatic firing. You can use it with your semiautomatic weapon by gripping the fore-end of the
barrel and pulling it forward. Bump Fire uses a gun’s recoil to shoot multiple rounds."




Now here is my case as to why these answers are irrelevant. The "bump-fire stock" devices are an
aesthetically and ergonomically pleasing replacement for numerous methods of accelerating the ability
to pull the trigger on a semi-automatic firearm. The methods they replace are nearly-to-absolutely
impossible to regulate:



The first, and least safe for anyone to use, is to extend a thumb through the trigger guard of the firearm
and hook it through a belt loop on one's pants (or shorts), then use the other hand to pull the firearm



                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 00091
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 93 of 382



forward, drawing the trigger into the thumb, depressing it. The recoil forces the firearm back, allowing
the trigger to reset. As the recoil dissipates, the gripping hand draws the firearm forward again,
repeating the process.



The second, which closely resembles the functionality of a "bump-fire stock" is to use a dowel rod,
braced against the shoulder, with the firing hand's index finger held across the forward end, and
extended through the trigger guard to rest upon the trigger, and the rest of the hand palming the front
and sides of the pistol grip of the firearm. The other hand is used to pull the firearm forward, drawing
the trigger into the firing hand's index finger, depressing it. The recoil forces the firearm back, allowing
the trigger to reset. As the recoil dissipates, the other hand draws the firearm forward again, repeating
the process.



The third is a variant of the second. A board braced against the shoulder, with a stick or bar affixed
across the front end. A pistol can then be held with the fingers outside of the trigger guard, and placed
so that the stick fits through the trigger guard and across the trigger. The other hand supports the
board/stick combination. Pressing the firing hand forward will cause the stick to depress the trigger,
discharging the firearm. The pistol pivots back and down with the recoil, releasing pressure on the
trigger, and allowing it to reset. When the slide returns to the battery position, tension in the wrist
pivots the firearm back into position, putting pressure upon the trigger and restarting the process.



The fourth, which is surprisingly functional, but only works with firearms with a reciprocating charging
handle, is to use a piece of string (such as paracord, nylon cord, kite string, a shoe string, or high-
strength fishing line) affixed to the charging handle, wrapped back behind the pistol grip or the back of
the trigger guard (on the same side as the charging handle), then through the trigger guard so that it
creates tension across the trigger, and then to a ring (an empty key-ring will do), which fits on the trigger
finger. The firearm is then held in its normal firing position. The trigger finger is tensed, drawing the
ring back, and creating sufficient tension to depress the trigger, discharging the firearm. When the
firearm discharges, the charging handle moves back with the bolt carrier, creating slack in the string,
which allows the trigger to reset. When the bolt carrier returns forward, the charging handle pulls the
string taught, creating tension upon the trigger sufficient to depress it, beginning the process anew. This
will continue until the operator of the firearm reduces the tension they are applying with the ring and
string.



The fifth option is the "zero equipment" option. A semi-automatic firearm can be held half an inch to an
inch from the shoulder, held firmly by the support hand and cradled with the firing hand. The trigger
finger is held at a firm approximation of a ninety(90)-degree angle, and placed in the trigger guard




                                                                                   Guedes v. ATF / Codrea v. ATF
                                                                                               Ex. 1 Page 00092
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 94 of 382



against the trigger, while the arm is locked in place. The support hand pulls the firearm forward,
drawing the trigger against the locked trigger finger until it is depressed, discharging the firearm. The
recoil forces the firearm back into the shoulder, and away from the trigger finger, allowing the trigger to
reset. Once the recoil has dissipated, the supporting hand continues to draw the firearm forward,
pressing the trigger against the trigger finger, and beginning the process anew. For a pistol too small to
grip with a second hand, the wielding hand can grasp the grip below the trigger guard, while one finger
of the off-hand is extended through the trigger guard and placed against the trigger. The wielding hand
presses the pistol forward, pressing the trigger against the off-hand trigger finger until the trigger
depresses and the pistol discharges. The pistol rocks back with the recoil, relieving pressure on the
trigger and allowing it to reset. When the slide returns to battery, tension in the wrist of the wielding
hand then returns the pistol to its firing position, pressing the trigger against the off-hand trigger finger
until it depresses and begins the process anew.



That list comprises one evening of research, and does not include the numerous scratch-built bump-
stocks also discovered, which have been constructed by individuals for around twenty (20) dollars. The
simple fact is that the only thing commercially available bump-fire stocks achieve is to part firearms
enthusiasts from their money. They replicate, in some cases, something that can be done with less than
a dollar's worth of investment, and do not reduce the mechanical trigger-pull-to-discharge ratio. Atop
that, bump-fire stock equipped firearms do not have the reliability to serve in the capacity of a
machinegun, with many online available videos depicting the finicky nature of firearms equipped with
these devices, the result being intermittent bursts of fire good for little more than short recreational
thrills.



There is also information that the ATF has that citizens do not. It is a pertinent question you could ask of
your own records, regarding the incident which spurred this discussion in the first place: "How many of
the bump-stock equipped firearms out of the substantial arsenal reportedly used in the Las Vegas
Incident were jammed or otherwise rendered useless due to malfunctions caused by the use of bump-
stocks on weapons not designed to fire at those rates?" Also available to you should be the statistics of
how many times a bump-fire stock has been used in a crime, nationally. The answer should provide
some answer as to the feasibility of these devices as machine guns.



Finally, there is the economic argument. In order to classify these devices as machineguns, the ATF
would have to create a comprehensive database of all devices sold, then try to either confirm
registration of all devices, in contradiction to the Hughes Amendment, or require their confiscation and
destruction, in contradiction to the post-facto clause in the Constitution of the United States as well as
the Second Amendment. As far as I can tell, there would need to be some kind of legislation in place to
allow for the processing of these devices. Atop of this, there will most likely be a series of lawsuits
challenging the ruling, resulting in substantial expenditures of taxpayer funds, and requests for stays of



                                                                                   Guedes v. ATF / Codrea v. ATF
                                                                                               Ex. 1 Page 00093
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 95 of 382



enforcement for the duration of the lawsuits, which could put enforcement efforts on hold. Honestly, as
a taxpayer, I do not want my money wasted on such fruitless endeavors - not to ban a thing which
serves the same function as a belt-loop, a dowel rod, or a key-ring and string.



Thank you for your time and consideration. I hope this document has been of assistance.




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 00094
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 96 of 382




                                          Guedes v. ATF / Codrea v. ATF
                                                      Ex. 1 Page 00095
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 97 of 382




                                          Guedes v. ATF / Codrea v. ATF
                                                      Ex. 1 Page 00096
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 98 of 382




                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 00097
1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 99




                        Guedes v. ATF / Codrea v. ATF
                                    Ex. 1 Page 00098
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 100 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                  Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type               Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                       ID: ATF-2018-0002-3344
                                                                   Tracking Number: 1k2-92dc-uxi2


 Comment                                                           Document Information
                                                                  Date Posted:
 The ATF in this proposed re-classification says, bump
                                                                  Apr 5, 2018
 stocks "allow a shooter of a semiautomatic firearm to initiate
 a continuous firing cycle with a single pull of the trigger.     RIN:
 Specifically, these devices convert an otherwise                 1140-AA52
 semiautomatic firearm into a machinegun by functioning as
                                                                  Show More Details
 a self-acting or self-regulating mechanism that harnesses
 the recoil energy of the semiautomatic firearm in a manner
 that allows the trigger to reset and continue firing without
 additional physical manipulation of the trigger by the
                                                                   Submitter Information
 shooter."                                                        Submitter Name:
                                                                  Ronald Devito
 This definition is mechanically incorrect. The notion that a
 bump stock functions as a "self-acting and self-regulating
 force" is patently false. The same forces provided by the
 bump stock are provided by skill alone. The action and
 regulation is provided by the shooter's support hand. A
 machine gun also does not short-stroke and mis-feed as a
 result of automatic fire, like a bump-fired gun does. A
 machine gun is much easier to control than bump fire with or
 without a bump stock.

 The ATF is committing a linguistic sleight of hand by
 classifying bump stocks as machine guns to satisfy a
 politically motivated narrative.

 Though not mentioned specifically in the proposed rule, the
 ATF speaks about changing the standard as is applies to
 machine guns from a single *function* of the trigger to a
 single *pull.* The ATF defines a single pull as consisting of
 the entire cycle of the trigger to release a single round. A
 single pull consists of two functions: pull and release. Under
 the single function standard, binary triggers are perfectly
 legal. They release one round on the pull and another round


                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 00099
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 101 of 382


on the release, that is one round per function of the trigger.
Under the proposed single pull standard, binary triggers
would be classified as machine guns, because they release
more than one round per pull. The proposed rule-making
includes the catch-all phrase "and other such devices,"
which binary triggers arguably could fall under.

The ATF fluffs off the Second Amendment issue - albeit
citing case law, because machine guns are "dangerous and
unusual." Machine guns are only "unusual," because they
are scarce in the civilian market thanks to the NFA of 1934
and the Hughes Amendment of 1986. Otherwise, machine
guns are quite common. Prior to 1934, you could buy a
Thompson submachine gun in a local hardware store. All
guns are dangerous - that is the point of them. The Second
Amendment was not written for "sporting purposes." The
right to keep and bear arms for personal defense against all
enemies foreign and domestic is a natural right that is not
granted by the Amendment but acknowledged.

Per the ATF's proposed rule change, at least 400,000 bump
stocks have been manufactured and sold. Twelve bump
stocks were used in one crime by a man who had a
dishonorable discharge the Air Force failed to report to
NICS. Mr. Paddock, the Vegas shooter should not have
been able to legally buy any guns. Due to the government's
failure to follow its own procedures, this man was able to
buy many guns over the course of nearly 20 years. So,
399,999 law abiding citizens have to pay the price for his
criminal act and the government's failure to keep guns out of
his hands? Who is being punished for failing to inform NICS
about Paddock's dishonorable discharge?

The Parkland shooting was a massive fail at all levels of
government. Police were called 39 times over terroristic
threats being made by this student. The FBI failed to act
when informed about him. The school was involved in a
federal grant program that encouraged quashing crime
reports on students to keep them out of the justice system!
Armed sheriff's deputies were derelict in their duties that
day. The student in Parkland did not use a bump stock.
Bump stocks have been legal for nearly 10 years. As
previously noted, at least 400,000 of these devices have
been manufactured and sold to law-abiding citizens. Each
unit sold when sold new included an approval letter from the
ATF. Citizens spent their hard-earned money on these legal
devices in good faith. The ATF seeks to declare - ex post
facto - legal property - to now be illegal. The federal
government is demanding that this legally purchased and
owned property be turned in, without any compensation to
the owner, else destroyed by the owner. Law-abiding
citizens are expected to take further infringement on their
rights in the name of "public safety," "for the children."




                                                                 Guedes v. ATF / Codrea v. ATF
                                                                            Ex. 1 Page 000100
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 102 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                                ID: ATF-2018-0002-59112
                                                                   Tracking Number: 1k2-93ol-sq1r
For related information, Open Docket Folder

                                                                   Document Information
                                                                  Date Posted:
 Comment                                                          Jun 22, 2018
                                                                  RIN:
 I am opposed to any regulation on bump stocks.                   1140-AA52

 These proposed regulations would declare a bump stock to         Show More Details
 be a machinegun because it allows the gun to fire more than
 one shot by a single PULL of the trigger -- that is, by a
 single volitional function of the finger. I can accomplish the    Submitter Information
 same end with a hundred-year old Model 1897 Winchester
                                                                  Submitter Name:
 pump shotgun! Hold the trigger back and it slam-fires every
                                                                  Jay Callaham
 time it's pumped - so one pull of the trigger empties the
 (tubular) magazine.

 Federal law 26 U.S.C. 5845(b), defines a "part" as a
 machinegun ONLY if it is designed solely and exclusively to
 allow the gun to fire more than one shot ... by a single
 FUNCTION of the trigger.

 To state the obvious, a finger is not the same thing as a
 trigger. And, while a bump stock is in operation, the trigger
 functions separately every time a round is discharged.

 So these regulations are proposing a radical change -- as
 they effectively define a gun as a machinegun even if the
 trigger resets for every round that is fired, so long as the
 finger only pulls the trigger once. In my example of century
 old technology in the 1897 shotgun, only one pull of the
 trigger is required.

 While bump stock devices will now be treated as
 machineguns under these regulations, they also raise
 serious questions in regard to AR-15s and other semi-
 automatic rifles -- as they are now on the brink of being
 designated as machineguns by the next anti-gun
 administration.


                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000101
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 103 of 382



In the past, one had to fundamentally change the firing
mechanism of a semi-automatic firearm to convert it into a
fully automatic firearm.

But now according to these regulations, a bump stock is a
machinegun -- and it can "readily restore" a semi-auto into a
machinegun, simply because the gun owner can effectively
fire the weapon continuously with a single pull of the trigger.
This would invoke the statutory definition for a rifle, which is
classified as a machinegun (26 USC 5845(b)). I'm also at a
loss as to how one can "restore" a semi-auto, that was
NEVER a "machine gun" in the first place, into something
that it was not and is not.

It wont matter that a gun which is being bump fired has not
been fundamentally altered. AR-15s, and ultimately ANY
other semi-auto firearm, will be on the brink of extinction
should these regulations go into force. For what it's worth, I
do not personally own any AR-15 platform firearms, though I
used the Stoner system weapons when I was in the Army. I
see a threat to all semi-autos if this over-reach is allowed to
occur.

These regulations dismiss Second Amendment protections,
by appealing to the Heller court decision. But the
Constitution trumps the Supreme Court -- so when the
Second Amendment says that the right to keep and bear
arms shall not be infringed, any limitation of the right for law-
abiding citizens should be treated as unconstitutional.

Thank you for your consideration.




                                                                    Guedes v. ATF / Codrea v. ATF
                                                                               Ex. 1 Page 000102
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 104 of 382



        Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                      Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                   Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                           ID: ATF-2018-0002-2679
                                                                      Tracking Number: 1k2-92b8-1hz0


 Comment                                                               Document Information
                                                                      Date Posted:
 In regards to ATF-2018-0002-0001
                                                                      Apr 4, 2018

 "Bump stock" technology requires a "pull" of the trigger for         RIN:
 each shot. The operator must use their support arm to apply          1140-AA52
 forward pressure to the rifle, until the trigger is activated by
                                                                      Show More Details
 the index finger. The recoil forces the rifle to slide back, but
 unless the support arm is still applying forward pressure, the
 process is interrupted and stops. It is still one trigger pull per
 shot. The speed at which the process occurs does not
                                                                       Submitter Information
 change this fact.                                                    Submitter Name:
                                                                      Tyler Capobres
 The correct term is called "bumpfire" or "bump fire". This can
 be achieved with a belt loop, string, rubber band, or can be
 made from home. Bump firing with simply a finger is
 possible, as is demonstrated in this video:
 https://youtu.be/7RdAhTxyP64. Whoever wrote this
 proposal clearly does not understand the concept at all,
 much less the correct terminology.

 As anyone who has actually fired automatic weapons can
 attest, rapid fire is incredibly inaccurate. It is typically only
 used in short bursts or for suppressive fire. There would
 have been countless more dead in the Las Vegas shooting
 if the shooter had used a bolt-action or semi-automatic rifle,
 with a suppressor and high power scope.

 Jerry Miculek is a professional shooter, who can accurately
 fire nearly as fast as a bumpfire stock with just his finger.
 https://youtu.be/JTb6hsSkV1w. Are you going to
 ban/regulate his fingers?

 Lastly, proposing to regulate bumpfire stocks because of
 what they accomplish sets a dangerous precedent. A fast


                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000103
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 105 of 382


finger and light trigger will be able to accomplish the same
thing. Are firearms parts next. Let me remind you that
firearms parts and accessories are protected by the Second
Amendment.

Trying to ban an accessory because one person misused it
is immoral and unjust. It also will not prevent another
incident like this from happening, since those determined to
commit a crime will choose not to follow the law. This
proposal only harms the law-abiding citizen. This is the
epitome of feel-good legislation, which accomplishes
nothing other than appeasing the guilty conscience of
ignorant people.




                                                               Guedes v. ATF / Codrea v. ATF
                                                                          Ex. 1 Page 000104
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 106 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                    Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                 Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                         ID: ATF-2018-0002-2922
                                                                    Tracking Number: 1k2-92ba-xyve


 Comment                                                             Document Information
                                                                    Date Posted:
 I am commenting on behalf of the proposed rule change for
                                                                    Apr 5, 2018
 "bump-stocks". Docket number ATF 2017R-22.
                                                                    RIN:
 First and foremost, as a concerned citizen, Title II weapons       1140-AA52
 owner (legally transferred, thank you), and staunch 2nd
                                                                    Show More Details
 amendment advocate, I wish to express my disdain in yet
 another attempt by the ATF to change the rules by
 executive fiat, instead of through legislation, as would be the
 LEGAL pathway.
                                                                     Submitter Information
                                                                    Submitter Name:
 First and foremost, the Hughes Amendment was illegally             Andrew Pynckel
 ratified. Secondly, the NFA is an unconstitutional
 infringement on our 2nd amendment. Thirdly BATFE doesn't
 have the constitutional authority to even have this power
 (SHALL NOT BE INFRINGED).

 I wish to point out that between the Heller v DC decision, as
 well as Caetano v Mass, the NFA of 1934 is invalidated, as
 all arms covered underneath it can be considered "bearable
 arms". I will even quote the opinion for you....

 "the Second Amendment extends, prima facie, to all
 instruments that constitute bearable arms, even those that
 were not in existence at the time of the founding"

 But I digress. Back to the topic at hand.

 "For purposes of this definition, the term "automatically" as it
 modifies "shoots, is designed to shoot, or can be readily
 restored to shoot," means functioning as the result of a self-
 acting or self-regulating mechanism that allows the firing of
 multiple rounds through a single function of the trigger; and
 "single function of the trigger" means a single pull of the


                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 000105
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 107 of 382


trigger."

So I have a couple major concerns with your change in the
definition of a machinegun. Firstly, a machinegun is a
weapon that with one pull of a trigger will fire until a
magazine depletes, requiring no additional reset. A bump
fire stock REQUIRES a second pull of the trigger to fire a
second round, contrary to what you have attempted to
change the definition to. Secondly, a bump-fire stock is not a
self acting or self regulating device. It still requires a human
to make sequential trigger pulls.

"The term "machine gun" includes bum-stock-type devices,
I.E., devices that allow a semiautomatic firearm to shoot
more than one shot with a single pull of the trigger..."

That right there is false, because the trigger is being pulled
each time, as stated above

"...by harnessing the recoil energy of the semiautomatic
firearm to which it is affixed so that the trigger resets and
continues firing without additional physical manipulation of
the trigger by the shooter."

Again, this is a false statement. The shooter has to continue
to manipulate the trigger of the firearm. Each shot still
requires a pull of the trigger to disengage the reset,
disengage the seer/hammer interface, and allow the
hammer to fall.

What happens if someone decides to "bump fire" a semi
automatic weapon with a belt loop? Are they now a felon?
Do they have to register their belt loops? Fingers? Why do
you, BATFE, think you have the authority to turn law abiding
citizens into felons overnight? How exactly does this help
the American People?

ATF already ruled that a bump-fire stock DOES NOT modify
a semi-automatic weapon into a machinegun. You cannot
change that ruling, and you DEFINITELY cannot change the
definition of a machinegun without CONGRESSIONAL
LEGISLATION, as the NFA was drafted. You do not have
the authority.

Sincerely,
A deeply concerned LAW ABIDING citizen,
Andrew




                                                                   Guedes v. ATF / Codrea v. ATF
                                                                              Ex. 1 Page 000106
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 108 of 382



        Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                     Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                  Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                          ID: ATF-2018-0002-3452
                                                                      Tracking Number: 1k2-92dk-p3i4


 Comment                                                              Document Information
                                                                     Date Posted:
 I have read the proposed ban on bump fire stocks and have
                                                                     Apr 5, 2018
 heard and discussed the device after the tragedy in Las
 Vegas. Thank you for taking the time to read my comments            RIN:
 and concerns in advance.                                            1140-AA52

                                                                     Show More Details
 I do not think a ban is the answer. Bump fire stocks were
 allowed for sale, plus with a letter from the ATF, showing it
 is not an automatic weapon or under any kind of NFA
 regulation, under the Obama Administration for many years.
                                                                      Submitter Information
 The weapon it is mounted on is still a semi-automatic rifle.        Submitter Name:
 The rate of fire from the bump fire isn't even guaranteed. It       Nathan Thurman
 depends on the users experience or the firearms
 quality/how it's been maintained if it will even cycle. Let it be
 shown that before Vegas, your branch showed it as not
 making the weapon an automatic weapon or even acting
 like one.

 I see from tests that you have seen that bump firing can be
 done by other methods. From a block of wood, belt loop,
 rubber band, or even a human finger. Banning this device
 would not stop the act of bump firing as a whole. I'm sure it
 was also shown that bump firing was intermittent and
 inaccurate.

 I think I speak for the firearms community that this device is
 a gimmick. Even with that said, I'm against any regulation of
 it. It's just not for me, but I believe others should be able to
 own the device and use it for all legal purposes. I have
 rented fully automatic weapons before. The bump fire is
 nothing like a true automatic weapon, or select fire. The rate
 of fire isn't constant on a bump fire, it varies widely from
 what I've seen. There's no guarantee it would even be a rate
 increasing device compared to an experienced shooter firing


                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 000107
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 109 of 382


as fast as possible.

Why would owners have to give them up also? They are
their property already and this proposal is well after they
were already purchased. At the least, buy back or forfeit
should be voluntary. If it must, register the devices through
NFA for further purchases.

I believe banning this device is a slippery slope. The ATF
should not be allowed to mandate a regulation that can act
as law. With second amendment protection, infringement
means no regulation. Banning the bump fire stocks could
lead to any number of parts or devices being regulated also
deemed evil by whoever is in charge. We in the firearm
community will not stand for anymore regulation of any kind.
I would like to see the NFA repealed also to show where I
stand.

Please feel free to contact me if any questions or concerns
or additional feedback.

Thank you
Nathan Thurman




                                                                Guedes v. ATF / Codrea v. ATF
                                                                           Ex. 1 Page 000108
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 110 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type             Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                     ID: ATF-2018-0002-4641
                                                                 Tracking Number: 1k2-92f9-rlcm


 Comment                                                         Document Information
                                                                Date Posted:
 I take exception to this wording: "The bump-stock-type
                                                                Apr 6, 2018
 devices covered by this proposed rule were not in existence
 prior to the GCA's effective date, and therefore would fall    RIN:
 within the prohibition on machineguns if this Notice of        1140-AA52
 Proposed Rulemaking (NPRM) is implemented." Rubber
                                                                Show More Details
 recoil pads (to absorb recoil-but that unintendedly create a
 bumpfire condition) did indeed exist and were on the open
 market long before FOPA 1986 or even before NFA-'34..
 They have been marketed since before the year 1900. Here
                                                                 Submitter Information
 is just one example, patented in 1998:                         Submitter Name:
 https://patents.google.com/patent/US6305115                    Steve Pegram

 23.) The proposed rulemaking constitutes an ex post facto
 law. Any ex post facto Federal laws are expressly forbidden
 by the United States Constitution in Article 1, Section 9,
 Clause 3.

 24.) Overall, the proposed rulemaking is null and void per
 Marbury v. Madison because it violates The 2nd
 Amendment.

 25.) Overall, the proposed rulemaking is null and void per
 Marbury v. Madison because it violates The 4th
 Amendment.

 26.) Overall, the proposed rulemaking is null and void per
 Marbury v. Madison because it violates The 5th
 Amendment. It is an illegal "taking" without "just
 compensation."

 27.) Overall, the proposed rulemaking is null and void per
 Marbury v. Madison because it violates The 6th Amendment
 because it gives no opportunity for trial by jury in


                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000109
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 111 of 382


determining the applicability of the law to any particular
device.

28.) Overall, the proposed rulemaking is null and void per
Marbury v. Madison because it violates The 8th Amendment
because it mandates an excessive fine or prison sentence in
relation to a newly-imagined "offense".

29.) Overall, the proposed rulemaking is null and void per
Marbury v. Madison because it violates The 10th
Amendment because it violates the unqualified "right to
keep and bear arms" provisions of 44 sovereign State
Constitutions.

30.) The the proposed rulemaking has no provision
exempting bumpfire stocks that are owned by U.S. Citizens
who are living abroad (such as missionaries or military
servicemembers deployed abroad) who have their stocks
(or firearms equipped with such stocks) in storage with
relatives, with friends, or in commercial storage facilities.
Hence they will not have the opportunity to "surrender them,
destroy them, or otherwise render them permanently
inoperable" before the changed law goes into force. This will
make these citizens unprosecuted felons.

31.) The the proposed rulemaking has no provision
exempting bumpfire stocks that are owned by U.S. Citizens
who have large gun collections who have an indefinite
number of stocks (or firearms equipped with such stocks) in
their possession. By simply being disorganized, they will not
realize the exact number that they own and hence not have
the opportunity to "surrender them, destroy them, or
otherwise render them permanently inoperable" before the
changed law goes into force. This will make these citizens
unprosecuted felons.

32.) The the proposed rulemaking has no provision
exempting bumpfire stocks that are owned by U.S. Citizens
who are ignorant of the fact that they have become
contraband and that they must "surrender them, destroy
them, or otherwise render them permanently inoperable"
before the changed law goes into force. This will make
these citizens unprosecuted felons.

33.) To restrict particular brands of stocks (per your
mechanical definition) while not at the same time restricting
ALL brands of stocks (per your mechanical definition) is an
unconstitutional Bill of Attainder.

34.) I take exception to this wording: "...these devices
convert an otherwise semiautomatic firearm into a
machinegun." By your new definition, then so does
loosening the buttstock attachment screw, with some stocks
designs. (This allows the stock to slide forward and
backward enough to allow the trigger to reset.)

35.) I take exception to this wording: "...these devices

                                                                Guedes v. ATF / Codrea v. ATF
                                                                           Ex. 1 Page 000110
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 112 of 382


convert an otherwise semiautomatic firearm into a
machinegun." By your new definition, then so do the
prosthetics worn by some arm or hand amputees.

37.) I take exception to this wording: "...these devices
convert an otherwise semiautomatic firearm into a
machinegun." By your new definition, then so does
loosening the pistol grip attachment screw, with some
stocks designs. (This allows the grip to slide forward and
backward enough to allow the trigger to reset.)

40.) I take exception to this wording: "...these devices
convert an otherwise semiautomatic firearm into a
machinegun." By your new definition, then so does changing
the weight of a trigger spring.

42.) I take exception to this wording: "...these devices
convert an otherwise semiautomatic firearm into a
machinegun." By your new definition, then so does wrapping
a soft rubber band around the shooter's trigger finger, or
around the trigger itself.




                                                             Guedes v. ATF / Codrea v. ATF
                                                                        Ex. 1 Page 000111
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 113 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                 Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type              Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                      ID: ATF-2018-0002-2492
                                                                 Tracking Number: 1k2-92bw-g4ox


 Comment                                                          Document Information
                                                                 Date Posted:
 I have a question, and potentially request for clarification.
                                                                 Apr 4, 2018
 The definition of a bump-fire device, as opposed to a bump-
 fire technique, seems to hinge on the "extension ledge"         RIN:
 portion of the stock. Would a bump-fire stock without this      1140-AA52
 ledge be a legal accessory (i.e not creating a machinegun)?
                                                                 Show More Details
 If so, would modification of an existing device, by the
 manufacturer or by the device owner or by a third party, be
 an alternative to destruction/turn-in? If necessary, would
 there be any way to reflect this in the resulting decision?
                                                                  Submitter Information
                                                                 Submitter Name:
                                                                 Brian G




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000112
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 114 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                             ID: ATF-2018-0002-91805
                                                               Tracking Number: 1k2-93yo-cj6q
For related information, Open Docket Folder

                                                                Document Information
                                                              Date Posted:
 Comment                                                      Jul 5, 2018
                                                              RIN:
 Docket Number ATF 2017R-22                                   1140-AA52

 In this comment, I would like to address a number of         Show More Details
 assertions by the Alcohol Tobacco Firearms and Explosives
 Bureau (ATF) from the Proposed Rule document "Bump-
 Stock Type Device". Based on analysis of the assertions, I     Submitter Information
 would also like to recommend proposed actions regarding
                                                              Submitter Name:
 the affected devices. Please see my attached document for
                                                              Walter Barnes
 analysis and recommended proposals; thank you for your
 time and consideration.



 Attachments (1)

          ATF_2017R-22_comment_1
          View Attachment:




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000113
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 115 of 382


Docket Number ATF 2017R-22


In this comment, I would like to address a number of assertions by the Alcohol Tobacco Firearms
and Explosives Bureau (ATF) from the Proposed Rule document Bump-Stock Type Device. Based
on analysis of the assertions, I would also like to recommend proposed actions regarding the
affected devices.


The first assertion I would like to address is:

       Specifically, ATF has determined that these devices initiate an “automatic[]” firing cycle
       sequence “by a single function of the trigger” because the device is the primary impetus for
       a firing sequence that fires more than one shot with a single pull of the trigger. 26 U.S.C.
       5845(b).

The assertion that “the [bump-stock-type] device is the primary impetus for a firing sequence” as
described can be shown to be incorrect by examples where the same operating principles allow the
same effect, but without such a device being used. That is, recoil from a semi-automatic firearm
can be used to allow resetting of a trigger, which can then be activated again by forward
force/motion of the firearm, but without a bump-stock type device.

In one such example, an operator can use a variety of holds to allow recoil from a semi-automatic
firearm to move enough to allow the trigger to reset, then apply force/motion to activate the trigger
again. With long arms, this can be accomplished with a somewhat loose hold of the firearm instead
of a tight hold with the buttstock firmly against the shoulder. When held at the hip from a standing
position, the operator can also simulate the trigger-finger rest of a bump-stock-type device by using
a belt loop to hold the trigger finger in place while using the support hand to move the firearm
forward[1], but the same effect can be accomplished with a long arm using a traditional upright
(standing) position[2]. Note that the ATF would appear to be not only aware of these techniques,
but can be understood to endorse at least one of them by the following statement in Proposed Rule
section (VI)(A), “ALTERNATIVES”:

       Based on public comments, individuals wishing to replicate the effects of bump-stock-type
       devices could also use rubber bands, belt loops, or otherwise train their trigger finger to fire
       more rapidly. [Emphasis mine.]

However, this technique of utilizing recoil and forward force/motion for rapid-fire of a semi-
automatic firearm is not limited to long arms. Semi-automatic handguns can use the same operating
principle[3][4][5], and by definition, handguns cannot have a buttstock, so bump-stock-type devices
are not the “primary impetus” of the operating principle.

While these techniques vary in difficulty and are arguably more difficult to master than the use of a
bump-stock-type device, the fact is that they use exactly the same principle as a bump-stock-type
device without the use of such a device, and thus the device itself cannot be the “primary impetus
for a firing sequence” as described.

In another such example, an operator can harness simple physics to show that it is possible, with
effectively no technique involved, to utilize recoil of a semi-automatic firearm to facilitate resetting
the trigger and forward force/motion to activate the trigger. Consider the following figures:




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000114
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 116 of 382




Figure 1




Figure 2

Given a semi-automatic long arm supported by a support S at the buttstock and a support A at the
trigger, consider it supported horizontally with regards to the ground, such that the ground can be
considered x in the x-y plane of Figure 1. In this case, there is no force applied to the firearm other
than the force of gravity, Fgravity. Now consider rotating the firearm about axis A with respect to the
x-y plane creating angle a as seen in Figure 2. As the firearm rotates and angle a increases, the
force Fforward increases with respect to angle a due to the force of Fgravity, which results in an equal


                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000115
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 117 of 382


and opposite force against the trigger at axis A. Once Fforward exceeds the force necessary to activate
the trigger, the firearm discharges, producing recoil (momentum) with force Fmomentum. If Fmomentum
results in enough force to move the firearm rearward on support S such that the trigger resets, the
firearm is then capable of firing again. As Fgravity slows the rearward motion, the firearm will
eventually stop, then Fgravity will again result in forward motion due to Fforward. Since we have
already established that Fforward exceeds the force necessary to activate the trigger, the firearm will
then fire again. This is exactly the same principle as used by bump-stock-type devices, but given
that A can be an operator’s finger and S can be the operator’s support hand (and the firearm
effectively allowed to reciprocate about S), this type of rapid fire is possible with no modifications
to the firearm and no manual force applied once the firearm is rotated.

In short, this should be possible with any semi-automatic firearm whose weight exceeds the weight
of the trigger pull which can be rotated and held stationary about an axis such that an object at the
axis (like a finger) activates the trigger, and which fires a cartridge producing sufficient force to
move the firearm enough to reset the trigger. Not only does this imply that a bump-stock-type
device is not the “primary impetus” for such a firing sequence, but it also implies that a bump-
stock-type device actually requires more manual input to function that many semi-automatic
firearms actually need to discharge the same way without such a device. In this sense, a bump-
stock-type device arguably makes the process easier and more controllable (and thus, safer), but it
does not, in any way, change the nature of how the firearm works.


The next assertion I would like to address is:

       Such [bump-stock-type] devices are designed principally to increase the rate of fire of
       semiautomatic firearms.

This is demonstrably false based on my understanding of semi-automatic firearms in general,
including a more detailed understanding of the AR-15 operating system. This is because the rate of
fire is effectively limited by the way the underlying mechanics of a particular firearm work. For
example, the AR-15 generally has a rate of fire between 600 and 900 rounds per minute, whether or
not an operator can utilize the rate of fire. The actual rate of fire for any given AR-15 is determined
by a number of things, including, but not limited to, the weight of the buffer, the strength of the
buffer spring, the weight of the bolt and carrier, cartridge pressure, and the speed at which the
trigger/sear resets. In this example, a heaver buffer or bolt/carrier will generally reduce the rate of
fire, while a lighter buffer or bolt/carrier will increase the rate of fire, but the rate is fixed for a
given set of internal parts and cartridge.

A bump-stock-type device does not increase the rate of fire any more than a lighter trigger does.
Continuing the AR-15 example, in the case of a lighter trigger with the same reset speed as a heaver
trigger, an operator may be able to discharge the firearm faster with a lighter trigger because
activating the trigger takes less effort. However, in the case of both the lighter trigger and the
heavier trigger, an operator with the ability to operate both triggers faster than the firearm’s rate of
fire will either have no effect during certain trigger activations, or induce a malfunction. In the
former case, if the operator activates the trigger to discharge the firearm, then quickly does so again
before the sear engages, the activation effectively does nothing; after the sear engages, the operator
may activate the trigger again to discharge the firearm. In the latter case, if the operator activates
the trigger to discharge the firearm, then quickly does so again after the sear engages but before the
self-loading cycle completes, the hammer will follow the bolt and carrier as they go into battery,
causing a malfunction such that a cartridge is in the chamber, but the hammer is not cocked; thus,
subsequent trigger activation does nothing without manual intervention. A bump-stock device
works similarly in that it allows an operator to more easily use a semi-automatic firearm in a way it


                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000116
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 118 of 382


already works, and attempting to fire faster than the firearms rate of fire will produce no result or a
malfunction. In short, it more easily allows an operator to fire faster for more sustained periods
(much like a lighter trigger), but it does not actually change the firearms rate of fire (like a lighter
trigger).


The next set of assertions I would like to address are:

       Specifically, these [bump-stock-type] devices convert an otherwise semiautomatic firearm
       into a machinegun by functioning as a self-acting or self-regulating mechanism that
       harnesses the recoil energy of the semiautomatic firearm in a manner that allows the trigger
       to reset and continue firing without additional physical manipulation of the trigger by the
       shooter.

This actually implies several assertions:

   •   A bump-stock-type device works as a self-acting or self-regulating mechanism.
   •   A bump-stock-type device harnesses recoil energy.
   •   A bump-stock-type device allows continuous firing without physical manipulation of the
       trigger by the shooter.

First, a bump-stock-type device is neither self-acting nor self-regulating. The Proposed Rule
document repeatedly references the “Akins Accelerator” from ATF Ruling 2006-2. One might
argue that, in an unmodified state (with the internal spring in place), an Akins-style device is “self-
acting” (due to the spring providing recoil-driven force without user interaction) and “self-
regulating” (due to the fact that the internal spring would regulate recoil-driven force without user
interaction). However, neither an Akins-style device with the internal spring removed, nor a
manually-operated bump-stock-device as described in the Proposed Rule self-acts or self-regulates;
all “action” and “regulation” is on the part of the operator. This can be demonstrated in the
following scenarios, given, for example, an AR-15 with a bump-stock-device as described in the
Proposed Rule and an operator using the integral rest to prop the trigger finger while sliding the
firearm forward to discharge it:

   •   If the operator discharges the firearm by sliding it forward and applies even more forward
       force to the firearm, the firearm discharges only once. The device does not regulate the
       force needed to fire again; it is up to the operator to regulate the forward force applied.
   •   If an operator discharges the firearm by sliding it forward and loosens the grip on the
       firearm with the support hand allowing the firearm to slide rearward in the support hand, the
       firearm will discharge only once and recoil into the stock. It is up to the operator to act to
       fire again; the device does not self-act in any way.

Second, a bump-stock-type device does not harnesses recoil energy. To harness implies to capture
or store; in this context, the Proposed Rule implies the device stores recoil energy for later use. An
Akins-style device with internal spring does harness recoil energy as the energy is stored in (and
released from) the internal spring. A bump-stock-type device has no means by which to “harness”
(store) energy due to recoil. It allows the firearm to slide back and forth, but any force producing
forward motion (necessary for the finger to activate the trigger again) is produced solely by some
external force. Generally, this force is applied by the operator with the support hand, but the prior
example in Figure 2 shows how gravity itself can be the force producing forward motion. In any
case, force producing forward motion is not supplied by the device because the device cannot store
energy produced by recoil.



                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000117
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 119 of 382


Third, a bump-stock-type device does not allow continuous firing without physical manipulation of
the trigger by the shooter. The Proposed Rule document seems to imply that the initial activation of
the trigger to discharge a firearm with a bump-stock-type device is somehow a special case, and is
an example of “physical manipulation”, even though subsequent discharges of the firearm when
using a bump-stock-type device are produced exactly the same way. For example, the Proposed
Rule document in the “Supplementary Information” section states the device effectively produces:

       ...a continuous back-and-forth cycle that allows the shooter to attain continuous firing after a
       single pull of the trigger so long as the trigger finger remains stationary on the device's
       extension ledge…

This implies that the “single pull” (that is, the first trigger pull in a firing sequence) somehow
produces “continuous firing”, but seems to ignore the fact that all subsequent discharges are
produced in the exact same way as the initial activation. That is, all subsequent discharges are each
“single pulls”, by the Proposed Rule’s own implied definition of the initial “single pull”. Each
discharge is a discrete activation (or “pull”) of the trigger in the same way that the first is, and none
are self-acting or self-regulating any more than the first is. The Proposed Rule document goes on to
say:

       ...bump firing without an assistive device requires the shooter to exert pressure with the
       trigger finger to re-engage the trigger for each round fired.

However, the document goes on to then explicitly name “rubber bands” and “belt loops”, both of
which would be considered “assistive devices”. In the case of using the “assistive device” of a belt
loop, the entire premise of using the belt loop as part of the firing sequence is to give the trigger
finger a rest or prop which functions effectively identically to the “finger shelf” on a bump-stock-
type device. This seems to imply that “bump firing” when using a belt loop as an “assistive
device”, which is functionally identical to the technique used with bump-stock-type devices, is
permissible, but using the same technique resulting in the same effect is somehow not permissible
when using a different device.


In conclusion, I would like to address potential alternatives in a similar way as the Proposed Rule
document.

Alternative 1: No change alternative. This seems to make the most sense based on analysis of the
assertions by the Proposed Rule document. Given that analysis shows premises asserted regarding
additional regulation of the devices are, at a minimum, logically unsound, the most sensible and
consistent action with regards to current law is to take no action and leave regulations as they are.

Alternative 2: Device modification. Given that the only objective difference between “bump firing”
from the shoulder both with and without a bump-stock-type device is that the device has an
extension ledge (“finger rest”) for resting the trigger finger, the ATF could find that bump-stock-
type devices with the ledge/rest removed are not affected by any additional regulation. This would
allow companies selling the devices to continue doing so with minimal modifications, it would
allow existing owners to keep their devices with minimal modifications, and it would make the law
(and this proposed rule) logically consistent with the notion that operators may “bump fire” with or
without a bump-stock-type device, as long as they do not utilize a device allowing a fixed trigger
finger.

Alternative 3: Should the ATF conclude that bump-stock-type devices are still in need of additional
regulation even with the ledge/rest removed, when calling for destruction of said devices, the U.S.


                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000118
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 120 of 382


government should provide just compensation for owners and businesses for the destruction of said
devices, given that both consumers and businesses operated in commerce of said devices for
approximately nine years under various ATF opinions and rulings. This promotes confidence in the
public that if government agencies reconsider and change interpretations of what is allowed by law,
after years of allowed practice by consumers and businesses under previous interpretations, that
businesses and consumers will at least be compensated for the government’s error when businesses
and consumers make every effort to abide by all laws and regulations.


References:

[1] https://www.youtube.com/watch?v=wZCO-06qRgY
[2] https://www.youtube.com/watch?v=7RdAhTxyP64
[3] https://www.youtube.com/watch?v=-6NrDMec168
[4] https://www.youtube.com/watch?v=Um60zNjw6r0
[5] https://www.youtube.com/watch?v=CEx3rykkY5Y




                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                    Ex. 1 Page 000119
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 121 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and              Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type            Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                   ID: ATF-2018-0002-15158
                                                               Tracking Number: 1k2-92rw-h6mh


 Comment                                                        Document Information
                                                              Date Posted:
 See attached file(s)
                                                              Apr 25, 2018

                                                              RIN:
                                                              1140-AA52
 Attachments (1)                                              Show More Details


          Comments of MSI on AFT Proposed                       Submitter Information
          Rule
                                                              Submitter Name:
          View Attachment:                                    Mark Pennak




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000120
                 Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 122 of 382




President
Mark W. Pennak
                                                      April 24, 2018

                      WRITTEN COMMENTS OF MARK W. PENNAK, PRESIDENT,
                       MARYLAND SHALL ISSUE, INC., REGARDING DOCKET
                                   NUMBER ATF 2017R-22
                   The undersigned is the President of Maryland Shall Issue, Inc. (“MSI”). Maryland
                   Shall Issue is an all-volunteer, non-partisan organization dedicated to the
                   preservation and advancement of gun owners’ rights in Maryland. It seeks to
                   educate the community about the right of self-protection, the safe handling of
                   firearms, and the responsibility that goes with carrying a firearm in public. The
                   undersigned is also an attorney and an active member of the Bar of the District of
                   Columbia, having recently retired from the Department of Justice after more than
                   33 years of service in the Civil Division, Appellate Staff. These comments are
                   submitted on behalf of MSI, its Board and Officers and members in response to the
                   Notice of Proposed Rulemaking issued by the Alcohol, Tobacco, Firearms, and
                   Explosives      Bureau       (“ATF”)     on      March       29,     2018,      at
                   https://www.federalregister.gov/documents/2018/03/29/2018-06292/bump-stock-
                   type-devices in docket number ATF 2017R-22. For the reasons set forth below, the
                   ATF should abandon its attempt to reverse its prior rulings in which it expressly
                   declined to regulate bump-stocks as a machinegun part. Alternatively, at a
                   minimum, the ATF should expressly provide that its regulation does not apply to
                   ban the continued possession of bump stocks already possessed and lawfully
                   acquired by existing owners.

                      A. THE REGULATION IS IMPERMISSIBLY RETROACTIVE WITHOUT
                         CONGRESSIONAL AUTHORIZATION.

                   The proposed rule makes clear that it would require a current lawful owner of a
                   bump stock to either destroy the bump stock or turn it into law enforcement. See
                   Preamble at 30. There is no grandfather clause in the proposed regulation that
                   allows an existing owner to retain possession. As statutory authorization, the
                   proposed rule cites 18 U.S.C. § 926(a); 26 U.S.C. § 7801(a)(2)(ii), § 7805(a) as the
                   authority to issue rules and regulations. None of these statutory provisions
                   authorize retroactive rules or regulations with respect to the subject matter
                   addressed in this docket number, viz., the definition of machinegun and machine
                   parts as otherwise regulated by 18 U.S.C. § 922(o), and as defined by 26 U.S.C. §
                   5845(b). Indeed, Section 7805(b) generally bans retroactive rulemaking with respect
                   to the internal revenue laws at issue here. As detailed below, the proposed rule is
                   retroactive in requiring the destruction or dispossession of any existing bump stocks
                   currently lawfully possessed by existing owners. Such retroactive rules exceed the
                   authority of the ATF under the law for multiple reasons.


                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000121
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 123 of 382



     1. The ATF statutory justification for retroactive application fails.

  The proposed rule explicitly purports to require the destruction of all existing bump
  stocks on the theory that registration of existing bump stocks is impossible because
  the NFA “provides that only the manufacturer, importer or maker of a firearm my
  register it.” Proposed Rule at 25, citing 26 U.S.C. § 5841(b). That is incorrect as a
  matter of law. While Section 5841(b) provides that manufacturers, importers or
  makers shall register covered firearms, nothing in Section 5841(b) states that “only”
  such entities may register.

  Indeed, the ATF has permitted existing owners to register firearms lawfully owned
  where the ATF has issued interpretations that have brought existing firearms
  under the ambit of the National Firearms Act (“NFA”) that were previously not
  registered by a manufacturer, importer or maker. See Expiration of the Registration
  Period for Possession of the USAS–12, Striker–12, and Streetsweeper Shotguns
  (ATF Ruling 2001–1), 66 Fed. Reg. 9748 (Feb. 9, 2001). In that ruling, the ATF
  reclassified certain firearms as “destructive devices” under the National Firearms
  Act retroactively, but applied the rule prospectively under 26 U.S.C. § 7805(b) to
  allow “the prospective application of the tax provisions” and to allow “registration
  without          payment          of        tax.”        See         66         Fed.
  Reg. at 9749. Section 7805(b) provides that

        no temporary, proposed, or final regulation relating to the internal revenue
        laws shall apply to any taxable period ending before the earliest of the
        following dates:
        (A) The date on which such regulation is filed with the Federal Register.
        (B) In the case of any final regulation, the date on which any proposed or
        temporary regulation to which such final regulation relates was filed with
        the Federal Register.
        (C) The date on which any notice substantially describing the expected
        contents of any temporary, proposed, or final regulation is issued to the
        public.

  Section 7805(b) plainly allows only a “prospective” application of the tax and
  registration provisions of the National Firearms Act. That requirement provision
  fully applies to machineguns. Both machine guns and destructive devices are
  encompassed by 26 U.S.C. § 5845 and 26 U.S.C. § 7805(b), so there is no principled
  basis for applying one approach to “destructive devices” and a different approach to
  machineguns. Yet, the agency’s approach in ATF Ruling 2001–1 is ignored in this
  proposed rule. The proposed rule never addresses the prospective-only
  requirements of Section 7805(b) that it expressly applied in ATF Ruling 2001–1.

  The ATF should follow the same approach here that it followed in ATF Ruling 2001-
  1, by making the rule prospective only. A failure to do so would be “contrary to law”
  and arbitrary and capricious, an abuse of discretion and not in accordance with law
  and in excess of statutory jurisdiction, authority and limitations and short of
  statutory right under the APA, 5 U.S.C. § 706(2). At a minimum, the ATF is
                                                           Guedes v. ATF / Codrea v. ATF
                                        Page 2 of 9                   Ex. 1 Page 000122
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 124 of 382

  required to acknowledge its prior approach and explain why it is not following that
  approach here. It is well established that a failure to explain a regulatory departure
  from prior statutory interpretation is a violation of Section 706. See, e.g., FCC v.
  Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (“the requirement that an
  agency provide reasoned explanation for its action would ordinarily demand that it
  display awareness that it is changing position. An agency may not, for example,
  depart from a prior policy sub silentio or simply disregard rules that are still on the
  books.”).

     2. The ATF’s reliance on 18 U.S.C. § 922(o) creates an impermissible Ex Post
        Facto law and is otherwise misplaced.

  The proposed rule also relies on 18 U.S.C. § 922(o)(1), noting that under that
  provision it is unlawful for any person to possess a machinegun, except for those
  machineguns that were “lawfully possessed before the date” that the provision took
  effect (in 1986). (Id. at 25). First, this reliance on Section 922(o)(1) is circular, as it
  begs the question of whether existing bump stocks should be made illegal as
  “machineguns.” As prior ATF rulings attest, this result can be easily avoided by
  interpreting the NFA as not to include bump stocks.

  Second, in any event, the agency’s reliance on Section 922(o)(1) would mean that,
  by virtue of an agency ipse dixit, all current bump stocks owners become instant
  felons on the effective date of the regulation and became felons in the past as of the
  date and time they took possession of a bump stock, even though such possession
  was then expressly permitted by prior ATF interpretations. That reality is
  inescapable if, as the agency states, Section 922(o)(1) flatly illegalizes all such
  possessions or transfers taking place after 1986. Such a retroactive application of
  an ATF rule would violate the ex post facto clause of the Constitution. See Article
  1, Section 9, Clause 3 (“No Bill of Attainder or ex post facto Law shall be passed.”).
  As the Supreme Court stated long ago, an ex post facto law is “[e]very law that
  makes an action done before the passing of the law, and which was innocent when
  done, criminal; and punishes such action.” Calder v. Bull, 3 U.S. 386, 390 (1798).
  See also Peugh v. United States, 569 U.S. 530 (2013) (“the Clause also safeguards
  ‘a fundamental fairness interest ... in having the government abide by the rules of
  law it establishes to govern the circumstances under which it can deprive a person
  of his or her liberty or life.’”), quoting Carmell v. Texas, 529 U.S. 513, 533 (2000).
  The doctrine of constitutional avoidance counsels giving Section 922(o) and 26
  U.S.C. 5845, a limited interpretation in these unique circumstances. See, e.g,
  Edward J. DeBartolo Corp. v. Florida Gulf Coast Building & Construction Trades
  Council, 485 U.S. 568, 575-77 (1988) (where agency interpretation raises serious
  constitutional questions, an agency and reviewing court are required to inquire as
  to whether there existed another permissible interpretation that did not raise
  substantial constitutional doubts). The rule would be unconstitutional if issued as
  proposed.

  This ex post facto result can be avoided by a proper application of Section 922(o).
  Specifically, Section 922(o)(2)(A) expressly provides that the ban imposed on
  possession under Section 922(o)(1) does not apply with respect to any possession
  “under the authority of the United States or any department or agency thereof.”
                                                               Guedes v. ATF / Codrea v. ATF
                                           Page 3 of 9                    Ex. 1 Page 000123
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 125 of 382

  While this provision has been interpreted to permit possession of machineguns by
  federal or state agents acting in an official capacity, United States v. Warner, 5 F.3d
  1378, 1381 (10th Cir.1993) (§ 922(o)(2)(A), cert. denied, 510 U.S. 1126 (1994), that
  limited meaning is not compelled by the statutory language and should not be
  applied here where bump stocks are possessed under “the authority” of prior ATF
  rulings. Simple fairness requires a broad interpretation of Section 922(o)(2)(A) in
  such circumstances. Cf. Staples v. United States, 511 U.S. 600 (1994) (holding that
  government must prove beyond a reasonable doubt that the defendant knew that
  his rifle had the characteristics that brought it within the statutory definition of a
  machinegun). In any event, the ATF may not retroactively change its interpretation
  and then invoke the provisions of Section 922(o)(1) to illegalize (as a felony) a
  possession that it previously allowed without running afoul of the ban on ex post
  facto laws. In short, ATF’s decision to change its interpretation cannot be sustained.

     3. Retroactive application greatly impairs legitimate reliance interests without
        justification.

  The rule against retroactive rulemaking was stated by the Supreme Court in in
  Bowen v. Georgetown University Hospital, 488 U.S. 204, 208 (1988), where the
  Court held that “congressional enactments and administrative rules will not be
  construed to have retroactive effect unless their language requires this result.” As
  the Court explained, “an administrative agency’s power to promulgate legislative
  regulations is limited to the authority delegated by Congress” and “a statutory
  grant of legislative rulemaking authority will not, as a general matter, be
  understood to encompass the power to promulgate retroactive rules unless that
  power is conveyed by Congress in express terms.” Id. Thus, “[e]ven where some
  substantial justification for retroactive rulemaking is presented, courts should be
  reluctant to find such authority absent an express statutory grant.” Id. at 208-09.

  As explained in Fernandez-Vargas v. Gonzales, 548 U.S. 30, 36 (2006), in assessing
  whether a rule has retroactive effect “we ask whether applying the statute to the
  person objecting would have a retroactive effect in the disfavored sense of ‘affecting
  substantive rights, liabilities, or duties [on the basis of] conduct arising before [its]
  enactment.’” Id. quoting Landgraf v. USI Film Products, 511 U.S. 244, 278 (1994).
  Such retroactivity is highly disfavored in the law in accordance with “fundamental
  notions of justice” that have been recognized throughout history, Kaiser Aluminum
  & Chemical Corp. v. Bonjorno, 494 U.S. 827, 855 (1990) (Scalia, J., concurring);
  Horne v. Department of Agriculture, 135 S.Ct. 2419, 2427 (2015) (“people still do
  not expect their property, real or personal, to be actually occupied or taken away”).

  Here, as the ATF’s reliance on Section 922(o)(1) demonstrates, there is no question
  that the proposed rule would retroactively illegalize existing possession of bump
  stocks that were lawfully possessed before the proposed rule was announced. As the
  proposed rule fully recognizes, prior ATF classification letters had expressly ruled
  that bump stocks did not convert a semi-auto firearm into a machinegun.
  https://www.federalregister.gov/d/2018-06292/p-38 In reliance on these prior
  rulings, existing owners purchased, possessed and owned bump stocks that were,
  at that time, fully compliant with these ATF rulings. That reality is undisputed.
  These prior purchases were completed prior to this proposed new rule and thus the
                                                              Guedes v. ATF / Codrea v. ATF
                                          Page 4 of 9                    Ex. 1 Page 000124
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 126 of 382

  proposed rule would attach new legal consequences to those completed purchases.
  See Landgraf, 511 U.S. at 269-70.

  The proposed rule reverses these prior rulings to illegalize these devices and
  requires destruction or dispossession of any bump stocks that were purchased and
  possessed prior to the effective date of the new, proposed rule. It converts an
  existing, lawful owner into a felon under Section 922(o). It is thus incontestable that
  the proposed rule would “affect” existing rights and impose new liabilities on the
  past and continued possession of these items of personal property. Indeed, under
  the ATF’s reasoning and interpretation of Section 922(o), bump stocks were always
  a machinegun part and thus always illegal under Section 922(o). It is thus only a
  matter of prosecutorial discretion whether to arrest and prosecute existing owners.
  Yet, any interpretation that allows that result is impermissible. See, e.g., Marinello
  v. United States, 138 S.Ct. 1101, 1108 (2018) (“we have said that we ‘cannot
  construe a criminal statute on the assumption that the Government will use it
  responsibly’”), quoting McDonnell v. United States, 136 S.Ct. 2355, 2372-73 (2016)
  (internal quotation omitted). The proposed rule violates these principles. ATF’s
  reliance on and construction of Section 922(o) thus fails for this reason alone.

  These principles have an especially powerful application to bump stocks because of
  the reliance that existing owners placed on the ATF’s prior rulings applying an
  interpretation of the term “machinegun” it now reverses in the proposed rule. The
  Supreme Court has stated that “an administrative agency may not apply a new rule
  retroactively when to do so would unduly intrude upon reasonable reliance
  interests.” Heckler v. Community Health Services, 467 U.S. 51, 60 n.12 (1984). The
  D.C. Circuit held in Georgetown Hospital that there is no exception to this rule
  against retroactive rulemaking for “curative rules.” Bowen v. Georgetown
  University Hospital, 821 F.2d 750, 758 (D.C. Cir. 1987) (“both the express terms of
  the APA and the integrity of the rulemaking process demand that the corrected
  rule, like all other legislative rules, be prospective in effect only”). The D.C. Circuit
  has continued to adhere to that position. See, e.g., ICORE, Inc. v. FCC, 985 F.2d
  1075, 1080-81 (D.C. Cir. 1993) (“It seems apparent that the Court does not view
  “curative” rules as permissible under a statutory scheme that generally withholds
  authority for retroactive rulemaking.”). We know of no contrary precedent.
  Retroactive application of the proposed rule to ban existing, lawfully owned
  property fails under these principles. The ATF simply may not engage in this
  retroactive rulemaking.

  At a minimum, the reliance interests at issue here place a heavy burden on the ATF
  to explain fully and justify its change of its prior interpretation of the National
  Firearms Act. See Fox Television, 556 U.S. at 515 (“This means that the agency
  need not always provide a more detailed justification than what would suffice for a
  new policy created on a blank slate. Sometimes it must—when, for example, its new
  policy rests upon factual findings that contradict those which underlay its prior
  policy; or when its prior policy has engendered serious reliance interests that must
  be taken into account.”) (emphasis added). The agency has failed to do so here,
  stating merely the new rule adopts “a better legal and practical interpretation of
  ‘function’” of the trigger. (Proposed Rule at 19). That failure to address fully its
  prior interpretations makes clear that the ATF’s proposed rule is not entitled to
                                                              Guedes v. ATF / Codrea v. ATF
                                          Page 5 of 9                    Ex. 1 Page 000125
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 127 of 382

  Chevron deference under Chevron U.S.A. Inc. v. Natural Resources Defense
  Council, Inc., 467 U.S. 837 (1984).

  The Supreme Court’s recent decision in Encino Motorcars, LLC v. Navarro, 136
  S.Ct. 2117, 2125 (2016), is on point. There, the Court held that an agency’s change
  in interpretation of statutory authority was not entitled to Chevron deference
  because the agency had failed to adequately explain its departure from its prior
  interpretation. As the Court stated, “[a]gencies are free to change their existing
  policies as long as they provide a reasoned explanation for the change.” Encino
  Motorcars, 136 S.Ct. at 2125. Yet, the Court stressed that “[i]n explaining its
  changed position, an agency must also be cognizant that longstanding policies may
  have “engendered serious reliance interests that must be taken into account.” Id. at
  2126, quoting Fox Television Stations, 556 U.S. at 515. “In such cases it is not that
  further justification is demanded by the mere fact of policy change; but that a
  reasoned explanation is needed for disregarding facts and circumstances that
  underlay or were engendered by the prior policy.” (Id.).

  The proposed rule completely fails address the heavy reliance interests that came
  about as a direct result of the ATF’s prior interpretations. The ATF estimates that
  there are as many as 520,000 bump stocks devices currently in possession (Proposed
  Rule at 33), with a value of up to $96,242,750. (Id. at 34). Yet, the ATF accords
  absolutely no recognition of or weight to the enormity of this reliance interest in
  deciding whether to change its interpretation. Rather, it merely cites these burdens
  in conducting a cost-benefit analysis under Executive Orders 12866, 13563, and
  13771. Yet, that cost-benefit analysis is obviously not the same as assessing reliance
  interests. A cost-benefit mandate is intended to require the agency “to select
  regulatory approaches that maximize net benefits.” (Preamble at 25). “Net benefits”
  are not the same thing as “reliance interests,” particularly where, as here, a
  criminal statute (section 922(o)) is involved. As Encino Motorcars holds, that failure
  to address reliance interests indicates that the agency’s action is “arbitrary and
  capricious” under 5 U.S.C. § 706, “[a]nd arbitrary and capricious regulation of this
  sort is itself unlawful and receives no Chevron deference.” Encino Motorcars, 136
  S.Ct. at 2126. The reliance interests alone suggest that the ATF should not require
  the destruction of $96.2 million of lawfully acquired and legally owned private
  property. For all the foregoing reasons, the proposed rule will not survive judicial
  review. At a minimum, the ATF should modify the proposed rule to make clear that
  the rule will not apply to the possession of existing bump stocks already lawfully
  owned.

     B. THE PROPOSED RULE VIOLATES THE TAKINGS CLAUSE OF THE
        CONSTITUTION.

  The Takings Clause provides: “[N]or shall private property be taken for public use,
  without just compensation.” U.S. Const., Amendment 5. As explained in Horne v.
  Dept. of Agriculture, 135 S.Ct. 2419, 2426 (2015), the Clause “protects ‘private
  property’ without any distinction between different types,” and thus includes
  personal property as well as real property. Under the Takings Clause, the
  government simply does not have the right to take property by declaring, in an ipse
  dixit, the property to be noxious or in the interest of public safety. In Horne the
                                                            Guedes v. ATF / Codrea v. ATF
                                         Page 6 of 9                   Ex. 1 Page 000126
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 128 of 382

  Supreme Court held that there is a fundamental difference between a regulation
  that restricts only the use of private property and one that requires “physical
  surrender … and transfer of title.” Horne, 135 S. Ct. at 2429. Horne squarely holds
  that the latter situation is a Takings that must be compensated. See also Tahoe-
  Sierra Preservation Council, Inc. v. Tahoe Regional Planning Agency, 535 U.S. 302,
  322 (2002) (“When the government physically takes possession of an interest in
  property for some public purpose, it has a categorical duty to compensate the former
  owner, regardless of whether the interest that is taken constitutes an entire parcel
  or merely a part thereof.”). As detailed below, the ban on possession of existing
  property in the proposed rule is a total regulatory taking that must be compensated.

  This duty to compensate may not be evaded by invoking the general police power to
  provide for the common good. In Mugler v. Kansas, 123 U.S. 623 (1887), the
  Supreme Court held that the State may ban the sale and manufacture of beer from
  a brewery. However, the case did not involve a seizure of the brewery itself. The
  Court made that clear in stating “[a] prohibition simply upon the use of property for
  purposes that are declared, by valid legislation, to be injurious to the health, morals,
  or safety of the community, cannot, in any just sense, be deemed a taking or an
  appropriation of property for the public benefit. Such legislation does not disturb
  the owner in the control or use of his property for lawful purposes, nor restrict his
  right to dispose of it, but is only a declaration by the state that its use by any one,
  for certain forbidden purposes, is prejudicial to the public interests.” 123 U.S. at
  668-69 (emphasis added).

  These limits of Mugler were stressed in Lucas v. South Carolina Coastal Council,
  505 U.S. 1003 (1992), where the Supreme Court reversed a lower court’s reading of
  Mugler as allowing a State to ban harmful or noxious private property without
  paying compensation. The Court stated:

        [T]he legislature's recitation of a noxious-use justification cannot be the basis
        for departing from our categorical rule that total regulatory takings must be
        compensated. If it were, departure would virtually always be allowed.” 505
        U.S. at 1026 (emphasis added).

  The proper test, the Court held, is:

        Where the State seeks to sustain regulation that deprives land of all
        economically beneficial use, we think it may resist compensation only if the
        logically antecedent inquiry into the nature of the owner's estate shows that
        the proscribed use interests were not part of his title to begin with. (Id. at
        1027) (emphasis added).

  See also Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419, 425 (1982)
  (accepting the lower court’s holding that the regulation at issue was “within the
  State’s police power,” but holding that “[i]t is a separate question, however, whether
  an otherwise valid regulation so frustrates property rights that compensation must
  be paid”); Andrus v. Allard, 444 U.S. 51, 65-66 (1979) (holding there was no Taking
  because the Government did not “compel the surrender of the artifacts, and there
  [was] no physical invasion or restraint upon them”).
                                                             Guedes v. ATF / Codrea v. ATF
                                          Page 7 of 9                   Ex. 1 Page 000127
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 129 of 382


  The Proposed Rule does not even mention the Takings issue, much less this body of
  controlling Supreme Court precedent. Here, an owner’s possession of bump stocks
  and magazines were indisputably “interests” that were “part of his title to begin
  with.” Lucas, 505 U.S. at 1027. Illegalizing such interests constitutes a “total
  regulatory taking” which must be compensated under the Court’s “categorical rule.”

  Specifically, banning possession by lawful owner of his own property is “tantamount
  to a direction appropriation or ouster” under Loretto v. Teleprompter Manhattan
  CATV Corp. 458 U.S. 419, 426 (1982), because possession is an essential property
  interest. The word “property” in the Takings Clause means “the group of rights
  inhering in [a] citizen's relation to [a] ... thing, as the right to possess, use and
  dispose of it.” United States v. General Motors Corp., 323 U.S. 373, 378 (1945). As
  one court of appeals has held, “it is sufficient” that the law “involves a direct
  interference with or disturbance of property rights,” even if the government itself
  does not “directly appropriate the title, possession or use of the propert[y].”
  Richmond Elks Hall Ass’n v. Richmond Redevelopment Agency, 561 F.2d 1327,
  1330 (9th Cir. 1977).

  The Taking at issue here is not supported by Akins v. United States, 892 Fed. Cl.
  619 (2008). In that case, the AFT ruled that a particular new invention, (the Akins
  accelerator) violated previously existing law on the manufacture of machineguns.
  In holding that this AFT ruling did not effect a Taking, the Court of Federal Claims
  ruled that the government may invoke its police power to enforce existing criminal
  law by banning the sale or possession of property that is in violation of that
  previously existing law. Akins did not involve a retroactive ban on a person’s
  existing lawful possession of a machinegun. Rather, Akins is in accord with the
  rule that “the Takings Clause does not prohibit the uncompensated seizure of
  evidence in a criminal investigation, or the uncompensated seizure and forfeiture
  of criminal contraband.” Spann v. Carter, 648 Fed. Appx. 586 (6th Cir. 2016), citing
  Acadia Tech., Inc. v. United States, 458 F.3d 1327, 1331 (Fed. Cir. 2006). Existing
  bump stocks are lawful property under prior ATF rulings, not contraband. As stated
  in Lucas “the legislature's recitation of a noxious-use justification cannot be the
  basis for departing from our categorical rule that total regulatory takings must be
  compensated. If it were, departure would virtually always be allowed.” 505 U.S. at
  1026.

  In summary, the ATF may not retroactively ban such existing bump stocks without
  express Congressional authorization (which it lacks) and it certainly may not
  impose such a ban without paying just compensation.




                                                           Guedes v. ATF / Codrea v. ATF
                                        Page 8 of 9                   Ex. 1 Page 000128
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 130 of 382



  Sincerely,



  Mark W. Pennak
  President, Maryland Shall Issue, Inc.
  1332 Cape St. Claire Rd #342
  Annapolis, MD 21409
  mpennak@marylandshallissue.org




                                                        Guedes v. ATF / Codrea v. ATF
                                          Page 9 of 9              Ex. 1 Page 000129
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 131 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                   Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                 Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                       ID: ATF-2018-0002-13313
                                                                    Tracking Number: 1k2-92nd-nchj


 Comment                                                            Document Information
                                                                   Date Posted:
 One significant concern of this proposed rule is how the ATF
                                                                   Apr 19, 2018
 is, in effect, creating an ex-post facto prohibition.
                                                                   RIN:
 As stated in the summary, "The GCA makes it unlawful for          1140-AA52
 any person to transfer or possess a machinegun unless it
                                                                   Show More Details
 was lawfully possessed prior to the effective date of the
 statute. The bump-stock-type devices covered by this
 proposed rule were not in existence prior to the GCA's
 effective date, and therefore would fall within the prohibition
                                                                    Submitter Information
 on machineguns if this Notice of Proposed Rulemaking              Submitter Name:
 (NPRM) is implemented. Consequently, current possessors           Michael Hendricks
 of these devices would be required to surrender them,
 destroy them, or otherwise render them permanently
 inoperable upon the effective date of the final rule."

 Properly stated, bump stocks did not exist prior to the GCA's
 effective date. This nation's long-standing history asserts
 that activities or possessions are legal unless a law prohibits
 it, specifically BEFORE the possession is acquired or the
 activity is performed. The term "machine gun" was clearly
 defined in the GCA, and did not address how a bump stock
 functions. The summary asserts that the only way a bump
 stock could fall within the definition of machineguns is to
 change the definition AFTER the fact that they are
 possessed by many Americans, and are being legally
 manufactured today.

 The ATF had to review the designs of bump stocks before
 they could be manufactured and sold. The ATF
 unequivocally ruled that they did not meet the criteria for
 prohibition under any existing rules or laws. We are now
 considering whether the ATF is going to "change it's mind,"
 making the possession of goods which the ATF previously


                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000130
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 132 of 382


(properly) deemed to be legal, now illegal. Law-abiding
Americans purchase items for their firearms based upon the
laws of this nation, and properly expect that the
bureaucracies of this nation shall live by their word. This
proposed rule will mandate that law-abiding citizens
surrender or destroy legally acquired possessions (at the
cost of hundreds of dollars each) without any recompense.
This will result in the loss of millions of dollars of personal
property, business inventory and manufacturing tools and
training. Had the ATF not made what may now be
considered a politically inconvenient determination, this loss
would not be a topic of debate. Many who purchase a
firearm determine what firearm and accessories to purchase
as a whole package. Not only are Americans at risk of
having to discard their currently legal bump stocks, but may
have to purchase additional items to replace the bump
stock, which would not have been the case had the ATF not
previously determined that bump stocks were legal.

Four of my family members were in the crowd at the concert
in Las Vegas. My cousin, her husband and her two adult
children all witnessed people being shot during the incident,
and were at risk of injury during the panic as people tried to
escape the scene. Our entire extended family has discussed
this incident, which has not changed how strongly we
support the right to keep and bear arms. It is absolutely
inappropriate to punish or restrict the rights of more than
300 million Americans based on the actions of a madman.
We are considering restricting the rights of all Americans not
on the basis of the acts of a couple hundred people. We are
considering restricting the rights of all Americans on the
basis of the actions of ONE person.

The right to keep and bear arms pre-existed this nation. We
are constantly debating what the founding fathers meant by
the 2nd Amendment, but too often ignore what THEY wrote
about it and its implications. One has to simply read the
Federalist Papers, the militia act of 1792, and contemporary
State Constitutions to attain a clear understanding of their
intentions. Their intention was to clarify that our government
had the obligation to protect the right of each and every
American to keep and bear arms equivalent to any criminal
or invading force, be that force a tool of our own
government, another government or individual or organized
criminal element. 10 USC s 246 still defines the unorganized
militia as all able-bodied males between the age of 17 and
45 who are not part of the National Guard or Naval Militia.
On a daily basis, we are debating how much infringement
upon this right we're willing to accept. Today, we are adding
the idea of accepting an ex-post facto infringement.

Too many politicians state that the worst thing we can do is
nothing. This is patently wrong. The worst thing we can do is
the wrong thing, and restricting the rights of an entire nation
based on the actions of a tiny number of lunatics is the
wrong thing. It is even more wrong to declare a possession
illegal after the ATF determined they were legal, and

                                                                  Guedes v. ATF / Codrea v. ATF
                                                                             Ex. 1 Page 000131
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 133 of 382


permitted the manufacture, sale and possession of these
items for years. If the ATF starts down this road, where does
it stop? If we permit ex-post facto rules and laws for one
item or activity, what item or activity is next?




                                                                Guedes v. ATF / Codrea v. ATF
                                                                           Ex. 1 Page 000132
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 134 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                   Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                       ID: ATF-2018-0002-14117
                                                                    Tracking Number: 1k2-92fz-alcz


 Comment                                                            Document Information
                                                                   Date Posted:
 I oppose this proposed rule wholeheartedly. It would be
                                                                   Apr 19, 2018
 UNCONSTITUTIONAL under Article 1 Section 9 to pass this
 ex post facto legislation. "Every law that makes an action        RIN:
 done before the passing of the law, and which was innocent        1140-AA52
 when done, criminal; and punishes such action." Over the
                                                                   Show More Details
 past several years, these devices and those similar to them
 have been examined by regulatory bodies including the ATF
 and found to not constitute the creation of a "machine gun."
 Overnight you would criminalize prior legal possession of
                                                                    Submitter Information
 these devices by thousands of law-abiding citizens.               Submitter Name:
                                                                   Gilbert Brown
 This unconstitutional act has profound implications on future
 items beyond imagination that are currently utilized in our
 daily lives. I understand attempts to change future
 regulations, but stripping a previously law-abiding American
 citizen of an item which was previously purchased and held
 legally without any attempt at compensation fails even the
 most basic sniff test for fair treatment or reasonable law-
 making. I ask you to please find another avenue of action on
 this issue, if you are to decide they should no longer be
 produced and sold, so be it. While I and others will disagree
 with you, it does not criminalize prior law-abiding citizens or
 strip those citizens of items which have been legally
 acquired and responsibly used.

 Apart from my objections above, a "bump-stock type device"
 does not constitute an automatic rifle when attached. It
 relies on a single pull of the trigger mechanism to initiate a
 firing cycle. They have no active moving parts, nor do they
 include any internal mechanisms that would allow a single
 trigger pull to sustain fire, nor do they fire at the rate of
 machine guns as defined in current legislation.



                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000133
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 135 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and                   Comment Period Closed
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type                Jun 27 2018, at 11:59 PM ET
Device
For related information, Open Docket Folder
                                                                        ID: ATF-2018-0002-3455
                                                                   Tracking Number: 1k2-92c2-meoe


 Comment                                                            Document Information
                                                                   Date Posted:
 Article 1, Section 9, Clause 3 of the United States
                                                                   Apr 5, 2018
 Constitution states:
                                                                   RIN:
 "No Bill of Attainder or ex post facto Law shall be passed."      1140-AA52

                                                                   Show More Details
 Fifth Amendment to the United States Constitution states:

 "No person shall be held to answer for a capital, or
 otherwise infamous crime, unless on a presentment or
                                                                    Submitter Information
 indictment of a Grand Jury, except in cases arising in the        Submitter Name:
 land or naval forces, or in the Militia, when in actual service   Gordon Davis
 in time of War or public danger; nor shall any person be
 subject for the same offence to be twice put in jeopardy of
 life or limb; nor shall be compelled in any criminal case to be
 a witness against himself, nor be deprived of life, liberty, or
 property, without due process of law; nor shall private
 property be taken for public use, without just compensation."

 This proposal is a clear violation of Article 1, Section 9,
 Clause 3 of the United States Constitution as it qualifies as
 ex post facto and is a clear violation of the Fifth Amendment
 to the United States Constitution by depriving people of
 property without due process of law and without
 compensation.

 Furthermore, the following statement is false:

 "The Department has determined that there would not be a
 registration period for any device that would be classified as
 "machinegun" as a result of this rulemaking. The NFA
 provides that only the manufacturer, importer, or maker of a
 firearm may register it. (9) Accordingly, there is no means by
 which the possessor may register a firearm retroactively,


                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000134
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 136 of 382


including a firearm that has been reclassified. Further, 18
U.S.C. 922(o) prohibits the possession of machineguns that
were not lawfully possessed before the effective date of the
statute. Accordingly, if the final rule is consistent with this
NPRM, current possessors of bump-stock-type devices will
be obligated to dispose of those devices. A final rule will
provide specific information about acceptable methods of
disposal, as well as the timeframe under which disposal
must be accomplished to avoid violating 18 U.S.C. 922(o)."

The Treasury Secretary is within his power to open a 90 day
amnesty period to allow for the registration of machineguns
in accordance with the Hughes Amendment to the Firearm
Owners Protection Act of 1986. As such, the Department of
Justice could coordinate with the Department of the
Treasury to allow for registration of "new" machineguns
during said 90 day amnesty.

Allowing for grandfathering of existing bump stocks or
opening a 90 day amnesty for machinegun registrations
would allow this proposal to past Constitutional muster.




                                                                  Guedes v. ATF / Codrea v. ATF
                                                                             Ex. 1 Page 000135
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 137 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                             ID: ATF-2018-0002-75886
                                                               Tracking Number: 1k2-93y1-pyr1
For related information, Open Docket Folder

                                                                Document Information
                                                              Date Posted:
 Comment                                                      Jul 3, 2018
                                                              RIN:
 See attached file(s)                                         1140-AA52

                                                              Show More Details

 Attachments (19)
                                                                Submitter Information
                                                              Submitter Name:
          Comment to ATF re Bumpstocks                        Stephen Stamboulieh
          View Attachment:                                    Organization Name:
                                                              Stamboulieh Law, PLLC

          Form 1 Approval 9.5.1986_redacted
          View Attachment:


          17-530_6537
          View Attachment:


          HistoricArmsLLC bump stock analysis
          (1)_3
          View Attachment:


          MSI Comment
          View Attachment:


          HistoricArmsLLC bump stock analysis
          (1)_1



                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 00135A
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 138 of 382


  View Attachment:


  HistoricArmsLLC bump stock analysis
  (1)_2
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_7
  View Attachment:


  March 15 Production 1-5
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_6
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_10
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_9
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_8
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_11
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_12
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_13
  View Attachment:




                                                     Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 00135B
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 139 of 382


  March 15 production - full size
  version - reduced_Redacted_14
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_16
  View Attachment:


  March 15 production - full size
  version - reduced_Redacted_15
  View Attachment:




                                                     Guedes v. ATF / Codrea v. ATF
                                                               Ex. 1 Page 000135C
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 140 of 382




                        LEN SAVAGE, PRESIDENT

                       t1i~torie '(Irm~ .b.b.



                                                706-675-0287 Home
                                                706-675-0818 Shop


      Analysis and commentary regarding: DOCKET NUMBER: ATF 2017R-22
                                         &

   BUMP- STOCK -TYPE- DEVIC ES
ORIGIN

Why was the bump stock invented in the first place? The answer is that they would not
exist if the government had not effectively "banned" machineguns on May 19, 1986 with
implementation of the Hughes amendment of the Firearms Owners Protection Act.

A "bump-stock-type-device" is a direct result of the government banning something.
With the supply of citizen legal machineguns fixed, demand grew with the population
and that has caused prices of these "transferable" machineguns to skyrocket in price.

Prices drove the market into looking for an alternative. Simulating "full auto fire" with a
multitude of products that claim to increase the rate of fire had a ready made market
created by the government.

In most cases the product is more of a parlor trick than anything else. You do not hear of
any law enforcement agency or foreign military fielding them.

OPERATION

How does a bump stock work? A bump stock can do NOTHING without the skill and
coordination of the shooter. A specific skill based shooting technique called "bump
firing" must be utilized.

The United States Department of Justice on July 27, 2017 explained the operation of
bump-stock-type-devices to US district courts as:

       "Bump firing" is the process of using the recoil of a semiautomatic firearm to
       fire in rapid succession, simulating the effect of an automatic firearm when
       preformed with a high level of skill and precision by the shooter. Bump


Page 11

                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                  Ex. 1 Page 000136
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 141 of 382



          firing requires the shooter to manually and simultaneously pull and push the
          firearm in order for it to continue firing.

 (Case 3:16-cv-00243-RLY-MPB Document 28, Page 21) complete document attached

All firearms have a recoil impulse because in order to propel a projectile out the barrel,
an equal force in the opposite direction is also generated. A semiautomatic fireann, due
to its mechanical nature, has the ability to generate this recoil impulse every time the
trigger is activated.

This cycle of mechanical events that stait with the trigger activation and end with a new
round in the chamber ready to begin again is the cycle rate or how fast the firearm can
physically complete cycles (or rounds fired).

The fact is any semiautomatic AR-15 (or AK-4 7 for that matter) can fire as fast as a
machinegun version. Their cyclic rates are identical to the machinegun version. Their
essential operating mechanisms are identical, same ammo, same mags, same
reciprocating mass. The only small physical difference is the machineguns described
have a mechanical lever that "automatically" starts the new cycle as soon as the previous
cycle ends.

Some semiautomatic firearms can even fire faster than the full auto version because the
machinegun version having some form of a rate reducing mechanism.

ALL semiautomatic firearms can be "bump fired" regardless of any "bump-type-stock-
device" installed or not. It is a matter of skill and coordination to find the "rhythm", or
cyclic rate of the firearm at hand and the correct amount of counterforce to be applied and
when to apply them.

The only "self acting and self regulating" force of a bump-type-stock-device is provided
by the shooter and the firearm, none is provided by the stock. Basketballs don't dribble
automatically even if the skills of most the NBA players make it appear so.

A bump-type-stock-device allows a small amount of linear motion of the firearm frame,
allowing for safe control of the fireann while utilizing the bump fire shooting technique.
There is less risk of loss of control of the firearm when using bump-type-stock-device vs.
using the shooting technique without one.

Put bluntly, bump-stock-type-devices make using the bump fire shooting technique
safer for the shooter and those around the shooter.

ADMINISTRATIVE RECORD

Bill Akin seeking to fill a market need invented, patented, and then produced the Akin's
Accelerator. In his quest to simplify or make the bump fire shooting technique easier,
though similar to a bump-stock-type-device it was different in two ways.


Page 12

                                                                      Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 000137
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 142 of 382




1.) No required bump fire skills or technique to function.
2.) Reduced shooter input required to function (no coordination required).

The ATF initially agreed with Mr. Akin that indeed the trigger of the firearm was being
activated with each shot. Mr Akin after securing his patent went into business making
the "Akins Accelerator" stock for the Ruger 10/22 rifle.

The .22 rim fire cartridge made the real skill in the Akins Accelerator the tuning process
involved in adjusting the operating spring that regulated his device. They were tricky to
set up to work, (lots of trial and error), but once set up ran like a sewing machine.

When the ATF reclassified his product Mr. Akins sought iudicial relief and took the ATF
and DOJ to court over the issue. The case went to the 11 t circuit court of appeals. The
Department of Justice documented through court proceedings just how much "extensive
legal analysis" was conducted by them on the subject ofmachineguns and bump-stock-
type-devices.

Mr. Akin researched ways to salvage his patent and hopefully come up with a lawful
replacement product that would pass ATF examination and classification.

I was a member of Mr. Akins legal team and my company later helped him research and
develop his compliant replacement product. 20% of the DOJ cited A TF classification
letters on "Bump-Stock-Type-Devices" are addressed to me. I have no commercial
interest in bump-stock-type devices other than the research and development completed.

The administrative record, such that it is, is VERY clear.

The basic premise of all current ATF classification letters as well as court pleadings by
ATF and DOJ to date are that a device not omit the required skill or the shooters required
input in order to achieve "bump fire".

The Department of Justice on September 13, 2017 on why a bump-stock-type-device is
NOT a machinegun:

       "Because of the manual, skill based methods required to operate a bump fire
       device" (case3:16-cv-00243-RLY-MPB, Document 33, page 8) complete
       document attached

The above policy is based on logic and science and is therefore demonstrable with a
simple scientific test.

ATF RULING 82-8 proves that DOJ knows that "grandfathering" a device when they
had; 1.) Previously declared the device to be lawful, 2.) Then later declared the device to
be a machinegun, as being perfectly lawful to possess if made before the ruling date.
Complete document attached


Page 13

                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                   Ex. 1 Page 000138
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 143 of 382



Complete document attached

Furthermore on September 10, 2009, ATF experts were asked about the firearms
"grandfathered" in ATF Ruling 82-8 under oath. The ATF's official position is that the
firearms are machineguns, do not require registration, nor do they require a tax be paid on
them, and the ATF is aware they are in circulation (approximately 50,000), but are no
longer manufactured. (US vs. One Historic Anns Model54RCCS Case 1:09-CV-00192-
GET). Relevant document page attached

The Department of Justice cun·ently claims that an ordinary shoe string can be a
machine gun if installed on a semiautomatic firearm. There are documents dating from
1996, 2004, and 2007 from ATF on this issue. ATF letter to Brian Blakely June 25,
2007:
       "When the string is added to a semiautomatic firearm as you proposed in
       order to increase the cycling rate of that rifle, the result is a firearm that fires
       automatically and consequently would be classified as a machinegun"
       Complete document attached

It is significant that the DOJ claims that both shoe strings and bump-stock-type-devices
convert semiautomatic firearms into machineguns, yet has chosen NOT to regulate them
in any way, let alone ban all shoe strings and demand their forfeiture, destruction, or ban
further manufacture.

The documents prove that DOJ can indeed grandfather items that purportedly convert a
semiautomatic firearm into a machinegun as they have with the shoe string issue.

BUMP-STOCK-TYPE-DEVICE CRIME

Just how many crimes are committed using "'Bump-Stock-Type-Devices" anyway?
The only alleged use of a "bump-type-stock-device" during a crime was the Las Vegas
shooting incident on October 1, 2017.

Both ATF and FBI were specifically asked ifthey had ANY records of a "bump-type-
stock-device" being used in a crime on April9, 2018 via a Freedom Oflnformation Act
(FOIA) request. Complete document attached.

To date neither ATF nor FBI will confirm ANY crime being committed (including the
Oct 1, 2017 Las Vegas incident). In fact ATF Firearms Technology did not even receive
the firearms from the Oct. 1, 2017 shooting incident until April ofthis year.

No ATF "Report of Technical Examination" (ATF form 3311.2) has been released for
any of the firearms used in the incident. For all we know the firearms could have been a
machinegun with a "bump-stock-type-device" installed to throw off unwanted attention
from law enforcement as a ruse or decoy for reports of automatic gun fire.




Page 14

                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                  Ex. 1 Page 000139
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 144 of 382



There simply are no other known crimes committed with "bump-stock-type-devices".
No known military uses "bump-stock-type-devices, nor does any known law enforcement
agency.



 THE NPRM ENFORCEMENT SCHEME FATALLY FLAWED

The NPRM does not address several serious issues.

    1. The change in policy asks for a willing suspension of disbelief of basic science
       and physics.

    2. The change in policy will put ATF experts at risk of being impeached as expert
       witnesses.

    3. The summary of the NPRM is filled with demonstrably false or misleading
    statements that are disputed by DOJ's own experts at ATF.

ATF expert testimony in trials and in classification letters conflict factually with the
NPRM when it states on page 19:

"Because these bump stock type devices allow multiple rounds to be fired when the
shooter maintains pressure on the extension ledge of the device, they are a
machinegun".

The problem with that statement is that it is patently false.

Furthermore, it easily demonstrated as a false statement.

If that where all it took to make a bump-stock-type-device to function as the DOJ claims
a simple scientific test could be given to determine if the device is really self activating
and self regulating or whether there is coordinated skilled input :from the shooter:

 .... please demonstrate firing a bump type stock device equipped firearm using only
 your trigger band as described, using no skilled coordinated input from your other
 hand. (It can't be done as it takes two hands, skill, and coordination in order to
function.)

 No doubt such a requested demonstration would be part of any court proceedings should
this proposed rule be implemented and ultimately prosecuted.

One could point out the United States Department of Justice knows of this test, as they
certainly are familiar with the results of such a test:




Page 15

                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                    Ex. 1 Page 000140
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 145 of 382



          "Bump firing" is the process of using the recoil of a semiautomatic firearm to
          fire in rapid succession, simulating the effect of an automatic firearm when
          preformed with a high level of skill and precision by the shooter. Bump
          firing requires the shooter to manually and simultaneously pull and push the
          firearm in order for it to continue firing.

(Case 3:16-cv-00243-RLY-MPB Document 28, Page 2l}Complete document attached.

If such a device were truly self acting and self regulating as the Department of Justice
now claims, then a bump-stock-type-device equipped firearm should fire as a
machinegun with no coordinated skilled effort from any other body prut (which is
impossible).

This same "coordinated input test" applied to an Akins Accelerator equipped
firearm would fire and operate with just one hand providing input and no coordinated
skilled effort from any other body part.

This same "coordinated input test" applied to the "shoe string" equipped firearm
would fire and operate with just one hand providing input and no coordinated skilled
effort from any other body part.

The document control number of every ATF classification letter contains the identity of
person drafting the communication. Furthermore, a simple search for the
"Correspondence Approval and Clearance" (ATF form 9310.3A) associated with any
bump stock letter assuring the item in question is not a firearm under the NFA and GCA
will indentify every person involved in the classification process. Under US v. Brady the
Department of Justice is mandated to providing this information to any future defendant
when they attempt to prosecute anyone on this policy.

The cost of this proposed rule will be the credibility of the ATF firearms expert trying to
explain or defend its preposterous claims under cross examination during some current or
future court case.

The definition of the word arbitrary: "Based on some random choice or personal
whim, rather than any reason or system".

THE SCOPE OF THE NPRM IS OVERLY BROAD DUE TO VAGUE LANGUAGE

The NPRM has descriptive language that is so vague it could be describing hundreds of
thousands of pump shotgun in the US, making each a potential machinegun. As there are
several models of shotguns that operate precisely as stated on page (1) of the NPRM
"firing without additional physical manipulation of the trigger by the shooter"
(There were approximately 500,000 Model37 pump shotguns made by Ithaca alone).

The vague language of the NPRM also describes every semiautomatic firearm made to
date. Because;


Page 16

                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                  Ex. 1 Page 000141
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 146 of 382




          1.) All semiautomatic firearms have the intrinsic ability to "bump fire" and are a
          type of device.

          2.) All semiautomatic firearms are by their very definition both a "self
          regulating", and a "self acting" mechanism.


Rate of fire is not regulated by the NFA or the GCA in any way. DOJ knows that ALL
semiautomatic firearms CAN fire as fast as a machinegun. This is because a
semiautomatic and a machinegun version of the same firearm have the same essential
operating mechanism (other than a few small parts in the trigger assembly).

Bump-stock-type-devices were created as a direct result of government regulation. They
simply would not exist if the purchase price of so called "transferable" machineguns were
not so expensive due to supply being fixed on May 19, 1986.

If the government really wanted bump-stock-type-devices to go away, and they claim
they have the right to reconsider its previous interpretations, then the government would
open the NFRTR to new transferable machineguns.

Nobody would bother with a bump-stock-type-devices and the government would know
precisely where each new machinegun was. 922(o) " .... Or under the authority of'.
The government could choose to simply "authorize" the new registrations.

OR: The Attorney General could simply declare a general amnesty under the NFA any
time he wishes to as long as they are not concurrent (must be separated by one calendar
day).

DOJ has had the power to do both and neither would have required any proposed rule
making.

Claims made by DOJ in the NPRM can only be described as deceptive; they are not
supported by scientific facts or DOJ' s own documents.




                                         Len Savage
                                     Historic Arms LLC
                                       May 25,2018


The documents are attached in the order they are referred to in the text.


Page 17

                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                   Ex. 1 Page 000142
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 147 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 1 of 26 PageiD #: 153




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   EVANSVILLE DIVISION

 FREEDOM ORDNANCE MFG., INC.,                  )
                                               )
         Plaintiff,                            )
                                               )
 V.                                            ) Case No. 3:16-cv-243-RLY-MPB
                                               )
 THOMAS E. BRANDON, Director,                  )
 Bureau of Alcohol Tobacco Firearms            )
 and Explosives,                               )
                                               )
         Defendant.                            )

      BRIEF IN SUPPORT OF CROSS MOTION FOR SUMMARY JUDGMENT AND IN
         OPPOSITION TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

         Freedom Ordnance Manufacturing, Inc. ("Freedom") is a firearms manufacturer

 headquartered in Chandler, Indiana.    In this case, Freedom challenges a decision by the Bureau

 of Alcohol, Tobacco, Firearms, and Explosives ("ATF") that a device Freedom seeks to

 manufacture and market is a "machinegun" as defmed under the National Firearms Act, 26

 U.S.C. § 5845(b).    ATF's decision is not arbitrary and capricious, but is supported by the

 administrative record.   Based on the foregoing, ATF is entitled to summary judgment.




                                                  1




                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000143
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 148 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 2 of 26 PageiD #: 154




                      STATEMENT OF MATERIAL FACTS NOT IN DISPUTE 1

         Freedom Ordnance Manufacturing, Inc. ("Freedom") is a federally-licensed firearms

 manufacturer with its principle place of business in Chandler, Indiana.     (Docket No. 1 ~ 2.)

 Freedom designed an Electronic Reset Assist Device ("ERAD") for commercial sale to the

 general public.   (Docket No. 1 ~ 9.)    The purpose of the ERAD, as described by Freedom, is to

 "improve firearm design" to assist the firearm user's "ability to continually pull the trigger in a

 rapid manner when a high rate of fire is desired."    (Administrative Record ("AR") 0025; Patent

 documents.)

         The Firearms and Ammunition Technology Division ("FATD") of ATF, through its

 Firearms Technology Industry Services Branch ("FTISB"), provides expert technical support to

 A TF, other Federal agencies, State and local law enforcement, the firearms industry, Congress,

 and the general public.    ATF, Firearms Ammunition and Technology (20 17), available at

 https://www.atf.gov/firearm s/firearms-and-ammunition- technology.       FTISB is responsible for

 technical determinations concerning types of firearms approved for importation into the United

 States and for rendering opinions regarding the classification of suspected illegal firearms and

 newly designed firearms.     Id.

        There is no requirement in the law or regulations for a manufacturer to seek an A TF

 classification of its product prior to manufacture.   See Bureau of Alcohol, Tobacco, Firearms

 and Explosives, National Firearms Act Handbook 7.2.4 (2017), available at


 1
  As discussed in Legal Background, Section D, the typical Fed. R. Civ. P. 56 standard and
 procedural structure does not apply in an APA review case. Accordingly, the Defendant is not
 required to marshal evidence showing material issues of fact in dispute and the typical
 "Statement of Material Facts Not In Dispute" does not apply, but is offered for factual context.
 Specific sections of the Record are cited in the relevant portions of the Argument section.

                                                   2




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000144
           Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 149 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 3 of 26 PageiD #: 155




     https://www.atf.gov/flrearms/national-frrearms-act-handbook.          ATF, however, encourages

     firearms manufacturers to submit devices for classification before they are offered for sale to

     ensure that the sale of such devices would not violate the Federal firearms laws and regulations.

     !d.    A TF responds to classification requests with letter rulings that represent "the agency's

     official position concerning the status of the firearms under Federal frrearms laws."        !d. at

     7.2.4.1.

                A.       The November 2015 Submission

                In November 2015, Freedom submitted a request to FTISB to examine a "trigger reset

 device."            (AR 0002; 0005- 17 (photos of submission).)      Freedom submitted a prototype of the

 device, along with correspondence, and a Bushmaster Model XM15-E2S AR-type firearm to be

 used in testing the prototype.         (!d.)

              FTISB closely examined and tested the prototype.         (AR 0003.)   As part of the

 examination, FTISB staff fired an AR-type rifle 2 with the prototype attached.           (Jd.)   FTISB

 staff noted two instances of machinegun function with the prototype device attached.              (!d.)

 Specifically, FTISB found that trigger reset device, when attached to the test weapon, converted

 it into a weapon that frred automatically - "firing more than one shot without manual reloading

 by a single function of the trigger."          (!d.)   Based on the examination and testing conducted,

 FTISB determined that the trigger reset device was a "machinegun" as defined in 26 U.S.C. §

 5845(b), and notified Freedom in a letter dated March 23, 2016.            (AR 0002- 4.)

             B.         The April2016 Submission and October 27,2016 Classification Decision



 FTISB ended up using an A TF AR-type frrearm to field test the prototype device because it
 2

noted a deformity in the Bushmaster Model XM15-E2S AR-type firearm submitted by Freedom.
(AR 0003.)
                                            3




                                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                               Ex. 1 Page 000145
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 150 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 4 of 26 PageiD #: 156




         In April2016, Freedom submitted a new sample prototype of its trigger reset assist

 device (referred to as the "ERAD").      (AR 0001.)    According to Freedom, the new sample

 prototype "is a total redesign" of the initial prototype.   (AR 0001.)     In the submission,

 Freedom included two sample prototypes of the device, along with 9-volt lithium batteries, and

 DVDs showing demonstrations of live firing and disassembly ofthe device.           (Jd.)   Although

 Freedom did not explicitly request a classification from FTISB on its prototype, FTISB treated

 the submission as such because the letter referred back to the Agency's March 23, 2016,

 classification and stated that Freedom "worked very hard to correct" the issues identified in the

 March 23, 2016, letter.   (Jd.)

        On or about September 7, 2016, Freedom submitted a supplemental letter to FTIS~ in

 support of its April2016 request for classification of the ERAD.     (AR 0018- 24.)        The

 supplemental materials included a letter from Freedom's counsel setting forth Freedom' s

 position that the ERAD should not be classified as a machinegun.         (AR 0018- 24.)     The

 supplemental materials also included a sixteen minute demonstration video of the ERAD, and

 written materials, including Freedom's purported patent application for the ERAD.          (AR 0018;

AR0025- 46.)      In the video, Freedom states that the ERAD permits the shooter to discharge

450 to 500 rounds per minute. (AR 0047.)

        FTISB examined that submission and supplemental materials, including the

demonstration video. (AR 0070 -71.) Specifically, FTISB disassembled and examined the

two sample ERAD prototypes. (Id.) FTISB examined each component part of the ERAD and

its design features and characteristics. (AR 0071 -72.) FTISB staff also conducted field

testing of the ERAD by attaching it to and firing from commercially-available Remington and


                                                  4




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000146
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 151 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 5 of 26 PageiD #: 157




  PMC rifles and a Bushmaster Model XM15-E2S AR-type firearm. (AR 0072.) During the

 test-fire portion of the examination, staff observed machine gun function six times. (Id.)

 Specifically, FTISB personnel observed that a single pull of the ERAD trigger - designated as the

 "primary trigger" - initiated the firing sequence, which caused firing until the trigger finger was

 removed. (AR 0073.)

         By letter dated October 27, 2016, FTISB issued a classification on Freedom's ERAD

 trigger system. (AR 0070 - 82.) In the eleven-page letter, FTISB described (1) the

 composition of the trigger and grip assembly, including its several constituent parts; (2) FTISB's

 process for examining and testing the ERAD trigger system; (3) its observations of the ERAD

 trigger system functionality and the firing effect that was produced when the ERAD was applied

 to a firearm (i.e., the prototype sent by Freedom) and test-fired; and (4) a breakdown of the firing

 sequence with and without the ERAD, including several accompanying illustrations. (Id.)

         FTISB concluded that the ERAD is properly classified as a machinegun. Significantly,

 FTISB found that "the firing sequence is initiated by a pull of the primary trigger and

 perpetuated automatically by shooter's constant pull and the reciprocating, battery-powered

 metal lobe repeatedly forcing the primary trigger forward." (AR 0073.) Thus, "[a] single pull

 of the trigger by the shooter therefore starts a firing sequence in which semiautomatic operation

 is made automatic by an electric motor." (Id.) FTISB found that because the shooter does not

 have to release the trigger for subsequent shots to be fired, the firing sequence is continually

 engaged as long as the shooter maintains constant rearward pressure (a pull) on the trigger and

 the motor continues to push the shooter's finger forward. (Id.) In other words, as long as the

 trigger is depressed, the firearm continues to fire until either the trigger finger is removed, the


                                                   5




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 000147
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 152 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 6 of 26 PageiD #: 158




 firearm malfunctions, or it runs out of ammunition. (!d.)

         FTISB therefore concluded that the installation of an ERAD on a semiautomatic firearm

 causes that firearm to shoot automatically (through the automatic functioning made possible by

 the electric motor), more than one shot, by a single function (a single constant pull) of the

 trigger. FTISB therefore properly concluded that the ERAD is classified as a combination of

 parts designed and intended for use in converting a semiautomatic rifle into a machinegun under

 26 U.S .C. § 5845(b). (AR at 79-80; 80-82.)

                       THE COURT MUST STRIKE AND DISREGARD
                        FREEDOM'S EXTRA-RECOR D EVIDENCE

        Freedom brings its claim under the Administrative Procedure Act, 5 U.S .C. § 704,

 challenging ATF's decision that Freedom ' s ERAD device be classified as a machinegun.

 (Docket No. 1; Docket No. 24.) As discussed further below, review of the agency's decision

 under the AP A is conducted using an arbitrary and capricious standard, and the Court's review is

 limited to the administrative record lodged by the agency. Fla. Power & Light Co. v. Lorion,

 470 U.S . 729, 743-44 (1985) ("The task of the reviewing court is to apply the appropriate APA

 standard of review, 5 U.S .C. § 706, to the agency decision based on the record the agency

 presents to the reviewing court."); Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.

 402, 420 (1971) ("That review is to be based on the full administrative record that was before the

 Secretary at the time he made his decision."), overruled on other grounds by Califano v.

Sanders, 430 U.S. 99 (1977); Highway J Citizens Grp. v. Mineta, 349 F.3d 938, 952 (7th Cir.

2003) ("the reviewing court considers only the administrative record already in existence, not

some new record made initially [in that court].").

        In support of its motion for summary judgment; Freedom submitted the declarations of

                                                 6




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000148
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 153 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 7 of 26 PageiD #: 159



 Michael Winge (Pl.'s Ex. D, Docket No. 24-4) and Richard Vasquez (Pl.'s Ex. E, Docket No .

 24-5). Mr. Winge is one of the owners ofFreedom Manufacturing. (Pl.'s Ex. D, Docket No.

 24-4.) Several paragraphs of his declaration recount correspondence between FTISB and

 Freedom, which is already contained in the Administrative Record and which is the best

 evidence of its contents. (See Pl. ' s Ex. D, Docket No. 24-4, ~~ 18 - 20.) The remaining

 paragraphs contain Mr. Winge' s opinions about the ERAD and his arguments regarding why the

 ERAD should not be classified as a machinegun. Mr. Winge's opinions are merely that- his

 opinions- and are not part of the official record containing the information upon which A TF

 relied in issuing its decision. The Court should strike and disregard these opinions because the

 Court' s review is limited to the administrative record lodged by ATF. Freedom did not

 challenge or move to supplement that administrative record; therefore, it is complete. Highway

 J Citizens Grp. , 349 F.3d at 952; see also United States Postal Serv. v. Gregory, 534 U.S. 1, 10

 (2001) ("a presumption of regularity attaches to [g]overnment agencies ' actions."); Spiller v.

 Walker, No. A-98-CA-255-SS , 2002 U.S . Dist. Lexis 13194, *26-27 (W.D. Tex. July 19, 2002)

 ("any legal conclusions and post-[ decision] evidence within the declarations and argumentation

 offered simply to contest the agencies' experts are not admissible.").

        Richard Vasquez appears to be a witness who was retained by Freedom to provide his

 expert opinion regarding the ERAD's classification. (Pl. ' s Ex. E, Docket No. 24-5.) Expert

 reports are generally not permitted in an APA review case. Vt. Yankee N uclear Power Corp. v.

NRDC, 435 U.S. 519, 555 (1978) ("the role of a court in reviewing the sufficiency of an

 agency's consideration ... is a limited one, limited both by the time at which the decision was

 made and by the statute mandating review."). Both the Supreme Court and the Seventh Circuit


                                                  7




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000149
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 154 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 8 of 26 PageiD #: 160




 have emphasized that "the focal point for judicial review should be the administrative record

 already in existence, not some new record made initially in the reviewing court." Camp v. Pitts,

 411 U.S. 138, 142 (1973); Cronin v. USDA, 919 F.2d 439, 443 (7th Cir. 1990) ("it is imprudent

 for the generalist judges of the federal district courts and courts of appeals to consider

 testimonial and documentary evidence bearing on those questions unless the evidence has first

 been presented to and considered by the agency.") ; see also Airport Cmtys Coal. v. Graves, 280

 F. Supp.2d 1207, 1213 (W.D. Wash. 2003) (holding that APA was intended to preclude

 "Monday morning quarterbacking").

        The Vasquez Declaration simply criticizes the agency' s analysis, but under the APA the

 Court must allow the agency to rely on its own experts' opinions even if a plaintiff has other

 expert opinions. Marsh v. Or. Natural Res. Council, 490 U.S . 360, 378 (1989) ("When

 specialists express conflicting views, an agency must have discretion to rely on the reasonable

 opinions of its own qualified experts, even if as an original matter, a court might find contrary

 views more persuasive."). Therefore, even if a so-called "expert" conclusion would contradict

 the agency's expert' s conclusions, this Court can give it no force. Greenpeace Action v.

 Franklin, 14 F.3d 1324, 1335 (9th Cir. 1992).

        Based on the foregoing, the Court must strike and disregard the Winge and Vasquez

 Declarations.

                                    LEGAL BACKGROUND

        A. The National Firearms Act and Gun Control Act

        The National Firearms Act of 1934, 26 U.S.C. Chapter 53, and the Gun Control Act of

 1968, 18 U.S.C. Chapter 44, comprise the relevant federal framework governing the firearm


                                                  8




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000150
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 155 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 9 of 26 PageiD #: 161



     market.     The Gun Control Act generally makes it unlawful for a person to transfer or possess a

     machinegun manufactured on or after May 19, 1986.         18 U.S.C. § 922(o).   ATF is charged

     with administering and enforcing both the National Firearms Act and the Gun Control Act.           28

     C.F.R. § 0.130(a)(1)-(2).

               18 U.S.C. § 922(a)(4) states that it shall be unlawful-

            (4) for any person, other than a licensed importer, licensed manufacturer, licensed
            dealer, or licensed collector, to transport in interstate or foreign commerce any
            destructive device, machinegun (as defined in section 5845 of the Internal
            Revenue Code of 1986), short-barreled shotgun, or short-barreled rifle, except as
            specifically authorized by the Attorney General consistent with public safety and
            necessity;

            Accordingly, with the limited exception of State, Federal and local law enforcement

 agencies, it is unlawful for any person to transfer or possess a machinegun manufactured on or

 after May 19, 1986.         Moreover, machineguns must be registered in the National Firearms

 Registration and Transfer Record and may only be transferred upon the approval of an

 application.        26 U.S.C. § 5812.    The National Firearms Act makes it unlawful to manufacture

 a machine gun in violation of its provisions. 26 U.S.C. § 5861(f).          Specifically, the National

 Firearms Act requires that a person shall obtain approval from ATF to make a National Firearms

 Act firearm, which includes a machinegun. 26 U.S.C. §§ 5922, 5845(a).           Similarly, licensed

 manufacturers are required to notify A TF by the end of the business day following manufacture

 of a NFA firearm.         26 U.S.C. § 5841(c), 27 CFR 479.103.

           B. The Definition of a Machinegun

           The National Firearms Act, 26 U.S.C. § 5845(b), defmes a machinegun 3 as



 Although more commonly spelled "machine gun," the applicable statutes use the spelling
 3

"machinegun."
                                                       9




                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 000151
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 156 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 10 of 26 PageiD #: 162




          any weapon which shoots, is designed to shoot, or can be readily restored to
          shoot, automatically more than one shot, without manual reloading, by a single
          function of the trigger. The term shall also include the frame or receiver of any
          such weapon, any part designed and intended solely and exclusively, or
          combination of parts designed and intended, for use in converting a weapon into a
          machinegun, and any combination of parts from which a machinegun can be
          assembled if such parts are in the possession or under the control of a person.

  See also 27 C.F.R. § 478.11 (stating same).

          The Gun Control Act incorporates the National Firearms Act's defmition ofmachinegun

  and defmes machinegun identically to the National Forearms Act.         18 U.S.C . § 922(a)(4).

  Both statutory definitions of a machine gun therefore include a combination of parts designed and

  intended for use in converting a weapon into a machinegun.       Id    This language includes a

  device that, when activated by a single pull of the trigger, initiates an automatic firing cycle that

 continues until the fmger is released or the ammunition supply is exhausted.        See ATF Rule

  2006-2 (AR at 630-32.)

         C. The Administrative Procedure Act

         The Administrative Procedure Act (APA) requires that the Court "hold unlawful and set

 aside agency action, fmdings, and conclusions" that are "arbitrary, capricious, an abuse of

 discretion, or otherwise not in accordance with law."      5 U.S.C. § 706(2)(A). The "scope of

 review under the 'arbitrary and capricious' standard is narrow and a court is not to substitute its

 judgment for that of the agency."     Motor Vehicle M.frs. Ass'n of U.S., Inc. v. State Farm Mut.

 Auto. Ins. Co., 463 U.S . 29, 43 (1983).    The Court must be satisfied that the agency has

 "'examine[d] the relevant data and articulate[d) a satisfactory explanation for its action including

 a rational connection between the facts found and the choice made."' Alpharma, Inc. v. Leavitt,

 460 F.3d 1, 6 (D.C. Cir. 2006) (quoting State Farm, 463 U.S. at 43).       The agency's decisions


                                                   10




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 000152
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 157 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 11 of 26 PageiD #: 163



  are entitled to a "presumption of regularity," Citizens to Pres. Overton Park, Inc. v. Volpe, 401

  U.S. 402, 415 (1971), and although "inquiry into the facts is to be searching and careful, the

  ultimate standard of review is a narrow one," id. at 416.

         Federal courts are particularly deferential towards the '"scientific determinations"' of the

  agency, which are "presumed to be the product of agency expertise."       Franks v. Salazar, 816

  F.Supp.2d 49, 55 (D. D.C. 2011) (quoting Bait. Gas & Elec. Co. v. Natural Res. Def Council,

  Inc., 462 U.S. 87, 103 (1983)).   The Court's review is confined to the administrative record,

  subject to limited exceptions not at issue here.    See Camp v. Pitts, 411 U.S. 138, 142 (1973)

  ("[T]he focal point for judicial review should be the administrative record already in existence,

  not some new record made initially in the reviewing court.").     See also Sig Sauer, Inc. v. Jones,

  133 F. Supp. 3d 364, 371 (D.N.H. 2015), aff'd sub nom. Sig Sauer, Inc. v. Brandon, 826 F.3d

 598 (1st Cir. 2016) (recognizing that classification determinations "require expertise that is well

 within the ATF' s grasp" and that "its conclusions are entitled to substantial deference from a

 reviewing court.") (citing Marsh v. Or. Natural Res. Council, 490 U.S. 360, 378 (1989)).

         D. Summary Judgment in AP A Cases

         Under the APA, "courts are to decide, on the basis of the record the agency provides,

 whether the action passes muster under the appropriate AP A standard of review." Fla. Power &

 Light Co., 470 U.S. at 743-44. Because extra-record evidence and trials are inappropriate in

 APA cases, courts decide AP A claims via summary judgment based on the administrative record

 the agency compiles. Cronin, 919 F.2d at 445 ("Because the plaintiffs are not entitled to present

 evidence in court to challenge the [decision-maker's] decision ... , there will never be an

 evidentiary hearing in court."); Nw. Motorcycle Ass 'n v. USDA , 18 F .3d 1468, 1472 (9th Cir.


                                                     11




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000153
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 158 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 12 of 26 PageiD #: 164



  1994).

           Although srnnmary judgment is the procedural mechanism by which the Government is

  presenting its case, the limited role federal courts play in reviewing such administrative decisions

  means that the typical Federal Rule 56 summary judgment standard does not apply. See

  Citizens for Appropriate Rural Roads, Inc. v. Foxx, 14 F. Supp. 3d 1217, 1228 (S.D. Ind. March

  31, 2014) (Barker, J.) (citing Cronin, 919 F.2d at 445); see also Sierra Club v. Mainella, 459

  F.Supp.2d 76, 89-90 (D. D.C. 2006). Instead, in APA cases, "[t]he factfinding capacity of the

  district court is thus typically unnecessary to judicial review of agency factfinding . . . . [C]ourts

  are to decide, on the basis of the record the agency provides, whether the action passes muster

  under the appropriate APA standard of review." Florida Power & Light Co. , 470 U.S. at 744-

  74.

                                                 ARGUMENT

           Plaintiff raises several challenges to FTISB' s classification decision. As discussed

 below, FTISB conducted a thorough examination of the ERAD, and fully disclosed the fmdings

 supporting its decision. FTISB' s decision was not arbitrary and capricious, but is supported by

 the facts as presented in the administrative record, and is a reasonable interpretation of the

 statute. Defendant is entitled to judgment in its favor on all of the Plaintiff's claims.

           A. ATF's Decision Is Not Arbitrary and Capricious.

           A machinegun is defmed in part as any weapon that shoots "automatically more than one

 shot, without manual reloading, by a single function of the trigger." 26 U.S.C. § 5845(b). The

 term also includes any "combination of parts designed and intended, for use in converting a

 weapon into a machinegun." !d. In the defmition of machinegun, neither the National


                                                   12




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000154
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 159 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 13 of 26 PageiD #: 165



  Firearms Act nor the Gun Control Act further defme the phrase "single function of the trigger."

  The test firing ofPlaintiff's prototype-an AR-15 semi-automatic rifle (Bushmaster Model

  XM1150E2S) with an integrated ERAD grip-demonstrated that, once the grip button was pulled

  (activating the motor) concurrent with constant rearward pressure being applied to the trigger

  extension (which Plaintiffs refer to as the "reset bar"), the weapon fired more than one shot

  without manual reloading and without any additional action on the shooter' s part. Indeed, the

  weapon fired continuously until the shooter stopped applying rearward pressure to the trigger

  extension, or the ERAD ' s ammunition supply was exhausted. (AR at 79, 47 (demonstration

  video).) Additionally, when equipped with the ERAD, the weapon fired at a very high rate of

  speed, discharging up to 500 rounds per minute. (AR 0047.) Thus, the nature and mechanics

 of the ERAD support FTISB' s finding that it converted the semiautomatic firearm to a

 machine gun.

         FTISB' s conclusion is consistent with the National Firearm' s Act's legislative history, in

 which the drafters equated "single function of the trigger" with "single pull of the trigger." See

 National Firearms Act: Hearings Before the Committee on Ways and Means, H.R. Rep. No.

 9066, 73rd Cong., 2nd Sess., at 40 (1934) ("Mr. Frederick.[] The distinguishing feature of a

 machine gun is that by a single pull of the trigger the gun continues to fire as long as there is any

 ammunition in the belt or in the magazine. Other guns require a separate pull of the trigger for

 every shot fired, and such guns are not properly designated as machine guns. A gun, however,

 which is capable of firing more than one shot by a single pull of the trigger, a single function of

 the trigger, is properly regarded, in my opinion, as a machine gun."); see also George C. Nonte,

 Jr., Firearms Encyclopedia 13 (1973) (the term "automatic" is defined to include "any firearm in


                                                  13




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000155
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 160 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 14 of 26 PageiD #: 166




  which a single pull and continuous pressure upon the trigger (or other firing device) will produce

  rapid discharge of successive shots so long as ammunition remains in the magazine or feed

  device - in other words, a machinegun").

           FTISB's decision is also consistent with the ordinary meaning of the term "function,"

  which includes "any of a group of related actions contributing to a larger action." Webster's

  Ninth New Collegiate Dictionary, 498 (1986); see also Random House Thesaurus College

  Edition, 297 (1984) (a synonym of function is "act"). Here, the action, or act, is pulling the

  trigger, which leads to the automatic firing.

           Courts have also interpreted "function" as the action of pulling the trigger. See Staples

  v. United States, 511 U.S. 600, 600 (1994) ("The National Firearms Act crirninalizes possession

  of an unregistered 'firearm,' 26 U.S.C. § 5861(d), including a 'machinegun,' § 5845(a)(6), which

  is defined as a weapon that automatically fires more than one shot with a single pull of the

 trigger,§ 5845(b)."); see also id. at 602 n.l ("As used here, the terms 'automatic' and ' fully

 automatic' refer to a weapon that fires repeatedly with a single pull of the trigger. That is, once

 its trigger is depressed, the weapon will automatically continue to fire until its trigger is released

 or the ammunition is exhausted. Such weapons are 'machineguns' within the meaning of the

 Act.").

           In United States v. Fleischli, 305 F.3d 643, 655-56 (7th Cir. 2002), the Seventh Circuit

 held that a "minigun" was a machinegun even though it was "activated by means of an electronic

 on-off switch rather than a more traditional mechanical trigger." Despite Fleischli' s arguments

 that the minigun was not a machinegun because it was not fired by pulling a traditional trigger,

 but rather was fired using an electronic switch, the court found to the contrary: "Fleischli's


                                                   14




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000156
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 161 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 15 of 26 PageiD #: 167




  electronic switch served to initiate the firing sequence and the minigun continued to fire until the

  switch was turned off or the ammunition was exhausted. The minigun was therefore a machine

  gun as defined in the National Firearms Act." Jd. (superseded by statute on other grounds); see

  also United States v. Oakes, 564 F.2d 384, 388 (lOth Cir. 1977) (rejecting defendant's argument

  that because he had constructed a weapon with two triggers, it would not fire by a single function

  of the trigger, fmding "it is undisputed that the shooter could, by fully pulling the trigger, and it

  only, at the point of maximum leverage, obtain automation with a single trigger function. We

 are satisfied the gun was a machine gun within the statutory defmition both in law and fact.")

         Similarly here, the ERAD is a component that, when attached to a rifle, causes the rifle to

 function automatically. The ERAD allows the firing sequence to be initiated by a single pull of

 the primary trigger, which is continually engaged as long as the shooter maintains rearward

 pressure on the trigger and the motor continues to push the shooter's fmger forward. (AR 0073;

 79-80.) Because the ERAD is a combination of parts designed and intended for use in

 converting a semiautomatic firearm into weapon which shoots automatically more than one shot

 by a single action-the pull of the trigger-it is a machinegun. A TF' s decision is not arbitrary

 or capricious, but is consistent with the facts based on a thorough examination and testing of the

 ERAD' s functionality.

         B. ATF's Classification is Consistent with Public Policy.

         Because of their rapid rate of fire, machineguns have long been considered inherently

 dangerous and are therefore strictly regulated and generally unlawful to possess. See 18 U.S.C.

 § 922(o); United States v. Brock, 724 F.3d 817, 824 (7th Cir. 2013) ("Congress has grouped

 together sawed-off shotguns, machineguns, and a variety of dangerous explosive devices for


                                                   15




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 000157
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 162 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 16 of 26 PageiD #: 168




     stringent restrictions on possession and strict registration requirements for those that can be

     possessed lawfully."); United States v. Brazeau, 237 F.3d 842, 845 (7th Cir. 2001) ("The point is

     that most firearms do not have to be registered-only those that Congress found to be inherently

     dangerous."); United States v. Kruszewski, No. 91-0031P, 1991 WL 268684, at *1 (N.D. Ind.

     Dec. 10, 1991) ("The categories of firearms covered by U.S.C. Title 26 include only particularly

     dangerous weapons such as machineguns .... In District of Columbia v. Heller, 554 U.S. 570,

     627 (2008), the Supreme Court discussed a machinegun (M-16), and recognized a "limitation on

 the right to keep and carry arms" that includes "dangerous and unusual weapons." See also

     United States v. Spires, 755 F.Supp. 890, 892 (C.D. Cal. 1991) ("Congress believed these

 particular weapons, as opposed to firearms in general, are extremely dangerous and serve

 virtually no purpose other than furtherance of illegal activity.").

            The device at issue in this case -the ERAD grip - enables a firearm to produce automatic

 fire with a single pull of the trigger, and therefore makes an otherwise semiautomatic firearm

 into one of the "dangerous and unusual weapons" recognized by the Heller court.. A rifle with

 the ERAD will continue to fire automatically once the trigger is pulled and remains depressed,

 with no further action by the shooter required. The widely-available Bushmaster Model

 XMI150E2S fires at a rate of one shot per trigger pull and up to 120 rounds per minute. 4 When



 4
  Although there are no official documents establishing a maximum firing rate, it is thought that
 120 rounds per minute would be a ceiling. Obviously, the rate of fire depends on how fast the
 shooter can pull and release the trigger. The Department of the Army has published 45 rounds
 per minute as the maximum effective rate of fire for AR-type weapons, meaning the number of
 shots that allow the shooter to effectively engage the intended target. See Department of the
 Army, Field Manual (FM) 3-22.9, Rifle Marksmanship M16-/M4-Series Weapons, Ch. 2-1
 (Characteristics ofM16-/M4-Series Weapons), Aug. 2008, available at
 http://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=1&cad=rja&uact=8&ved
 =OahUKEwixkfflrPzTAhUK.wiYKHf9iA30QFggnMAA&url=http%3A%2F%2Fusacac.army.m
                                                  16




                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 000158
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 163 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 17 of 26 PageiD #: 169




  the ERAD device is attached to it, however, the same rifle is capable of firing at a rate of up to

  500 rounds per minute. (AR 0047.) This unhindered automatic firing capability is the very

  danger that the National Firearms Act was intended to protect against. See 149 Cong. Rec.

  H2944-02, H2950 (Apr. 9, 2003) ("these weapons ... are inherently dangerous"); United States

  v. Newman, 134 F.3d 373 (6th Cir. Jan. 21, 1998) (unpublished) ("Although the National

  Firearms Act is ostensibly a revenue-generating statute enacted under Congress's taxation power,

  it is clearly designed to regulate the manufacture, transfer, and possession of dangerous weapons.

 Although the means by which Congress advanced its objectives are somewhat roundabout, close

  analysis of the relevant provisions reveals an unmistakable intent to prohibit possession of any

 machine gun the manufacture or importation of which was not explicitly authorized by the

 Bureau of Alcohol, Tobacco, and Firearms."). Nor is such easy transformation to an automatic

 firearm consistent with the prohibition imposed by section 922(o) of the Gun Control Act. See

 United States v. Haney, 264 F .3d 1161, 1168 (1Oth Cir. 2001) ("banning possession of post 1986

 machine guns is an essential part of the federal scheme to regulate interstate commerce in

 dangerous weapons."). Accordingly, ATF's assessment of the functionality of the ERAD grip,

 including its ability to convert a firearm into an automatic weapon, support A TF' s finding that

 the ERAD is properly classified as a machinegun.

         C. Freedom's "Reset Bar" Terminology Does Not Alter the Outcome

         Freedom argues that FTISB's analysis is flawed because the ERAD's "reset bar" is not a

 "trigger." Freedom specifically claims that, "the trigger finger reset bar is not the trigger, nor



 il%2Fsites%2F default%2Ffiles%2Fmisc% 2F doctrine%2FCDG%2F cdg_resources%2Fmanuals
 %2Ffm%2Ffm3 _ 22x9 .pdf&usg=AFQjCNEzluwG -XuAHAhi5HSuun3SGVrZ xg&sig2=5AF-
 y guyuZCKe4rELoibbQ.
                                            17




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000159
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 164 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 18 of 26 PageiD #: 170




  can it activate the firing sequence. Only the shooter's conscious and deliberate pull of the reset

  bar that subsequently engages the trigger that causes the weapon to fire and the ERAD cannot be

  made to function any other way." (Docket No. 24 at 8.) To this end, Freedom admits it has

  created a device that incorporates the traditional firearm trigger as another intermediate

  component in the firing mechanism.

         Nevertheless, Freedom's position has been rejected by ATF before, and this rejection has

  been upheld in court. As discussed above, in United States v. Fleischli, 305 F.3d 643 (7th Cir.

  2002), the Seventh Circuit rejected the appellant's argument that an electronic switch did not

  meet the traditional definition of a trigger, holding as follows:

         This is a puerile argument, based on hyper-technical adherence to literalism. We
         are not surprised to learn that Fleischli is not the first defendant to make such a
         brazen argument, although he appears to be the first to do so in this circuit. We
         join our sister circuits in holding that a trigger is a mechanism used to initiate a
         firing sequence. United States v. Jokel, 969 F.2d 132, 135 (5th Cir. 1992)
         (commonsense understanding of trigger is mechanism used to initiate firing
         sequence); United States v. Evans, 978 F.2d 1112, 1113-14 n. 2 (9th Cir.1992),
         cert. denied, 510 U.S. 821, 114 S.Ct. 78, 126 L.Ed.2d 46 (1993)(trigger is
         anything that releases the bolt to cause the weapon to fire). Fleischli' s definition
         "would lead to the absurd result of enabling persons to avoid the NF A simply by
         using weapons that employ a button or switch mechanism for firing." Evans, 978
         F .2d at 1113-14 n. 2. The dictionary defmition of "trigger" includes both the
         traditional ("a small projecting tongue in a firearm that, when pressed by the
         finger, actuates the mechanism that discharges the weapon") and the more general
         ("anything, as an act or event, that serves as a stimulus and initiates or precipitates
         a reaction or series of reactions."). See Webster's Unabridged Dictionary OfThe
         English Language (2001). Fleischli's electronic switch served to initiate the
         firing sequence and the minigun continued to fire until the switch was turned off
         or the ammunition was exhausted. The minigun was therefore a machine gun as
         defmed in the National Firearms Act.

 !d. at 655- 56.

         Similarly, in United States v. Carter, 465 F.3d 658 (6th Cir. 2006), the Sixth Circuit

 opined on the defmition of a "trigger" under the National Firearms Act. There, Carter appealed

                                                   18




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000160
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 165 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 19 of 26 PageiD #: 171



  a conviction for illegal possession of a machine gun and other parts designed or intended for use

  in converting a weapon into a machinegun. !d. at 660. Carter argued that the jury instruction

  on the defmition of"trigger" was faulty because the indictment "did not mention a trigger

  mechanism among the parts he was alleged to have possessed" and thus the indictment failed to

  state a charge pursuant to the Federal Rule of Criminal Procedure 7(c)(1) because "the definition

  of 'machinegun' given at 26 U.S.C. § 5845 specifically includes a trigger." ld. at 661.

 According to the testifying expert, the weapon was complete except for a trigger mechanism.

 Thus "[a]fter inserting a magazine with three rounds of ammunition, he said, he was able to

 make the gun fire all three rounds consecutively by pulling the bolt back and releasing it by

 hand." Id. at 661-62. The court held that, even in the absence of a traditional trigger, the

 weapon fell within the definition of a "machinegun."

        The reasoning adopted by other circuits, as well as simple logic, compels the
         conclusion that the district court's instruction was proper and not an abuse of
        discretion. A trigger is generally "anything, as an act or event, that serves as a
        stimulus and initiates or precipitates a reaction." Webster' s Unabridged
        Dictionary 2021 (2nd ed.1997). Within the realm offirearms, it is commonly
        understood as "a small projecting tongue in a firearm that, when pressed by the
        fmger, actuates the mechanism that discharges the weapon." Id. However, the
        latter defmition is obviously a context-specific articulation of the former.
        According to the testimony of the government' s expert, the manipulation of his
        hands on the assembled weapon initiated a reaction, namely the firing of the gun
        and two automatic successive firings. This manual manipulation constituted a
        trigger for purposes of the weapon's operation. The district court's "trigger"
        instruction to the jury was not an abuse of discretion.

 Jd at 665.

        Finally, in United States v. Camp, 343 F.3d 743 (5th Cir. 2003), the defendant modified a

 semiautomatic rifle by adding an electrically operated trigger mechanism, which operated as

 follows:


                                                19




                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000161
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 166 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 20 of 26 PageiD #: 172




          When an added switch behind the original trigger was pulled, it supplied electrical
          power to a motor connected to the bottom of a fishing reel that had been placed
          inside the weapon's trigger guard; the motor caused the reel to rotate; and that
          rotation caused the original trigger to function in rapid succession. The weapon
          would fire until either the shooter released the switch or the loaded ammunition
          was expended.

  !d. at 744.

          An ATF expert testified that a true trigger activating devices, although giving the

  impression of functioning as a machinegun, are not classified as machineguns because the

  shooter still has to separately pull the trigger each time he/she fires the gun by manually

 operating a lever, crank, or the like. To this end, the court stated:

         We reject Camp's contention that the switch on ... his firearm was a legal
         "trigger activator". As discussed, those activators described by the A TF Agent
         require a user to separately pull the activator each time the weapon is fired.
         Camp's weapon, however, required only one action - pulling the switch he
         installed - to fire multiple shots.

 Camp, 343 F.3d at 745 .

         Similarly here, even though Freedom refers to its ERAD as a "trigger reset assistance

 device," a firearm fitted with the ERAD does not require separate, mechanical pulls of the trigger

 (i.e., pull and release) to discharge more than a single round. The trigger is moving at such a

 rapid rate that the shooter's finger does not pull the trigger each time to fire each shot, but

 instead pulls the trigger once and then remains stationary, resisting forward pressure, as the

 motor causes the weapon to function automatically, and continue to fire rounds. It is undisputed

 that when the shooter's fmger remains connected to the "reset bar," and an electric motor is

 activated, the "reset bar" functions as a trigger in and of itself, and controls the pace of the firing

 sequence. The only action required by the shooter is that of continued rearward pressure. To

 this end, the ERAD is capable of firing at a rate of 500 rounds per minute and does not require

                                                   20




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 000162
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 167 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 21 of 26 PageiD #: 173




  any additional act by the shooter after the motor is turned on and the shooter pulls the "reset bar"

  (or what FTISB describes as the "primary trigger") once without releasing pressure. (AR 0047.)

         Accordingly, in spite of its branding and terminology, the ERAD meets the

  defmition of a machinegun.

         D. The ERAD Is Not The Same As "Bump Fire" or "Slide Fire" Stock.

         Freedom also argues that its ERAD is similar to "bump fire" or "slide fire" stock, which

  has been found not to be machinegun technology. (Pl. ' s Br. at 24 (citing AR at 231 and Pl.'s

 Exhibits A, B, and C, Docket Nos. 24-1 , 24-2, 24-3).) "Bump firing" is the process of using the

  recoil of a semi-automatic firearm to fire in rapid succession, simulating the effect of an

 automatic firearm when performed with a high level of skill and precision by the shooter. Bump

 firing requires the shooter to manually and simultaneously pull and push the firearm in order for

 it to continue firing. (See PI. ' sEx. A, Docket No. 24-1 at 3-4; Pl.'s Ex. B, Docket No. 24-3 at

 4-5.) The shooter must use both hands to pull the trigger rearward- and the other to push the

 firearm forward to counteract the recoil - to fire in rapid succession. While the shooter receives

 an assist from the natural backfire of the weapon to accelerate subsequent discharge, the rapid

 fire sequence in bump firing is contingent on shooter input, rather than mechanical input, and

 thus cannot shoot "automatically." (Pl. ' s Ex. A, Docket No. 24-1 at 3-4; Pl. ' s Ex. B, Docket

 No. 24-3 at 4-5.)

         Conversely, the ERAD does not require any such skill or input from the shooter. A rifle

 equipped with the ERAD will utilize a battery-powered motor to continue to fire automatically

 once the trigger is pulled and remains depressed, with no other action by the shooter required.

 Indeed, in its classification letter, FTISB noted that the AR-type trigger functions as a


                                                  21




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000163
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 168 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 22 of 26 PageiD #: 174



  "secondary trigger" in that "it merely becomes a part of the firing sequence." (AR at 0071.)

  Freedom argues that the ERAD allows the shooter to make a "conscious decision to apply or not

  apply rearward pressure to fire the weapon by initiating a trigger function," (AR at 47

  (demonstration video)). This argument is technically correct to the extent the shooter may make

  a purposeful choice to cease applying rearward pressure to the reset bar/primary trigger. In fact,

  this is true of any machinegun-a shooter makes a conscious decision to pull and release the

  trigger. What is misleading, however, is any assertion that the shooter may make a conscious

  choice to pull and release the trigger for each individual, subsequent shot. In accepting this

  argument, the shooter would presumably be able to control the precise number of shots he

  intends to fire. For example, he could intend to fire a precise number of rounds of ammunition,

 such as 263 rounds, and actually expel that exact number of rounds. With the ERAD engaged,

 however, the number of rounds fired is the result of automatic functioning so long as the shooter

 is applying pressure on the "reset bar," and therefore the number of rounds expelled cannot

 accurately be characterized as conscious or deliberate. (AR 0047; 0073.)

         In contrast, bump firing requires the shooter to manually pull and push the firearm in

 order for it to continue firing. Generally, the shooter must use both hands-one to push forward

 and the other to pull rearward-to fire in rapid succession. While the shooter receives an assist

 from the natural recoil of the weapon to accelerate subsequent discharge, the rapid fire sequence

 in bump firing is contingent on shooter input in pushing the weapon forward, rather than

 mechanical input, and is thus not an automatic function of the weapon.

         Freedom also argues that FTISB's decision regarding the ERAD is inconsistent with its

 decision regarding the Akins Accelerator, which was an accessory attached to firearm that


                                                 22




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000164
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 169 of 382
Case 3: 16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 23 of 26 Pagel D #: 175




     accelerated rate offrre. Akins v. United States, 312 F. App'x 197 (11th Cir. 2009). On the

     contrary, ATF's decision is entirely consistent with its decision regarding the Akins Accelerator

     and ATF Ruling 2006-2. 5

            To operate the Akins Accelerator, the shooter pulled the trigger one time, initiating an

     automatic firing sequence, which in turn caused the rifle to recoil within the stock, permitting the

     trigger to lose contact with the finger and manually reset (move forward). Akins, 312 F. App'x

     at 199. Springs then forced the rifle forward in the stock, forcing the trigger against the fmger,

     which caused the weapon to discharge the ammunition until the shooter released the constant

     pull or the ammunition is exhausted. Put another way, the recoil and the spring-powered device

 caused the firearm to cycle back and forth, impacting the trigger finger, which remained

 rearward in a constant pull, without further input by the shooter, thereby creating an automatic

 firing effect. !d. The advertised rate of fire for a weapon with the Akins Accelerator was 650

 rounds per minute. Id.

            The Eleventh Circuit found that A TF properly classified the Akins Accelerator as a

 machinegun because:

            [a] machinegun is a weapon that fires "automatically more than one shot, without
            manual reloading, by a single function ofthe trigger." 26 U.S.C . § 5845(b).
            The interpretation by the Bureau that the phrase "single function of the trigger"
            means a "single pull of the trigger" is consonant with the statute and its legislative
            history. After a single application of the trigger by a gunman, the Accelerator
            uses its internal spring and the force of recoil to fire continuously the rifle cradled
            inside until the gunman releases the trigger or the ammunition is exhausted.
            Based on the operation of the Accelerator, the Bureau had authority to "reconsider
            and rectify" what it considered to be a classification error. That decision was not


 5
   Initially ATF classified the Akins Accelerator as a non-machinegun, but after a subsequent test
 fire, it was determined the Akins Accelerator converts a semiautomatic rifle into a weapon
 capable of firing automatically by a single function of the trigger and was therefore in fact a
 machinegun. Thus, ATF overruled its earlier classification.
                                                  23




                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000165
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 170 of 382
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 24 of 26 PageiD #: 176




          arbitrary and capricious.

  !d. at 200.

          Pursuant to A TF Ruling 2006-2, any device that is truly analogous to the Akins

  Accelerator- i.e. , a device that allows a weapon to fire automatically when the shooter pulls the

  trigger- is properly classified as a machinegun. (AR at 630-32.) Specifically, the Rule

  provides that a firearm with the following functionality constitutes a machinegun:

         A shooter pulls the trigger which causes the firearm to discharge. As the firearm
         moves rearward in the composite stock, the shooter' s trigger finger contacts the
         stock. The trigger mechanically resets, and the device, which has a coiled spring
         located forward of the firearm receiver, is compressed. Energy from this spring
         subsequently drives the firearm forward into its normal firing position and, in
         turn, causes the trigger to contact the shooter's trigger fmger. Provided the
         shooter maintains fmger pressure against the stock, the weapon will fire
         repeatedly until the ammunition is exhausted or the finger is removed. The
         assembled device is advertised to fire approximately 650 rounds per minute.
         Live-fire testing of this device demonstrated that a single pull ofthe trigger
         initiates an automatic firing cycle which continues until the fmger is released or
         the ammunition supply is exhausted.

 (AR at 631.)

         Like the Akins Accelerator, the ERAD requires a single pull of the trigger to activate the

 firing sequence, which continues until the shooter' s finger is released, or the firearm depletes its

 ammunition supply. (AR at 354-68, 395-97.) Because the ERAD is a part designed and

 intended for use in converting a semiautomatic firearm into weapon which shoots automatically

 more than one shot by a single action- the pull of the trigger- it is a machinegun. Thus, ATF ' s

 decision is not arbitrary or capricious, but is consistent with the facts based on a thorough

 examination and testing of the ERAD' s functionality.

         With regard to Plaintiffs Exhibit B (Docket No. 24-3), the 3MR reset trigger device

 submitted to A TF was an internal mechanism, which operated to push the shooter' s fmger

                                                  24




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000166
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 171 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 25 of 26 PageiD #: 177



  forward. It does not run on a motor, and although the mechanism assists in manually resetting

  the trigger, the shooter is still required to release the trigger to fully reset the trigger. Thus,

  during inspection, ATF determined that the weapon could not be fired automatically. The item

  was tested by seven individuals at A TF prior to the classification, and no individual was able to

  generate automatic fire. Because the reset trigger required a release of the trigger and

  subsequent pull before another round was expelled, the 3MR was not classified as a machinegun.

         Based on the foregoing, FTISB has not rendered inconsistent decisions, but has inspected

  and analyzed each prototype or device presented to it by Freedom for classification, and has

  issued its decisions based on the unique characteristics of each. Accordingly, ATF ' s

  classification of the ERAD device as a machinegun is not arbitrary, capricious, an abuse of

 discretion, or otherwise inconsistent with the applicable law.

                                                 CONCLUSION

         Based on the foregoing, the Court must enter judgment in favor of the Bureau of Alcohol,

 Tobacco, Firearms, and Explosives as to all of Plaintiffs claims against it.


                                                  Respectfully submitted,


                                                  JOSH J. MINKLER
                                                  United States Attorney

                                         By:     s/ Shelese Woods
                                                 Shelese Woods
                                                 Assistant United States Attorney




                                                    25




                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 000167
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 172 of 382
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 26 of 26 PageiD #: 178




                                   CERTIFICATE OF SERVICE

         This is to certify that I have served a copy of the foregoing upon the Plaintiff herein by

  electronically filing a copy thereof through the Court's CMIECF system, which will transmit a

  copy electronically to the following on the 27th day of July, 2017:

         Brent R. Weil
         KIGHTLINGER & GRAY, LLP
         bweil@k-glaw.com

         Timothy R. Rudd
         Scott Braum
         SCOTT L. BRAUM & ASSOCIATES, LTD.
         trr@braumlaw.com




                                                       sl Shelese Woods
                                                       Shelese Woods
                                                       Assistant United States Attorney
                                                       10 West Market Street
                                                       Suite 2100
                                                       Indianapolis, Indiana 46204




                                                 26




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000168
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 173 of 382
                                                      U.S. Department of Justice

                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms and Explosives




                                                     Martinsburg, West Virginia 25405     903050:MSK
                                                                                          3311/2011-502
                                                     www.atf.gov



Mr. Len Savage
                                                             z5 zau
Historic Anns, LLC
1486 Cheny Road
Franklin, Georgia 30217

Dear Mr. Savage:

This is in reference to your sample, as w~lf as accompanying correspondence, which was
submitted to the Firearms Technology Branch (FTB), Bureau of Alcohol, Tobacco, Firearms and
Explosives (A TF). You have submitted this item, consisting of a Chinese, Type 56 (SKS) rifle
and a stock of your own manufacture, with a request for classification under the National
Firearms Act (NFA).

As you know, the NFA, 26 U.S.C. § 5845(b), defines the term "machinegun" as follows:
... any weapon'which shoots, is designed to shoot, or can be readily restored to shoot,
automatically more than one shot, without manual reloading, by a single fimction of the trigger.
The term shall also include the frame or receiver ofany such weapon, any part designed and
intended solely and exclusively, or combination ofparts designed and intended, for use in
converting a weapon into a machinegun, and any combination ofparts from which a
machinegun can be assembled if such parts are in the possession or under the control of a
person."                         ·

Further, ATF Ruling 2006-2 describes a device that is designed and intended to accelerate the
rate of fire of a semiautomatic weapon and classifies it as follows:

Held, a device (consisting of a block replacing the original manufacturer's V-B lock of a Ruger
10/22 rifle with two attached rods approximately ~ inch in diameter and approximately 6 inches
in length; a second block, approximately 3 inches long, 1-% inches wide, and% inch high,
machined to allow the two guide rods ofthe first block to pass through; the second block
supporting the guide rods and attached to the stock; using ~ inch rods; metal washers; rubber
and metal bushings; two collars with set screws; one coiled spring; C-clamps; a split ring; the




                                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                               Ex. 1 Page 000169
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 174 of 382

                                                 -2-

Mr. Len Savage



two blocks assembled together with the composite stock) that is designed to attach to a firearm
and, when activated by a single pull ofthe trigger, initiates an automatic firing cycle that
continues until either the finger is released or the ammunition supply is exhausted, is a
machinegun under the NFA, 26 U.S. C. 5845(b), and the ... [Gun Control Act: GCA]. .. 18 U.S. C.
921 (a)(23).

The submitted device (also see enclosed photos) incorporates the following features or
characteristics:

    •   A metal block which secures the SKS trigger mechanism to the remainder of the weapon
        (a function formerly accomplished by the weapons factory stock). A metal rod is attached
        and protrudes from the rear section of this metal block. This rod rides within a bus}li11g
        inletted into the rear portion of your "ALM" stock.
    •   A second metal block which has been machined to allow the three guide rods located in
        the front portion of your stock to pass through it. This component serves as a support for
        the front portion of the SKS rifle and as an attachment to the modified stock.
    •   A forward hand guard/gripping surface which is attached to the bottom portion of the
        second metal block noted above.
    •   Lack of anY operating springs, bands, or other devices which would permit automatic
        firing.' .•

Your ALM stock is designed to allow the SKS rifle mounted within it to reciprocate back and
forth in a linear motion. The absence of an accelerator spring or similar component in the
submitted device prevents the device from operating automatically as described in ATF Ruling
2006-2. When operated, forward pressure must be applied to the above noted forward hand-
guard/gripping surface with the support hand, bringing the receiver assembly forward to a point
where the trigger can be pulled by the firing hand. If sufficient forward pressure is not applied to
the hand guard with the support hand, the rifle can be fired in a conventional semiautomatic
manner since the reciprocation of the receiver assembly is eliminated.

The FTB live-fire testing of the submitted device indicates that if, as a shot is fired and a
sufficient amount of pressure is applied to the hand guard/gripping surface with the shooter's
support hand, the SKS rifle assembly will. come forward until the trigger re-contacts the
shooter's stationary firing-hand trigger finger, allowing a subsequent shot to be fired. In this
manner, the shooter pulls the receiver assembly forward to fire each shot, each shot being fired
by a single function of the trigger.

Since your device does not initiate an automatic firing cycle by a single function of the trigger,
FTB finds that it is NOT a machinegun under the NFA, 26 U.S.C. 5845(b), or the GCA, 18
U.S.C. 92l(a)(23).




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000170
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 175 of 382

                                                -3-

Mr. Len Savage


Please note that this classification is based on the item as submitted. Any changes to its design
features or characteristics will void this classification. Moreover, we caution that the addition of
an accelerator spring or any other non-manual source of energy which allows this device to
operate automatically as described in Ruling 2006-2 will result in the manufacture of a
machinegun as defined in the NFA, 26 U.S.C. 5845(b).

Please provide our Branch with a FedEx account number so that we may return this item to you.

We thank you for your inquiry and trust that the foregoing has been responsive to your
evaluation request.

                                          Sincerely yours,

                                          /)               )
                                 1
                                   /
                                       1J&i
                                     John R. Spencer
                                                      __/chlW"~
                               C~ Firearms Technology Branch

Enclosure




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000171
    Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 176 of 382

                                     -4-

i   Mr. Len Savage
I
    Submitted device assembled:




                                                         Guedes v. ATF / Codrea v. ATF
                                                                    Ex. 1 Page 000172
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 177 of 382

                                        -5-

Mr. Len Savage



View of the three forward guide rods:




                                                     Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 000173
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 178 of 382

                                               -6-

Mr. Len Savage


Metal block which secures SKS rifle and rides over the guide rails pictured above:




                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                    Ex. 1 Page 000174
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 179 of 382

                                             -7-

Mr. Len Savage


Metal block which secures trigger mechanism and metal rod which rides in bushing located in
rear portion ofthe ALM stock:




                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                   Ex. 1 Page 000175
 Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 180 of 382


                                  -8-

Mr. Len Savage




                                                      Guedes v. ATF / Codrea v. ATF
                                                                 Ex. 1 Page 000176
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 181 of 382
                                                     U.S. Department of Justice

                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms and Explosives



                                                                                   903050:MMK
                                                     Washington, OC 20226
                                                                                   3311/2011-624
                                                     www.atf.gov


Mr. Len Savage                                     NOV 2 3 2011
Historic Arms, LLC
1486 Cherry Road
Franklin, Georgia 30217

Dear Mr. Savage:

This refers to your correspondence to the Firearms Technology Branch (FTB), Bureau of
Alcohol, Tobacco and Firearms (A TF), with an accompanying sample "ASFS Stock" and
magazine, requesting an evaluation in accordance 18 U.S.C. 92l(a)(3) and 26 U.S.C. 5845(a).
As explained below, the evaluation of your submitted ASFS Stock (photo enclosed) finds that it
is a combination of parts designed and intended to convert a firearm into a machine gun.

The examination conducted by FTB noted that the stock consisted of a large main outer shell, a
rear shoulder pad, a right-side dust cover, two vertical grip assemblies, guide-rail mounting
blocks, guide rails, and a retractable trigger cross-pin. The main shell and dust cover encase the
firearm (a semiautomatic WASR-1 0 type) and guide-rail mounting blocks. The shell also
incorporates an extension which covers the encased firearm's trigger and provides attachment for
the retractable trigger cross-pin. The mounting blocks are attached to the interior of the main
shell, and the guide rails are attached, connecting the encased firearm to the outer shell at both
the rear and near the fireann' s midpoint. One vertical grip is attached to the bottom of the main
shell at the shell's forward end, and the other vertical grip is attached to the bottom ofthe
forward end of the firearm's barrel. When assembled onto the firearm, the cross pin engages the
enclosed WASR-10 trigger, and the forward vertical grip becomes the trigger used to initiate the
firing sequence.

The firing sequence is initiated by the shooter pushing forward on the forward-most verticai grip
while the shooter's other hand maintains control of the device by holding the rearmost vertical
grip. The application of forward pressure forced the encased firearm to move forward against
the cross pin; the weapon fired, the recoiling energy pushed the encased firearm rearward inside
the stock, the trigger reset and the continuous forward pressure of the shooter drove the encased
firearm back onto the cross pin so that the weapon again fired. The firing sequence continued
until pressure was removed or the ammunition source was exhausted:

During the test firing, when a magazine of :five rounds was inserted, the device fired all five
rounds automatically without manual reloading by a single function of the trigger. Additionally,
after loading a second magazine with two rounds, the device fired automatically when the device
was simply tilted forward at an angle.




                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000177
  Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 182 of 382

                                                 -2-

Mr. Len Savage


The weight of the encased firearm drove its trigger against the cross pin and initiated the firing
sequence, causing both rounds to be fired without manual reloading by a single function of the
triggering mechanism.

A noted difference between this submission and your previously submitted ALM Stock, which
was not classified as a "firearm," is the length of the area shrouding the trigger and the addition
of a cross pin designed to engage an encased firearm's trigger. Thus configured, the ASFS Stock
is designed to convert the recoiling forces generated from the action of an explosive to maintain
a sequence of events which v.rill continue automatically until the trigger is no longer activated or
the anununition is depleted.

As you know the National Firearms Act (NFA), 26 U.S.C. § 5845(a)(6), defmes the term
"firearm" to include ... a machinegun. .. . Further,§ 5845(b) defines a "machinegun" in pait as:
.. .any part designed and intended solely and exclusively, or combination ofparts designed and
intended, for use in converting a weapon into a machinegun.... Since the Historic Arms, ASFS
stock was found to convert a semiautomatic firearm to fire automatically, more than one shot
without manual reloading by the single function of the trigger, we determined the ASFS stock to
be a "machinegun" as defined.

Because your sample is a "machinegun" as defined in the NF A and you are a licensed special
occupational tax-payer, you have by close of business the next business day following receipt of
this letter to register your device. As soon as FTB has received verification that the submitted
ASFS stock is registered, we will return it to you. Since the device is not yet serialized, you
must immediately upon its return apply the assigned serial number clearly and conspicuously and
in accordance -vvith the size and depth requirements found in27 CFR 479.102. To preclude the
susceptibility to obliteration, alteration, or removal, we recommend you apply the serial number
markings to an externally visible portion of the largest single component of the device.

To facilitate return of your submission after registration is complete, please provide FTB with a
prepaid shipping label from FedEx, UPS, or other such appropriate carrier.

As always, we remain available for future written inquiries concerning this or other ma~ters.

                                          Sincerely yours,




                                          ohn R. Spencer
                               C · f, )!rearms Technology Branch
                                     /
Enclosure




                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000178
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 183 of 382




                                                     Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 000179
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 184 of 382




                                                     Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 000180
          Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 185 of 382
    Case 3:16-cv-00243-RL Y-MPB Document 33 Filed 09/13/17 Page 1 of 11 PagetD tt: 207




n                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       EVANSVILLE DIVISION

     FREEDOM ORDNANCE MFG. , INC.,                 )
                                                   )
             Plaintiff,                            )
                                                   )
     V.                                            ) Case No. 3:16-cv-243-RLY-MPB
                                                   )
     THOMAS E. BRANDON, Director,                  )
     Bureau of Alcohol Tobacco Firearms            )
     and Explosives,                               )
                                                   )
             Defendant.                            )

          REPLY BRIEF IN SUPPORT OF CROSS MOTION FOR SUMMARY JUDGMENT
          AND IN OPPOSITION TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

             Freedom Ordnance Manufacturing, Inc. ("Freedom") has not provided a legal or factual

     basis establishing that the Bureau of Alcohol, Tobacco, Firearms and Explosives' ("ATF")

     decision is arbitrary and capricious.   Freedom admits that this case may be decided as a matter

     of law on the administrative record, 1 but simply disagrees with ATF ' s conclusion that



     1
       Freedom states that it has submitted the extra-record declarations ofMichael Winge (Pl.'s Ex.
     D, Docket No. 24-4) and Richard Vasquez (Pl. ' s Ex. E, Docket No. 24-5) to "inform the Court' s
     analysis as to the persuasiveness of ATF ' s informal classification system." (Pl. ' s Resp. Br.,
     Docket No. 32 at 14.) As discussed in ATF ' s opening brief, the task of the reviewing court is to
     apply the appropriate Administrative Procedure Act ("AP A") standard of review, 5 U.S. C. § 706,
     to the agency decision based on the record the agency presents to the reviewing court .. "
     Citizens to Preserve Overton Park, Inc. v. Volpe , 401 U.S. 402, 420 (1971) ("That review is to be
     based on the full administrative record that was before the Secretary at the time he made his
     decision."), overruled on other grounds by Califano v. Sanders, 430 U.S. 99 (1977); Highway J
     Citizens Grp. v. Mineta, 349 F.3d 938, 952 (7th Cir. 2003) ("the reviewing court considers only
     the administrative record already in existence, not some new record made initially [in that
     court]."). The post-record Winge and Vasquez reports were not before the agency when it made
     its decision. Freedom appears to concede this point, stating that the record is sufficient to
     decide the issues before the Court. (Pl.'s Resp. Br., Docket No. 32 at 14-15.)
                                                       1




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 000181
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 186 of 382
    Case 3'16-cv-00243 RL Y -MPB Document 33 F!led 09/13/17 Page 2 of 11 PageiD #: 208




     Freedom's Electronic Reset Assist Device ("ERAD") be classified as a machinegun.              Based on

     the foregoing, A TF is entitled to summary judgment.

                                                     ARGUMENT

         A. The Proper Standard of Review of ATF's Classification.

         Freedom argues that ATF's decision is entitled only to limited deference- not Chevron

     (referring to Chevron v. Natural Resources Defense Council, 467 U.S. 837 (1984)) deference-

     because the decision is an "informal" classification letter.    In its opening brief, A TF set out the

     well-established standard of review applicable in cases brought under the APA, 5 U.S.C. §

     706(2)(A), which is whether the agency's decision is arbitrary and capricious.        As the Supreme

     Court has held, the agency's decision is entitled to a presumption of regularity, and the Court

     may not substitute its judgment for that of the agency.     Marsh v. Or. Nat. Res. Council, 490

     U.S. 360, 378 (1989).    As it pertains to this case, it is important to note that traditional
0    deference to the agency is at its highest where a court is reviewing an agency action that required

     a high level of technical expertise.   !d. at 377.

         With regard to an agency's "scientific and technical determination," the Seventh Circuit has

     also instructed that, "a reviewing court must generally be at its most deferential."      Indiana v.

     E.P.A., 796 F.3d 803, 811 (7th Cir. 2015) (quoting Balt. Gas & Elec. Co. v. NRDC, 462 U.S. 87,

     103 (1983)) (internal citation omitted).   This is especially so "when a regulation concerns a

     complex and highly technical regulatory program in which the identification and classification of

     relevant criteria necessarily require significant expertise and entail the exercise of judgment

     grounded in policy concerns."     Perez v. Mortgage Bankers Ass'n, 135 S. Ct. 1199 (2015).             ).

     In this regard, other federal courts have applied Chevron deference to A TF classifications and


                                                          2
u
                                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                               Ex. 1 Page 000182
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 187 of 382
    Case 3:16-cv-00243-RLY-MPB Document 33 Filed 09/13/17 Paqe 3 of 11 PageiD #: 209




     other agency determinations that require substantial technical analysis.     See, e.g., Firearms

     Imp./Exp. Roundtable Trade Grp. v. Jones, 854 F. Supp. 2d 1, 15 (D.D.C. 2012) aff'd sub nom,

     Firearms Imp./Exp. Roundtable Trade Grp. v. Bureau ofAlcohol, Tobacco, Firearms &

     Explosives, 498 F. App'x 50 (D.C. Cir. 2013) (applying the Chevron standard to ATF's denial of

     its application to import firearm barrels pursuant to the GCA); see also Modern Muzzleloading,

     Inc. v. Magaw, 18 F. Supp. 2d 29,35-36 (D.D.C. 1998) (applying the Chevron standard to ATF's

     classification of a rifle under the GCA).

         The classification of the ERAD as a machinegun reflects ATF's technical expertise and

     discretion and is therefore entitled to deference.

         Freedom relies almost exclusively on a district court opinion from the District of Columbia,

     Innovator Enterprises, Inc. v. Jones, 28 F. Supp. 3d 14, 21 (D.D.C. 2014), where the court held

     that ATF' s classification letter classifying a developer's device as a firearm silencer within the
0    meaning of 18 U.S.C. § 921(a)(24) was entitled to Skidmore, rather than Chevron, deference.

     The Innovator decision was a departure from other federal decisions, which have applied

     Chevron deference to the fruits of an agency's informal adjudication.      The court in Innovator

     held that Skidmore deference was warranted because the Agency' s classification letter, which

     was "just over a page long, and contain[ed] only a few short paragraphs of reasoning,"

     constituted a "short, informal document that contains little more than uncited, conclusory

     assertions of law, and no relevant agency regulations."    Id. at 23-24 (referring to Skidmore v.

     Swift & Co., 323 U.S. 134, 65 S.Ct. 161 (1944), holding that an administrative agency's

     interpretative rules deserve deference according to their persuasiveness).

        Here, ATF's October 27, 2016, classification letter stands in stark contrast to the one-page


                                                          3
u
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000183
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 188 of 382
    Case 3:16-cv-00243-RL Y-MPB Document 33 Filed 09/13/17 Paqe 4 of 11 PageiD #. 210




     letter issued to Innovator, and provides a substantive and in-depth analysis of the ERAD's

     functionality, including diagrams and drawings, applying the relevant statutory provisions to the

     ERAD, explaining in great length the steps Firearms Technology Industry Services Branch

     ("FTISB") took to assess whether the ERAD constitutes a machinegun, and detailing the reasons

     why it classified the ERAD as a machinegun within the meaning of26 U.S.C. § 5845(b).

         Finally, unlike in Innovator-where the district court held that the Agency had not given

     careful consideration to the question because of the brevity of the Agency's classification letter

     and because "the [A]gency has no formal guidance or written procedure for classifying

     silencers"-here the Agency has a long history of addressing industry requests for firearm

     classifications that implicate the defmition of a "machinegun" under 26 U.S.C. § 5845(b).         As

     the federal entity charged with interpreting and enforcing the nation's firearms laws and

     regulations governing the firearms industry, ATF takes seriously its classifications of weapons as
0    machineguns and has consistently promulgated rules regarding the application of its

     classification standards.   See ATF Rule 81-4 (classification of AR14 auto sear as machinegun),

     Administrative Record ("AR") at 635; ATF Rule 2004-5 (classification of Aircraft Machine Gun

     known as Minigun), AR at 633-34; ATF Rule 2006-2 (definition ofmachinegun as applied to

     devices designed to increase rate of fire of a semiautomatic firearm), AR at 630-32.      Thus ATF

     has given careful consideration to the application of the Gun Control Act's defmition of a

     "machinegun," and its application to industry devices implicating the statutory framework for a

     long period of time. 2



     2
      Freedom also cites United States v. One TRW, Model Ml4, 7.62 Caliber Rifle, 294 F. Supp. 2d
     896 (E.D. Ky. 2003), for support. However, the One TRW court did not conclusively hold that
     Chevron was inapplicable to the agency's decision. Rather, the court stated that "[t]he authority
                                                    4
u

                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 000184
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 189 of 382
    Case 3: 16-cv-00243-RL Y-MPB         Document 33 Filed 09/13/17             Page 5 ot 11 PageiD tt: 211




         B. ATF's Classification Is Not Arbitrary or Capricious and is Supported by the Record

         In its Response Brief, Freedom argues that "the determinative issue of whether the ERAD

     constitutes a machinegun is whether it enables a firearm to fire more than one round with a

     single function of the trigger."   (Pl. ' s Resp. Br. at 4.)   This, however, is not supported by the

     plain language of the statute, which says that the determinative issue is not simply whether a

     weapon fires "more than one shot .. . by a single function of the trigger," but that it does so

     automatically.   26 U.S.C. § 5845(b).3      Thus, the "single function of the trigger" constitutes

     only half of the analysis.

        By focusing only on a portion of the statutory language, Freedom also argues that ATF has

     changed its position and interpretation of "single function of the trigger," and that the ERAD is

     similar to "bump-fire" devices that ATF has not classified as machineguns.          In actuality, ATF

     classifies weapons as machine guns only when a single function of the trigger results in the firing
0    of more than one shot through automatic functioning.           For example, in ATF Ruling 2004-5,

     ATF explained that a hand cranked Gatlin gun is not a "machinegun" "because it is not a weapon


     is inconsistent on the question ofwhether ATF firearm classifications enjoy full Chevron
     deference" and "the courts .. . consistently recognize that when such decisions are shown to be
     the product of substantial agency expertise, experience and thought, they are entitled to at least
     the highest level of Skidmore respect." Jd. at 900. Therefore, the court concluded that "ATF
     firearm classifications are usually reviewed under an ' arbitrary and capricious' or similar
     standard." Id.
     3
       26 U.S.C. § 5845(b), defines a machine gun as

            any weapon which shoots, is designed to shoot, or can be readily restored to
            shoot, automatically more than one shot, without manual reloading, by a single
            function of the trigger. The term shall also include the frame or receiver of any
            such weapon, any part designed and intended solely and exclusively, or
            combination of parts designed and intended, for use in converting a weapon into a
            machine gun, and any combination of parts from which a machine gun can be
            assembled if such parts are in the possession or under the control of a person.

                                                          5
u
                                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                                Ex. 1 Page 000185
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 190 of 382
    Case 3:16-cv-00243-RLY-MPB Document 33 Filed 09/13/17 Page 6 ot 11 PageiD #: 212




     that fires automatically."    (AR at 633.)

         Contrary to Freedom ' s assertion, ATF "has consistently taken the position that manually

     operated 'two-stage' triggers result in a firearm which fires one shot for each function of the

     trigger.   Thus, the phrase ' single function of the trigger' [means] a singie movement of the

     trigger, whether that movement is the pull of the trigger or the release of the trigger."    (AR at

     636-37, ATF Memo on "Definition of ' Single Function ofTrigger' under 26 U.S.C. § 5845(b),"

     Sept. 28 1989 (emphasis in original).)

         Moreover, ATF ' s classifications of two-stage triggers have no meaningful application in this

     case because the ERAD is not a two-stage trigger allowing one shot to be fired when the trigger

     is pulled and another when the trigger is released.   Rather, to create "movement," the ERAD

     uses an electric motor.    Thus, while there is no doubt that the trigger moves, the electric motor

     moves the trigger, not the shooter.    The shooter takes absolutely no action to release the trigger.
0    Indeed, the shooter does just the opposite by continuing to apply rearward pressure.        Further,

     the shooter makes no decision to pull again, but merely maintains a constant pull as the motor

     automatically causes movement of the trigger and the weapon continually fires.

         ATF ' s classification ofthe operation ofthe ERAD device as a single function ofthe trigger is

     also consistent with a previous classification of the "AR 16" device.     (AR at 369-73.)      In this

     device, continued pressure applied to the trigger allowed the rifle to be fired until the release of

     the trigger.   (ld.)   The manufacturer of the "AR 16" argued that a device (cam) installed in the

     firearm removed the impediment to the trigger and allowed the operator to once again pull the

     trigger.   (Id.)   However, ATF found that pressure was applied to the trigger and the rifle fired,

     and unless the pressure from the trigger finger was removed, the rifle continued to fire.      (Id.)


                                                       6
u
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000186
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 191 of 382
    Case 3:16-cv-00243-RL Y-MPB               Document 33 Filed 09/13/17              Page 7 of 11 PageiD #: 213




n    Therefore, a single pull of the trigger by the user of the firearm resulted in the firing of more than

     one shot.   (Id.)   The classification concluded that "the fact that operation of the firearm causes

     movement of the trigger is not relevant to this determination."          (Id.)    Similarly, the fact that the

     ERAD device moves the trigger forward by a motor is irrelevant to determine whether the device

     causes a firearm to fire automatically by a single function of the trigger.

         Freedom also claims that ATF erroneously referred to the rapid, maximum firing rate made

     possible by using the ERAD.           (Pl.'s Resp. Br. at 5.)   ATF is not arguing that rate of discharge

     is the dispositive factor in its classification.     But the fact that a firearm shoots hundreds of

     rounds per minute is a relevant.         The rate of fire is a significant factor taken into consideration

     in determining whether a weapon functions, or is converted to function, automatically by a single

     function of the trigger.   The term "automatic" is defmed to include "any firearm in which a

     single pull and continuous pressure upon the trigger (or other firing device) will produce rapid
0    discharge of successive shots so long as ammunition remains in the magazine or feed device in

     other words, a machinegun."           (AR at 634 (ATF Rule 2004-5 citing to the dictionary definition
                                  ,--


     of"automatic").)     Automatic functioning is the functioning of the firearm such that it is "acting

     or operating in a marmer essentially independent of external influence or control."             Id.    The

     rate of fire is therefore evidence of the necessity of automatic functioning.          Indeed, the

     Administrative Record contains other examples of reference to the high rates of fire of

     machineguns. See, e.g., AR at 599-607.           These firearms have high rates offrre because the

     independent mechanical operation of the firearm allows a large number of rounds to be expelled

     in a short amount of time.         While not solely determinative, high rate of fire is a relevant factor

     in determining whether a firearm may be operating automatically, for that is the entire point of


                                                            7
u

                                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                                    Ex. 1 Page 000187
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 192 of 382
Case 3:16-cv-00243-RL Y-MPB Document 33 Filed 09/13/17                    Page 8 of 11 PageiD tt: 21.1




 automatic fire, to shoot faster than a human being may possibly accomplish unaided.

         In summary, because the ERAD is a combination of parts designed and intended for use

 in converting a semiautomatic firearm into weapon which shoots automatically more than one

 shot by a single function of the trigger-the pull of the trigger-it is a machinegun. ATF's

 decision is not arbitrary or capricious, but is consistent with the facts based on a thorough

 examination and testing of the ERAD's functionality.

     C. Freedom's Comparison Classifications Are Not Applicable

     Freedom also argues that its ERAD should be classified the same as a bump fire devices

 because they use "gas/recoil energy to facilitate the trigger reset while the ERAD uses electrical

 energy to facilitate the trigger reset," which Freedom asserts is "a distinction without a

 difference."   (Pl.'s Resp. Br. at 6.)   For the reasons discussed in ATF's opening brief, there is

 in fact a significant difference between the devices, particularly because of the manual, skill-

 based methods required to operate a bump fire device.        In contrast, the ERAD operates

 mechanically, requiring only that the shooter maintain rearward pressure on the primary trigger

 to produce automatic fire.

     Freedom argues that that the only difference between the ERAD and a non-machinegun

 bump fire device "is that continuous pressure is applied to the forend of the gun with the non-

 trigger hand and the power employed to assist in trigger reset is recoil.    Legally that is no

 difference at all."   (Pl.'s Resp. Br. at 6.)   In arguing that the "continuous pressure" is the same

 in the ERAD and in bump fire devices, Freedom conflates the continuous pressure on the forend

 of a firearm necessary for bump fire devices to operate (the necessity ofwhich means there is no

 automatic functioning), with the continuous pressure on the trigger of the ERAD that constitutes


                                                     8




                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000188
          Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 193 of 382
     Case 3:16-cv-00243-RL Y-MPB Document 33 Filed 09/13/17 Page 9 of 11 PageiD #: 215




()    a single "function" of the trigger.    This difference is key because the constant pressure of the

      non-trigger hand is manual, not automatic.      Far from "novel," ATF has provided this analysis to

      the industry in the past, and it is included in the Administrative Record.      (AR at 350.)

          Freedom also argues that the Tac-Con 3MR trigger is indistinguishable from the ERAD.

      Freedom's argument, however, is based upon a misunderstanding of the 3MR's operation.

      Although the 3MR is a trigger mechanism that pushes a shooter's finger forward in a way that is

      similar to the ERAD, there is a vital difference.       The 3MR pushes the finger very close to the

      point at which the trigger resets, but actually requires that a shooter release the original pull

      before the trigger resets and another shot may be fired.       (AR at 259-331.) 4   Therefore, any

      comparison between the ERAD and the 3MR is inapposite because the 3MR requires exactly

      what the ERAD does not-a release to end the first "pull" and a separate "pull" or function for

      the firing of each subsequent round.
0         Freedom also attempts to distinguish the ERAD from the Akins Accelerator, which ATF

      classified as a machinegun, arguing that "the Akins Accelerator further used nonhuman energy

      (springs) to force the trigger against the user's fmger causing the weapon to discharge at a rate of

      650 rounds per minute."     (Pl.'s Resp. Br. at 13.)     The ERAD, however, operates on the same

      principle--a single rearward pull without a release, and non-human input for automatic

      functioning.   (AR at 377-87 (patent documents Akins Accelerator, specifically paras. 70 and 78,




      4
        Freedom claims that there is no evidence in the Administrative Record for this proposition.
      However, the 3MR patent documents in the Administrative Record explicitly explain how the
      device operates. (AR at 259-331.) Specifically, the documents explain that when the trigger
      is pulled and held, the hammer is retained by the device, such that it cannot move forward and
      fire another round. (AR at 277-78.) Then, when the trigger is "released," the hammer "is thus
      retained in the cocked position ... preparatory to firing by another trigger pull." (AR at 278-79.)
                                                          9




                                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                                Ex. 1 Page 000189
          Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 194 of 382
    Case 3:16-cv-00243-RLY-MPB Document 33 Filed 09/13/17 Page 10 of 11 PageiD #: 216




n     describing the Akins Accelerator functionality).)     Whether automatic fire is generated by spring

      recoil or motor is irrelevant because the result is the same:   a single pull of the trigger by the

      shooter causes the firearm to shoot automatically and continuously.

         In sum, ATF' s classification of the ERAD is consistent with its other determinations.

                                                CONCLUSION

             Based on the foregoing, the Court must enter judgment in favor of the Bureau of Alcohol,

      Tobacco, Firearms, and Explosives as to all ofPlaintiffs claims against it.


                                                     Respectfully submitted,


                                                     JOSH J. MINKLER
                                                     United States Attorney

                                             By:     s/ Shelese Woods
                                                     Shelese Woods
0                                                    Assistant United States Attorney




                                                       10
u

                                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                               Ex. 1 Page 000190
             Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 195 of 382
        Case 3:16-cv-00243-RLY-MPB Document 33 Filed 09/13/17 Page 11 of 11 PageiD #: 217
   ..
I' ·




  n                                       CERTIFICATE OF SERVICE

                 This is to certify that I have served a copy of the foregoing upon the Plaintiff herein by

          electronically filing a copy thereof through the Court's CM/ECF system, which will transmit a

          copy electronically to the following on the 13th day of September, 2017:

                 Brent R. W eil
                 KIGHTLINGER & GRAY, LLP
                 meil wk-glm\ .com

                 Timothy R. Rudd
                 Scott Braum
                 SCOTT L. BRAUM & ASSOCIATES, LTD.
                 tn·rg braumla\\ .com




                                                               sl Shelese Woods
                                                               Shelese Woods
                                                               Assistant United States Attorney
 0                                                             10 West Market Street
                                                               Suite 2100
                                                               Indianapolis, Indiana 46204




                                                          11




                                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                                Ex. 1 Page 000191
    Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 196 of 382




27 C.F.R.179.11: MEANING OF TERMS

     The SMJ 0 and SMJJAJ pistols and SAC carbines are machineguns as defined in the
National Firearms Act.

ATF Rul. 82-8

[Status of ruling: Active]

The Bureau of Alcohol, Tobacco and Firearms has reexamined firearms identified as SMlO
pistols, SMllAl pistols, and SAC carbines. The SMlO is a 9 millimeter or .45ACP caliber,
semiautomatic firearm; the SMllAl is a .380ACP caliber, semiautomatic firearm; and the SAC
carbine is a 9 millimeter or .45ACP caliber, semiautomatic firearm. The weapons are blowback
operated, fire from the open bolt position with the bolt incorporating a fixed firing pin, and the
barrels of the pistols are threaded to accept a silencer. In addition, component parts of the
weapons are a disconnector and a trip which prevent more than one shot being fired with a single
function of the trigger.

The disconnector and trip are designed in the SMlO and SMllAl pistols and in the SAC carbine
(firearms) in such a way that a simple modification to them, such as cutting, filing, or grinding,
allows the firearms to operate automatically. Thus, this simple modification to the disconnector
or trip, together with the configuration of the above design features (blowback operating, firing
from the open bolt position, and fixed firing pin) in the SMl 0 and SMllAl pistols and in the
SAC carbine, permits the firearms to shoot automatically, more than one shot, without manual
reloading, by a single function of the trigger. The above combination of design features as
employed in the SMl 0 and SMllAl pistols and SAC carbine are normally not found in typical
sporting firearms.

The National Firearms Act, 26 U.S.C. § 5845(b), defines a machinegun to include any weapon
which shoots, is designed to shoot, or can be readily restored to shoot, automatically more than
one shot, without manual reloading, by a single function of the trigger.

The "shoots automatically" definition covers weapons that will function automatically. The
"readily restorable" definition defines weapons which previously could shoot automatically but
will not in their present condition. The "designed" defmition includes those weapons which
have not previously functioned as machineguns but possess design features which facilitate full
automatic fire by a simple modification or elimination of existing component parts.

      Held: The SMl 0 and SMllAl pistols and the SAC carbine are designed to shoot
automatically more than one shot, without manual reloading, by a single function of the trigger.
Consequently, the SMl 0 and SMll Al pistols and SAC carbines are machineguns as defined in
Section 5845(b) of the Act.

With respect to the machinegun classification ofthe SMlO and SMllAl pistols and SAC
carbines, under the National Firearms Act, pursuant to 26 U.S. C. § 7805(b), this ruling will not
be applied to SMlO and SMllAl pistols and SAC carbines manufactured or assembled before




                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 000192
   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 197 of 382




June 21, 1982. Accordingly, SMlO and SM11A1 pistols and SAC carbines, manufactured or
assembled on or after June 21, 1982, will be subject to all the provisions of the National Firearms
Act and 27 C.F.R. Part 179.




                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 000193
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 198 of 382
United States of America v.                                                                            Richard Vasquez
One History Arms Modei54RCCS, etc.                                                                   September 10,2009
                                                  Page 73                                                         Page 75

 1      Q Martin. So is it fair to say Mr. Martin's          1   ones that were manufactured before a particular
 2   and Mr. Spencer's participation was at a fairly high    2   date?
 3   level more or less reviewing and approving and not      3      A That's correct.
 4   actively participating in the decision?                 4      Q But whatever number of those there are,
 5      A Are you meaning high level like their              5   they're out there?
 6   superior ranking or --                                  6      A Yes.
 7      Q Well, I was more getting at they reviewed          7      Q Now, based on your inspection and
 8   the final product, maybe made changes, maybe didn't     8   observations of the defendant, did you conclude
 9   and approved it without getting into the substantive    9   whether it was intended to be installed on a
10   details of the decision.                               10   particular firearm blower?
11      A That would be correct.                            11      A Can you say that again?
12      Q Okay.                                             12      Q I mean, did you come to any conclusion of
13          MR. MONROE: Let's take one more break.          13   what the purpose of the defendant was?
14          (Thereupon, a brief recess ensued at            14      A What the intention of the manufacturer was?
15      approximately 11:43 a.m. and the proceedings        15      Q Yes.
16      subsequently resumed at approximately 11:50         16      A Or what our interpretation of what the
17      a.m. with all parties present).                     17   defendant weapon was?
18   BY MR. MONROE:                                         18      Q What the intention of the manufacturer
19      Q In Exhibit 1 which are the operating              19   was.
20   procedures that you wrote, there's a reference to      20      A Yes. And it's indicated that there's a
21   two rulings, 82-8 and 83-5, do you recall that?        21   portion of a MAC upper welded inside the receiver.
22      A Do I recall the rulings or the reference?         22      Q And so what did you conclude the purpose
23      Q Well, first of all the reference.                 23   of the manufacturer was in manufacturing the device?
24      A Yes.                                              24      A The purpose of the manufacturer in
25      Q Do you recall the ruling?                         25   manufacturing the device is that he wanted to install
                                                  Page 74                                                         Page 76

 1     A Yes.                                                it on to a MAC receiver.
                                                             1
 2     Q 82-8 ifl remember had to do with some               2  Q And then what would that accomplish?
 3 devices that were determined to be machine guns but       3  A Well, with our classification, that would be
 4 that the ones manufactured before a particular date       the classification of two machine guns, the registered
                                                             4
 5 were not I guess treated as machine guns for              MAC or -- would be a machine gun, or if it was a
                                                             5
 6 purposes    of transfer and possession; is that right?  6 semiautomatic MAC, that would be converting the
 7     A Let me find it. (Reviews document).               7 semiautomatic   MAC into a machine gun. And since we
 8 Correct.                                                8 classified the upper as a machine gun, that would also
 9     Q What is the proper treatment of one of            9 be a machine gun in and of itself.
10 those firearms under that ruling if it's ... I mean,   10    Q And the caliber of the defendant is what,
11 I guess A TF considers it to be a machine gun but      11 do you know?
12 it's freely transferable without even a Form 4 ifl     12    A Of the defendant weapon?
13 understand it; is that right?                          13    Q Yes.
14     A If it was manufactured before that date as       14    A 7.62X54.
15 an open bolt pistol, then ATF said we're not going to 15     Q And that's not the caliber of a MAC; is
16 apply the machine gun classification to it.            16 that right?
17     Q So I guess the conclusion is that means          17    A Correct.
18 there's a, I don't know about the sizes, but there's   18    Q So the result would be a MAC that shoots
19 some bucket of firearms that are machine guns that     19 7.62X54; is that right?
20 aren't registered, don't have to be registered and     20    A Yes.
21 are freely transferable without a Form 4; is that      21    Q There was some discussion in the responses
22 right?                                                 22 to our third discovery request about the possibility
23     A Well, that is correct but they are no longer     23 of returning the defendant to the claimant for
24 allowed to be manufactured.                            24 modification, do you recall that?
25     Q I understand. So we're only talking about        25    A Yes.

                                      American Court Reporting Company, Inc.                       (19) Page 73- Page 76

                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000194
                   Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 199 of 382
                                                                    U.S. Department of J.u.ittice

                                                                    Bureau of.Alcohol, Tobacco.
                                                                    Fir~arms and E:tJ?losiv~s


                                                           SEP I 0 200(
                                                                                       903050:RDC
                                                                                       3311/2004-379




           Mr. Brian A. Blakely

---.._ . ,. _ _         . r
                  .,..-:..~~------------9
           Dear Mr• .Blakely;
                                                . ,.,_
          This refers to. your.J~;ter ofl?ebr:uary 6. i004. to the Burea!J ofAioobol, Tobacco, Ftreanns and
          Explosives (ATF)~ Firearms Technology Branch (FTB)~ in which you :inquired about the tegality
          ofa small sectien of siring inten:ded for use as n means for incr~ng tbe·cydingtate of a
          semiautonu1uc rifl~:         ·        ·                                            ·

          As yon may be aware, the National Firearms Act, 2tfU.S.C. § S845(b)~ defines ..'macbinegunu to
          include th.e followingz
           ..... any weapon that shoots. is desi~cd to shoot~ or cun be readily resto'j:'ed to sh®h a:utomatimilly mpre
           th:in: ·on~ shoi, without.mamJal reloading, by.a single. functionofthe trigger. This tenn sha11.ulgo incl.ude
           the frame or J:~iver of any su~::h weapon~ ~ny part designed an:d Intended solely and exclusively~ ar
          combinatio:o of parts designed and int~n.dc~ for use in conv.ening·a wcap{Jn into a mathinegnn, and
          :any combination of~ from which a machinc!!un cun be assembled if such pans are in the" po.s~ion
          orund~ thecontrPJ ofa.persoo (boJdingaddedJ-

          ln 1996~ FTB examin~ im.d classified a 14-inch long shoestring with lil logp ax e~ch.end. The:
          string was attached to the cocking hruldle of a semiaUtomatic rille and was looped around me
          trigger and attfujh~d to the shoater'!S finger. The device c.ausoo lb,eweapenlo finnepe,atOOly
          until finger pr,ei~ w;:LS             flnm the string. Be(:.au'st; Ibis item was designed and intended
          to convert a semiautomatic rifle into a machlnegun.. FIB det.cnntn.ed that 1t 't\'"<L'J a ~Jtaehincgnn
          as defined Jn 26 us_c. 5845(b),

          \V1: thank you (bryotir inquiry. r~gret the delay in festJOt:lSC. and trust the foregoing has been
          responsive~

                                                         Sincerely yourS,




                                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                                         Ex. 1 Page 000195
 Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 200 of 382
                                   U.S. Department of Justice

                                                Bureau of Alcohol, Tobacco,
                                                Firearms and Explosives




                                                Maninsburg, WV   25401   903050:JPV
                                                www.atf.gov              3 311/2007-615
                                                                          JUN 2 5 2007
Mr. Brian A. Blakely



Dear Mr. Blakely:

On February 6, 2004 you wrote to the Firearms Technology Branch (FTB) of the Bureau
of Alcohol, Tobacco, Firearms and Explosives (ATF) inquiring about the legality of a
small section of string intended for use as a means for increasing the cycling rate of a
semiautomatic rifle. We responded on September 30, 2004. In that letter we stated:

       In 1996, FTB examined and classified a 14-inch long shoestring with a loop at
       each end. The string was attached to the cocking handle of a semiautomatic rifle
       and was looped around the trigger and attached to the shooter's finger. The
       device caused the weapon to fire repeatedly until finger pressure was released
       from the string. Because this item was designed and intended to convert a
       semiautomatic rifle into a machinegun, FTB determined that it was a machinegun
       as defined in 26 U.S.C. 5845(b). (Emphasis in original).

Upon further review, we have determined that the string by itself is not a machinegun,
whether or not there are loops tied on the ends. However, when the string is added to a
semiautomatic firearm as you proposed in order to increase the cycling rate of that rifle,
the result is a firearm that fires automatically and consequently would be classified as a
machinegun. To the extent that prior ATF classification letters are inconsistent with this
letter, they are hereby overruled.

We hope that this clarifies our position. Should you have any questions, please do not
hesitate to contact us.

                                        Sincerely,


                                                   rry
                                       ,mJ- .>--;:;V
                                     ru~~uez
                       Acting Chief, Firearms Technology Branch




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000196
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 201 of 382




 @ Stamboulieh Law, PLLC
 P.O. Box 4008, Madison, MS 39130 I (601} 852-3440 I stephen@sdslaw.us

                                                 April9, 2018

ATIN: FOIPA Request
Record/Information Dissemination Section                           Via Electronic Mail
170 Marcel Drive
Winchester, Virginia 22602-4842
Email: foipareguest@ic.fbi.gov

RE: Freedom of Information Act Request

Dear FOIA Officer:

      This is a request under the Freedom of Information Act. I represent Len Savage in this request.
As a result of Notice of Proposed Rulemaking found at 83 FR 13442 and located online at
https:Uwww.federal register.gov/docum ents/2018/03/29/20 18-06292/bump-sto ck-type-devices, we are
hereby requesting an expedited response to the following request in order to allow proper comments on
the proposed rule. The comment period ends in seventy-nine (79} days from today or on 6/27/2018.

         Because the information sought is believed to be with your agency, Mr. Savage hereby requests
the following information:

        •       Any and all records documenting the use of a bump-fire type stock being used by anyone
on or about Oct 1, 2017 at the Mandalay Bay shooting incident in Las Vegas, Nevada; and
        •       Any and all records documenting the use of a bump-fire type stock used during the
commission of any crime to date.

         I am willing to pay up to $200 for the processing of this request. I also request a fee waiver as
these materials are greatly in the public interest and because the requested records will be distributed
free of charge on the internet. Additionally, this information should be released immediately due to the
impending regulations promulgated by the ATF regarding bump-stock devices referenced earlier to allow
the public to fully be availed of all necessary information.

        If for whatever reason, any part of this request is unavailable or not able to be produced at this
time due to claims of "ongoing investigation," I request that any segregable documents that can be
produced, be produced within twenty days. In the alternative, if the documents will not be released
without resorting to litigation, please advise as soon as possible so that litigation may begin. Thank you
for your attention to this matter.

                                                           Best regards,




                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000197
    Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 202 of 382




@ Stamboulieh Law, PLLC
P.O. Box 4008, Madison, MS 39130 I (601) 852-3440 I stephen@sdslaw.us

                                               April 9, 2018

ATIN: Disclosure Division, Room 4E.301                           Via Electronic Mail and Facsimile
99 New York Avenue, NE
Washington, DC 20226
Email: foiamail@atf.gov
Fax: (202) 648-9619

RE: Freedom of Information Act Request

Dear FOIA Officer:

      This is a request under the Freedom of Information Act. I represent Len Savage in this request.
As a result of Notice of Proposed Rulemaking found at 83 FR 13442 and located online at
https:ljwww.federalregister.gov/documents/2018/03/29/20 18-06292/bump-stock-type-devices, we are
hereby requesting an expedited response to the following request in order to allow proper comments on
the proposed rule. The comment period ends in seventy-nine (79) days from today or on 6/27/2018.

        Because the information sought may reside with your agency, Mr. Savage hereby requests the
following information:

        •       Any and all records documenting the use of a bump-fire type stock being used by anyone
on or about Oct 1, 2017 at the Mandalay Bay shooting incident in Las Vegas, Nevada; and
        •      Any and all records documenting the use of a bump-fire type stock used during the
commission of any crime to date.

         I am willing to pay up to $200 for the processing of this request. I also request a fee waiver as
these materials are greatly in the public interest and because the requested records will be distributed
free of charge on the internet. Additionally, this information should be released immediately due to the
impending regulations promulgated by the ATF regarding bump-stock devices referenced earlier to allow
the public to fully be availed of all necessary information.

       If for whatever reason, any part of this request is unavailable or not able to be produced at this
time due to claims of "ongoing investigation," I request that any segregable documents that can be
produced, be produced within twenty days. In the alternative, if the documents will not be released
without resorting to litigation, please advise as soon as possible so that litigation may begin. Thank you
for your attention to this matter.

                                                         Best regards,




                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 000198
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 203 of 382



                                     Lennis F. Savage III
                                          President,
                                     Historic Arms LLC
                                       1486 Cherry Rd.
                                     Franklin, GA 30217
                                        (706) 675-0818
                                   lensavag@bellsouth.net

Concentration:

Research, Design, Manufacture, Repair, Restoration, and transfer ofNFA and semiautomatic
firearms.

Licensure:

•   Federal Firearms Manufacturing License (FFL type 07)
•   Special Occupational Taxpayers Stamp or [NF A Firearms Manufacturer type (72)] referred
    to in the firearms industry as an 0 7!SOT.

Experience:

Owned by Len and Sherrey Savage, Historic Arms LLC is known for:
• Designing and building semiautomatic versions of historic machineguns that are classified by
  BATFE Firearms Technology Branch as "firearms" [AIK/A ATF "approved" designs].
• Conducting research in areas of component failure and firearms malfunctions, and
  developing solutions based on the research conducted.
• Conducting transfers of NFA firearms.
• In 2012 consulted with ATF on identifying recurring issues occurring in the firearms industry
  and solutions for those issues.
• Entertainment industry firearms technical advisor and consultant.

Performed research and development for the following other licensed firearms
manufacturers:

•   RPB of Atlanta
•   Masterpiece Arms
•   Century International Anns
•   Ohio Ordnance Works
•   Calico Light Weapons Systems
•   Ohio Rapid Fire
•   Signature Weapons

Designed the following firearms or firearms systems:

•   BREN MKIIsa




                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                  Ex. 1 Page 000199
          Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 204 of 382



    e   BREN Belt-Fed
•       RPDsa
•       SGMBsa
•       971 Sport Rifle
•       Gunzilla Project
•       MAG 58sa
•       BM-3000 Caliber Conversion Unit
•       Calico/MAC Conversion System
•       Ballou Belt-Fed Caliber Conversion Unit
•       ZB-37sa
•       54R/ MAC type Caliber Conversion System
•       Glock feed MAC conversion
•       The title I "short barreled NON-shotgun" or pistol gripped shotgun-like firearm
•       MPK or Modular PK or Pulemyot Ka/ashnikova
e       UK-59 semiautomatic rifle
•       "Open Bolt" Saiga 12 and AK format machineguns fire control system.
•       Hyper burst pistol system (rate of fire @ 45 rounds per second).

Firearms technical advisor or expert witness in the following Federal Court cases:

•       United States v. Glover [Charlotte, NC]
•       United States v. Wrenn [Columbia, SC]
•       United States v. Kwan [Seattle, WA]
•       United States v. Olofson [Milwaukee, WI]
•       United States v. Friesen [Oklahoma City, OK]

Firearms consultant in the following Federal Court cases:

•       United States v. Harris [Atlanta, GA]
•       United States v. Celeta KTOrdnance [Dilon, MT]
•       United States v, Standbury [Missoula, MT]
•       United States v. Gardner [Eugene, OR]
•       United States v Offerman [Salt Lake City, UT]
•       United States v. Keener [Eugene, OR]
•       United States v. Clark et al [Phoenix, AZ]

Press Coverage:

•       TAPCO Issue #9 [front cover]
•       Small Arms Review [Jan. 2004 pg. 66]
•       Small Arms Review [July 2004 pg. 22]
•       Small Arms Review [Nov. 2004 pg. 30]
•       Small Alms Review [Jan. 2005 pg. 90]
•       Small Arms Review [April 2005 pg. 56]




                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000200
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 205 of 382




•   Guns Magazine [July 2005 pg. 64]
•   The Congressional Research Service Memorandum [Sept. 2005]
•   SWAT Magazine [May 2006 pg. 32]
•   Small Arms Review [May 2006 pg. 62]
•   Small Arms Review [Nov. 2006 pg. 89]
•   SWAT Magazine [Jan. 2007 pg. 32]
•   Soldier of Fortune [July 2008, pg.6]
•   Shot Gun News, The Knox Report [September 2008, Vol. 62, Issue 25, pg 9]
•   CNN Lou Dobbs Tonight
•   Historic Arms LLC firearms have been featured on the History Channel "Mail Call" twice.
•   Documentary Film- BATFE Fails the Test
•   Documentary Film- The Gang
•   Guest appearance on Discovery Channel's "SONS OF GUNS" as a firearms expert for an
    episode featuring the semiautomatic BREN. Season 3, episode "Red Jacket Snow Cannon".
•   Technical advisor to Discovery Channel's "SONS OF GUNS" for season 4 episode "Will's
    Monster".
•   Technical advisor and guest appearance as a firearms expert to Discovery Channel's "SONS
    OF GUNS" for season 4, episode "One Man Army".
•   Technical and creative advisor for Discovery Channel's "SONS OF GUNS" season 5,
    episode 2 "Mobile MAG 58's".
•   Technical and creative advisor for Discovery Channel's "SONS OF GUNS" season 5,
    episode 3 "Steel Tornado".
•   Technical and creative advisor for Discovery Channel's "SONS OF GUNS" season 5,
    episode 5 "Master Blaster".




                                                                      Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 000201
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 206 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                             ID: ATF-2018-0002-87401
                                                               Tracking Number: 1k2-93yk-qbbs
For related information, Open Docket Folder

                                                                Document Information
                                                              Date Posted:
 Comment                                                      Jul 5, 2018
                                                              RIN:
 The comments of the National Rifle Association on            1140-AA52
 ATF2017R-22 are attached.
                                                              Show More Details



 Attachments (1)                                                Submitter Information
                                                              Submitter Name:
                                                              Josh Savani
          NRA Comments on ATF2017R-22
                                                              Organization Name:
          View Attachment:                                    National Rifle Association




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000202
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 207 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                             ID: ATF-2018-0002-87401
                                                               Tracking Number: 1k2-93yk-qbbs
For related information, Open Docket Folder

                                                                Document Information
                                                              Date Posted:
 Comment                                                      Jul 5, 2018
                                                              RIN:
 The comments of the National Rifle Association on            1140-AA52
 ATF2017R-22 are attached.
                                                              Show More Details



 Attachments (1)                                                Submitter Information
                                                              Submitter Name:
                                                              Josh Savani
          NRA Comments on ATF2017R-22
                                                              Organization Name:
          View Attachment:                                    National Rifle Association




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000203
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 208 of 382



NATIONAL RIFLE ASSOCIATION OF AMERICA
INSTITUTE FOR LEGISLATIVE ACTION
11250 WAPLES MILL ROAD
FAIRFAX, VIRGINIA 22030




           NRA-ILA
    COMMENTS OF THE NATIONAL RIFLE ASSOCIATION ON ATF’S PROPOSED RULE
               TO AMEND THE DEFINITION OF “MACHINEGUN”

                                                  June 27, 2018

Vivian Chu
Office of Regulatory Affairs,
Enforcement Programs Services,
Bureau of Alcohol, Tobacco, Firearms, and Explosives,
U.S. Department of Justice,
99 New York Ave. NE,
Washington DC 20226

Via electronic submission to regulations.gov

Re: ATF’s Notice of Proposed Rulemaking Docket Number ATF2017R-22

On March 29, 2018, ATF posted a notice of proposed rulemaking to the federal register that would
amend the existing definition of “machinegun” used in the enforcement of domestic federal gun laws.1
The National Rifle Association of America submits the following comments in response to the proposed
rulemaking.

I. Congress’s Definition of “Machinegun” Creates a Mechanical Test, Not a Performance-Based
Standard

When assessing whether bump fire stocks meet the legal definition of a “machinegun,” it’s important to
keep in mind the statutory limitations of that term. Congress defines “machinegun” as “any weapon
which shoots, is designed to shoot, or can be readily restored to shoot, automatically more than one
shot, without manual reloading, by a single function of the trigger.”2 More relevant to bump fire stocks,


1
 83 Fed. Reg. 13442 (March 29, 2018). https://www.gpo.gov/fdsys/pkg/FR-2018-03-29/pdf/2018-06292.pdf
2
 26 U.S.C. § 5845(b); see also 18 U.S.C. § 921(a)(23) (adopting the same definition for purposes of the Gun Control
Act).



                                                         1
                                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                                  Ex. 1 Page 000204
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 209 of 382



the term also includes “the frame or receiver of any such weapon, any part designed and intended solely
and exclusively, or combination of parts designed and intended, for use in converting a weapon into a
machinegun, and any combination of parts from which a machinegun can be assembled if such parts are
in the possession or under the control of a person.”3 Thus, the law sets forth a mechanical test, not a
performance-based standard focusing on rate of fire.

Because Congress created a mechanical test, ATF has consistently applied the definition to devices or
firearms depending on their function, not on the rate of fire achievable with the device or firearm.4
Indeed, ATF has noted that “bump fire” can also be induced in unmodified semiautomatic firearms. Yet
unmodified semiautomatic firearms are clearly not “machinegun[s]” under federal law and do not
become one simply because a particular user induces bump fire with them.5

Semiautomatic firearms were in common use when Congress created the first definition of
“machinegun” in 1934,6 and the current definition of “machinegun” in 1968.7 Yet unmodified
semiautomatic firearms have never been considered “machinegun[s]” for purposes of federal law.8
Indeed, Congress enacted an entirely separate law to regulate AR-15s and various other semiautomatic
firearms between 1994 and 2004,9 with no suggestion that these firearms could simply have been
administratively reclassified as “machinegun[s].”

While the new proposed definitions of “automatically” and “single function of the trigger” continue to
focus on mechanical function, rather than capability or performance, there are numerous phrases
throughout the proposed rule that could be used to imply capability or performance is relevant to a
firearm’s classification as a “machinegun.” For example, Section II of the proposed rule begins:
“[s]hooters use bump-stock-type devices with semiautomatic firearms to accelerate the firearm’s cyclic
firing rate to mimic automatic fire. Such devices are designed principally to increase the rate of fire of
semiautomatic firearms.”

This focus on performance by claiming that a bump fire stock either “increase[s] the rate of fire of
semiautomatic firearms” or “mimic[s] automatic fire” is irrelevant to whether or not a bump fire stock is
a machine gun. Either it is a “part designed and intended solely and exclusively, or combination of parts




3
  Id.
4
  See, e.g., ATF’s discussion of prior determinations regarding “bump-stock-type devices” in the proposed rule. 83
Fed. Reg. at 13444-45.
5
  See letter from Sterling Nixon, Chief, ATF Firearms Technology Branch, to Jason A. Lee (Oct. 13, 2006) (“As long as
you must consciously pull the trigger for each shot of the ‘bump fire’ operation, you are simply firing a
semiautomatic weapon in a rapid manner and are not violating any Federal firearms laws or regulations.”).
6
  See National Firearms Act of 1934, 48 STAT. 1236, Sec. 1 (June 26, 1934) (defining “machine gun”).
7
  See Gun Control Act of 1968, Pub. L. 90-618, Sec. 201 (Oct. 22, 1968) (defining “machinegun” for purposes of the
re-enacted and amended National Firearms Act) This definition was amended slightly by the Firearm Owners
Protection Act of 1986. Pub. L. 99-308, Sec. 109 (May 19, 1986).
8
  This was so, even though the 1934 definition encompassed “any weapon which shoots, or is designed to shoot,
automatically or semiautomatically, more than one shot, without manual reloading, by a single function of the
trigger.” The term “semiautomatically” was omitted from the 1968 definition.
9
  See Public Safety and Recreational Firearms Use Protection Act, Title XI of P.L. 103-322 (Sept. 13, 1994).



                                                          2
                                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                                    Ex. 1 Page 000205
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 210 of 382



designed and intended, for use in converting a weapon . . . to shoot, automatically more than one shot,
without manual reloading, by a single function of the trigger,”10 or it is not.

Beyond being irrelevant, ATF’s claim that “bump-stock-type devices . . . accelerate the firearm’s cyclic
firing rate . . .” is simply incorrect. These devices do not affect the rate of fire of the host firearm, which
is determined by the firearm’s operating system and, to a limited extent, certain environmental factors
such as the level of lubrication and cleanliness of the host firearm.

The rate of fire achievable with a particular firearm or device is irrelevant to whether or not a particular
firearm is a “machinegun.” Some “machinegun[s]” fire as slowly as 200-400 rounds per minute, while
many common “machinegun[s]” fire 1000 rounds per minute or more. 11 With such a broad range of
firing rates, it’s apparent why Congress did not use rate of fire as a determinant factor in the definition
of “machinegun.”

However ATF proceeds with this rulemaking, it is important that the distinction between semiautomatic
firearms and machineguns remains clear. There are tens of millions of semiautomatic firearms currently
possessed by law-abiding Americans. Suddenly and retroactively banning them as “machinegun[s]”
under federal law would create a number of very serious constitutional, legal, and practical problems.
More to the point, the statutory definition is simply not intended to stretch this far.

II. Application of the Regulation to Existing Bump Fire Stocks

The proposed rule does not provide for a registration period for “any device that would be classified as
‘machinegun’ as a result of this rulemaking.” Without the ability to register, owners of existing devices
will be required to destroy their heretofore-lawful property. ATF claims that “[a] final rule will provide
specific information about acceptable methods of disposal, as well as the timeframe under which
disposal must be accomplished to avoid violating 18 U.S.C. 922(o).”

As support for requiring such disposal, ATF claims that, “[t]he NFA provides that only the manufacturer,
importer, or maker of a firearm may register it.” This statement ignores the three methods that ATF has
used in the past when reversing prior classifications under the NFA: amnesty, non-retroactivity, and
modification of the device.

In this case, equitable principles strongly favor protecting those who in good faith acquired devices that
ATF now seeks to reclassify as “machinegun[s].” Owners of these products have relied on over a decade
of ATF’s own rulings and guidance when lawfully acquiring bump fire stocks, and the proposed rule
would now turn these gun owners into felons or require destruction of their property.

Beyond problems of fundamental fairness, the lack of a way for gun owners to retain some value in their
property likely makes the proposed rule a taking in violation of the Fifth Amendment. While some courts
have refused to recognize taking challenges that result from the exercise of the government’s regulatory



10
   26 U.S.C. § 5845(b) (The definition of machinegun has been reorganized in this case so that it is more readable as
applied to a “part” or “combination of parts.”
11
   The Chauchat light machine gun has a rate of fire of only 250 rounds per minute. Ivan V. Hogg & John Weeks,
Military Small Arms of the 20th Century 269 (DBI Books, 6th ed. 1991).



                                                         3
                                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                                   Ex. 1 Page 000206
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 211 of 382



authority,12 recent Supreme Court case law makes these cases of questionable merit. In Murr v.
Wisconsin, a regulatory land-use decision, the Court held that:

        The Takings Clause of the Fifth Amendment provides that private property shall not be
        taken for public use, without just compensation. The Clause is made applicable to the
        States through the Fourteenth Amendment. As this Court has recognized, the plain
        language of the Takings Clause requires the payment of compensation whenever the
        government acquires private property for a public purpose, but it does not address in
        specific terms the imposition of regulatory burdens on private property.13

In response to this new guidance from the Supreme Court, the United States District Court for the
Southern District of California issued an injunction blocking enforcement of a law that would have
required gun owners to surrender their lawful magazines, remove them from the state, or sell them to a
licensed firearm dealer.14 That court relied, in part, on the fact that the plaintiffs were likely to succeed
on the merits of their Takings Clause claim based on the forced loss of their magazines without
compensation.15

The case for a Takings Clause violation is even stronger with devices that would be reclassified as
“machineguns” by the proposed rule because, unlike the California magazine owners who could move
their property out of the state or transfer it to a firearm dealer, owners of bump fire stocks are given
only the option of destroying their property.

To comply with principles of equity and ensure that the proposed rule is not a violation of the Takings
Clause, ATF must address the problem the proposed rule creates for existing bump fire stock owners --
through an amnesty, by limiting retroactivity of any final rule, or by providing for modification of the
devices.

        a. Amnesty

When passing the Gun Control Act in 1968, Congress included a 30-day amnesty period for individuals to
register NFA firearms.16 In addition to that amnesty period, Congress gave the Secretary of the Treasury
the authority to conduct additional amnesty periods of up to 90 days for any single period.17 This
provision gave broad authority to the Secretary by allowing amnesty “as the Secretary determines will
contribute to the purposes of this title.”18




12
   See e.g., Akins v. United States, 82 Fed.Cl. 619, 622 (2008).
13
   137 S. Ct. 1933 (2017).
14
   Duncan v. Becerra, 265 F. Supp. 3d 1106, 1139-40 (S.D. Cal. 2017).
15
   Id. at 1139.
16
   Pub.L. 90-618, Title II, § 207(b), Oct. 22, 1968, 82 Stat. 1230.
17
   Pub.L. 90-618, Title II, § 207(d), Oct. 22, 1968, 82 Stat. 1230.
18
   Id.



                                                         4
                                                                                   Guedes v. ATF / Codrea v. ATF
                                                                                              Ex. 1 Page 000207
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 212 of 382



When ATF reclassified certain shotguns as destructive devices in 1994,19 the agency also provided for a
period of amnesty, which finally closed May 1, 2001 after about 8,200 of the shotguns were registered
with ATF.20

ATF could provide one or more 90-day periods of amnesty for the registration of bump fire stocks. While
there are some additional complications due to the lack of markings on bump fire stocks, Congress has
delegated broad discretion to determine the scope and requirements of any amnesty. ATF already has
experience with firearms marking issues for individuals who are not federal firearm licensees. (Every
time a non-licensee makes an NFA “firearm,” the maker must mark the firearm in compliance with
federal law.21)

In addition to providing amnesty for bump fire stocks, ATF should consider a broader amnesty for
“machinegun[s].” When Congress delegated the authority to provide for additional periods of amnesty,
there was a clear legislative understanding that amnesty generally serves the purposes of federal
firearms laws by bringing “machinegun[s]” and other NFA “firearms” that are currently contraband, and
therefore likely to eventually end up in the wrong hands, into the legal market where they have value
and are extremely unlikely to be used in crime.22

While there has always been some concern about an amnesty affecting ongoing investigations or
allowing possession by otherwise prohibited persons23, ATF, as previously stated, could place substantial
limitations on the scope of any amnesty, and would be free to set the requirements for registration to
prevent the problems associated with the 1968 amnesty.

        b. No Retroactive Effect

ATF has broad authority to limit the retroactive effect of administrative actions affecting the internal
revenue laws.24 In the case of regulations, there is a general rule against retroactive effect.25

In past rulings, ATF has attempted to completely limit any retroactive effect. For example, in the case of
AR-15 “Auto Sears,” ATF stated that “[w]ith respect to the machine gun classification of the auto sear
under the National Firearms Act, pursuant to 26 U.S.C. 7805(b), this ruling will not be applied to auto
sears manufactured before November 1, 1981. Accordingly, auto sears manufactured on or after




19
   ATF Rul. 94-1, 94-2.
20
   ATF Rul. 2001-1 (repealed by ATF Rul. 2017-1 because ruling was “unnecessary and obsolete” due to long past
deadline for registration).
21
   26 U.S.C. § 5842.
22
   See Testimony of ATF Director Stephen E. Higgins, before the Subcommittee on Crime of the House Committee
on the Judiciary on H.R. 641 and Related Bills (May 17, 24, and June 27, 1984) (testifying that “[r]egistered
machineguns which are used in crimes are so minimal as to not be considered a law enforcement problem.”
23
   These two examples could be determined to not “contribute to the purposes” of the NFA, so ATF could exclude
them, and other similarly problematic registrations, from the proposed amnesty.
24
   26 U.S.C. § 7805(b)(8).
25
   26 U.S.C. § 7805(b)(1) It’s unclear how this section would apply to the reclassification of certain devices as
“machinegun[s]” by regulation.



                                                        5
                                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                                  Ex. 1 Page 000208
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 213 of 382



November 1, 1981, will be subject to all of the provisions of the National Firearms Act and 27 C.F.R. Part
479.”26

The Seventh Circuit rejected this broad reading of section 7805(b) in United States v. Cash.27 While ATF’s
“Auto Sear” ruling seemed to imply that mere possession of a pre-1981 sear alone remained lawful, the
Cash court limited 7805(b)’s retroactivity limitations to only excusing the payment of taxes:

        Defendants believe that it places auto sears manufactured before November 1, 1981,
        outside all obligations laid by statute on the ownership and transfer of firearms. But
        nothing in the firearms statutes gives the Secretary of the Treasury (or the Bureau of
        Alcohol, Tobacco and Firearms) the power to make exemptions to § 5845(b) and
        associated legal obligations. The statute to which ATF Ruling 81-4 refers, 26 U.S.C. §
        7805(b), provides that the Secretary cannot give retroactive application to tax
        regulations and adds in § 7805(b)(8) that the “Secretary may prescribe the extent, if
        any, to which any ruling (including any judicial decision or any administrative
        determination other than by regulation) relating to the internal revenue laws shall be
        applied without retroactive effect.” Read in conjunction with § 7805(b)(8), the proviso
        in the fourth paragraph of ATF Ruling 81-4 means only that the Secretary will not
        collect any tax under 26 U.S.C. §§ 5801, 5811, or 5821 on account of auto sears
        manufactured or transferred before November 1, 1981. The ruling does not-and
        cannot-excuse compliance with criminal laws applicable at the time of post-1981
        transfers.28

In United States v. Dodson, the Sixth Circuit agreed with this reading of section 7805(b), concluding that
the statute’s purpose was to excuse prior tax and regulatory violations, and not continuing non-
compliance with criminal laws.29

While NRA does not agree with this narrow reading of section 7805(b), reliance on this restrictive
interpretation would complicate any attempt to generally limit the retroactivity of the proposed rule.
However, this provision still serves an important purpose when used in conjunction with an amnesty.
Section 7805(b) can excuse tax payments that might otherwise be required when a firearm is registered
under an amnesty.

ATF used the provision in this manner during the registration period for the shotguns that were
reclassified as NFA “firearms,” discussed supra.30 Registrants were not required to pay the $200 transfer
tax that would have been associated with the acquisition of a “destructive device.” This same approach




26
   ATF Rul. 81-4 (The ruling does note that “[r]egardless of the date of manufacture of a drop in auto sear,
possession of such a sear and certain M16 fire control parts is possession of a machine gun as defined by the NFA.
Specifically, these parts are a combination of parts designed and intended for use in converting a weapon into a
machine gun as defined in the NFA.”)
27
   149 F.3d 706, 707 (7th Cir. 1998).
28
   Id.
29
   519 F. App'x 344, 349 (6th Cir. 2013).
30
   ATF Rul. 94-1, 94-2.



                                                        6
                                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                                  Ex. 1 Page 000209
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 214 of 382



could be applied to excuse tax payments for the registration of bump fire stocks or other “firearms”
during the recommended amnesty period.

        c. Modification

As discussed in the proposed rule, when ATF reclassified the “Akins Accelerator” as a “machinegun,”
existing owners of the device were allowed to remove and dispose of a spring rather than destroying the
entire device.31 Similar modifications could be done in the case of bump fire stocks. While it would be up
to ATF to determine the exact extent of modification necessary, removal of the finger rest, permanently
affixing the stock, or removal of the stock pin assembly would seem to limit the use of a bump fire stock
to semiautomatic fire only.

While modification in these ways would limit the financial harm to gun owners over complete
destruction, these types of modifications may so diminish the utility of a bump fire stock that a violation
of the Takings Clause still occurs.32 For this reason, NRA recommends an amnesty as a less onerous
solution for dealing with the existing supply of bump fire stocks.

III. Conclusion

However ATF continues with this proposed rule, it must keep in mind the limitations placed on the
definition of “machinegun” by Congress. If ATF decides to reverse prior determinations regarding the
classification of specific devices, then it should provide for an amnesty period for these devices and
other unregistered “machinegun[s].”

                                                             Signed,




                                                             Josh Savani
                                                             Director
                                                             Research & Information Division
                                                             NRA-ILA




31
  83 Fed. Reg. at 13445.
32
  A “regulatory taking” occurs when the government regulates the use of property in a manner that “is
tantamount to a direct appropriation or ouster.” Lingle v. Chevron USA, Inc., 544 U.S. 528, 537 (2005).


                                                        7
                                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                                  Ex. 1 Page 000210
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 215 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                             ID: ATF-2018-0002-91367
                                                               Tracking Number: 1k2-93yr-h7vm
For related information, Open Docket Folder

                                                                Document Information
                                                              Date Posted:
 Comment                                                      Jul 5, 2018
                                                              RIN:
 See attached file(s)                                         1140-AA52

 Docket number ATF 2017R-22                                   Show More Details



                                                                Submitter Information
 Attachments (1)                                              Submitter Name:
                                                              Joshua Fitch

          Docket number ATF 2017R
          View Attachment:




                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000211
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 216 of 382
Docket number ATF 2017R-22


          (I)        Issues of statute as passed by Congress:

          26 U.S. Code § 5845 (b) defines a machine gun as the following:

 “(b) Machinegun The term “machinegun” means any weapon which shoots, is designed to shoot, or can be readily restored to
   shoot, automatically more than one shot, without manual reloading, by a single function of the trigger. The term shall also
   include the frame or receiver of any such weapon, any part designed and intended solely and exclusively, or combination of
    parts designed and intended, for use in converting a weapon into a machinegun, and any combination of parts from which
               a machinegun can be assembled if such parts are in the possession or under the control of a person.”

         On April 16, 1934, Congress took under consideration H.R. 9066, a bill “to provide for the
taxation of manufacturers importers and dealers in small arms and machine guns and other weapons.”1
The administration, under the direction of then Attorney General Homer Cummings, implored congress
to pass legislation that would define a machine gun as the following:

             “The term ‘machine gun’ means any weapon designed to shoot automatically or semiautomatically twelve or more
                                                                         2
                                                shots without reloading.”

        On April 16, 18, and May 14, 15, and 16, 1934, the Committee on Ways and Means held
hearings H.R. 9066. Numerous witnesses were called and Congress discussed many aspects of the
proposed legislation.

         The following is an excerpt from the testimony, questions and answers between Congressmen
Hill, Congressmen Frear and Karl T. Frederick; the President of the National Rifle Association:

"Mr. HILL: Suppose your definition were adopted. Would it be practicable to manufacture a gun that would be classed either as
an automatic or semiautomatically operated gun even with more than one function of the trigger and still answer the purpose in
a large way of a machine gun which requires only one function of the trigger.

Mr. FREDERICK: I do not think so. For purposes of example you may look at the automatic pistol which is the standard weapon
of the United States Army. That has an automatic discharge of the empty cartridge and a reloading principle which is operated
by the force of the gas from the exploded cartridge. But with a single pull of the trigger only one shot is fired. You must release
the trigger and pull it again for the second shot to be fired. You can keep firing that as fast as you can pull your trigger. But that
is not properly a machine gun and in point of effectiveness any gun so operated will be very much less effective than one which
pours out a stream of bullets with a single pull and as a perfect stream.

Mr. HILL: In one sense you are limiting the scope of this definition and in another you are broadening it When you say that any
weapon or any gun that will shoot more than once is a machine gun you are broadening the definition But when you say one
operation of the trigger you may be limiting the definition as it is in this bill as I see it because this says nothing about what
operation of the trigger is necessary to constitute the machine gun

Mr. FREDERICK: If I understand your remark.

Mr. Hill: I think that is quite true I am including within the definition however everything that I think is a machine gun instead of
including only those machine guns which fire 12 or more shots without reloading.

1 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,   1
Seventy-third Congress, Second Session, on H.R. 9066 Page 1.
2 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,
Seventy-third Congress, Second Session, on H.R. 9066 Page 1.
3 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,
Seventy-third Congress, Second Session, on H.R. 9066
4 The National Firearms Act (NFA), 73rd Congress, Sess. 2, ch. 757, 48 Stat. 1236, (1934)




                                                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                                                   Ex. 1 Page 000212
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 217 of 382
Docket number ATF 2017R-22


Mr. HILL: The point I am making is why include in your definition the phrase with one function of the trigger.

Mr. FREDERICK: Because that is the essence of a machine gun. Otherwise you have the ordinary repeating rifle. You have the
ordinary shotgun which is in no sense and never has been thought of as a machine gun.

Mr. FREAR: You are attempting to cover more than is embodied in this bill.

Mr. FREDERICK: I am trying to bring within this everything that in my opinion should be included under the term machine gun.

Mr. FREAR: That would be desirable.

Mr. FREDERICK: I should not like if there is to be legislation with respect to machine guns to have machine guns capable of firing
up to 12 shots exempted from the operations of this bill.

Mr. COCHRAN: Mr. Frederick under your proposed definition would the Colt automatic pistol be a machine gun?

Mr. FREDERICK: No sir I do not think that in the eyes of any ballistic engineer it would be so regarded I do not think it should be
so regarded.

Mr. COCHRAN: Does not the Colt automatic pistol continue to shoot as long as you exert pressure upon the trigger Mr.
FREDERICK No sir It requires a separate pull of the trigger for every shot fired.

Mr. HILL: If the Colt automatic pistol could fire 12 times would it be a machine gun under this definition in the bill.

Mr. FREDERICK: Under the definition as printed in the bill.

Mr. HILL: Yes.

Mr. FREDERICK: I do not know what the language means, “automatically or semiautomatically.” The language is not, as I read
it, and from my limited knowledge of firearms and ballistics - which has some scope, but I do not pretend to be a finished master
in that; I am a lawyer, I am not a firearms manufacturer. I do not know what “automatically or semiautomatically” means.
There are automatic features about the Colt pistol in the sense that when a shot is fired the action of the gas not only expels the
bullet from one end of the barrel but it expels the empty shell from the other end and if is so devised that upon the return of the
carriage through a spring it puts another shell in place of the old one. That is in a sense automatic and that principle is found in
machine guns. But that is not the distinguishing features of a machine gun.

Mr FREAR: The question in my mind and I think in the majority of the committee is what we can do to aid in suppressing
violations by such men as Dillinger and others. Do you think that by your proposed amendment you have aided in that result?

Mr FREDERICK: I believe so.

Mr FREAR: Then what is the purpose of any longer discussing that? Why not go on to something else?

Mr FREDERICK: If none of you gentlemen desires to discuss that particular feature.

Mr. FREAR: You are a lawyer you are not a firearms manufacturer as you have said. Let us assume that we accept your proposed
                                                                                                              3
suggestion I suggest that we pass it and get to the other serious questions that are involved in the bill."




1 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,   2
Seventy-third Congress, Second Session, on H.R. 9066 Page 1.
2 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,
Seventy-third Congress, Second Session, on H.R. 9066 Page 1.
3 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,
Seventy-third Congress, Second Session, on H.R. 9066
4 The National Firearms Act (NFA), 73rd Congress, Sess. 2, ch. 757, 48 Stat. 1236, (1934)




                                                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                                                   Ex. 1 Page 000213
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 218 of 382
Docket number ATF 2017R-22


        Congress ultimately agreed with Mr. Frederick’s suggestions and passed the National Firearms
Act which defined a machine gun as the following:

         ""Machine gun." (b) The term "machine gun " means any weapon which shoots, or is designed to shoot, automatically
or semiautomatically, more than one shot, without manual reloading, by a single function of the trigger.

         Congress specifically and deliberately chose to rely upon “single function of the trigger” as one
of the defining characteristics of what defines a machine gun. This definition was expanded with the
Gun Control Act in 1968 and again with the Firearms Owners’ Protection Act of 1986 but the core
definition of what constitutes a machine gun still revolves around firearms that shoot “automatically
more than one shot, without manual reloading, by a single function of the trigger.”

         Congress specifically entertained the idea of defining a machine gun as firearms that can be
fired very quickly with multiple trigger functions in 1934 and decided, instead, to focus on a single
function of the trigger. This has not changed in the approximately 84 years since the NFA was
considered and passed into law by Congress. This proposed rule change goes beyond the documented
intent of congress to interpret into statute an issue that was explicitly considered and rejected by
Congress.

          (II)       Devices known as Bump Stocks comply with existing statute:

         These devices known as “bump stocks” are intended to aid in the ability but are not required
nor essential to allow of a shooter to utilize the recoil of a weapon to pull the shooter’s finger into the
trigger, allow the trigger to reset, and then pull the shooter’s finger into the trigger again, and so on and
so forth, in order to reach or approach the cyclic rate of the firearm in a process known as bump firing.
These devices do not modify the mechanical function of the weapon as this process of using the recoil to
allow the shooter to fire the weapon quickly can be replicated on any semi-automatic firearm that
generates sufficient recoil with or WITHOUT a bump stock or similarly designed attachment.

        Furthermore, these stocks DO NOT FUNCTION unless the trigger is allowed to reset. A person
can “bump fire” many common firearms without the use of a bump stock however a person with a
bump stock CANNOT “bump fire” the same weapon unless the trigger is allowed to reset and then
pulled again. If the trigger is NOT allowed to reset, a subsequent round will not be discharged and the
weapon will cease firing. In other words, these stocks are in compliance with statutory definitions
Congress created.




1 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,   3
Seventy-third Congress, Second Session, on H.R. 9066 Page 1.
2 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,
Seventy-third Congress, Second Session, on H.R. 9066 Page 1.
3 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,
Seventy-third Congress, Second Session, on H.R. 9066
4 The National Firearms Act (NFA), 73rd Congress, Sess. 2, ch. 757, 48 Stat. 1236, (1934)




                                                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                                                   Ex. 1 Page 000214
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 219 of 382
Docket number ATF 2017R-22


          (III)      Impact this proposed rule would have up crime:

        As of 2018, many tens of thousands of machine guns are legal to own for American citizens who
are not otherwise prohibited persons (18 USC 922 (o)(2)(A) and (B) ).

         This proposed rule change cannot and will not stop a person who is not otherwise a prohibited
person who possesses the financial means to acquire machine guns in full compliance with the law nor
would this change have hand any meaningful impact on people who seek to use other means of “bump
firing” their semi-automatic weapons that DO NOT involve a stock or other mechanical modification to
the firearm.

          (IV)       Proposed alternative:

         If ATF and DOJ feel so strongly about firearms that can be “bump fired” I suggest ATF/DOJ
consider offering an amnesty or a series of amnesties as authorized under the GCA ’68 (Section 207(d) of
82 Stat. 1235) to allow registration of all firearms that fall under the preview of the National Firearms
Act (26 U.S. Code § 5845) thus mooting many potential issues that will almost certainly follow the
implementation of this proposed rule change.
          (V)        Conclusion:

        I strongly urge the ATF to follow their previous conclusions as demonstrated in public media and
in courts of law where ATF has stated these bump stocks comply with the existing statute and that ATF
lacks the authority to ban them without further action from Congress.

          Thank you for your time and your consideration.

                                                                                                                    Joshua Fitch




Docket number ATF 2017R-22


1 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,   4
Seventy-third Congress, Second Session, on H.R. 9066 Page 1.
2 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,
Seventy-third Congress, Second Session, on H.R. 9066 Page 1.
3 Hearings on April 16, 18, and May 14, 15 and 16, 1934, before the Committee on Ways and Means, House of Representatives,
Seventy-third Congress, Second Session, on H.R. 9066
4 The National Firearms Act (NFA), 73rd Congress, Sess. 2, ch. 757, 48 Stat. 1236, (1934)




                                                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                                                   Ex. 1 Page 000215
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 220 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                                 ID: ATF-2018-0002-78013
                                                                    Tracking Number: 1k2-93yb-bfjs
For related information, Open Docket Folder

                                                                    Document Information
                                                                   Date Posted:
 Comment                                                           Jul 3, 2018
                                                                   RIN:
 To whom it may concern:                                           1140-AA52

 I am Adam Roberts, I am currently suing the state of Florida      Show More Details
 over their bumpstock prohibition. What theyre doing is
 unconstitutional and illegal, and I see at the Federal level,
 ATFs proposed regulation on bumpstocks is doing exactly            Submitter Information
 the same for similar and also new reasons by overreaching
                                                                   Submitter Name:
 your regulatory authority.
                                                                   Adam Roberts
 As you should know the NFAs definition of machinegun is
 any weapon which shoots, is designed to shoot, or can be
 readily restored to shoot, automatically more than one shot,
 without manual reloading, by a single function of the trigger.

 A machinegun is also:
 * The frame or receiver of any such weapon
 * any part, or combination of parts, designed and intended
 for use in converting a weapon into a machinegun,
 * any combination of parts from which a machinegun can be
 assembled if such parts are in the possession or under the
 control of a person.

 a bumpstock:

 *Is not a weapon.
 *It is not designed to shoot, nor can it be readily restored to
 shoot
 (because it is not a weapon and is not capable of firing a
 shot)
 * it cannot automatically more than one shot without manual
 reloading by a single function of a trigger, (since it has no
 trigger)
 * Nor can it be a combination of parts where a machinegun


                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000216
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 221 of 382


can be assembled. Because a semiauto firearm with a
bump stock does not fire more than one shot with a single
pull of the trigger. Any other interpretation is demonstrably
false.

You reference the Akins accelerators reclassification as a
machinegun. The problem here is that the Akins accelerator
had a spring, current bumpstocks do not.


In the Akins accelerator, a spring was referenced to in
classifying it a machinegun. In the bumpstocks case, the
moving force is the shooters hand and fingers. There are no
springs here to lean on as a crutch to use to say the
bumpstock fires more than one shot per each pull of the
trigger.

Actually, its quite the opposite. As your Firearms
Technology Branch at ATF should know, bumpfire does not
require a bump fire stock. One can bumpfire with just their
body. Exactly the same way that is done with the
bumpstock. 1 shot fired per function of the trigger. It is not
Automatic.



Therefore a bump stock does not fit the definition of any of
those definitions of a machinegun. Specifically more than 1
round is NOT fired, without manual reloading, from a single
function of the trigger. The trigger has to function for each
round fired. Slow-motion footage of this is readily available
on the internet. Any other interpretation is demonstrably
false.

Therefore, as regulators you should know, does not fit the
definition of machinegun and does not fall within the scope
of the NFA.

Your FTB branch should know. Theyre the ones who
themselves said that bumpstocks do not qualify as
machineguns because they did not automatically shoot
more than one shot with a single pull of the trigger.

Its not up to ATF to reinterpret words. ATF does not have
power to make law. Only Congress can do that.
Furthermore, this is a foolish and slippery slope to be on.
Once you can reinterpret any law to fit your needs, theres
no stopping where this will end up.

It leads to eroding the freedoms in a civil society. Do NOT
take part in it.

Also, as in the state of Florida, ATF attempting to regulate
bump stocks places constitutional violations as well as
regulatory overreach.

Namely, but not limited to:

                                                                 Guedes v. ATF / Codrea v. ATF
                                                                            Ex. 1 Page 000217
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 222 of 382



The Fifth Amendment guarantees no one shall be "deprived
of life, liberty, or property, without due process of 1aw; nor
shall private property be taken for public use, without just
compensation."

A prohibition without just compensation would violate the 5th
amendments Takings Clause

Unconstitutional vagueness is derived from the Fifth and
Fourteenth Amendments to the United States Constitution. It
is based upon the premise that no one must be subjected to
criminal prosecution if he or she cannot reasonably
understand what conduct is prohibited under the law. This in
turn deprives citizens of their rights therefore violating due
process.

Having a bumpstock prohibition can be unconstitutionally
vague. Which firearms will be prohibited by which person if
they can bump fire that weapon without a bump stock. For
some, a firearm will fit the definition of bump stock and for
some it will not. This is a violation of the Fourteenth
Amendment, and is an issue the State of Florida is having to
deal with as we speak.

This also violates equal protection.

As a consequence of this, I have already filed a lawsuit in
Federal Court Against the state of Florida (Roberts v. Bondi
8:18-cv-01062) on their unconstitutional bumpstock
prohibition and I will not hesitate to file another with ATF
over their regulatory overreach in this matter.

This means if you attempt to regulate bump stocks, I will
likely sue you, and I will likely win, since I will use your own
determinations against you in court.

Have a nice day,




                                                                   Guedes v. ATF / Codrea v. ATF
                                                                              Ex. 1 Page 000218
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 223 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                                  ID: ATF-2018-0002-86008
                                                                     Tracking Number: 1k2-93yj-ze9p
For related information, Open Docket Folder

                                                                     Document Information
                                                                    Date Posted:
 Comment                                                            Jul 5, 2018
                                                                    RIN:
 The ATF is holding that they can interpret congressional           1140-AA52
 acts as they deem fit based on an erroneous interpretation
 of Motor Vehicle Mfrs. Ass'n v. State Farm Mut. Auto Ins.          Show More Details
 Co., 463 U.S. 29, 57 (1983). The error lies in that this rule
 would be outside the scope of the congressional act on
 which it relies, "As long as the agency remains within the          Submitter Information
 bounds established by Congress".
                                                                    Submitter Name:
                                                                    Toby Patten
 The proposed rule also does not take into account that the
 Congressional act that the rule relies is one of taxation.
 Even if the Government cannot accept the tax by law that
 does not change the basis of the law. The ATF is proposing
 that the tax law is one in which they can, as directed, be
 used as a "Police Power".

 Arguing that the NFA Act is not based on the collecting of
 taxes law but a Commerce Clause based law still does not
 give the Federal Government the non-enumerated right of
 "Police Power". This was held in United States v. Alfonso D.
 Lopez, Jr., 514 U.S. 549 (1995).
 "To uphold the Government's contentions here, we have to
 pile inference upon inference in a manner that would bid fair
 to convert congressional authority under the Commerce
 Clause to a general police power of the sort retained by the
 States. Admittedly, some of our prior cases have taken long
 steps down that road, giving great deference to
 congressional action. The broad language in these opinions
 has suggested the possibility of additional expansion, but
 we decline here to proceed any further. To do so would
 require us to conclude that the Constitution's enumeration of
 powers does not presuppose something not enumerated,
 and that there never will be a distinction between what is
 truly national and what is truly local. This we are unwilling to


                                                                                Guedes v. ATF / Codrea v. ATF
                                                                                           Ex. 1 Page 000219
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 224 of 382


do."

The ATF is proposing that they cannot take a tax for an item
so that item must be forfeited to the Government. The
argument that the ATF is making is that the NFA Act, that
the proposed regulation is based on, is in fact a Taxation act
that they are reinterpreting to a police power.

The ATF argues for this proposed rule that Staples v. U.S.
provides support to this rule. The ATF is disregarding the
actual court ruling which stated that the Government must
prove that a defendant must know that the gun, as
determined by the ATF, is the sort to be regulated. With that
ruling in mind one must consider the function of a bump
stock. A bump stock "harnesses" energy only if a person is
entered into the equation. If that individual person cannot
get it to function as the ATF rule proposes then how can
they know it is the type of gun that is regulated?

The ATF should articulate if this rule is based on the
Commerce Clause/Taxation or if in fact they are making this
rule because

"The negative externality of the commercial sale of bump-
stock-type devices is that they could be used for criminal
purposes.".
"Unquantified Benefits       Prevents criminal usage of
bump-stock-type devices."
"BENEFITS - As reported by public comments, this
proposed rule would affect the criminal use of bump-stock-
type devices in mass shootings".

These quotes are from the actual rule making text which
would lead one to believe that this rule is based on a Police
Power that the Federal Government does not have and not
regulating commerce or enforcing tax statutes.




                                                                 Guedes v. ATF / Codrea v. ATF
                                                                            Ex. 1 Page 000220
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 225 of 382



       Visit the new Regulations.gov Beta site today at https://beta.regulations.gov




        Comment on FR Doc # 2018-06292


The is a Comment on the Alcohol Tobacco Firearms and
Explosives Bureau (ATF) Proposed Rule: Bump-Stock Type
Device                                                                   ID: ATF-2018-0002-61777
                                                                      Tracking Number: 1k2-93xx-l8o0
For related information, Open Docket Folder

                                                                      Document Information
                                                                     Date Posted:
 Comment                                                             Jun 26, 2018
                                                                     RIN:
 See Attached                                                        1140-AA52

                                                                     Show More Details

 Attachments (20)
                                                                      Submitter Information
                                                                     Submitter Name:
          FPC Comment ATF 2017R-22                                   Joshua Prince
          View Attachment:              + View more information      Organization Name:
                                                                     Firearms Industry Consulting Group
            Abstract:                                                (FICG)
          Exhibit 1 Comment with Exhibit List and Exhibits 1,
           FPC/FICG

          View Attachment:
            parts), 30, 31, 32, 33, 34, and 35 are in a separate
           comment2submission (comment ID 61778) due to
          Exhibit
            limitations on attachment size. Exhibits 3, 4, 11, 12,
          View Attachment:


          Exhibit 5 [UPDATE] Bumbling
          Machinations on Bump Stocks
          The Zelman Partisans
          View Attachment:


          Exhibit 6 - Friesen
          View Attachment:


          Exhibit 7 Holder contempt



                                                                                 Guedes v. ATF / Codrea v. ATF
                                                                                            Ex. 1 Page 000221
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 226 of 382


  View Attachment:


  Exhibit 8
  View Attachment:


  Exhibit 9 Feinstein Screenshot
  View Attachment:


  Exhibit 10 ATF Determinations
  View Attachment:


  Exhibit 15 Guedes Declaration
  View Attachment:


  Exhibit 16 Thompson Declaration
  View Attachment:


  Exhibit 19 - 82 Stat. 1235
  View Attachment:


  Exhibit 20 1969-CFR-ATF-amnesty-
  regs 26 CFR 179-120
  View Attachment:


  Exhibit 21 Violating Due Process
  View Attachment:


  Exhibit 22 1998testimony_Part1
  View Attachment:


  Exhibit 22 1998testimony_Part2
  View Attachment:


  Exhibit 22 1998testimony_Part3
  View Attachment:


  Exhibit 22 1998testimony_Part4
  View Attachment:




                                                     Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 000222
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 227 of 382


  Exhibit 23 ATF Quarterly Roll Call
  View Attachment:


  Exhibit List
  View Attachment:




                                                     Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 000223
             Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 228 of 382
FIREARMS INDUSTRY CONSULTING GROUP
                                                                                      A Division of Civil Rights Defense Firm, P.C.


Joshua Prince
Adam Kraut                                                                                                                           Phone: 888-202-9297
Jorge Pereira                                                                                                                           Fax: 610-400-8439




                                                                 March 30, 2018

Stephanie M. Boucher
Disclosure Division
Bureau of Alcohol, Tobacco, Firearms and Explosives
99 New York Avenue, NE
Washington, DC 20226

RE: Firearms Policy Foundation (FPF) and Firearms Industry Consulting Group (FICG) vs. U.S.
    Department of Justice - Bureau of Alcohol, Tobacco, Firearms and Explosives - Bump Stock
    Rulemaking
    Docket Number: ATF-2018-0001
    EXPEDITED Freedom of Information Act (FOIA) Request

       VIA EMAIL: FOIAMail@ATF.gov

Dear Stephanie Boucher,

    Pursuant to the federal Freedom of Information Act, 5 U.S. Code § 552 (hereinafter "FOIA"), I
submit the following request for documents from the Bureau of Alcohol, Tobacco, Firearms and
Explosives (hereinafter "ATF"). If the requested documents are not available from ATF, I
respectfully request that you forward this request to the appropriate agency that maintains the
requested records or advise me of the identity of any such agency.

Status of Requester: I am attorney and scholar of firearms laws and related issues. I have been
published by the Pennsylvania Bar Institute in a number of publications for attorneys on firearms
law issues and maintain an active blog on firearms law issues at
http://blog.princelaw.com/category/firearms-law/. As a result, I ask that you classify this request as
made by a freelance journalist and I have been previously found, on numerous occasions, to be a
freelance journalist for purposes of FOIA by ATF, FBI and DDTC. In the alternative, I am
requesting a fee waiver. This waiver is applicable under the Freedom of Information Act of 1986.
It specifies, "[a] fee waiver or reduction can only be granted if the information furnished to the
requester is likely to contribute significantly to the public understanding of the operations or

      Firearms Industry Consulting Group® (FICG®), a division of Civil Rights Defense Firm, P.C. • 646 Lenape Road, Bechtelsville, PA 19505 • 888-202-9297
                                        FirearmsIndustryConsultingGroup.com • © 2007 - 2016 CivilRightsDefenseFirm.com
                                   Your PA Firearms Lawyer® and PA Gun Attorney®. Also home to Armor Piercing Arguments®!  Guedes v. ATF / Codrea v. ATF
                                                                                                                                    Ex. 1 Page 000224
           Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 229 of 382
activities of the government and not primarily in the commercial interest of the requester." As this
request is in relation to issues of public importance that will significantly assist the public in
understanding the ATF’s position in relation to its current rulemaking regarding bump stocks (ATF
2017R-22, RIN 1140-AA52, Fed. Register No. 2018-06292 -
https://www.regulations.gov/document?D=ATF-2018-0002-0001), a fee waiver is appropriate.
Although Firearms Industry Consulting Group ("FICG") has been retained by Firearms Policy
Foundation ("FPF"), a 501(c)3 non-profit public benefit organization, in relation to this rulemaking,
as both FPF and FICG intend to publicly post all documents received in response to this FOIA,
any response will be provided to the public and is for the benefit of the public.

  While I believe that my purposes fall directly within the standard set forth for a freelance
journalist or, alternatively, for a "Fee Waiver," if you find that my purposes do not, I will agree to
pay the appropriate fees up to $100.00. If you estimate that the cost will exceed $100.00, please
advise me the estimated costs exceeding $100, and I will make a decision on whether to proceed.
Nonetheless, even with my agreement to pay, I retain the right to appeal any decision based on
the fee waiver; and if successful, the return of any money, which was inappropriately paid, in
relation to this FOIA.

Expedited Request: Pursuant to 5 U.S.C. § 552, I am requesting expedited review of this FOIA, as
ATF has entered into rulemaking relative to the requested documents (ATF 2017R-22, RIN 1140-
AA52, Fed. Register No. 2018-06292 - https://www.regulations.gov/document?D=ATF-2018-
0002-0001), for which individuals, including myself, only have until June 27, 2018 to respond. As
ATF has failed to include the requested documents in the docket and the absence of the
requested documents would deny the public - including FPF, FICG, and myself - due process and
the ability to formulate legal arguments and meaningful opportunity to participate in the
rulemaking process, this request is proper for expedited review and processing. If the requested
documents are not provided promptly, there will be an inadequate opportunity to review them
and formulate meaningful comments before the deadline of June 27, 2018. Consistent with 5
U.S.C. § 552(a)(6)(E)(ii), I am requesting, as required, that a determination be made within 10
days.

Subject Matter of Request: This is a request for all ATF determinations relative to devices referred
to as "bump stocks" and "bump-fire stocks" by ATF in its proposed rulemaking (ATF 2017R-22,
RIN 1140-AA52, Fed. Register No. 2018-06292 - https://www.regulations.gov/document?D=ATF-
2018-0002-0001), as well as, all ATF Form 9310.3A "Correspondence Approval and Clearance"
forms relative to each determination, and any versions or drafts of the determinations, which were
different than the final determination. The use of the word "determinations" shall be understood to
mean any correspondence, whether in electronic or paper form, by ATF to any person, which
shall include any individual, Member of Congress, corporation, limited liability company, and
partnership, regarding the lawfulness or unlawfulness of any bump stock or bump-fire stock
device, whether a sample device was submitted or not to ATF. A copy of two such known
determinations are attached hereto as Exhibit A.

Temporal Scope of Request: Please limit your search for responsive documents to the period
January 1, 2000 to the present.

Request for "Vaughn Index": In the event all or any part of an otherwise responsive document is
withheld subject to a claim that one or more FOIA exemptions apply, please provide an index
identifying the document or part thereof, by author(s), addressee(s), date, subject matter, and the


     Firearms Industry Consulting Group® (FICG®), a division of Civil Rights Defense Firm, P.C. • 646 Lenape Road, Bechtelsville, PA 19505 • 888-202-9297
                                       FirearmsIndustryConsultingGroup.com • © 2007 - 2016 CivilRightsDefenseFirm.com
                                  Your PA Firearms Lawyer® and PA Gun Attorney®. Also home to Armor Piercing Arguments®!  Guedes v. ATF / Codrea v. ATF
                                                                                                                                   Ex. 1 Page 000225
          Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 230 of 382
specific exemption asserted as a basis for failing to produce the complete document. If a
document is withheld only in part, please mark the redacted document to indicate the deletion.

Waiver of Inspection: If search and copying costs are not estimated to exceed $100.00, please
send a copy of the documents to me at the address referenced below.

Request for Timely Action: As mandated by FOIA, 5 U.S.C. § 552(a)(6)(A)(i), I request your reply
within twenty business days. The requested documents relate to a matter of current public
concern so that time is of the essence. In the event you have any questions concerning this
request, please contact me as soon as possible. I would be pleased to clarify any perceived
ambiguity informally or to discuss ways to narrow my request so as to ensure a timely response.

Contact Information: Please direct all communications to me at:

                                                         Joshua Prince
                                                        646 Lenape Rd
                                                     Bechtelsville, PA 19505
                                                    888-202-9297 ext 81114
                                               Joshua@CivilRightsDefenseFirm.com

Certification: I certify everything in this request, including request for expedited review and
processing to true and correct to the best of my knowledge and belief.

Thank you in advance for your attention to this matter.

                                                                                           Yours truly,
                                                                                           Firearms Industry Consulting Group




                                                                                           Joshua G. Prince
                                                                                           joshua@civilrightsdefensefirm.com
jgp/web
Matter no. 10377




     Firearms Industry Consulting Group® (FICG®), a division of Civil Rights Defense Firm, P.C. • 646 Lenape Road, Bechtelsville, PA 19505 • 888-202-9297
                                       FirearmsIndustryConsultingGroup.com • © 2007 - 2016 CivilRightsDefenseFirm.com
                                  Your PA Firearms Lawyer® and PA Gun Attorney®. Also home to Armor Piercing Arguments®!  Guedes v. ATF / Codrea v. ATF
                                                                                                                                   Ex. 1 Page 000226
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 231 of 382




                                                                      Guedes v. ATF / Codrea v. ATF
                                                                                 Ex. 1 Page 000227
     Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 232 of 382




                Bureau of Alcohol, Tobacco, Firearms, and Explosives

___________________________________
                                          )
                                          )               Docket No. ATF 2017R-22
Bump-Stock-Type Devices                   )
                                          )               RIN 1140-AA52
                                          )



          Firearms Policy Coalition and Firearms Policy Foundation’s
           Comments in Opposition to Proposed Rule ATF 2017R-22




                                    Joshua Prince, Esq.
                                      Chief Counsel

                                     Adam Kraut, Esq.
                                        Attorney

                            Firearms Industry Consulting Group
                        a Division of Civil Rights Defense Firm, P.C.
                                      646 Lenape Road
                                   Bechtelsville, PA 19505
                                        888-202-9297
                        www.FirearmsIndustryConsultingGroup.com




June 19, 2018




                                                                        Guedes v. ATF / Codrea v. ATF
                                                                                   Ex. 1 Page 000228
          Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 233 of 382




                                                     TABLE OF CONTENTS


I.     PROCEDURAL IRREGULARITIES HAVE DENIED INTERESTED
       PERSONS A MEANINGFUL OPPORTUNITY TO COMMENT ON THE
       PROPOSED RULEMAKING ...............................................................................................3
        A. ATF Failed to Make Available the Underlying Determinations, Evidence and
           Other Information Upon Which It Purportedly Relied in Formulating its
           Proposed Rule ....................................................................................................................3
        B. ATF Failed to Describe a Single Situation Illustrating the Problem it Purports to
           Address; The Entire Rulemaking Seems to Rest on Multiple False Premises....................7
        C. ATF Failed to Permit a Ninety-Day Comment Period and Procedural
           Irregularities Have Denied Interested Persons a Meaningful Opportunity to
           Comment on the Proposed Rulemaking ...........................................................................12
        D. ATF’s Prior Lack of Candor Demonstrates a Heightened Need for Procedural
           Regularity .........................................................................................................................17
             1. ATF’s “Institutional Perjury” Before the Courts .......................................................18
             2. ATF’s Deception in Congressional Oversight ...........................................................20
             3. ATF’s Misleading of the Public .................................................................................20
II. ATF’S PROPOSED RULE RAISES IMPORTANT CONSTITUTIONAL
    ISSUES ..................................................................................................................................21
        A. The Second Amendment....................................................................................................22
        B. The Fifth Amendment .......................................................................................................25
             1. The Proposed Rulemaking Violates Due Process ......................................................25
                   i. ATF has Failed to Provide Notice and Opportunity to Response to All
                      Interested Parties ..................................................................................................25
                   ii. The Rulemaking Proposal Constitutes Entrapment Given ATF’s Prior
                       Approvals and Public’s Reliance Thereon ...........................................................26
             2. The Proposal Constitutes a Taking Without Just Compensation ...............................27
                   i. The Fifth Amendment Precludes a Regulatory Taking ........................................27
                   ii. Cost-Impact Statement Fails to Address Just Compensation for the
                       Taking ...................................................................................................................30
        C. The Ex Post Facto Clause ................................................................................................33
             1. ATF’s Proposal Acknowledges that Bump-stocks are not Covered by the
                Definition of a Machinegun and Retroactively Criminalizes Lawful Conduct ..........33
III. ATF’S PROPOSAL EXCEEDS ITS STATUTORY AUTHORITY ................................34
        A. Congress Prohibited “Undue or Unnecessary” Restrictions ..........................................35

                                                                        ii

                                                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                                                          Ex. 1 Page 000229
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 234 of 382




       B. Independent of FOPA, ATF Lacks Statutory Authority As the Congress Defined
          What Constitutes a Machinegun.......................................................................................36
       C. ATF is Statutorily Prohibited From Retroactively Applying the NPR .............................40
IV. ATF’S PROPOSAL IS ARBITRARY AND CAPRICIOUS .............................................41
       A. ATF’s Interpretative Jiggery-Pokery is Pure Applesauce ...............................................42
       B. Belt Loops, Rubber Bands and Fingers, OH MY! ............................................................42
       C. The Jerry Miculek Example – He’s One Bad Mother… Shut Your Mouth (And:
          Oh No! They Banned Jerry!) ............................................................................................44
       D. Whoops, We Did it Again! ATF Misleads the Public Regarding the Use of
          Bumpstock Devices in the Las Vegas Shooting ................................................................45
       E. We Lied To You Once (Shame On Us). We Lied To You More Times Than We
          Can Count (Shame On You For Having Your Eyes Wide Shut). The Continuing
          Lies Espoused By ATF Regarding The Functionality Of Bump-Stock-Devices ...............47
       F. The Akins Accelerator Difference ....................................................................................54
V. ATF’S PROPOSAL IS OVERLY VAGUE AND CONTRADICTORY..........................55
VI. ATF FAILED TO CONSIDER VIABLE AND PRECEDENTIAL
    ALTERNATIVES.................................................................................................................57
       A. FPC Supports “Alternative 1” .........................................................................................57
       B. The Amnesty Alternative ...................................................................................................57
       C. ATF’s Reclassification of the Streetsweeper and USAS 12 and Seven Year
          Registration/Amnesty that Followed ................................................................................59
       D. ATF’s Reclassification of Open Bolt Macs ......................................................................60
       E. Revision of Proposed Changes to 27 C.F.R. §§ 447.11, 478.11, and 479.11 ..................61
VII. POLICY CONSIDERATIONS DO NOT SUPPORT ATF’S PROPOSED RULE ........63
       A. ATF’s Assumptions Lack Statistical Validity ...................................................................63
       B. ATF Relies On Multiple False Premises ..........................................................................65
CONCLUSION ..............................................................................................................................66




                                                                    iii

                                                                                                         Guedes v. ATF / Codrea v. ATF
                                                                                                                    Ex. 1 Page 000230
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 235 of 382




               Bureau of Alcohol, Tobacco, Firearms, and Explosives


___________________________________
                                               )
                                               )               Docket No. ATF 2017R-22
Bump-Stock-Type Devices                        )
                                               )               RIN 1140-AA52
                                               )


           Firearms Policy Coalition and Firearms Policy Foundation’s
            Comments in Opposition to Proposed Rule ATF 2017R-22

       On March 29, 2018, the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”

or the “Agency”) published a Notice of Proposed Rulemaking (“NPR”) in the Federal Register at

Volume 83, pages 13442 through 13457, to institute this rulemaking proceeding with respect to

firearms regulated under the National Firearms Act (“NFA”), 26 U.S.C. §§ 5801-5872. ATF’s

current regulations under the NFA are codified at 27 C.F.R. Part 479.

       Firearms Policy Coalition (FPC) is a grassroots, non-partisan, 501(c)(4) public benefit

organization. It is interested in this rulemaking because FPC’s mission is to protect and defend

the Constitution of the United States and the People’s rights, privileges and immunities deeply

rooted in this Nation’s history and tradition, especially the inalienable, fundamental, and

individual right to keep and bear arms; to protect, defend, and advance the means and methods

by which the People of the United States may exercise those rights, including, but not limited to,

the acquisition, collection, transportation, exhibition, carry, care, use, and disposition of arms for

all lawful purposes, including, but not limited to, self-defense, hunting, and service in the

appropriate militia for the common defense of the Republic and the individual liberty of its

citizens; to foster and promote the shooting sports and all lawful uses of arms; and to foster and

promote awareness of, and public engagement in, all of the above and defend the Constitution of

                                                   1

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000231
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 236 of 382




the United States, especially the fundamental, individual Second Amendment right to keep and

bear arms. In response to the NPR, FPC offers this public comment for consideration with

respect to the proposed rule.

       Firearms Policy Foundation (FPF) is a grassroots, non-partisan, 501(c)(3) public benefit

organization. It is interested in this rulemaking because FPF’s mission is to protect and defend

the Constitution of the United States and the People’s rights, privileges and immunities deeply

rooted in this Nation’s history and tradition, especially the inalienable, fundamental, and

individual right to keep and bear arms; to protect, defend, and advance the means and methods

by which the People of the United States may exercise those rights, including, but not limited to,

the acquisition, collection, transportation, exhibition, carry, care, use, and disposition of arms for

all lawful purposes, including, but not limited to, self-defense, hunting, and service in the

appropriate militia for the common defense of the Republic and the individual liberty of its

citizens; to foster and promote the shooting sports and all lawful uses of arms; and to foster and

promote awareness of, and public engagement in, all of the above and defend the Constitution of

the United States, especially the fundamental, individual Second Amendment right to keep and

bear arms. In response to the NPR, FPF offers this public comment for consideration with

respect to the proposed rule.

       FPC and FPF oppose the proposed rulemaking for the reasons set forth below and in the

Exhibits to this Comment incorporated herein by reference. For ease of reference and given that

FPC’s and FPF’s interests are aligned, the use of “FPC” throughout this Comment incorporates

or otherwise constitutes both FPC and FPF.




                                                  2

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000232
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 237 of 382




   I.       PROCEDURAL IRREGULARITIES HAVE DENIED INTERESTED
            PERSONS A MEANINGFUL OPPORTUNITY TO COMMENT ON THE
            PROPOSED RULEMAKING


         ATF has repeatedly violated the basic obligations designed to permit meaningful public

participation in this rulemaking proceeding. Despite efforts by FPC and other interested persons

to encourage compliance with the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 501-559,

other statutory provisions governing rulemaking, and fundamental due process, ATF has

persisted on a course that ensures a waste of time and resources by all involved. It should be

clear that ATF cannot proceed to promulgate a final rule without publishing a proper NPR and

providing the necessary opportunity for meaningful public comment.




            A.      ATF Failed to Make Available the Underlying Determinations, Evidence
                    and Other Information Upon Which It Purportedly Relied in Formulating
                    its Proposed Rule


         On March 30, 2018, the day after ATF published NPR in this matter, Firearms Industry

Consulting Group (“FICG”), on behalf of FPC, submitted an expedited FOIA Request “for all

ATF determinations relative to devices referred to as ‘bump stocks’ and ‘bump-fire stocks’ by

ATF in its proposed rulemaking (ATF 2017R-22, RIN 1140-AA52, Fed. Register No. 2018-

06292 - https://www.regulations.gov/document?D=ATF-2018-0002-0001), as well as, all ATF

Form 9310.3A ‘Correspondence Approval and Clearance’ forms relative to each determination,

and any versions or drafts of the determinations, which were different than the final




                                                 3

                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 000233
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 238 of 382




determination” since ATF failed to include these, or any other “supporting documents,” in the

docket folder. 1 See Exhibit 1.




As of the filing of this Comment, not only has ATF declined to make public any of the requested

and necessary supporting documents – especially its own determinations that bump stocks and

bump-fire stocks do not constitute firearms, let alone machineguns 2 – but has additionally failed

to respond to FICG’s expedited FOIA or even assign a number to it. 3 Moreover, while

acknowledging that it has received “correspondence[s] from members of the United States

1
  As reflected in the FOIA Request, “[t]he use of the word ‘determinations’ shall be understood
to mean any correspondence, whether in electronic or paper form, by ATF to any person, which
shall include any individual, Member of Congress, corporation, limited liability company, and
partnership, regarding the lawfulness or unlawfulness of any bump stock or bump-fire stock
device, whether a sample device was submitted or not to ATF.”
2
  ATF admits that there are at least “ten letter rulings between 2008 and 2017” (83 Fed. Reg. at
13445); none of which have been made available by ATF. 83 Fed. Reg. at 13445.
3
  FICG submitted its request on March 30, 2018. As is common practice for ATF, it has failed to
comply with 5 U.S.C. § 552(a)(6)(A)(i).

                                                4

                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 000234
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 239 of 382




Senate and the United States House of Representatives, as well as nongovernmental

organizations, requesting that ATF examine its past classifications and determine whether bump-

stock-type devices currently on the market constitute machineguns under the statutory

definition” (83 Fed. Reg. at 13446), ATF has failed to also provide these in the docket.

        As a result, ATF still has not provided any of the documents underlying the NPR either

in the docket or in response to the FOIA request.

       It has long been understood that “[t]he process of notice and comment rule-making is not

to be an empty charade. It is to be a process of reasoned decision-making. One particularly

important component of the reasoning process is the opportunity for interested parties to

participate in a meaningful way in the discussion and final formulation of rules.” Connecticut

Light & Power Co. v. NRC, 673 F.2d 525, 528 (D.C. Cir. 1982). “If the [NPR] fails to provide an

accurate picture of the reasoning that has led the agency to the proposed rule, interested parties

will not be able to comment meaningfully upon the agency’s proposals.” Id. at 530. Providing

access to materials like FPC requested – in addition to those that ATF has acknowledged in the

NPR as the basis for the rulemaking – has long been recognized as essential to a meaningful

opportunity to participate in the rulemaking process.

       The APA “‘requires the agency to make available to the public, in a form that allows for

meaningful comment, the data the agency used to develop the proposed rule.’” American

Medical Ass’n, v. Reno, 57 F.3d 1129, 1132-33 (D.C. Cir. 1995) (quoting Engine Mfrs. Ass’n v.

EPA, 20 F.3d 1177, 1181 (D.C. Cir. 1994)). In order to ensure that rules are not promulgated on

the basis of data that to a “critical degree, is known only to the agency,” the agency must make

available the “methodology” of tests and surveys relied upon in the NPR. Portland Cement Ass’n

v. Ruckelshaus, 486 F.3d 375, 392-93 (D.C. Cir. 1973).



                                                 5

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000235
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 240 of 382




An agency commits serious procedural error when it fails to reveal the basis for a proposed rule

in time to allow for meaningful commentary. Connecticut Power & Light, 673 F.2d at 530-31.

The notice and comment requirements

               are designed (1) to ensure that agency regulations are tested via
               exposure to diverse public comment, (2) to ensure fairness to
               affected parties, and (3) to give affected parties an opportunity to
               develop evidence in the record to support their objections to the
               rule and thereby enhance the quality of judicial review.

International Union, United Mine Workers of America v. Mine Safety & Health Admin., 407 F.3d

1250, 1259 (D.C. Cir. 2005).

       In this rulemaking proceeding, ATF not only refused to make available its own prior

determinations that “bump stocks”, “bump-fire stocks”, and “bump-stock-devices” were not

firearms, let alone, machineguns, and communications received from Congress and other

organizations, but more importantly, as discussed in Sections I., B., and IV., D., infra, ATF has

failed to provide any evidence that a “bump stock”, “bump-fire stock”, or a “bump-stock-device”

was ever utilized in a single crime. As the putative use of a bump stock in the Las Vegas

shooting is the purported underlying basis for this rulemaking (83 Fed. Reg. at 13443, 13444,

13446, 13447, 13452, 13454) the lack of evidentiary support is mind-boggling – especially in

light of legitimate national concerns involving the media and governmental agencies misleading

the public on a variety of issues – and constitutes a serious procedural error, as the absence of

such evidence supports that there are no verified instances of a bump stock being utilized

criminally and neither ATF nor FBI have confirmed the use of a bump-stock-device in any

crime. 4


4
  An expedited Freedom of Information Act request was submitted to both ATF and FBI
requesting “Any and all records documenting the use of a bump-fire type stock being used by
anyone on or about October 1, 2017 at the Mandalay Bay shooting incident in Las Vegas,
                                                                                      (footnote continued)

                                                 6

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000236
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 241 of 382




       The lack of access to these materials has seriously hindered the ability of interested

persons to address everything that underlies the apparent unsupported assertions in the NPR.

Bringing forth any such material in support of a final rule will do nothing to remedy the fact that

those materials were not available to inform the interested persons preparing public comments. If

ATF intends to take any further action relative to this rulemaking, it needs first to lay the

foundation for a proposal and then expose that foundation to meaningful critique.




           B.      ATF Failed to Describe a Single Situation Illustrating the Problem it
                   Purports to Address; The Entire Rulemaking Seems to Rest on Multiple
                   False Premises

       In the docket, ATF failed to provide evidence of a single instance where a “bump stock”

or “bump-fire stock” was confirmed to be utilized in the commission of a crime. 5 Even more

disconcerting, in order to argue a putative benefit of this rulemaking, ATF relies on public

comments from an ANPR, stating:

       “As reported by public comments, this proposed rule would affect the criminal
       use of bump-stock-type devices in mass shootings, such as the Las Vegas
       shooting incident… Banning bump-stock-type devices could reduce casualties in
       an incident involving a weapon fitted with a bump-stock-type device, as well as
       assist first responders when responding to incidents, because it prevents shooters
       from using a device that allows them to shoot a semiautomatic firearm
       automatically.”




                                                                                    (footnote continued)
Nevada; and Any and all records documenting the use of a bump-fire type stock used during the
commission of any crime to date.” To date, neither ATF nor FBI has confirmed the use of a
bumpfire stock in the commission of any crime. See “Analysis and Commentary Regarding:
Docket Number: ATF 2017R-22 & Bump-Stock-Type-Devices”, ID: ATF-2018-0002-31210,
Tracking Number: 1k2-93f3-s09b at 4 and 62 – 63, available electronically at –
https://www.regulations.gov/document?D=ATF-2018-0002-31210, in “Email 013 (Historic
Arms) rec 5-29-18 – Part4” as pdf pages 1 – 2.
5
  Id.

                                                  7

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000237
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 242 of 382




83 Fed. Reg. 13454 (emphasis added). These purported benefits are equally illusory and

misleading. First, ATF presents no evidence that bump-stock-type devices have actually

ever been used in any mass shooting incidents. 6 As further discussed infra in Section IV.,

D., even in relation to the Las Vegas incident upon which the NPR relies (83 Fed. Reg. at

13443, 13444, 13446, 13447, 13452, 13454), the Las Vegas Metropolitan Police

Department Preliminary Investigative Report only indicates that some weapons were

outfitted with bump-stock-type devices but provides no indication that any bump-stock-

device was utilized. See, Exhibit 2. 7 Second, ATF contends that casualties could be

reduced in such an incident without demonstrating that there have been any casualties

attributable to the devices. 8 ATF has also failed to address the fact, as discussed in

Sections IV., B. and C., that not only is a bump-stock unnecessary to bump-fire a firearm

but that practiced shooters can match, if not exceed, the speed of a bump fire device, with

far superior accuracy, unassisted by such a device. See, Exhibits 3 and 4. 9 Moreover, as

stated by former ATF Acting Chief of FTB Rick Vasquez, “[a] factory semi-automatic


6
  Interestingly, ATF relies solely on prior “public comments” to suggest that a bump stock device
was utilized in Las Vegas (83 Fed. Reg. 13454), while thereafter declaring that bump stock
devices “could be used for criminal purposes.” (83 Fed. Reg. 13455)(emphasis added). The use
of the word “could” reflects that such use is a possible future, not past, occurrence. Thus, ATF is
acknowledging that but for public conjecture, it has no evidence that a bump stock device has
been utilized in a crime and only hypothesizes that a bump stock device “could be used for
criminal purposes.” See also Fn. 4, supra.
7
  A copy of the report is also available online at – https://www.lvmpd.com/en-
us/Documents/1_October_FIT_Report_01-18-2018_Footnoted.pdf.
8
  Relying on nothing more than a “conclusory statement would violate principles of reasoned
decisionmaking.” Foundation on Economic Trends v. Heckler, 756 F.2d 143, 154 (D.C. Cir.
1985); see also Pearson v. Shalala, 164 F.3d 650, 659 (D.C. Cir. 1999).
9
  Copies of the videos are also available online – Iraqveteran8888, Worlds Fastest Shooter vs
Bump Fire! – Guns Reviews, YouTube (Oct. 13, 2014),
https://www.youtube.com/watch?v=JTb6hsSkV1w and Miculek.com, AR-15 5 shots in 1 second
with fastest shooter ever, Jerry Miculek (Shoot Fast!), YouTube (June 20, 2013)
https://www.youtube.com/watch?v=v3gf_5MR4tE&t.

                                                  8

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000238
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 243 of 382




and fully-automatic (i.e. machinegun) firearm, manufactured by the same manufacturer,

will have identical cyclic rates, 10 unless the machinegun version has some form of rate

reducing mechanism; whereby, the machinegun version may have a slower cyclic rate

than the semi-automatic version.” See Exhibit 32. 11 Thus, not only can an individual

exceed the rate of fire of a bump-stock-device with greater accuracy, but an individual

can equal, and sometime exceed, the rate of fire of an actual machinegun.

       Third, as also addressed by the Savage Comment 12 and the Expert Declaration of

Vasquez (see Exhibit 32), the technique of bump firing merely utilizes the recoil impulse

that all semi-automatic firearms generate, every time the firearm discharges. More

importantly, as discussed by the Expert Declaration of Vasquez and the Savage

Comment, and reflected infra in Sections IV., A. and E., including as depicted in video

exhibits related thereto, contrary to ATF’s interpretive jiggery-pokery in the NPR that


10
   As expert Vasquez explains, “[t]he cyclic rate of a firearm is neither increased nor decreased
by the use of a bump-stock-device, as the cyclic rate of a particular firearm is the mechanical rate
of fire, which can be explained in laymen’s terms as how fast the firearm cycles (i.e. loads, locks,
fires, unlocks, ejects), which is an objective, not subjective, mechanical standard.” See Exhibit
32.
11
   This was also addressed by Firearm Engineer Len Savage on page 2 of his Comment,
where he declares that all semi-automatic firearms:

       “can fire as fast as a machinegun version. Their cyclic rates are identical to the
       machinegun version. Their essential operating mechanisms are identical, same ammo,
       same mag[azines], same reciprocating mass. The only small physical difference is the
       machineguns described have a mechanical level that ‘automatically’ starts the new cycle
       as soon as the previously cycle ends. Some semiautomatic firearms can even fire faster
       than the full auto version because the machinegun versions having some form of rate
       reducing mechanism.”

See Analysis and Commentary Regarding: Docket Number: ATF 2017R-22 & Bump-Stock-
Type-Devices, ID: ATF-2018-0002-31210, Tracking Number: 1k2-93f3-s09b, available
electronically at – https://www.regulations.gov/document?D=ATF-2018-0002-31210, in “Email
013 (Historic Arms) rec 5-29-18”.
12
   Id.

                                                 9

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000239
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 244 of 382




bump-stock devices “convert an otherwise semiautomatic firearm into a machinegun by

functioning as a self-acting or self-regulating mechanism” (83 Fed. Reg. 13443), in

reality, a bump-stock-device is neither self-acting nor self-regulating and requires the

trigger to be fully released, reset and fully pulled, before a subsequent round can be fired.
13
     To the extent ATF contends otherwise, then all semi-automatic firearms are “self-

acting” or “self-regulating,” since, as discussed infra in Section IV., B., the technique of

bump firing can be easily achieved solely with one’s finger while operating a factory

semi-automatic firearm.

          Thus, to the extent ATF contends that bump-stock-devices are self-acting, self-

regulating or otherwise harness the recoil energy of the firearm, then all semi-automatic

firearms are self-acting, self-regulating or otherwise harness the recoil energy of the

firearm. Under the logic and contentions employed in the NPR, ATF would seemingly be

entitled and empowered to regulate all semi-automatic firearms in the same manner as

they seek to do for bump-stock devices, whereby all semi-automatic firearms could be re-

classified by fiat, transmuted into unlawfully-possessed and proscribed contraband items,

and, accordingly, force forfeiture (and provide for seizure) and destruction of these items,
13
     As also addressed in the Expert Declaration of Vasquez:

          The bump-stock-device does not permit automatic fire by harnessing the recoil energy of
          the firearm. Harnessing the energy would require the addition of a device such as a spring
          or hydraulics that could automatically absorb the recoil and use this energy to activate
          itself. If it did harness the recoil energy, the bump-stock equipped firearm in the video
          would have continued to fire, while the shooter’s finger remained on the trigger, after
          pulling it rearwards without requiring the shooter to release and reset the trigger and then
          pull the trigger completely reward for a subsequent round to be fired.
          …
          A firearm in a bumpstock/slidefire stock cannot be a machinegun because it requires an
          individual to activate the forward motion of the stock when the firearm is fired.
          Additionally, it requires a thought process of the individual to continually pull the trigger
          when the stock is pulled forward bringing the trigger into contact with the finger.

                                                   10

                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000240
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 245 of 382




without any just compensation being paid—never-mind the statutes, let alone the

Constitution. 14

       In fact, Eric Larson clairvoyantly published an article in March of 1998 in the

Gun Journal, entitled How Firearm Registration Abuse & the “Essential Operational

Mechanism” of Guns May Adversely Affect Gun Collectors, in which he raised concern

over ATF banning all semi-automatic firearms through these types of “interpretations” of

law. See Exhibit 24.

       Fourth, ATF suggests that this rule will assist first responders by preventing

shooters from using the devices; however, ATF does not elaborate on how exactly a

firearm outfitted with a bump-stock-type device impedes first responders in any way that

a differently configured firearm does not.

       Finally, ATF laughably suggests that it is addressing a negative externality of the

commercial sale of bump-stock-type devices. This negative externality is “that they could

be used for criminal purposes.” 83 Fed. Reg. at 13449. This suggestion is not supported

by any evidence aside from the unproven allegation of their use in the Las Vegas


14
   If “the eight-year assault on . . . Second Amendment freedoms [came] to a crashing end” with
President Trump’s election and inauguration, then a new assault on individual liberties and
lawfully acquired and possessed private property apparently came to a crushing beginning in this
NPR. See, Trump at NRA convention: 'Eight-year assault' on gun rights is over, Fox News, April
28, 2018, online at http://www.foxnews.com/politics/2017/04/28/trump-at-nra-convention-eight-
year-assault-on-gun-rights-is-over.html. But the “President then directed the Department of
Justice . . . to dedicate all available resources to complete the review of the comments received
[in response to the ANPRM], and, as expeditiously as possible, to propose for notice and
comment a rule banning all” bump-stock devices. Federal Register / Vol. 83, No. 61 at 13446
(NPR Section III). Indeed, it is difficult to reconcile President Trump’s statement that “[he] will
never, ever infringe on the rights of the people to keep and bear arms,” Trump at NRA
convention, supra, with the NPR. As the NPR admits, it a direct result of his personal directive
to lawlessly seek an unlawful total, confiscatory ban on bump-stock devices (and criminalize the
law-abiding people who possess them) in spite of the Executive Branch’s lack of legal and
constitutional authority to do so.

                                                11

                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 000241
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 246 of 382




incident. Further, any suggestion that a device responsible for substantial, and lawful,

market activity should be banned because it has a potential to be used for criminal

purposes is a mind-blowing and preposterous proposition that supports the banning of

virtually all consumer products, such as vehicles (given the number of individuals who

utilize them while unlawfully under the influence of drugs or alcohol and cause

significant numbers of injuries and deaths 15, and those who use them to carry out

terrorist attacks). 16

        If the sole example ATF has to offer is the conjectured use of a bump-stock-equipped

firearm during the Law Vegas shooting, there is simply no evidence of any problem that existing

criminal law does not address, let alone a statistically-significant one. Murder is already

unlawful, right? And if serious criminal laws have no meaningful deterrent effect, what then is

the objective of this NPR, if not to subject law-abiding people who did not commit any crime to

pain of criminal penalty and loss of their property?



            C.       ATF Failed to Permit a Ninety-Day Comment Period and Procedural
                     Irregularities Have Denied Interested Persons a Meaningful Opportunity to
                     Comment on the Proposed Rulemaking


        18 U.S.C. § 926(b) requires that ATF provide “not less than ninety days public notice,




15
   “Every day, 29 people in the United States die in motor vehicle crashes that involve an
alcohol-impaired driver. This is one death every 50 minutes. The annual cost of alcohol-related
crashes totals more than $44 billion.” See, e.g., “Impaired Driving: Get the Facts” (citing
sources, internal footnotes omitted), Centers for Disease Control and Prevention, online at
https://www.cdc.gov/motorvehiclesafety/impaired_driving/impaired-drv_factsheet.html.
16
   See, https://www.usatoday.com/story/news/2016/07/14/dozens-dead-nice-france-after-truck-
plows-into-crowd-mayor-says/87101850. See also, http://abcnews.go.com/International/truck-
hits-pedestrians-busy-barcelona-street/story?id=49272618.

                                                 12

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000242
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 247 of 382




and shall afford interested parties opportunity for hearing, before prescribing such rules and

regulations.”

       First and foremost, FPC demands, pursuant to Section 926(b) and ATF’s offer in the

NPR (83 Fed. Reg. 13456), 17 that they be provided an opportunity to be heard at a hearing

before ATF prescribes any rule or regulation in relation to this NPR. 18

       In this rulemaking proceeding, numerous procedural irregularities and issues have arisen

that have precluded the public a meaningful opportunity to respond and have caused some to

believe that the comment period was closed, since the very start of the comment period; thus,

depriving the public of the ninety day comment period that is required by law.

       Immediately, upon the publication of the NPR on March 29, 2018, numerous individuals

were advised on FederalRegister.gov 19 “COMMENT PERIOD CLOSED – The comment period

on this document is closed and comments are no longer being accepted on Regulations.gov. We

apologize for any inconvenience.”




17
   Contrary to ATF’s assertion in the NPR that the Director of ATF has discretion in whether to
grant a public hearing, Section 926(b) requires ATF to hold a public hearing when such is
requested, as the statutory language provides that the Attorney General “shall afford interested
parties opportunity for hearing, before prescribing such rules and regulations.” (Emphasis
added). If it were discretionary, the Congress would have utilized a permissive word like “may”
instead of the command “shall”.
18
   Although requesting a hearing in a comment is sufficient, based on the request in the NPR, a
separate letter was sent to Acting Director Brandon on behalf of FPC requesting an opportunity
to be heard at a hearing. See Exhibit 34.
19
   The specific link is https://www.federalregister.gov/documents/2018/03/29/2018-06292/bump-
stock-type-devices

                                                13

                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 000243
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 248 of 382




As is reflected in the above image, taken from the subject Web site, the notice that the comment

period was closed was in relation to this proposed rulemaking regarding Bump-Stock-Type

devices of “03/29/2018” and also reflects that the comment period was not supposed to end until

“06/27/2018”; however, individuals were denied the opportunity to comment.

       Even when individuals reached out online to the Federal Register regarding their inability

to submit comments, the Federal Register responded by saying that it isn’t its problem 20:




20
   It would seem that, at a minimum, the Federal Register’s Web site and social media accounts
are managed by the same parties responsible for the www.healthcare.gov debacle that precluded
individuals from being able to register for Obamacare, which led the Inspector General of the
Department of Health and Human Services to issue a scathing report over the incompetence of
those responsible. See http://www.mcall.com/news/local/watchdog/mc-obamacare-website-
failure-watchdog-20160224-column.html.

                                               14

                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000244
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 249 of 382




       But the procedural irregularities and issues didn’t end there. On April 2, 2018, Carl

Bussjaeger published an article, which was later updated, [Update] Bumbling Machinations on

Bump Stocks? See, Exhibit 5. 21 In his article, he details the trials and tribulations of trying to

find the appropriate docket, based on the NPR in this matter, and the differing number of

comments putatively submitted and available for review between three separate dockets. When

he submitted an inquiry to ATF regarding these issues, without explaining why there are three

separate related dockets, ATF Senior Industry Operations Investigator Katrina Moore responded

that he should use https://www.regulations.gov/document?D=ATF-2018-0002-0001; yet, ATF




21
  A copy of the article is also available online at – http://zelmanpartisans.com/?p=5071. See
also, http://zelmanpartisans.com/?p=5055.

                                                  15

                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000245
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 250 of 382




failed to relay that information to the public at large or place notices on the other two related

dockets informing interested individuals of the location where they can submit their comments.

       When other federal administrative agencies have failed to provide a statutorily mandated

comment period or issues arose during the comment period, whereby the comment period was

thwarted by technological or other delays, those agencies have extended the applicable comment

periods. See, e.g., Department of the Interior -- Fish & Wildlife Service, Endangered and

Threatened Wildlife and Plants; Extending the Public Comment Periods and Rescheduling

Public Hearings Pertaining to the Gray Wolf (Canis lupus) and the Mexican Wolf (Canis lupus

baileyi), 78 Fed. Reg. 64192 (Oct. 28, 2013); Environmental Protection Agency, Extension of

Review Periods Under the Toxic Substances Control Act; Certain Chemicals and

Microorganisms; Premanufacture, Significant New Use, and Exemption Notices, Delay in

Processing Due to Lack of Authorized Funding, 78 Fed. Reg. 64210 (Oct. 28, 2013); Department

of the Interior -- Fish & Wildlife Service, New Deadlines for Public Comment on Draft

Environmental Documents, 78 Fed. Reg. 64970 (Oct. 30, 2013); Department of Labor --

Occupational Safety and Health Administration, Occupational Exposure to Crystalline Silica;

Extension of Comment Period; Extension of Period to Submit Notices of Intention to Appear at

Public Hearings; Scheduling of Public Hearings, 78 Fed. Reg. 35242 (Oct. 31, 2013);

Department of Agriculture -- Food and Nutrition Service, Supplemental Nutrition Assistance

Program: Trafficking Controls and Fraud Investigations; Extension of Comment Period, 78 Fed.

Reg. 65515 (Nov. 1, 2013); Federal Communications Commission, Revised Filing Deadlines

Following Resumption of Normal Commission Operations, 78 Fed. Reg. 65601 (Nov. 1, 2013);

Federal Trade Commission, Ganley Ford West, Inc.; Timonium Chrysler, Inc.; TRENDnet, Inc.;

Pinnacle Entertainment, Inc.; Honeywell International, Inc.; Nielsen Holdings, Inc., et al.;



                                                 16

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000246
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 251 of 382




Polypore International, Inc.; Mylan, Inc., et al.; Actavis, Inc., et al.; Agency Information

Collection Activities (Consumer Product Warranty Rule, Regulation O, Affiliate Marketing

Rule), 78 Fed. Reg. 65649 (Nov. 1, 2013); Federal Communications Commission, Revised Filing

Deadlines Following Resumption of Normal Commission Operations,78 Fed. Reg. 66002 (Nov.

4, 2013). In this rulemaking proceeding, by refusing to extend the comment period and failing to

notify interested parties of the correct docket for filing comments, ATF failed to mitigate the

harm caused by these procedural irregularities and issues that were resultant from ATF’s own

conduct and actions. Thus, ATF has failed to provide the statutorily-mandated public comment

period and caused public confusion as to whether or not the comment period was open or closed

and the appropriate docket for the filing of comments. More disconcerting is that this is not the

first time that ATF has acted in this manner during the rulemaking process. 22




           D.      ATF’s Prior Lack of Candor Demonstrates a Heightened Need for
                   Procedural Regularity


       The litany of procedural irregularities in this proceeding would undermine the efforts of

an agency with a sterling reputation for fairness and candor. ATF has a well-documented record

of “spinning” facts and engaging in outright deception of the courts, Congress, and the public.

Many of the examples of such conduct arise precisely in the area of regulation of NFA firearms


22
  See, Firearms Industry Consulting Group’s comment in response to ATF-41P, RIN: 1140-
AA43, available at https://www.regulations.gov/document?D=ATF-2013-0001-8364, wherein it
documents in Section I the numerous procedural irregularities and issues that denied interested
persons a meaningful opportunity to comment on the proposed rulemaking. For brevity, FPC
incorporates into this Comment all exhibits attached to the Comment of Firearms Industry
Consulting Group in the response to ATF-41P. All of Firearms Industry Consulting Group’s
exhibits in response to ATF-41P are available at
https://www.regulations.gov/document?D=ATF-2013-0001-8364.

                                                 17

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000247
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 252 of 382




as detailed in the Motion in Limine filed in United States v. Friesen, CR-08-041-L (W.D. Okla.

Mar. 19, 2009). See Exhibit 6. In light of that record, there is an even greater need for ATF to

provide the underlying documents that would permit scrutiny of whether it has fairly

characterized issues in the NPR, engaged in a fair consideration of alternatives, only

inadvertently provided misleading information about its proposed rule in relation to the Las

Vegas incident and operation of bump-stock-devices, omitted pertinent documents – especially

its own determinations that bumpstocks were not even firearms, let alone, machineguns – from

the docket only through an oversight, and only accidentally failed to provide a 90-day comment

period.


                 1.      ATF’s “Institutional Perjury” Before the Courts

          ATF’s NFA Branch Chief, Thomas Busey, advised ATF employees in the course of a

training program that the National Firearms Registration and Transfer Record (“NFRTR”)

database had an error rate “between 49 and 50 percent” in 1994. Exhibit 6, p. 14. Yet, despite

acknowledging such a high error rate, he observed that “when we testify in court, we testify that

the database is 100 percent accurate. That's what we testify to, and we will always testify to

that.” Id. Judges have overturned their own imposition of criminal convictions upon learning of

this information, see, e.g., id., pp. 16-17, information that should have routinely been provided to

defense counsel in advance of trial as Brady material. 23 See also id., p. 6. It is difficult to

imagine a more powerful admission that an agency had knowingly, repeatedly misled courts.

          This blatant “institutional perjury” took place not only in the context of criminal

prosecutions but also in support of numerous probable cause showings for search warrants.

23
   In Brady v. Maryland, 373 U.S. 83 (1963), the Supreme Court required that government
investigators and prosecutors provide criminal defendants with potentially exculpatory
information.

                                                   18

                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000248
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 253 of 382




Indeed, NFA Branch Chief Busey expressly addressed that situation. Despite acknowledging an

NFRTR error rate of 49 to 50 percent, he told his ATF audience “we know you're basing your

warrants on it, you’re basing your entries on it, and you certainly don’t want a Form 4 waved in

your face when you go in there to show that the guy does have a legally-registered [NFA

firearm]. I’ve heard that happen.” Id., p. 15.

       Using data obtained from ATF in response to FOIA requests, Eric M. Larson

demonstrated that ATF apparently had added registrations to the NFRTR years after the fact,

reflecting the correction of errors apparently never counted as errors. Id., pp. 21-28. While

reassuring courts as to the accuracy of the NFRTR, at the same time ATF seemed to be adding

missing information to the database when confronted with approved forms that had not been

recorded in the database. Id., pp. 26-28. As a result of the questions raised by Mr. Larson, both

ATF and the Treasury Department Inspector General conducted investigations. Id., pp. 29-31.

       In the course of the resulting investigations, ATF’s Gary Schaible recanted sworn

testimony he had given years earlier in a criminal prosecution. Id., pp. 30-33. The Inspector

General’s October 1998 report rejected Mr. Schaible's effort to explain away his prior sworn

testimony, concluding: “National Firearms Act (NFA) documents had been destroyed about 10

years ago by contract employees. We could not obtain an accurate estimate as to the types and

number of records destroyed.” Id., pp. 32-33. It is difficult to understand how ATF could

routinely provide Certificates of Nonexistence of a Record (“CNRs”) to courts without

disclosing that an unknown number of records were destroyed rather than processed for the

NFRTR. 24



24
   In Friesen itself, the prosecution introduced duplicate ATF records of the approved transfer of
a NFA firearm (bearing the identical serial number), but differing in the date of approval.
                                                                                   (footnote continued)

                                                 19

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000249
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 254 of 382




               2.      ATF’s Deception in Congressional Oversight

       In response to a Congressional inquiry, a DOJ Inspector General advised that a request

for documents that reflected errors in the NFRTR had been “fully processed” when, in fact, the

documents had merely been sent to another component – ATF itself – so as to delay disclosure.

See Exhibit 6, pp. 12-14. Moreover, ATF changed the meaning of terms like “significant” errors

thereby frustrating any attempt to ascertain the true error rate. See id., p. 19. So too, when a

congressionally-mandated audit found a “critical error” rate in the NFRTR of 18.4%, the

Treasury Department Inspector General seemingly manipulated audit procedures at the

instigation of the NFA Branch so as to produce a more acceptable figure. Id., pp. 35-39.

       Congress remained sufficiently concerned about inaccuracies in the NFRTR to

appropriate $1 million (in Fiscal Years 2002 and 2003) for ATF to address remaining issues. Id.,

p. 39. In 2007, however, Dr. Fritz Scheuren advised Congress that “serious material errors”

continued to plague the NFRTR that ATF “has yet to acknowledge”. Id., p. 41.

       As recently as June 2012, failure to answer questions about ATF's botched “Fast and

Furious” gun-walking operation prompted the House of Representatives to find Attorney General

Holder in both civil and criminal contempt. See Exhibit 7.




               3.      ATF’s Misleading of the Public

       When, after a prolonged period of evasion, ATF finally produced a transcript of NFA

Branch Chief Busey’s remarks in the training session in response to FOIA requests, the transcript

had been “corrected” by ATF’s Gary Schaible to minimize damage to ATF. See Exhibit 6, p. 17.

                                                                                    (footnote continued)
Exhibit 6, pp. 48-49. ATF could not explain the situation. Id., p. 49. Nor could ATF find the
original documents underlying the computerized entries. Id., p. 52.

                                                 20

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000250
         Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 255 of 382




Among those corrections, Mr. Schaible asserted that he was unaware that any ATF employee had

ever testified that the NFRTR was 100% accurate.

          In order to frustrate public inquiries into the Waco Raid, ATF participated in a game of

“shifting the paperwork and related responsibilities” among DOJ components and other law

enforcement agencies. Id., pp. 13-14.

          Former Acting Chief of the NFA Branch, Mr. Schaible, testified that ATF repeatedly – in

2000, 2001, 2002, 2003, 2005, 2008 – approved NFA transfer forms without following

procedures to update the information in the NFRTR. See Exhibit 8, pp. 398-414. The

consequence of those failures was that members of the public received contraband machineguns

accompanied by genuine ATF-approved forms indicating that the purchaser had acquired a

legally-registered firearm, only to have ATF subsequently seize the machineguns from innocent

purchasers.

                                           *      *       *

          ATF’s long record of shading the truth to mislead courts, Congress, and the public,

underscores the serious nature of the procedural irregularities in this rulemaking. In order to

permit meaningful public participation, ATF must provide access to the materials it has placed in

issue.




   II.       ATF’S PROPOSED RULE RAISES IMPORTANT CONSTITUTIONAL
             ISSUES

          Because judicial review of any final rule promulgated by ATF may consider not only

compliance with the APA but also all alleged violations of the U.S. Constitution, see, e.g., Porter

v. Califano, 592 F.2d 770, 780 (5th Cir. 1979), it is incumbent upon ATF to take such


                                                  21

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000251
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 256 of 382




considerations into account in this rulemaking proceeding. 25 Where, as here, agency rulemaking

would inherently impact constitutional rights, that impact is among the matters the APA requires

the agency to consider in evaluating regulatory alternatives and to address in a reasoned

explanation for its decision. See R.J. Reynolds Tobacco Co. v. FDA, 696 F.2d 1205 (D.C. Cir.

2012); Pearson v. Shalala, 164 F.3d 650 (D.C. Cir. 1999).




           A.      The Second Amendment

       Nowhere in the NPR did ATF demonstrate the slightest awareness that it is proposing to

regulate in an area involving fundamental constitutional rights. Congress has not amended the

NFA since the U.S. Supreme Court confirmed that “the Second Amendment conferred an

individual right to keep and bear arms.” District of Columbia v. Heller, 554 U.S. 570, 595

(2008). Consequently, it would seem exceptionally important for ATF to consider the

background constitutional issues in formulating policy, particularly as ATF’s proposed rule

would outright ban bump-stock devices, thereby burdening the exercise of this constitutional

right held by law-abiding citizens. Where fundamental, individual constitutional rights are at

issue, an agency engaged in rulemaking cannot rely on a conclusory assertion in order to

“supplant its burden to demonstrate that the harms it recites are real and that its restriction will in

fact alleviate them to a material degree.” Ibanez v. Florida Dep't of Business & Professional

Regulation, 512 U.S. 136, 146 (1994). Yet, in direct defiance of this Supreme Court dictate, as

discussed supra and infra in Sections I., B. and IV., D., ATF has failed to provide any evidence



25
   Agency determinations with respect to constitutional issues, however, are not entitled to any
deference on judicial review. See J.J. Cassone Bakery, Inc. v. NLRB, 554 F.3d 1041, 1044 (D.C.
Cir. 2009) (quoting Lead Indus. Ass'n Inc. v. EPA, 647 F.2d 1130, 1173-74 (D.C. Cir. 1980)).

                                                  22

                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000252
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 257 of 382




that (1) bump-stock devices have actually ever been used in the facilitation of a crime, 26 (2) that

casualties could be reduced in an incident involving a bump stock, since there is no evidence

demonstrating that there have been any causalities attributable to bump-stock devices, (3) that

this rule will assist first responders, and (4) that “they could be used for criminal purposes” any

differently than any other item that is currently available throughout the United States. Rather,

ATF relies solely on the conclusory assertions of public comments to an Advanced Notice of

Proposed Rulemaking to determine the benefits of the very rulemaking it is considering. In

soliciting potential benefits from the public and suggesting them without evidence, ATF has run

afoul of the words of wisdom contained in another decision issued by the Supreme Court stating

that “[w]e are in danger of forgetting that a strong public desire to improve the public condition

is not enough to warrant achieving the desire by a shorter cut than the constitutional way of

paying for the change.” Pennsylvania Coal Co. v. Mahon, 260 U.S. 393, 416 (1922).

While ATF claims that this rule is necessary to carry out the will of Congress, as discussed infra

in Section III., ATF lacks the authority to alter the definition of a machinegun as it was enacted

by the Congress. Even Senator (and ranking member of the Senate Judiciary Committee) Diane

Feinstein, the lead sponsor of the now-expired federal ban on so-called “assault weapons” and

author or sponsor of voluminous other proposed gun control legislation, declared that “ATF

lacks authority under the law to ban bump-fire stocks. Period.” See, Exhibit 9.




26
     See Fns. 4, 6, supra.

                                                 23

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000253
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 258 of 382




Even a broken clock is right twice a day, and, similarly, Senator Feinstein is correct in her

assessment of the ATF’s lack of authority for its bump-stock NPR.

        Furthermore, as discussed supra in Section I., A., ATF only states that it received

correspondence from an undisclosed number of members and failed to place that/those

correspondence(s) into the docket. The will of Congress cannot simply be derived from the

writings of a small number of Senators or Representatives – especially writings outside of the

legislative record – nor has it been in the past. 27

        While it is impossible to know for certain, given the NPR’s dearth of analysis and

discussion of the Second Amendment, it may well be that the ATF, without stating so, believes

that the NPR does not violate the fundamental, individual right to keep and bear arms by

considering bump-stock devices to be both “dangerous and unusual weapons” and “not

commonly possessed by law-abiding citizens for lawful purposes today.” Caetano v.

Massachusetts, 136 S. Ct. 1027, 1031-1032 (2016). But as the Court recently reminded in

27
   See Exhibit 10, pp. 4 – 5, also available at
https://perlmutter.house.gov/uploadedfiles/atf_response_04.16.13.pdf


                                                   24

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000254
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 259 of 382




Caetano, the controlling rule set forth in Heller “is a conjunctive test: A weapon may not be

banned unless it is both dangerous and unusual.” Id., at 1031 (emphasis in original). However,

ATF does not discuss these factors, and instead walks right past the necessary analysis (and the

Court’s clear direction). The NPR fails to show that a bump-stock device is both “dangerous and

unusual,” or even that it would materially affect the dangerousness of any firearm so equipped,

which are already dangerous per se. The ATF’s proposed total ban self-evidently lacks necessary

tailoring – indeed, its lack of tailoring underscores its overwhelming breadth – and amounts to

the total destruction of the right of law-abiding people to keep and bear the affected items for

self-defense and other lawful purposes.




       B.      The Fifth Amendment


       ATF’s proposed rule violates the Due Process and Takings clauses of the Fifth

Amendment to the U.S. Constitution by failing to provide notice to affected parties of a

compelled forfeiture or destruction, entrapping otherwise law-abiding citizens, and failing to

provide just compensation for the property in question.


               1.        The Proposed Rulemaking Violates Due Process


                    i.      ATF has Failed to Provide Notice and Opportunity to Response to All
                            Interested Parties

       Although, as discussed supra in Section I., A., ATF has failed to place into the docket

any of its prior ten determinations between 2008 and 2017 that bump-stock-devices do not even




                                                25

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000255
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 260 of 382




constitute firearms, let alone, machineguns (83 Fed. Reg. at 13445), 28 it is admitted by ATF that

it publicly approved of the bump-stock-type devices, which, per ATF (83 Fed. Reg. at 13451), is

believed to have resulted in over half a million bump-stock-devices being produced and sold.

Furthermore, to the extent the NPR applies to slamfire shotguns and firearms, Gatling guns, and

triggers, there are tens of millions of such firearms and devices in private ownership. Yet, ATF

has failed to provide individual notice to all those known to own or possess a bump-stock-device,

let alone those owning or possessing slamfire shotguns and firearms, as well as, Gatling guns,

and triggers; thereby, potentially depriving those individuals of an opportunity to respond, in

direct violation of due process. As there can be no dispute, as discussed infra Section II., B., 1.,

i., that those owning and possessing bump-stock-devices and other firearms and devices covered

by the NPR, have a vested property interest in their firearms and devices, ATF was required, at a

minimum, to take all possible steps to identify those known to own or possess these firearms and

devices and provide them, each, with notice of this rulemaking proceeding, since it directly

affects their property interests.



                    ii.     The Rulemaking Proposal Constitutes Entrapment Given ATF’s Prior
                            Approvals and Public’s Reliance Thereon

        Although ATF publicly approved bump-stock-devices on at least ten occasions between

2008 and 2017 (83 Fed. Reg. at 13445; see also Exhibit 10) and issued ATF Ruling 2004-5 29

and Revenue Ruling 55-528, 1955-2 C.B. 482, in relation to Gatling guns, it now seeks to

severely criminalize the possession of those very same bump-stock-devices – and potentially

28
   FPC believes that they have found three of the ten determinations that were issued between
2008 and 2017, which are attached as Exhibit 10. See also, https://www.cbsnews.com/news/can-
the-atf-regulate-bump-stocks-the-device-used-by-the-las-vegas-shooter/;
https://perlmutter.house.gov/uploadedfiles/atf_response_04.16.13.pdf.
29
   Available at https://www.atf.gov/file/83561/download

                                                 26

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000256
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 261 of 382




“slamfire” shotguns and firearms, Gatling guns, and triggers – at the expense of law-abiding

individuals who have relied on those determinations, followed appropriate procedures and

complied with the law. This sudden change in position after eight years of reliance by the public

on determinations to the contrary, clearly constitutes entrapment since the agency invited

reliance on its consistent decisions and now seeks to unfairly impose criminal penalties for the

public’s reliance, with potential punishment of 10 years imprisonment, pursuant to 18 U.S.C. §

924(a)(2). As declared by the U.S. Supreme Court, “[e]ntrapment occurs only when criminal

conduct was the ‘product of the creative activity of law-enforcement officials.’…. a line must be

drawn between the trap for the unwary innocent and the trap for the unwary criminal.” Sherman

v. United States, 356 U.S. 369, 372 (1958) (internal citation omitted). The Court continued that it

is unconstitutional for the Government to beguile an individual “into committing crimes which

he otherwise would not have attempted.” Id. at 376. In this matter, by changing the definition of

a machinegun, ATF seeks to entrap citizens who have simply purchased a federally-approved

firearm accessory. Thus, ATF has set a trap with, by their own estimate, the potential to ensnare

520,000 law-abiding citizens; 30 whereby, those law-abiding citizens can be imprisoned for up to

10 years, without even receiving individual notice of ATF’s reversal of position. 83 Fed. Reg.

13451.


                2.        The Proposal Constitutes a Taking Without Just Compensation


                     i.      The Fifth Amendment Precludes a Regulatory Taking


         ATF’s proposed rule will force law-abiding citizens to forfeit or destroy their lawfully

30
   The actual number may be significantly larger – possibly triple or quadruple the stated number
– depending on all the firearms and devices to which the NPR applies, as discussed supra and
infra.

                                                 27

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000257
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 262 of 382




purchased, owned, and possessed property, in violation of the Fifth Amendment. The Takings

Clause of the Fifth Amendment to the U.S. Constitution provides that when private property, real

or personal, is taken or destroyed by the government, the government must pay just

compensation to the person(s) whom the property was taken from. Horne v. Dep’t of Agric., 135

S. Ct. 2419, 2425-28 (2015) (applying Takings Clause to personal property); Pumpelly v. Green

Bay & Mississippi Canal Co., 80 U.S. 166, 177 (1871) (applying Takings Clause to destroyed

property not used for public purpose). The general rule states that a regulatory action constitutes

a taking under the Fifth Amendment when the action goes too far in regulating private property.

Mahon, 260 U.S. at 415. Moreover, the Supreme Court has declared that “[a] ‘taking’ may be

more readily found when the interference with property can be characterized as a physical

invasion by government, than when interference arises from some public program adjusting the

benefits and burdens of economic life.” Penn Cent. Transp. Co. v. City of New York, 438 U.S.

104, 124 (1978). As this regulation is clearly not meant to adjust the benefits or burdens of

economic life, the compelled forfeiture or destruction of bump-stock-devices and other firearms

and devices covered by the NPR constitutes a physical invasion and taking by government; and

therefore, ATF must address and provide for the payment of just compensation to each

individual who would be deprived of their property under the NPR.

       As reflected in the Verified Declaration of Damien Guedes, he purchased a Bump Fire

Systems’ bump-stock-device, only after ensuring the legality of the device and relying on ATF’s

determination to Bump Fire System that the device was lawful and did not constitute a

machinegun. See Exhibit 15. Matthew Thompson, likewise, issued a Verified Declaration stating

that he purchased a Slide Fire bump-stock-device, only after ensuring the legality of the device

and relying on ATF’s determination to Slide Fire that the device was lawful and neither



                                                28

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000258
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 263 of 382




constituted a firearm nor a machinegun. See Exhibit 16. Thus, both Mr. Guedes and Mr.

Thompson, in reliance on ATF’s prior determinations, purchased bump-stock-devices, which

ATF now seeks to reclassify 31 as a machinegun – in violation of the ex post facto clause of the

U.S. Constitution, discussed infra – and seeks to force their surrender or destruction of the bump-

stock-devices, in the absence of just compensation, 32 all in violation of the takings clause of the

U.S. Constitution.

       Since ATF failed to address the takings aspects of this proposed rule, including, as

discussed supra and infra, its potential application to shotguns and firearms that are capable of

“slamfiring”, as well as, Gatling guns, and triggers, interested parties have been denied

meaningful review of ATF’s position in this regard; however, to the extent ATF contends that an

individual would lack a possessory interest in a bump-stock-device and other firearms and

devices covered by the NPR as a result of the proposed rule being enacted, the U.S. Supreme

Court has already held that while an individual may lose his/her possessory interest in a firearm

or other tangible or intangible object, the individual does not lose his/her property or ownership

interest in the object. Henderson v. United States, 135 S.Ct. 1780, 1785 (2015) (holding that

even where an individual is prohibited from purchasing and possessing firearms, he/she still

retains a property interest in firearms previously acquired.). Furthermore, as the proposed rule

constitutes a per se taking, the Government must provide just compensation. Nixon v. United

States, 978 F.2d 1269, 1284 (D.C. Cir. 1992). Thus, even if ATF enacted the proposed rule, it

would still be responsible for paying just compensation to each person deprived of his/her

property.


31
  See 83 Fed. Reg. 13348, where ATF acknowledges that the proposal is a reclassification.
32
  As reflected in the declarations, Mr. Guedes paid a total of $105.99 for his bump-stock-device
and Mr. Thompson paid a total of $134.00 for his bump-stock-device.

                                                 29

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000259
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 264 of 382




                   ii.    Cost-Impact Statement Fails to Address Just Compensation for the
                          Taking

       Once again, ATF has denied interested individuals meaningful review and opportunity to

comment by failing to address the economic impact when factoring in the just compensation that

it is constitutionally-obligated to pay law-abiding citizens, who own bump-stock-devices and

other firearms and devices covered by the NPR, if it proceeds with the proposed rule. While ATF

provides detailed tables concerning the anticipated economic loss to producers, retailers, and

consumers, the proposed rule fails to provide information on how the Government will fulfill its

obligation to compensate affected individuals for the taking. As reflected in the proposal, ATF

assumes “an average sale price for bump-stock-devices from 2012-2017 [of[ $200.00,” while

acknowledging that the prices ranged from $179.95 to $425.95. 83 Fed. Reg. 13451. The

proposal then declares the primary estimated cost to be $96,242,750.00 based on ATF’s primary

estimate of 520,000 bump-stock-devices having been produced. Id. However, multiplying ATF’s

stated average price of $200.00 by the primary estimate yields a value of $104,000,000.00, not

$96,242,750.00 as stated in Table 3. Moreover, by averaging the acknowledged prices for bump-

stock-devices, a proper average sale price should be $302.95, which would result in a primary

estimated cost of $157,534,000.00 in just compensation being due. Additionally, both estimated

costs may be grossly under-estimated given ATF’s proposed changes to 27 C.F.R. § 447.11 and

27 C.F.R. 478.11, since they would seemingly include any device – inclusive of rubber bands

and belt loops. More disconcerting, as mentioned on page 6 of the Savage Comment, 33 the

proposed rule would seemingly apply to hundreds of thousands, if not millions, of shotguns and


33
   See “Analysis and Commentary Regarding: Docket Number: ATF 2017R-22 & Bump-Stock-
Type-Devices”, ID: ATF-2018-0002-31210, Tracking Number: 1k2-93f3-s09b at 4 and 62 – 63,
available electronically at – https://www.regulations.gov/document?D=ATF-2018-0002-31210,
in “Email 013 (Historic Arms) rec 5-29-18 ” as pdf pages 1 – 2.

                                                30

                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 000260
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 265 of 382




other firearms, which are capable of “slamfiring” 34 which would constitute “firing without

additional physical manipulations of the trigger by the shooter.” It would also seemingly overrule

– without any notice and opportunity to comment – ATF Ruling 2004-5 35 and Revenue Ruling

55-528, 1955-2 C.B. 482, in relation to Gatling guns and result in reclassification of their status –

i.e. turning the millions of owners into felons overnight and without just compensation being

provided. Given that the price, per Gatling gun, can be as high as $124,000.00, if not more, the

reclassification of Gatling guns would result in a substantial upward calculation of the cost

estimate in this matter.




34
   See Colton Bailey, Slam Fire Shotgun? This One Shoots Multiple Rounds Without Releasing
The Trigger, Wide Open Spaces, (Feb. 13, 2017), available at
http://www.wideopenspaces.com/slam-fire-shotgun-shoots-multiple-rounds-without-releasing-
the-trigger.
35
   Available at https://www.atf.gov/file/83561/download.

                                                 31

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000261
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 266 of 382




Even more disconcerting, as discussed infra in Section V., given ATF’s argle-bargle and

interpretive jiggery-pokery, the NPR can be construed as applying also to triggers and fingers, 36

which again, would result in a skyrocketing upward calculation of the cost estimate in this

matter.

          Regardless of the estimate considered, ATF has failed to address any appropriations

available to it or, more generally, the Department of Justice to fund these takings and any such

fund, if limited solely to bump-stock-devices, must have a high estimate of $221,494,000.00

($425.95 x 520,000) available to ensure that all individuals are justly compensated. If, on the

other hand, the proposal will apply to shotguns and other firearms capable of “slamfiring”, as

well as Gatling guns, triggers and fingers, 37 there must be an allocation of no less than

$50,000,000,000,000.00.

          Thus, before ATF can proceed in this matter, it must provide logistical information as a

part of its cost-impact statement detailing how it plans to pay compensation including, but not

limited to, the compensation rate, timeline for completing payment, source of the funding, and

sequestration of an appropriate amount in an account restricted to paying just compensation in

this matter. Thereafter, it must provide interested parties with a meaningful opportunity to

respond, which, per 18 U.S.C. § 926(b), cannot be shorter than ninety days.




36
   The average value under state and federal workers compensation acts across the U.S. for the
loss of an index finger is $24,474.00, with the federal value being $86,788.00. Accordingly, as a
federal rate is set, at a minimum, ATF would be required to utilize this value. See Exhibit 31,
also available at - https://projects.propublica.org/graphics/workers-compensation-benefits-by-
limb.
37
   With there being between 270,000,000 and 310,000,000 gun owners in the U.S. (see
http://www.pewresearch.org/fact-tank/2013/06/04/a-minority-of-americans-own-guns-but-just-
how-many-is-unclear), the takings alone in relation to fingers, utilizing the low 270 million gun
owner estimate, would be $23,432,760,000,000.00 or 270,000,000 x $86,788.00.

                                                  32

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000262
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 267 of 382




       C.      The Ex Post Facto Clause

       Pursuant to Article 1, Section 9, Clause 3 of the U.S Constitution, “No Bill of Attainder

or ex post facto Law shall be passed.” The U.S. Supreme Court in Calder v. Bull, 3 U.S. 386

(1798) held that an ex post facto law includes, inter alia, “[e]very law that makes an action done

before the passing of the law, and which was innocent when done, criminal; and punishes such

action.” The Court later recognized that the provision reached far enough to prohibit any law

which, “in relation to the offence or its consequences, alters the situation of a party to his

disadvantage.” Collins v. Youngblood, 497 U.S. 37, 47 (1990).




               1.      ATF’s Proposal Acknowledges that Bump-stocks are not Covered by the
                       Definition of a Machinegun and Retroactively Criminalizes Lawful
                       Conduct

       On at least two occasions in the proposed rulemaking, ATF acknowledges that the current

definition of a machinegun does not cover bump-stock-type devices 38 that it now seeks to

regulate. 83 Fed. Reg. 13444, 13448. ATF then explicitly declares that if the final rule is

consistent with the proposal, there will be no mechanism for current holders of bump-stock-type

devices – or any other firearm or device covered by the NPR – to register them and will therefore

be compelled to dispose of them. 83 Fed. Reg. 13448. There is no dispute, and ATF readily

admits, that its proposed rule would change the definition of a machinegun; thereby, affecting

numerous sections of federal law and immediately turning, at a minimum, half a million law-

abiding citizens into criminals overnight. ATF’s proposal neither includes a grandfather

provision nor a safe harbor, even for a limited period of time. More disconcerting – as if such


38
  It likewise does not cover rubber bands, belt loops, slamfire shotguns and firearms, Gatling
guns, triggers, or fingers.

                                                  33

                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000263
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 268 of 382




were fathomable in anything but an Orwellian nightmare – is the fact that those possessing

bump-stock-devices will have no knowledge of whether any final rule will be implemented, the

text of that rule, and the date, as the final rule would become effective immediately upon the

signature of Attorney General Sessions, without prior publication to the public. But that’s no big

deal, right? It’s only 10 years in jail and $250,000.00, per violation. Thank God that Article 1,

Section 9, Clause 3 precludes such. 39

            Just as there can be no dispute that the current definition of machinegun does not cover

bump-stock-devices, rubber bands, belt loops, “slamfire” shotguns and firearms, Gatling guns,

triggers, and fingers, as evidenced by the proposed rule seeking to modify the regulatory

definition of machinegun, there can be no dispute that the proposed rule violates the ex post facto

Clause, even though it is a regulatory action because the “sanction or disability it imposes is ‘so

punitive in fact’ that the law ‘may not legitimately be viewed as civil in nature.” United States v.

O'Neal, 180 F.3d 115, 122 (4th Cir. 1999) (quoting U.S. v. Ursery, 518 U.S. 267, 288 (1996)).




     III.      ATF’S PROPOSAL EXCEEDS ITS STATUTORY AUTHORITY

            From the outset, it is clear that the NFA was designed to provide a basis for prosecution

of “gangsters” with untaxed, unregistered firearms and not as a regulation of law-abiding citizens

who complied with the law. ATF has turned the statutory scheme on its head, imposing ever

more draconian burdens on law-abiding citizens who seek to make and acquire NFA firearms


39
   FPC make this statement pursuant to their First Amendment rights under the U.S. Constitution
to the extent that ATF has not seemingly sought to abrogate that inalienable right in the NPR,
although ATF has declared its intent, in violation of the First Amendment, not to consider
comments containing what it deems to be “inappropriate language” for which FPC will
vigorously challenge in court.

                                                    34

                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000264
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 269 of 382




while diverting resources to do so from investigating and prosecuting criminals who use illegal

means to obtain NFA firearms.

       ATF describes the NFA in terms that go beyond the statutory text. According to ATF's

Website, the NFA’s “underlying purpose was to curtail, if not prohibit, transactions in NFA

firearms.” http://www.atf.gov/content/firearms/firearms-industry/national-firearms-act (emphasis

added). It describes the $200 tax imposed by the NFA as having been designed “to discourage or

eliminate transactions in these firearms.” Id. (emphasis added). But Congress has never

“prohibited” NFA firearms or “eliminated” the ability to transfer them provided the tax is paid

and registration procedures are followed.




       A.      Congress Prohibited “Undue or Unnecessary” Restrictions

       Congress has, in fact, legislated to limit the authority of ATF to impose more burdens on

law-abiding citizens. Congress was aware of ATF's over-zealous interpretation of the NFA when

it enacted the Firearms Owners' Protection Act ("FOPA"), Pub. L. 99-308, 110 Stat. 449 (1986).

It would be an understatement to say that Congress thought ATF had reached the maximum

boundary of its rulemaking and enforcement authority. Well aware of ATF’s history, as

discussed supra in Section I., D., made clear in FOPA that ATF’s regulation and enforcement

activities of legal owners of firearms – like those who seek to register firearms under the NFA –

had already gone too far. Congress found that not only were statutory changes needed to protect

lawful owners of firearms, but that “enforcement policies” needed to be changed as well. FOPA

§ 1(b). In doing so, Congress reaffirmed that “it is not the purpose of this title to place any undue

or unnecessary Federal restrictions or burdens on law-abiding citizens with respect to the

acquisition, possession, or use of firearms,” id. (emphasis added), signaling in the strongest


                                                 35

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000265
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 270 of 382




possible language that ATF should not impose yet additional burdens on law-abiding citizens,

especially in light of the existing criminal laws prohibiting, inter alia, murder, manslaughter,

aggravated assault, etc. Yet, that is precisely what ATF’s proposed rule would do.




       B.      Independent of FOPA, ATF Lacks Statutory Authority As the Congress Defined
               What Constitutes a Machinegun

       Even without consideration of FOPA, there are ample reasons to doubt that Congress

authorized ATF to formulate the proposed regulation, as Congress, itself, defined what

constitutes a machinegun when enacting the NFA in 1934 and the GCA in 1968 and numerous

members of Congress have stated that ATF lacks the authority to redefine what constitutes a

machinegun. As an administrative agency cannot override a congressional enactment, ATF lacks

authority and jurisdiction to amend or otherwise modify the definition of a machinegun as

enacted by the Congress.

       In the original NFA as enacted in 1934, and reaffirmed in enacting the GCA in 1968, the

Congress expressly defined what constitutes a machinegun. 18 U.S.C. § 921(a)(23) states “[t]he

term ‘machinegun’ has the meaning given such term in section 5845(b) of the National Firearms

Act (26 U.S.C. 5845(b)).” 26 U.S.C. § 5845(b) declares:

               The term “machinegun” means any weapon which shoots, is designed to shoot, or
               can be readily restored to shoot, automatically more than one shot, without
               manual reloading, by a single function of the trigger. The term shall also include
               the frame or receiver of any such weapon, any part designed and intended solely
               and exclusively, or combination of parts designed and intended, for use in
               converting a weapon into a machinegun, and any combination of parts from
               which a machinegun can be assembled if such parts are in the possession or under
               the control of a person.

(Emphasis added).




                                                 36

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000266
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 271 of 382




       ATF proposes to expand the definition of what a “machinegun” means by adding the

following two sentences to the end of the current definition found in 27 C.F.R. §§ 478.11 and

479.11. 40

               For purposes of this definition, the term “automatically” as it modifies “shoots, is
               designed to shoot, or can be readily restored to shoot,” means functioning as the
               result of a self-acting or self-regulating mechanism that allows the firing of
               multiple rounds through a single function of the trigger; and “single function of
               the trigger” means a single pull of the trigger. The term “machine gun” includes
               bump-stock-type devices, i.e., devices that allow a semiautomatic firearm to shoot
               more than one shot with a single pull of the trigger by harnessing the recoil
               energy of the semiautomatic firearm to which it is affixed so that the trigger resets
               and continues firing without additional physical manipulation of the trigger by the
               shooter.

83 Fed. Reg. 13457.

       And, lest there be no dispute, even Senator Diane Feinstein declared that “ATF lacks

authority under the law to ban bump-fire stocks. Period.” See Exhibit 9. And ATF previously

admitted to Congress that it “does not have authority to restrict [bump-stock devices’] lawful

possession, use or transfer.” See Exhibit 10, p. 5. More importantly, as confirmed by J. Thomas

Manger, President of the Major Cities Chiefs Association and Chief of Police of Montgomery

County, in his testimony before the Senate Judiciary Committee, ATF Acting Director Thomas

Brandon admitted that “ATF does not now have the authority under Federal law to bar [bump-

stock-devices] and new legislation is required to do so.” See Exhibit 30, p. 3 (emphasis added).

       And the courts have agreed that such an alteration is beyond the power of ATF. “As a

rule, [a] definition which declares what a term ‘means’ ... excludes any meaning that is not

stated.” Colautti v. Franklin, 439 U.S. 379, 392–393, n. 10, 99 S.Ct. 675, 58 L.Ed.2d 596 (1979).

Congress clearly defined the meaning of the term “machinegun” as evidenced by its use of the


40
  The definition of “machinegun” contained in 27 C.F.R. §§ 478.11 and 479.11 mirrors the
definition Congress gave the term in 26 U.S.C. § 5845(b).

                                                37

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000267
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 272 of 382




phrase “[t]he term ‘machinegun’ means.” 41 Even if ATF could define the terms “automatically”

and “single function of the trigger”, which is disputed, ATF lacks the authority to unilaterally

declare an item to be a machine gun when it falls outside the statutory parameters, particularly by

incorporating it into the definition itself. 42

        “If the intent of Congress is clear, that is the end of the matter; for the court, as well as

the agency, must give effect to the unambiguously expressed intent of Congress.” Chevron,

U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 842-843 (1984).

“Congress knows to speak in plain terms when it wishes to circumscribe, and in capacious terms

when it wishes to enlarge, agency discretion.” City of Arlington, Tex. V. F.C.C., 569 U.S. 290,

296 (2013).

        Here, there can be no question that the intent of Congress was clear. Congress sought to

regulate firearms that: 1) shoot, 2) were designed to shoot, or 3) can be readily restored to shoot,

4) automatically more than one shot, without manual reloading, 5) by a single function of the

trigger. This can be gleaned from an analysis of the debate surrounding the passage of the

legislation. “Mr. Frederick.[] The distinguishing feature of a machine gun is that by a single pull

of the trigger the gun continues to fire as long as there is any ammunition in the belt or in the

magazine. Other guns require a separate pull of the trigger for every shot fired, and such guns

are not properly designated as machineguns. A gun…which is capable of firing more than one

shot by single pull of the trigger, a single function of the trigger, is properly regarded, in my


41
   Even Dictionary.com defines the term “Machine Gun” to mean “a small arm operated by a
mechanism, able to deliver rapid and continuous fire as long as the trigger is pressed.” Available
at: http://www.dictionary.com/browse/machine-gun. ATF taking such a nuanced approach to
parsing specific terms to shoehorn a particular group of accessories into the definition flies in the
face of the statutory text’s plain meaning.
42
   See 18 U.S.C. 926(a) “The Attorney General may prescribe only such rules and regulations as
are necessary to carry out provisions of this chapter…” (Emphasis added).

                                                   38

                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000268
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 273 of 382




opinion, as a machine gun.” Exhibit 29, National Firearms Act: Hearings Before the Committee

on Ways and Means, H.R. Rep. No. 9066, 73rd Cong. 2nd Sess. at 40 (1934) (emphasis added).

       For the purposes of this analysis, a machinegun can be distilled down to: a firearm which

shoots automatically more than one shot, without manual reloading, by a single function of the

trigger. Congress also sought to regulate the frames or receivers of such weapons, along with any

parts that could be used to make or convert a firearm into a machinegun. Such an interpretation is

in line with prior court and agency decisions. See Staples v. United States, 511 U.S. 600 (1994)

(“The National Firearms Act criminalizes possession of an unregistered ‘firearm,’ 26 U.S.C. §

5861(d), including a ‘machinegun,’ § 5845(a)(6), which is defined as a weapon that

automatically fires more than one shot with a single pull of the trigger, § 5845(b).”); see also Id.

at n1 (“As used here, the terms ‘automatic’ and ‘fully automatic’ refer to a weapon that fires

repeatedly with a single pull of the trigger. That is, once its trigger is depressed, the weapon will

automatically continue to fire until its trigger is released or the ammunition is exhausted. Such

weapons are ‘machineguns’ within the meaning of the Act.”). 43

       Moreover, the Government has previously argued to a Federal Court that a bump-stock-

device was not a machinegun. “While the shooter receives an assist from the natural recoil of the

weapon to accelerate subsequent discharge, the rapid fire sequence in bump firing is contingent




43
  See also ATF Rul. 2004-5 quoting George C. Nonte, Jr., Firearms Encyclopedia 13 (Harper &
Rowe 1973) (the term “automatic” is defined to include “any firearm in which a single pull and
continuous pressure upon the trigger (or other firing device) will produce rapid discharge of
successive shots so long as ammunition remains in the magazine or feed device – in other words,
a machine gun”); Webster’s II New Riverside-University Dictionary (1988) (defining
automatically as "acting or operating in a manner essentially independent of external influence or
control"); John Quick, Ph.D., Dictionary of Weapons and Military Terms 40 (McGraw-Hill
1973) (defining automatic fire as "continuous fire from an automatic gun, lasting until pressure
on the trigger is released").

                                                 39

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000269
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 274 of 382




on shooter input in pushing the weapon forward, rather than mechanical input, and is thus not an

automatic function of the weapon.” See Exhibit 25, page 22.

       The statutory language is explicitly clear as to what constitutes a machinegun and is

inclusive of parts that can be used to assemble a functioning firearm. ATF acknowledges that

bump-stock-devices are not currently able to be regulated as machineguns because it seeks to

amend the definition to specifically include them and other firearms and devices covered by the

NPR, discussed supra and infra. Notably absent from the statutory text is language, specifically

or implicitly, naming parts that can be used in conjunction with a firearm, which is not a

machinegun, to simulate automatic fire.




       C.      ATF is Statutorily Prohibited From Retroactively Applying the NPR


       ATF has acknowledged that it is precluded from taking any action with regard to the

reclassification of bump-stock-devices manufactured prior to at least March 29, 2018. As noted

in ATF Rul. 82-8, the reclassification of SM10 and SM11A1 pistols and SAC carbines as

machineguns, under the National Firearms Act, was not applicable to those firearms

manufactured before or assembled before June 21, 1982 pursuant to 26 U.S.C. § 7805(b). 26

U.S.C. § 7805(b) states:

               Retroactivity of regulations.--
               (1) In general.--Except as otherwise provided in this subsection, no temporary,
               proposed, or final regulation relating to the internal revenue laws shall apply to
               any taxable period ending before the earliest of the following dates:
               (A) The date on which such regulation is filed with the Federal Register.
               (B) In the case of any final regulation, the date on which any proposed or
               temporary regulation to which such final regulation relates was filed with the
               Federal Register.
               (C) The date on which any notice substantially describing the expected contents
               of any temporary, proposed, or final regulation is issued to the public.


                                                40

                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                      Ex. 1 Page 000270
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 275 of 382




            More recently, in enacting ATF-41F (81 Fed. Reg. 2658 through 2723), ATF seemingly

invoked Section 7805(b) in declining to retroactively apply the final rule and instead permitting a

six month delay in implementation of the final rule and acknowledging that all applications

submitted prior to the effective date would be adjudged by the law as it existed prior to the final

rule, regardless of whether the application was approved before the effective date of the final

rule.

            Thus, any final regulation that is promulgated has no effect on bump-stock-devices and

other firearms and devices covered by the NPR, which were manufactured, at a minimum, prior

to the date of publication of this NPR in the Federal Register.




      IV.      ATF’S PROPOSAL IS ARBITRARY AND CAPRICIOUS


            Contrary to the contention in the proposed rulemaking, bump-firing is neither the result

of any particular firearm accessory, device or part nor the modification thereof. Rather, it is a

technique that can be utilized with the intrinsic capabilities of most factory semi-automatic

firearms, including the rifles, such as the AR-15, and pistols, such as the 1911. As reflected infra

and admitted by ATF (83 Fed. Reg. 13454), bump-firing can be done with a belt loop, a rubber

band, or just one’s finger. More importantly, no device – whether bump stock, belt loop, rubber

band or finger – changes the intrinsic capability of the firearm to be bump-fired. This is made

explicitly evident by Jerry Miculek, who can not only shoot faster than an individual employing

bump-fire but can shoot far more accurately. 44



44
     See Exhibits 3 and 4.

                                                    41

                                                                               Guedes v. ATF / Codrea v. ATF
                                                                                          Ex. 1 Page 000271
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 276 of 382




       Thus, the proposed rule in this matter is so completely arbitrary and capricious that it will

not withstand scrutiny. See, Motor Vehicle Manufacturers Association v. State Farm Auto

Mutual Insurance Co., 463 U.S. 29, 42-44 (1983).




       A.      ATF’s Interpretative Jiggery-Pokery is Pure Applesauce

       As reflected in the expert report of former ATF Acting Chief of the Firearms Technology

Branch Rick Vasquez, bump-stock-devices do not constitute a machinegun, as they are not

designed to shoot more than one shot by a single function of the trigger. See Exhibit 32.

Specifically, he declares that a “Slide Fire [stock] does not fire automatically with a single

pull/function of the trigger” and as a result, “ATF could not classify the slide fire as a

machinegun or a machinegun conversion device, as it did not fit the definition of a machinegun

as stated in the GCA and NFA.” Id. More importantly, although ATF has failed to disclose it in

the NPR or docket, the Slide Fire determination “was sent to Chief Counsel and higher authority

for review. After much study on how the device operates, the opinion, based on definitions in the

GCA and NFA, was that the Slide Fire was not a machinegun nor a firearm, and, therefore, did

not require any regulatory control.” Id.

       Thus, regardless of the interpretative jiggery-pokery employed by ATF in the NPR, at the

end of the day, it is pure applesauce.




       B.      Belt Loops, Rubber Bands and Fingers, OH MY!

       Reflecting the absolutely arbitrary and capricious nature of this rulemaking, ATF admits

– albeit at the end of the proposal in the “Alternatives” section – that an individual does not

require a bump-stock-device in order to bump-fire a factory semi-automatic firearm. 83 Fed.

                                                  42

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000272
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 277 of 382




Reg. 13454. In fact, ATF readily acknowledges that bump-firing can be lawfully achieved

through the “use [of] rubber bands, belt loops, or [to] otherwise train their trigger finger to fire

more rapidly,” in a clear statement of its intent to unequally apply the law. Id.

       Numerous videos and articles are available reflecting individuals bump-firing with

everything from their finger to belt loops and rubber bands. For example, P.M.M.G. TV posted a

video in 2006 of a rubber band being utilized to bump fire a factory semi-automatic firearm. See

Exhibit 11. 45 In 2011, StiThis1, posted a video of him utilizing his belt loop to bump-fire his

AK-47. See Exhibit 12. 46

       More importantly, reflecting that no device is necessary to bump-fire a factory semi-

automatic firearm, ThatGunGuy45 posted a video of him bump-firing an AK-47 style rifle with

his finger. See Exhibit 13. 47 Similarly, M45 posted a video of him bump-firing both an AK-47

and AR-15 solely with his finger. See Exhibit 14. 48 In no better example, former former ATF

Acting Chief of the Firearms Technology Branch Rick Vasquez, who previously reviewed

bump-stock-devices – specifically the Slide Fire bump-stock – while with ATF, after declaring

that a bump-stock-device is not statutorily or regulatorily a machinegun, 49 demonstrates the


45
   A copy of the video is also available online – Shooting Videos, Rapid manual trigger
manipulation (Rubber Band Assisted), YouTube (Dec. 14, 2006),
https://www.youtube.com/watch?v=PVfwFP_RwTQ&t.
46
   A copy of the video is also available online – StiThis1, AK-47 75 round drum Bumpfire!!!,
YouTube (Sept. 5, 2011), https://www.youtube.com/watch?v=-03y3R9o6hA.
47
   A copy of the video is also available online – ThatGunGuy45, ‘Bump Fire’ without a bump-
fire stock, courtesy of ThatGunGuy45, YouTube (Oct. 13, 2017),
https://www.youtube.com/watch?v=-9fD_BX-afo&t.
48
   A copy of the video is also available online – M45, How to bumpfire without bumpfire stock,
YouTube (Oct. 8, 2017), https://www.youtube.com/watch?v=7RdAhTxyP64&t. See also,
wrbuford13, How To: Bump fire a semi-automatic rifle from the waist, YouTube (May 25,
2011), https://www.youtube.com/watch?v=wZCO-06qRgY.
49
   During his interview, he declares “[i]f Congress wants to change the law and come up with a
new interpretation, then ATF will follow that new interpretation. But until they do that, they have
to go by the [law] they have today.”

                                                  43

                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000273
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 278 of 382




ability of a factory semi-automatic AR-15 and AK-47 to bump-fire solely with his finger. See

Exhibit 17. 50 Expert Vasquez then goes on to declare, in response to a question of what if

Congress bans bump-fire devices, “[w]hat are they going to ban? If they come out today and say

the Slide Fire Stock or the binary trigger by name is made illegal, they’re going to have to make

illegal the operating principle.” Id.

        Beyond showing that the proposed rulemaking in this matter is completely arbitrary and

capricious, as no device is even necessary to bump-fire a factory semi-automatic firearm, these

videos and others that are available on YouTube and other social media platforms, reflect that

law-abiding citizens have been bump-firing long before Al Gore invented the internet; 51 and yet,

ATF cannot produce a single shred of evidence of a bump-stock-device ever having been utilized

in a crime.




        C.      The Jerry Miculek Example – He’s One Bad Mother… Shut Your Mouth (And:
                Oh No! They Banned Jerry!)

        As mentioned supra, Jerry Miculek not only can shoot faster than an individual

employing a bump-stock-device but can shoot far more accurately. See Exhibit 3 and 4. 52 Even

more evident of the completely arbitrary and capricious nature of this proceeding is the video

compendium of Mr. Miculek’s abilities and achievements, which depicts that “he did it. He did 8


50
   A copy of the video is also available online – Vice News, Meet One Of The Analysts Who
Determined That Bump Stocks Were Legal, YouTube (Oct. 11, 2017),
https://www.youtube.com/watch?v=kryIJIrD5eQ&t.
51
   It has to be true – he said it on live TV… https://www.youtube.com/watch?v=BnFJ8cHAlco.
52
   Copies of the videos are also available online – Iraqveteran8888, Worlds Fastest Shooter vs
Bump Fire! – Guns Reviews, YouTube (Oct. 13, 2014),
https://www.youtube.com/watch?v=JTb6hsSkV1w and Miculek.com, AR-15 5 shots in 1 second
with fastest shooter ever, Jerry Miculek (Shoot Fast!), YouTube (June 20, 2013)
https://www.youtube.com/watch?v=v3gf_5MR4tE&t.

                                                44

                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000274
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 279 of 382




rounds in one second, on one target. He did 8 rounds on four targets in 1.06 [seconds]. Six shots

and reload and six shots in 2.99 seconds.” See Exhibit 18. 53 Thus, as individuals can achieve,

with greater accuracy, faster cyclic rates than those utilizing bump-stock-devices, the underlying

premise of this proceeding is completely arbitrary and capricious.

       More disconcerting is that to the extent ATF contends in the NPR that it is carrying out

some unverified and unsupported contention of Congress to ban anything mimicking the rate of

fire of a machinegun 54 (83 Fed. Reg. 13447) – a rate of which varies greatly 55 and neither has a

commonly accepted average rate nor a proposed rate by ATF – Mr. Miculek would seemingly be

banned by any final promulgated rule, in violation of his Constitutional Rights and reflecting the

sheer absurdity of this NPR.




       D.      Whoops, We Did it Again! ATF Misleads the Public Regarding the Use of
               Bumpstock Devices in the Las Vegas Shooting

       As discussed supra in Section I., B., while implying that a bump-stock-device was

utilized in the Las Vegas shooting, ATF has failed to provide evidence of a single instance where

a bump-stock-device was utilized in the commission of a crime and neither ATF nor FBI have

confirmed the use of a bump-stock-device in any crime. Instead, ATF relies solely on prior


53
   A copy of the video is also available online – Fastest Shooter OF ALL TIME! Jerry Miculek |
Incredible Shooting Montage, DailyMotion (2014),
https://www.dailymotion.com/video/x2y1eb8.
54
   In fact, ATF’s assertion is contradicted by the testimony in enacting the NFA – previously
cited to by ATF in federal court proceedings – which reflects the Congress’ intent that guns
which “require a separate pull of the trigger for every shot fired, … are not property designated
as machineguns.” Exhibit 29, p. 40.
55
   For example, the Metal Storm gun has a cyclic rate of fire of 1,000,000 rounds (that isn’t a
typo), per minute (see, http://www.businessinsider.com/worlds-fastest-gun-2016-2), a minigun
has a rate of fire of 6,000 rounds, per minute (id.), and some have as slow of a cyclic rate as 200
rounds, per minute (see, https://encyclopedia2.thefreedictionary.com/Cyclic+rate).

                                                45

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000275
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 280 of 382




“public comments,” which are merely conjecture, to suggest that a bump-stock-device was

utilized in Las Vegas (83 Fed. Reg. 13454), 56 while thereafter declaring that bump-stock devices

“could be used for criminal purposes.” (83 Fed. Reg. 13455)(emphasis added). The use of the

word “could” reflects that such use is merely speculative and limited to a possible future, not

past, occurrence. More importantly, as ATF is involved in the investigation into the Las Vegas

shooting, it is in the unique position to have evidence reflecting the use of bump-stock-devices in

the shooting, if such devices were utilized; yet, it has not only failed to submit any evidence even

suggesting the use of bump-stock-devices in the Las Vegas shooting but has failed to even

contend, based on its own knowledge, that such devices were utilized. Additionally, the Las

Vegas Metropolitan Police Department Preliminary Investigative Report likewise provides no

indication that any bump-stock-devices were utilized in the shooting. See, Exhibit 2. 57

       Thus, ATF acknowledges that but for public conjecture, it has no evidence or knowledge

that a bump stock device has been utilized in a crime and only hypothesizes that a bump-stock

device “could be used for criminal purposes.” Moreover, as discussed supra in Section I., D.,

based on ATF’s lack of candor before the courts, Congress, and the public, any contention by

ATF that such devices were utilized in the Las Vegas shooting must be dismissed, in the absence

of independently-verifiable evidence in support.

       Further, ATF’s argument as to why they need to be regulated is misleading.



56
   Given ATF’s prior use of proxies in rulemaking proceedings to support its contentions, these
alleged “public comments” cannot be taken at face value, especially in the absence of any
evidentiary support. See Firearms Industry Consulting Group’s comment in response to ATF-
41P, RIN: 1140-AA43, available at https://www.regulations.gov/document?D=ATF-2013-0001-
8364, wherein it documents in Section G the ATF’s use of proxies in rulemaking proceedings to
support its own contentions.
57
   A copy of the report is also available online at – https://www.lvmpd.com/en-
us/Documents/1_October_FIT_Report_01-18-2018_Footnoted.pdf.

                                                46

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000276
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 281 of 382




               Commenters also argued that banning bump-stock-type devices will not
               significantly impact public safety. Again, the Department disagrees. The shooting
               in Las Vegas on October 1, 2017, highlighted the destructive capacity of firearms
               equipped with bump-stock-type devices and the carnage they can inflict. The
               shooting also made many individuals aware that these devices exist—potentially
               including persons with criminal or terrorist intentions—and made their potential
               to threaten public safety obvious. The proposed regulation aims to ameliorate that
               threat.

83 Fed. Reg. 13447. (Emphasis added).

       This position is no more valid than asserting that drill presses and the internet need to be

regulated because individuals with criminal or terrorist intentions can readily access a drill press

to manufacture a machine gun after viewing a video on the internet, or even fabricate a firearm

from a chunk of raw aluminum. (Nevermind the fact that a person can purchase ammonium

nitrate and nitromethane, or pressure cookers, to build a bomb.) In the land of hypotheticals,

anything and everything could be perceived to be and categorized as a potential threat to public

safety. But a hypothetical should not and cannot be the premise of a proposed regulation.




       E.      We Lied To You Once (Shame On Us). We Lied To You More Times Than We
               Can Count (Shame On You For Having Your Eyes Wide Shut). The Continuing
               Lies Espoused By ATF Regarding The Functionality Of Bump-Stock-Devices

       In the Summary for the NPR, ATF claims that bump-stock-devices

       allow a shooter of a semiautomatic firearm to initiate a continuous firing cycle with a
       single pull of the trigger. Specifically, these devices convert an otherwise semiautomatic
       firearm into a machinegun by functioning as a self-acting or self-regulating mechanism
       that harnesses the recoil energy of the semiautomatic firearm in a manner that allows the
       trigger to reset and continue firing without additional physical manipulation of the
       trigger by the shooter. Hence, a semiautomatic firearm to which a bump-stock-type
       device is attached is able to produce automatic fire with a single pull of the trigger.

83 Fed. Reg. 13442 (emphasis added).

       Even setting aside former Acting Chief of the Firearms Technology Branch Richard

Vasquez’s expert report disputing ATF’s current contention (discussed supra in Section IV., A.,

                                                 47

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000277
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 282 of 382




and Exhibit 28) and before addressing the video evidence of the outright falsity of these

assertions, let us first review the known determinations issued by ATF and the sworn testimony

and pleadings submitted by ATF to the courts regarding bump-stock-devices.

       On June 07, 2010, ATF issued a determination letter to Slide Fire, holding that

       The stock has no automatically functioning mechanical parts or springs and performs no
       automatic mechanical function when installed. In order to use the installed device, the
       shooter must apply constant forward pressure with the non-shooting hand and constant
       rearward pressure with the shooting hand. Accordingly, we find that the “bump-stock” is
       a firearm part and is not regulated as a firearm under the Gun Control Act or the National
       Firearms Act.

See Exhibit 10 (emphasis added.)

       Thus, ATF has already admitted that the Slide Fire stock does not operate automatically

and is neither self-acting nor self-regulating. But what about Bump Fire Systems’ bump-stock-

device? Glad you asked.

       On April 2, 2012, ATF issued a determination letter to Bump Fire Systems, declaring that

       The FTB live-fire testing of the submitted devices indicates that if, as a shot is fired, an
       intermediate amount of pressure is applied to the fore-end with the support hand, the
       shoulder stock device will recoil sufficiently rearward to allow the trigger to mechanically
       reset. Continued intermediate pressure applied to the fore-end will then push the receiver
       assembly forward until the trigger re-contacts the shooter’s stationary firing hand finger,
       allowing a subsequent shot to be fired. In this manner, the shooter pulls the firearm forward
       to fire each shot, the firing of each shot being accomplished by a single trigger function.
       …
       Since your device is incapable of initiating an automatic firing cycle that continues until
       either the finger is released or the ammunition supply is exhausted, FTB find that it is not a
       machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18
       U.S.C. 921(a)(23).

See Exhibit 10 (emphasis in original, emphasis added.)

       Once again, now in relation to Bump Fire Systems’ bump-stock device, ATF found that

bump-stock-devices are incapable of automatic firing and require a mechanical reset of the




                                                48

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000278
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 283 of 382




trigger – no different than any other semi-automatic firearm – and thus, are not capable of a

continuous firing cycle with a single pull of the trigger.

       But, in sworn testimony and pleadings submitted to the courts, ATF contended bump-

stock-devices were machineguns, right? Nope.

       As reflected on page 20 of the U.S. Government’s Brief in Support of Cross Motion for

Summary Judgment and in Opposition to Plaintiff’s Motion for Summary Judgment in Freedom

Ordinance Mfg. Inc., v. Thomas E. Brandon:

       An ATF expert testified that a true trigger activating devices [i.e. bump-stock-devices],
       although giving the impression of functioning as a machine gun, are not classified as
       machine guns because the shooter still has to separately pull the trigger each time he/she
       fires the gun by manually operating a lever, crank, or the like.

See Exhibit 25 (emphasis added).

       Hence, ATF in sworn testimony and pleadings submitted to the United States District

Court, Southern District of Indiana, admitted that the function of bump-stock-devices requires

the shooter to separately pull the trigger each time he/she fires the gun, which is two-levels

removed from being a machinegun. 58

       So, the question becomes, was ATF lying then, or is it lying now? There can be no

dispute, it’s lying now.




58
   The use of the terminology two-levels removed from being a machinegun is in relation to the
explicit definition of machinegun that was enacted by the Congress in 26 U.S.C. § 5845(b),
which for a firearm to constitute a machinegun, requires it to shoot “automatically more than one
shot … by a single function of the trigger.” As acknowledged by ATF, since the trigger is pulled
(i.e. a single function of the trigger) and then released (i.e. a second and separate single function
of the trigger), before the subsequent round can be fired, a bump-stock-device is two-levels
removed from being a machinegun, as it still would not constitute a machinegun, even if a
subsequent round was discharged on the release of the trigger. ATF has determined that this is a
proper analysis of Section 5845(b) in approving binary triggers, which permit the discharge of a
round on both the pull and release of the trigger.

                                                 49

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000279
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 284 of 382




       In response to this NPR, a video was recorded depicting the actual function of a bump-

stock-device. See Exhibit 28. 59 See also Exhibit 33 Declaration of Jonathan Patton. As reflected

in the video, a magazine full of ammunition is placed into an AR-15 type firearm that has a Slide

Fire bump-stock-device 60 installed onto it. The shooter then proceeds to fire the bump-stock

equipped firearm with the stock in the locked position. 61 As depicted, the bump-stock-device

neither self-acts nor self-regulates and the shooter proceeds to fire several rounds, without the

bump-stock automatically firing more than one round, per function of the trigger. 62 63 The video

clearly depicts the trigger being pulled, the gun firing a round, the bolt carrier group cycling and

the trigger being released and reset. In fact, for a subsequent round to be fired, two single and

separate functions of the trigger are necessary – the release of the trigger and the subsequent pull

of the trigger, which is no different than any other factory semi-automatic firearm. The shooter

then proceeds to unlock the stock so that it can move freely on the buffer tube and fire the gun

one handed. Once again, the video clearly depicts the trigger being pulled, the gun firing a round,

the bolt carrier group cycling and the trigger being released and reset. At not point does the gun

fire more than one round per function of the trigger.

        Additionally, the close-ups reveal, contrary to ATF’s contention (83 Fed. Reg. 13447),

that “additional physical manipulation of the trigger by the shooter” is necessary for subsequent


59
   A copy of the video is also available online – Adam Kraut, Esq. and Patton Media and
Consulting, Bump Stock Analytical Video, (June 14, 2018), available at
https://youtu.be/1OyK2RdO63U.
60
   The actual device is a Slide Fire SSAR-15 SBS.
61
   This position is the same as any other AR-15 type firearm with an adjustable stock.
62
   Thus, contrary to the NPR, bump-stock-devices do not cause a continuous firing cycle with a
single pull of the trigger.
63
   If the bump-stock-device actually turned the firearm into a machinegun, the entire magazine of
ammunition would have been expended, when the shooter maintained constant pressure on the
trigger. See Exhibit 26. A copy of the video is also available online – Molon Labe, hogan 7
m16.wmv, YouTube (Oct. 25, 2011), is https://www.youtube.com/watch?v=NwQ1aZnVLFA.

                                                 50

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000280
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 285 of 382




rounds to be discharged. Of course, all of this is irrefutably consistent with ATF’s prior

determinations and sworn testimony and pleadings submitted to the courts.

         So what if the shooter shoots the bump-stock equipped AR-15 in the manner depicted by

the NPR – i.e. while “maintaining constant forward pressure with the non-trigger hand on the

barrelshroud or fore-grip of the rifle, and maintaining the trigger finger on the device’s extension

ledge with constant rearward pressure?” 83 Fed. Reg. 13443. Clearly, it will shoot automatically,

right? It self-acts and self-regulates, right? Nope.

         When the shooter maintains constant forward pressure with the non-trigger hand on the

barrelshroud or fore-grip of the rifle, while maintaining the trigger finger on the device’s

extension ledge with constant rearward pressure, after the first shot is discharged, the trigger

must be released, reset, and pulled completely rearward, before the subsequent round is

discharged – again no different than any factory semi-automatic firearm. Moreover, as evidenced

by the close-ups, contrary to ATF’s assertion (83 Fed. Reg. 13443, 13447), “bump-stock-type

devices [do not] allow multiple rounds to be fired when the shooter maintains pressure on the

extension ledge of the device,” as the shooter in the video specifically maintains pressure on the

extension ledge of the device the entire time; and yet, only a single round is discharged each

time.

         Surely, the video must not depict the actual function of a bump-stock-device, right?

Wrong.

         Former Acting Chief of the FTB and expert Rick Vasquez was responsible for reviewing

and making a determination on the Slide Fire stock, when it was submitted to the FTB for

evaluation and classification. See Exhibit 32. After concluding that the Slide Fire stock was

neither a firearm nor a machinegun under the NFA and GCA, the determination was “reviewed



                                                  51

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000281
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 286 of 382




by ATF Chief Counsel and higher authorities within ATF and affirmed.” Id. More recently, he

reviewed the Bump Stock Analytical video (Exhibit 28) and declared that it “fully, explicitly, and

accurately depicts the function of bump-stock-devices, including, but not limited to, the function

and operation of the firearm’s trigger, which is exactingly consistent with my evaluation and

review of the Slide Fire stock during my tenure with ATF and my Slide Fire Analysis.” Id. He

then goes on to explain that as depicted in the video:

           a. The bump-stock-device neither self-acts nor self-regulates, as the bump-stock
              never fires, in any of the three possible ways to fire a bump-fire-device, more than
              one round, per function of the trigger, even while the shooter maintained constant
              pressure on the extension ledge. In fact, as explicitly and accurately depicted in
              the slow motion portions, the bump-stock-device requires two functions of the
              trigger before a subsequent round can be discharged (i.e. after the firearm is
              discharged for the first time, the trigger must be fully released, reset, and then
              fully pulled rearward for a subsequent round to be discharged); 64

           b. Bump-stock-devices do not permit a continuous firing cycle with a single pull of
              the trigger, as the video clearly depicts that the trigger must be released, reset, and
              fully pulled rearward before the subsequent round can be fired; 65

           c. The bump-stock-device requires additional physical manipulation of the trigger
              by the shooter, as the video clearly depicts that the trigger must be released, reset,
              and fully pulled rearward before the subsequent round can be fired;

           d. Even when the shooter maintains constant forward pressure with the non-trigger
              hand on the barrel shroud or fore-grip of the rifle, and maintains the trigger finger
              on the device’s extension ledge with constant rearward pressure, after the first
              shot is discharged, the trigger must be released, reset, and pulled completely
64
   It must be noted, as made explicitly clear in the slow motion portions of the video, that the
bump-stock-device actually requires over-releasing of the trigger, as the shooter’s finger travels
past the trigger reset by approximately a half-inch, before beginning the sequence to fire a
subsequent round (e.g. video at 3:46 – 3:51; 3:52 – 3:55; 3:56 – 4:00). Thus, the video makes
extremely evident and clear that bump-stock-devices are actually slower than a trained shooter,
as a trained shooter, such as Jerry Miculek, would immediately begin the sequence to fire a
subsequent round after the trigger resets.
65
   If the device had permitted continuous firing cycle with a single pull of the trigger, the video
would depict a scenario identical to Exhibit 26 of Firearm Policy Coalition’s Comment (also
available at https://www.youtube.com/watch?v=NwQ1aZnVLFA), where it clearly and
accurately depicts the emptying of the entire magazine, while the shooter maintains constant
pressure on the trigger.

                                                 52

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000282
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 287 of 382




               rearward, before the subsequent round is discharged. See video at 3:47 – 4:01.
               This is no different than any factory semi-automatic firearm; and,

           e. The bump-stock-device does not permit automatic fire by harnessing the recoil
              energy of the firearm. Harnessing the energy would require the addition of a
              device such as a spring or hydraulics that could automatically absorb the recoil
              and use this energy to activate itself. If it did harness the recoil energy, the bump-
              stock equipped firearm in the video would have continued to fire, while the
              shooter’s finger remained on the trigger, after pulling it rearwards without
              requiring the shooter to release and reset the trigger and then pull the trigger
              completely reward for a subsequent round to be fired.

       So where does this leave us? It leaves us with ATF’s prior determinations and sworn

testimony and pleadings submitted to the courts as being legally and factually indisputable, with

the contrary statements in the NPR being solely designed to carry out a false narrative on the

functionality of bump-stock-devices and to appease Attorney General Jeff Sessions and President

Donald Trump. 66

       Surely, ATF hasn’t sought to further mislead the public, right? Wrong.

       Once again in the NPR, ATF contends that “[s]hooters use bump-stock-type devices with

semiautomatic firearms to accelerate the firearm’s cyclic firing rate to mimic automatic fire”

(83. Fed. Reg. 13444)(emphasis added); yet, as discussed supra in Section I., B. and supported

by Expert Declaration of Vasquez and the Savage Comment, the mechanical cyclic rate of both

the semi-automatic and fully-automatic versions of a firearm are identical (and thus cannot be

accelerated), except where the manufacturer purposely slows the rate of fire for the machinegun-

version; whereby, in such instances, the semi-automatic-version can exceed the cyclic rate of the

machinegun-version.
66
   See Memorandum of February 20, 2018 to Attorney General Sessions from President Donald
Trump, “directing the Department of Justice to dedicate all available resources to complete the
review of the comments received, and, as expeditiously as possible, to propose for notice and
comment a rule banning all devices that turn legal weapons into machineguns,” available at
https://www.whitehouse.gov/presidential-actions/presidential-memorandum-application-
definition-machinegun-bump-fire-stocks-similar-devices.

                                                53

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000283
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 288 of 382




       F.      The Akins Accelerator Difference


       There is a fundamental difference in the manner in which the Akins Accelerator works

versus a bump-fire-device. 67 The Government had previously described the function of the

Akins Accelerator in a brief filed in Federal Court.

               To operate the Akins Accelerator, the shooter pulled the trigger one time,
               initiating an automatic firing sequence, which in turn caused the rifle to recoil
               within the stock, permitting the trigger to lose contact with the finger and
               manually reset (move forward). Springs then forced the rifle forward in the stock,
               forcing the trigger against the finger, which cause the weapon to discharge the
               ammunition until the shooter released the constant pull the ammunition is
               exhausted. Put another way, the recoil and spring-powered device cause the
               firearm to cycle back and forth, impacting the trigger finger, which remained
               rearward in a constant pull, without further impact by the shooter, thereby
               creating an automatic firing effect.

See Exhibit 25. (Emphasis added).

       However, as the video (see Exhibit 28) and Expert Vasquez’s Declaration (see Exhibit

32) reflect, a single pull of the trigger on a firearm equipped with a bump-fire-device does not

cause the firearm to cycle back and forth automatically. In order to have the firearm cycle and

fire another round, mechanical input from the shooter is required. The shooter must both pull the

trigger to the rear and push forward on the fore end of the firearm. Absent any additional input in

a forward direction by the shooter, the firearm fires only a single round, even where the trigger is

continuously held to the rear. Perhaps the description is best stated by the Government’s own

brief. “While the shooter receives an assist from the natural backfire of the weapon to accelerate

subsequent discharge, the rapid fire sequence in bumpfiring is contingent on shooter input,




67
  While FPC do not agree that an Akins Accelerator constitutes a machinegun, they
acknowledge the 11th Circuit’s opinion in Akins v. U.S., 312 Fed.Appx. 197 (11th Cir. 2009) and
assume that court’s holding for the purposes of this analysis.

                                                54

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000284
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 289 of 382




rather than mechanical input, and thus it cannot shoot ‘automatically’.” See Exhibit 25.

(Emphasis added).

          As is clearly demonstrated in the video, Expert Vasquez’s Declaration and by the

Government’s own argument, bump-stock-devices are only capable of being fired in a rapid

manner 68 when the shooter him or herself adds mechanical input with a forward push on the fore

end of the firearm; however, such affirmative action by the shooter does not result in the bump-

stock-device turning the firearm into a machinegun. Otherwise, Jerry Miculek and others will be

banned by the implementation of the NPR.



     V.      ATF’S PROPOSAL IS OVERLY VAGUE AND CONTRADICTORY


          ATF’s proposed regulation is overly vague and potentially encapsulates a number of

firearms and other products 69 that are commercially available.

          Notably, ATF’s proposed definition includes

                 “..devices that allow a semiautomatic firearm to shoot more than one shot with a
                 single pull of the trigger by harnessing the recoil energy of the semiautomatic
                 firearm to which it is affixed so that the trigger resets and continues firing without
                 additional physical manipulation of the trigger by the shooter.”

83 Fed. Reg. 13457. This language could incorporate a variety of triggers that are currently on

the market, which are lawfully possessed and utilized. Utilizing the same flawed logic ATF used

to turn a bump-stock-devices into a machine gun, ATF would merely need to assert that by

68
   As discussed supra throughout Section IV. and in the Declaration of Expert Vasquez, this still
requires the trigger to be released, reset, and pulled completely rearward, before a subsequent
round is discharged; thereby, requiring two separate and distinct functions of the trigger, which
precludes any finding that the device is a machinegun or otherwise causes the firearm to which it
is attached to fire “automatically”.
69
   As discussed supra, beyond regulating bump-stock-devices, it would also seemingly include,
rubber bands, belt loops, fingers, “slamfire” shotguns and firearms, Gatling guns, triggers, and
other devices (e.g. Hellfire trigger mechanisms).

                                                   55

                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000285
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 290 of 382




placing forward pressure on the gun while holding the trigger to the rear and allowing the recoil

energy of the firearm to move the firearm enough to reset the trigger, that the trigger could

constitute a bump-stock-device, resulting in a variety of products designed for the competition

shooter to be banned overnight. Likewise, as discussed supra in Section IV., the technique of

bump firing only requires the use of one’s finger – as admitted by ATF in numerous court filings

– thereby resulting in ATF’s ability to contend that fingers, in and of themselves, are bump-

stock-devices under the NPR. Moreover, the proposal could also apply to everything from rubber

bands and belt loops to slamfire shotguns and firearms.

       Such interpretations would leave thousands of gun owners unsure as to the status of their

particular firearm, device, or even finger, creating an influx of requests for determinations 70

from ATF and making compliance with the proposed regulation the equivalent of navigating a

minefield without proper guidance. Moreover, as discussed infra in Section II, it raises a plethora

of constitutional issues in relation to the Second and Fifth Amendment and Article I, Section 9,

Clause 3 of the U.S. Constitution.

       Even if one were to set the vagueness issues aside, the NPR is contradictory as it

contends that bump-stock-devices must be outlawed, while permitting rubber bands, belt loops

and fingers, which operate in an identical manner as bump-stock-devices. Specifically, in the

NPR, ATF contends that bump-stock-devices can “mimic automatic fire when added to

semiautomatic rifles” which Congress sought to outlaw (83 Fed. Reg. 13447); yet, thereafter, in

Alternative 2 (83 Fed. Reg. 13454), declares that “individuals wishing to replicate the effects of

bump-stock-type devices could also use rubber bands, belt loops, or otherwise train their trigger


70
   Such determinations would be of questionable value given ATF’s contention in the NPR that it
can overturn its own determination on a whim or to appease politicians by utilizing interpretive
jiggery-pokery.

                                                 56

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000286
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 291 of 382




finger to fire more rapidly.” As discussed supra in Section IV. and the video exhibits specified

therein, individuals can bump fire factory semi-automatic firearms with rubber bands, belt loops,

and their fingers and some shooters, like Jerry Miculek, can not only shoot faster than an

individual employing a bump-stock-device but can shoot far more accurately. Thus, this entire

NPR is contradictory to its stated purpose and underlying authority.



     VI.        ATF FAILED TO CONSIDER VIABLE AND PRECEDENTIAL
                ALTERNATIVES

           In the proposal, ATF offers three alternatives. See 83 Fed. Reg. 13454. While FPC fully

supports ATF moving forward under Alternative 1, 71 to the extent that ATF decides to move

forward with some form of rule – despite the major constitutional, statutory, precedential and

procedural issues presented by this rulemaking – there are viable alternatives, not previously

considered, that would mitigate some of the constitutional and other issues.


           A.     FPC Supports “Alternative 1”

           FPC fully support ATF not taking any further action in this rulemaking proceeding.

Moreover, as discussed throughout this Comment, ATF is foreclosed – constitutionally,

statutorily, precedentially and procedurally – from taking any action as described in the NPR. 72



           B.     The Amnesty Alternative

           Pursuant to Section 207(d) of 82 Stat. 1235, also known as the Gun Control Act of 1968,

71
   “Alternative 1 – No change alternative. This alternative would leave the regulations in place as
they currently stand. Since there would be no changes to regulations, there would be no cost,
savings, or benefits to this alternative.”
72
   To the extent ATF ignores the many issues raised in this and other comments, and moves
forward with a final rule, FPC will likely seek judicial relief to invalidate and enjoin the
enforcement of any final rule.

                                                  57

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000287
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 292 of 382




(see Exhibit 19), the Attorney General 73 has the power to establish amnesty periods for up to

ninety days. In fact, an amnesty was previously held between November 2, 1968, to December 1,

1968 and ATF promulgated a regulation – 26 C.F.R. § 179.120, entitled “Registration of

Firearms” (see Exhibit 20) – which established the amnesty and procedures relating to the

registration of unregistered NFA firearms. Moreover, as discussed infra in Section VI., C., ATF

more recently provided a seven-year registration and amnesty period for Streetsweepers and

USAS-12 firearms, when it reclassified them under the NFA.

       Thus, contrary to ATF’s assertion that “there is no means by which the possessor may

register a firearm retroactively, including a firearm that has been reclassified” (83 Fed. Reg.

13348), the Attorney General can provide for an amnesty so that the 520,000-some-odd

proscribed bump-stock-devices, and all other firearms and devices covered by the NPR, can be

lawfully registered, thereby saving a minimum of $221,494,000.00 in just compensation being

paid out by ATF while imposing its regulatory scheme under the NFA, which proponents of gun

control, such as Senator Feinstein, desire. See Exhibit 21. 74 Given that the primary estimate

suggests that around 520,000 bump-stock-devices are in circulation (not inclusive of other

firearms and devices for which the NPR seemingly applies), the Attorney General should at least

provide for a seven-year amnesty/registration period, as was provided when ATF reclassified the

Streetsweeper and USAS-12 shotguns, which is discussed infra in Section VI., C. Alternatively,

the Attorney General should issue an initial amnesty period of ninety days and provided 50 or
73
   While the provision refers to the “Secretary of the Treasury,” the Homeland Security Act of
2002, Pub. L. 107-296, 116 Stat. 2135 (2002), transferred the functions of ATF from the
Department of the Treasury to the Department of Justice, under the general authority of the
Attorney General. 26 U.S.C. 7801(a)(2); 28 U.S.C. 599A(c)(1). Thus, it is now the Attorney
General that has the authority to institute an amnesty.
74
   A copy of Senator Feinstein’s proposal
http://www.feinstein.senate.gov/public/index.cfm/files/serve/?File_id=10993387-5d4d-4680-
a872-ac8ca4359119.

                                                 58

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000288
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 293 of 382




more applications are received between the 30th and 60th days, the amnesty period should be

extended in increments of ninety days, until such time that less than 50 applications are received

during an extension period.

       Furthermore, pursuant to the logical outgrowth doctrine 75 and the numerous issues with

the National Firearms Registration and Transfer Record (“NFRTR”) – especially the deprivation

of due process in civil and criminal proceedings (see Exhibits 6, 21 76 and 22 77 ) – the amnesty

should permit the registration of any unregistered NFA firearm, not just bump-stock-devices and

those items subject to the instant NPR, since such is consistent with the Congress’ intent that all

NFA firearms be registered to the individual possessing them. 78




       C.      ATF’s Reclassification of the Streetsweeper and USAS 12 and Seven Year
               Registration/Amnesty that Followed

       In the alternative, as ATF admits that the NPR is a reclassification of the definition of

machinegun to include bump-stock-devices (83 Fed. Reg. 13448), it must treat the

reclassification equally to how it treated its prior reclassifications of the Streetsweeper and

USAS 12 shotguns, for which it provided a seven-year registration and amnesty period.




75
   Long Island Care at Home, Ltd. v. Coke, 551 U.S. 158 (2007).
76
   A copy of the article is available at – Joshua Prince, Violating Due Process: Convictions
Based on the National Firearms Registration and Transfer Record When its ‘Files are Missing’,
(Sept. 28, 2008), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2752028.
77
   A copy of Eric Larson’s testimony and exhibits of April 3, 1998, before the House Committee
on Appropriations is available online at http://www.nfaoa.org/documents/1998testimony.pdf.
78
   See U.S. Senate, Gun Control Act of 1968, Title II-Amendments to the National Firearms Act,
Report No 1501, 90th Cong., 2nd Sess., at 43 (Washington, GPO, 1968), available at
http://www.nfaoa.org/documents/SenateReport1501-GCA1968.pdf, declaring that the Congress
intends that “every [NFA] firearm in the United States should be registered to the person
possessing the firearm.”

                                                 59

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000289
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 294 of 382




        In a July 12, 2012, ATF Quarterly Roll Call Lesson Plan, the ATF Firearms Technology

Branch admits that based on ATF’s March 1, 1994 reclassification of the Striker-

12/Streetsweeper and USAS-12 shotguns, 79 individuals were provided from March 1, 1994

through May 1, 2001 – more than seven years – to register these reclassified NFA firearms. See

Exhibit 23, p. 3.

        Accordingly, to the extent ATF moves forward with a final rule, ATF must provide a

seven-year amnesty/registration period for individuals to register their bump-stock-devices.




        D.      ATF’s Reclassification of Open Bolt Macs

        As discussed by the Savage Comment on pages 3 – 4 80, ATF Ruling 82-8 held that ATF

was reclassifying semi-automatic SM10 and SM11A1 pistols and SAC carbines as machineguns

and as a result of the ruling:

        “With respect to the machinegun classification of the SM10 and SM11A1 pistols and
        SAC carbines, under the National Firearms Act, pursuant to 26 U.S.C. § 7805(b), this
        ruling will not be applied to SM10 and SM11A1 pistols and SAC carbines manufactured
        or assembled before June 21, 1982. Accordingly, SM10 and SM11A1 pistols and SAC
        carbines, manufactured or assembled on or after June 21, 1982, will be subject to all the
        provisions of the National Firearms Act and 27 C.F.R. Part 179.”

Emphasis added.

        Thus, as discussed supra in Section III., C., 26 U.S.C. § 7805(b) precludes – and ATF has

acknowledged – ATF’s ability to retroactively reclassify firearms and devices as machineguns

and require their registration and compliance with the NFA. Consistent with Section 7805(b), if


79
  See, ATF Rulings 94-1 and 94-2.
80
  See Analysis and Commentary Regarding: Docket Number: ATF 2017R-22 & Bump-Stock-
Type-Devices, ID: ATF-2018-0002-31210, Tracking Number: 1k2-93f3-s09b, available
electronically at – https://www.regulations.gov/document?D=ATF-2018-0002-31210, in “Email
013 (Historic Arms) rec 5-29-18”.

                                                60

                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000290
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 295 of 382




ATF reclassifies a firearm or device, it may only require compliance with the NFA in relation to

those firearms and devices that were “manufactured or assembled on or after” the date of its

reclassification ruling. Moreover, the existence of approximately 50,000 of these reclassified

firearms and their lawful possession and transfer absent compliance with the NFA, 81 was

testified to by former ATF Acting Chief of the Firearms Technology Branch Rick Vasquez in

U.S. v. One Historic Arms Model54RCCS, No. 1:09-CV-00192-GET. See Exhibit 27.

          Accordingly, ATF is statutorily precluded from applying any final rule in this matter to

any firearms or devices that were “manufactured or assembled” before at least March 29, 2018 –

the date of publication of this NPR in the Federal Register.

          Even if, arguendo, ATF were not statutorily prohibited, to ensure equal application of the

law, its past actions and the public reliance thereon, it must likewise permit all firearms or

devices covered by the NPR in this matter to be grandfathered without requisite compliance with

the NFA.




          E.     Revision of Proposed Changes to 27 C.F.R. §§ 447.11, 478.11, and 479.11

          Although FPC vigorously disputes ATF’s constitutional, statutory, regulatory, procedural

and precedential authority to regulate bump-stock-devices and intends to challenge any final rule

adopting any proposal other than Alternative 1, FPC contends that ATF must limit its proposed

regulatory changes to the definition proposed by Congress in H.R. 4477. 82

          In the NPR (83 Fed. Reg. 13457), ATF proposes amending to 27 C.F.R. §§ 447.11,

478.11, and 479.11 “by adding two sentences at the end of the definition to reads as follows:


81
     Id.
82
     See https://www.congress.gov/bill/115th-congress/house-bill/4477/text.

                                                  61

                                                                              Guedes v. ATF / Codrea v. ATF
                                                                                         Ex. 1 Page 000291
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 296 of 382




Machine gun. * * * For purposes of this definition, the term ‘automatically’ as it modifies

‘shoots, is designed to shoot, or can be readily restored to shoot,’ means functioning as the result

of a self-acting or self-regulating mechanism that allows the firing of multiple rounds through a

single function of the trigger; and ‘single function of the trigger’ means a single pull of the

trigger. The term ‘machine gun’ includes bump-stock-type devices, i.e., devices that allow a

semiautomatic firearm to shoot more than one shot with a single pull of the trigger by harnessing

the recoil energy of the semiautomatic firearm to which it is affixed so that the trigger resets and

continues firing without additional physical manipulation of the trigger by the shooter. * * * ”

       As such, ATF’s proposal, as discussed throughout this Comment, is far more

encompassing than the more limited definition proposed by Congress in H.R. 4477. Accordingly,

ATF should revise its proposal to be consistent with the Congress’ proposal; whereby, the

definition of machinegun in 27 C.F.R. §§ 447.11, 478.11, and 479.11 could, at the absolute most,

be amended by adding one sentence at the end of the definition to read as follows:

       Machine gun. * * * For purposes of this definition, the term ‘automatically’ as it modifies

       ‘shoots, is designed to shoot, or can be readily restored to shoot,’ means a device that—

       (1) attaches to a semiautomatic rifle (as defined in section 921(a)(28) of title 18, United

       States Code); (2) is designed and intended to repeatedly activate the trigger without the

       deliberate and volitional act of the user pulling the trigger each time the firearm is fired;

       and (3) functions by continuous forward pressure applied to the rifle’s fore end in

       conjunction with a linear forward and backward sliding motion of the mechanism

       utilizing the recoil energy when the rifle is discharged.




                                                 62

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000292
       Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 297 of 382




     VII.    POLICY CONSIDERATIONS DO NOT SUPPORT ATF’S PROPOSED RULE

        In arguing that bump-stock devices are or create a machinegun, the proposed rule

demonstrates a complete reversal of prior policy – prior policy, as discussed supra in Section 1.,

A., that ATF has failed to provide in the rulemaking docket and for which the absence of,

precludes meaningful review and comment by interested persons.

        But even if numerous procedural irregularities did not bar ATF from promulgating a final

rule in this proceeding, and neither the U.S. Constitution nor the scope of statutory authority

served as an obstacle, there are ample reasons ATF should not proceed with its proposed rule.

First, ATF's assumptions lack statistical validity. Second, ATF’s reasoning relies on false

premises. Third, the costs of the proposed rule are much greater than ATF acknowledged.




        A.     ATF’s Assumptions Lack Statistical Validity

        As pertinent to a statistical inquiry, the overarching basis asserted in the NPR – the

putative use of a bump-stock-device in the Law Vegas shooting – demands investigation and

reflects that at a maximum, 83 only one instance exists 84, where a bump-stock-device was

utilized, while acknowledging that there is no quantifiable benefit to the proposal. Thus, to the

extent ATF can proceed in this matter, the first, and most vital, issue is whether ATF identified a

statistically significant basis to conclude that the existing system of regulation should be revised,

especially in light of the absence of a quantifiable benefit. As discussed at length supra in

Sections I., B. and IV., D., ATF relies solely on prior “public comments” – for which, those

83
   As discussed supra in Section IV., D., FPC dispute that there exists any evidence even
suggesting that a bump-stock-device was utilized in the Las Vegas incident and demands, given
ATF’s lack of candor to the courts, Congress and the public, that any such contention by ATF be
dismissed, in the absence of independently, verifiable evidence in support.
84
   Which to date has neither been confirmed by ATF or FBI. See Fn. 4, supra.

                                                 63

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000293
        Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 298 of 382




“public comments” may be proxies of ATF 85 – to suggest that a bump-stock-device was utilized

in Las Vegas (83 Fed. Reg. 13454), while thereafter declaring that bump stock devices “could be

used for criminal purposes.” 83 Fed. Reg. 13455 (emphasis added). The second issue, with

respect to estimating the costs that would be imposed by ATF’s proposed rule, ATF fails to

address the just compensation that is necessary for the proposed rule, as is discussed supra in

Section II., B., 2.

          Despite the number of bump-stock-devices grossly exceeding 520,000 (when including

rubber bands, belt loops, fingers, triggers, Gatling guns, and “slamfire” shotguns and firearms),

ATF’s entire rulemaking effort is apparently premised on no more than one unverified instance

where a bump-stock-device was alleged to have been utilized unlawfully, even though such

products have been on the market for over a decade. Even with ATF’s too-low estimate of bump-

stock-devices in commerce, one alleged instance represents such a minute, statistically-

insignificant fraction that no statistically-valid prediction could even be made about this putative

problem. ATF has failed to make available in the docket any information regarding the Las

Vegas shooting that would permit meaningful inquiry into whether it is at all representative of

the problem ATF claims now requires attention, or that the NPR reflects a substantive, tailored,

germane, or proportional response to any such problem.

          If, nonetheless, ATF were to go forward with its effort to formulate and impose a new

rule, whatever benefits ATF claims, would seem to require discount to reflect the sole instance in

which there is any reason to believe the new rule would provide additional protection. That is,

the marginal benefit of added restrictions would be on the order of 1/520,000 or, stated




85
     See Section IV., D., and Fn. 56, supra.

                                                 64

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000294
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 299 of 382




otherwise, the marginal cost needs to be multiplied by a factor of at least 520,000/1 to be

measured against the total benefit.

                                          *       *      *

       There is no statistically-significant (if any at all) evidence of the problem ATF purports to

address with the proposed rule, even if one credits the sole anecdote. In weighing costs and

benefits of the proposed rule, ATF must discount the benefits (or multiply the costs) to reflect the

sole example from the large population of individuals who own or have access to bump-stock-

devices and the fact that based on ATF’s own proposal, individuals would still be able to bump

fire with rubber bands, belt loops and their fingers.




       B.      ATF Relies On Multiple False Premises

       As discussed at length supra in Sections IV., D. and E., ATF’s proposed rule is based on

multiple false premises. Other than one unsupported allegation, there is no evidence – let alone

substantive statistical evidence – of misuse of bump-stock-devices. Moreover, as made explicitly

clear by the video (Exhibit 28) and Vasquez’s Expert Declaration, a bump-stock-device does not

self-act, self-regulate, nor harnesses energy and thus cannot meet the statutory definition of a

machinegun. Thus, ATF has failed to explain, let alone demonstrate, the need for a change in

regulations or shown sufficient authority to implement its desired changes. And perhaps worse,

ATF appears to be purposely misleading the public on the actual function of bump-stock-

devices, which cannot be countenanced.




                                                 65

                                                                            Guedes v. ATF / Codrea v. ATF
                                                                                       Ex. 1 Page 000295
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 300 of 382




                                          CONCLUSION

       ATF has, once again, made a mockery of rulemaking proceedings by engaging in

numerous improper and bad-faith tactics that deny meaningful public participation. As shown in

these and other comments, the instant NPR is terminally-ridden with procedural defects. As a

result, ATF cannot promulgate any final rule that hopes to survive judicial review without

starting anew. And ATF’s proposed legislation-by-fiat stretches far beyond its statutory

authority, ignores important separation of powers principles, and attempts to usurp that which is

solely the domain of Congress. But even if ATF were to somehow overcome those fundamental

problems, the fact remains that its proposal is built upon a statistically-invalid assumption, a false

premise, and flawed policy arguments. To be sure, ATF failed to quantify any benefit from the

proposed rule, and substantially undercounted the cost it would impose, including a failure to

consider (as is its duty) all related costs. The proposed rule is demonstrably un-workable, and

many less-burdensome alternatives exist to address any legitimate concerns that might be

identified in a proper and procedurally-sound rulemaking.

       Finally, even if ATF did initiate a new, proper, and procedurally-sound proposed

rulemaking about bump-stock devices, and even if there existed sufficient statutory authority and

good cause to issue such a rule, there is ample reason to question whether a proposed

reclassification of bump-stock-devices as machineguns is consistent with the U.S. Constitution,

including but not limited to the Second and Fifth Amendments, as well as Article I, Section 9.

ATF fails completely to consider, let alone provide for, the just compensation that would be due

to those who would be affected by its proposed rule. Indeed, as discussed above, the proposed

rule is unconstitutional, both facially and as applied to law-abiding people who possess and own

devices subject to the ATF’s proposed rule.



                                                 66

                                                                             Guedes v. ATF / Codrea v. ATF
                                                                                        Ex. 1 Page 000296
      Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 301 of 382




For all of the reasons set forth above, the NPR should be withdrawn and summarily discarded,

or, in the alternative, ATF should elect Alternative 1 and abandon the proposed rulemaking in its

entirety.

                                             Respectfully submitted on behalf of
                                             Firearms Policy Coalition and
                                             Firearms Policy Foundation


                                             ______________________________
                                             Joshua Prince, Esq.
                                                    Chief Counsel


                                             ______________________________
                                             Adam Kraut, Esq.
                                                   Attorney

                                             Firearms Industry Consulting Group,
                                             a Division of Civil Rights Defense Firm, P.C.
                                             646 Lenape Road
                                             Bechtelsville, PA 19505
                                             888-202-9297
                                             610-400-8439 (fax)
                                             www.FirearmsIndustryConsultingGroup.com

June 19, 2018




                                               67

                                                                          Guedes v. ATF / Codrea v. ATF
                                                                                     Ex. 1 Page 000297
Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 302 of 382




                                                     Guedes v. ATF / Codrea v. ATF
                                                                Ex. 1 Page 000298
             Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 303 of 382
                                        LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                    FORCE INVESTIGATION TEAM REPORT
                                                            CONTINUATION
                                                                                                                Event: 171001-3519

                                                     TABLE OF CONTENTS

I.        INTRODUCTION .............................................................................................................3
II.       INCIDENT DETAILS ........................................................................................................3
III.      VICTIMS ........................................................................................................................ 15
                Deceased ................................................................................................................ 15
                Living Victims .......................................................................................................... 23
IV.       SUSPECT ...................................................................................................................... 23
V.        WITNESS INTERVIEWS ............................................................................................... 24
VI.       SCENE DESCRIPTIONS ............................................................................................... 31
                Route 91 Venue ...................................................................................................... 31
                Mandalay Bay 32nd Floor......................................................................................... 36
                100-Wing Hallway ................................................................................................... 37
                Room 32-135 .......................................................................................................... 37
                Foyer Inside Room 32-135 ...................................................................................... 37
                West Bedroom (Master Bedroom)........................................................................... 38
                Sitting Area.............................................................................................................. 38
                Decedent Stephen Paddock.................................................................................... 39
                Bar/Kitchenette........................................................................................................ 39
                Living Room ............................................................................................................ 40
                Room 32-134 .......................................................................................................... 40
VII.      EVIDENCE RECOVERY ............................................................................................... 41
                Physical Evidence ................................................................................................... 41
                DNA ........................................................................................................................ 45
                Digital ...................................................................................................................... 45
VIII.     SUSPECT AUTOPSY .................................................................................................... 48
IX.       INVESTIGATION ........................................................................................................... 49
                Mandalay Bay Hotel Room...................................................................................... 49
                Paddock's Vehicle ................................................................................................... 50
                Paddock's Mesquite Residence .............................................................................. 51
                Paddock's Reno Residence .................................................................................... 51
                Search Warrants and Legal Notices ........................................................................ 51
                Law Enforcement Tips and Leads ........................................................................... 52
X.        PRELIMINARY FINDINGS FROM THE 1 OCTOBER INVESTIGATION....................... 52
Appendix A ............................................................................................................................... 54

LVMPD Internal Oversight & Constitutional Policing                                                                            Page 2 of 81
Force Investigation Team
                                                                                                           Guedes v. ATF / Codrea v. ATF
                                                                                                                      Ex. 1 Page 000299
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 304 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

I.       INTRODUCTION

On October 1, 2017, over 22,000 people came together to enjoy a country music festival in Las
Vegas, Nevada. On the third and final night of the festival, a lone gunman opened fire into the
crowd from the 32nd floor of the Mandalay Bay Resort and Casino. The gunfire continued for
over ten minutes, resulting in the deaths of 58 innocent concert goers and injuring more than
700. With law enforcement closing in, the suspect took his own life.

It is not standard practice for the Las Vegas Metropolitan Police Department (LVMPD) to issue
an investigative overview related to an open case. Due to the magnitude of this investigative
response and the number of victims associated with this incident, Sheriff Joseph Lombardo felt
it was important to author an overview of all investigative work accomplished in the aftermath of
1 October. This report is not intended to be a comprehensive and final account of the facts and
evidence gathered but rather an overview of the investigation. The investigation into this incident
is on-going and a full comprehensive report will be released upon its completion.

This report will reflect the number and identities of victims known to the Las Vegas Metropolitan
Police Department to date. This information is vital in order to grant assistance, properly
categorize the level of crime and most importantly, honor those who fell prey to this horrific act
of violence.

The Las Vegas Metropolitan Police Department would like to recognize and thank all our local,
state and federal law enforcement partners for their assistance with this investigation.

II.      INCIDENT DETAILS

On October 1, 2017 Stephen Paddock began shooting into the crowd attending the Route 91
Music Festival from his hotel room on the 32nd floor of the Mandalay Bay. As a result, 58 people
died and over 700 were injured. An extensive, joint investigation involving the LVMPD and the
Federal Bureau of Investigation (FBI) began immediately after the incident. Every facet of
Paddock’s life was explored.

At the time of the incident Paddock was 64 years old. He owned residences in Mesquite and
Reno, Nevada and lived with his girlfriend, Marilou Danley. Paddock had limited law enforcement
contact and no criminal history.

Paddock embarked on numerous international trips beginning in 2012, these included trips to
Europe, Asia and South America. Most of Paddock’s international travel was unaccompanied.
Paddock also took multiple cruises with destinations in the Bahamas, Alaska and Mexico.

Through interviews with Paddock’s relatives and acquaintances investigators learned Paddock
lived a seemingly normal life. He was married at least once and divorced. He worked as an
accountant and in the family real estate business.




LVMPD Internal Oversight & Constitutional Policing                                                 Page 3 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000300
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 305 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

From 1982 through September of 2016, Paddock purchased 29 firearms. These purchases
consisted of handguns, shotguns and one rifle. From October 2016 through September 2017,
Paddock purchased over 55 firearms. Most of the firearms purchased from 2016 through 2017
were rifles in various calibers along with over 100 firearm related items through numerous
retailers. The firearm related items included scopes, cases, bump stocks and ammunition.

The Ogden

On September 17, 2017, Paddock checked into The Ogden where he was booked through
September 28, 2017 which overlapped his reservation at Mandalay Bay. The Ogden is a
condominium complex located in downtown Las Vegas, Nevada. Paddock stayed in three
different units during this time.

Paddock’s stay at The Ogden coincided with the Life is Beautiful music festival. Similar to the
Route 91 Music Festival, the Life is Beautiful event was held in an open air venue from
September 22, 2017, through September 24, 2017.

While staying at The Ogden, Paddock exhibited behavior which was similar to his time spent at
Mandalay Bay. Paddock left for long periods of time, returning to Mesquite, Nevada, flying to
Reno, Nevada and traveling to Arizona. Paddock was observed numerous times gambling at
downtown Las Vegas casinos. Paddock was also observed moving numerous suitcases from
his vehicle to the various units he rented.

Mandalay Bay Hotel & Casino

On Monday, September 25, 2017, Paddock checked into room 32-135 of the Mandalay Bay
Hotel and Casino with a scheduled check-out date of October 2, 2017. On Friday September 29,
2017, Paddock checked into room 32-134 which connected with room 32-135 via connecting
doors.

From September 25, 2017, through October 1, 2017, Paddock transported multiple suitcases to
his room on several occasions. Paddock also left the Mandalay Bay on multiple occasions for
long periods of time, often returning to Mesquite, Nevada.




LVMPD Internal Oversight & Constitutional Policing                                                 Page 4 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000301
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 306 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                         Event: 171001-3519


Route 91 Harvest Festival




October 1, 2017, was the final day of the Route 91 Harvest Festival held at the Las Vegas Village
concert venue located at 3901 S. Las Vegas Boulevard. The site is an open air concert venue
approximately 15 acres in size. It is bordered by Las Vegas Boulevard to the west, Reno Avenue
to the north, Giles Street to the east and Mandalay Bay Road to the south.

The festival was a three day country music concert with multiple entertainers. On October 1,
2017, the concert began at 1500 hours. Jason Aldean, the last performer, was scheduled to take
the main stage at 2140 hours. Over 22,000 people were attending the final day of the festival.

Incident

On October 1, 2017, at approximately 2118 hours, Mandalay Bay Security Officer Jesus Campos
was assigned to check several Hotel Service Optimization System (HotSOS)1 alarms from
various rooms inside the hotel. Room 32-129 was the last of the rooms Security Officer Campos
was assigned to check.

Security Officer Campos was on the 30th floor and responded to the 32nd floor via the stairwell in
the north end of the 100 wing. Security Officer Campos attempted to enter the hallway to the
100 wing but the door would not open. He took the stairs to the 33rd floor and used the guest

1 A HotSOS Alarm is triggered by a guest room door that is left ajar for a predetermined amount of time.

LVMPD Internal Oversight & Constitutional Policing                                                   Page 5 of 81
Force Investigation Team
                                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                               Ex. 1 Page 000302
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 307 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

elevator to access the 32nd floor. Once on the 32nd floor, Security Officer Campos entered the
foyer leading to the stairwell. He discovered an “L” bracket screwed into the door and door frame
which prevented it from opening. Security Officer Campos called his dispatch center with the
house phone located in the foyer to report the discovery. The security dispatch center then called
the engineering section to have the door checked.

Security Officer Campos heard what he described as a rapid drilling sound coming from room
32-135 after he hung up the phone. As he walked down the 100 wing hallway, Campos heard
what he described as automatic gunfire coming from the area of room 32-135 and realized he
had been shot in the left calf. He took cover in the alcove of rooms 32-122 and 32-124 and
utilized both his cellular phone and radio to notify his dispatch he was shot. Security Officer
Campos advised he was shot with a BB or pellet gun. While waiting for other security personnel
to arrive Security Officer Campos continued to hear gunfire coming from the room.

Engineer Stephen Schuck finished fixing a leak in room 62-207 when he was directed to respond
to the 32nd floor reference the bracket preventing the stairwell door from opening. Engineer
Schuck used the service elevator in the 200 wing to access the 32 nd floor. When he arrived on
the 32nd floor, he gathered his tools and equipment and walked from the 200 wing to the 100
wing.

As Engineer Schuck walked up the hallway of the 100 wing, he observed Security Officer
Campos poke his head out of an alcove. Engineer Schuck then heard rapid gunfire coming from
the end of the 100 hallway which lasted approximately 10 seconds. When the gunfire stopped,
he heard Security Officer Campos tell him to take cover. Engineer Schuck stepped into an alcove
and gunfire again erupted down the hallway coming from room 32-135. The gunfire lasted a few
seconds then stopped. The gunfire started again after a brief pause but Engineer Schuck
believed it was directed outside and not down the hallway.

Inside the Las Vegas Village over fifty LVMPD personnel were on overtime assignments for the
Route 91 Harvest Festival. The initial gunshots were heard on an officer’s Body Worn Camera
(BWC). Officers and concertgoers initially believed the gunfire to be fireworks. As Paddock
targeted the concertgoers with gunfire, officers quickly determined they were dealing with an
active shooter and broadcast the information over the radio.

The crowd inside the Las Vegas Village started reacting to the gunfire and Jason Aldean ran off
the stage. Officers and concertgoers began treating victims who were struck by gunfire. They
also tried to get concertgoers out of the venue in a safe manner. Officers determined the gunfire
was coming from an elevated position, possibly from the Mandalay Bay Hotel. Medical personnel
were requested for multiple people struck by gunfire.

As the active shooter incident was occurring, two LVMPD officers were in the security office of
the Mandalay Bay handling a call for service reference two females who were in custody for
trespassing. The officers heard the radio broadcast of gunfire at the Route 91 Harvest Festival.
Both officers, along with security personnel, exited the security office and responded towards
the Las Vegas Village. As they were making their way through the casino, security personnel
advised the officers of an active shooter on the 32nd floor of the hotel.2 The officers then directed
2Information obtained from LVMPD BWC.

LVMPD Internal Oversight & Constitutional Policing                                                 Page 6 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000303
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 308 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

security to escort them to that location. The officers and security personnel entered the Center
Core guest elevators and were again advised the shooter was on the 32 nd floor. The officers
made a tactical decision to respond to the 31st floor and take the stairwell to the 32nd floor.

LVMPD officers converged on the Las Vegas Village and Mandalay Bay. Officers formed
multiple Strike Teams and entered the Mandalay Bay from various entrance points. A team of
officers including a Special Weapons and Tactics (SWAT) Operator reached the 32nd floor via
the stairwell in the 100 wing. Officers did not hear gunfire coming from room 32-135. Officers
were able to manually breach the “L” bracket on the stairwell door and gain access to the
hallway. Officers immediately observed a food service cart which had wires running from it to
room 32-134 and prepared themselves for the possibility of an Improvised Explosive Device
(IED). The decision was made to use an explosive breach to make entry into room 32-135.

After a successful breach of the doors to room 32-135, officers entered the room and found
Paddock deceased on the floor. Paddock appeared to have a self-inflicted gunshot wound to the
head. Officers cleared the remainder of the room and observed multiple rifles in various locations
throughout the room as well as hundreds of expended casings. A second explosive breach was
utilized to gain access to room 32-134 through the connecting doors. Immediately after the
breach a SWAT officer negligently discharged his rifle. Officers cleared room 32-134 finding
several rifles in the room.

Officers, medical personnel, and concertgoers continued the evacuation of victims in the Las
Vegas Village venue. Several triage sites were established in the venue and surrounding area.
Injuries ranged from being minor in nature to fatal. Hundreds of wounded were transported to
area hospitals by ambulance and privately owned citizen vehicles.

Sequence of Events

The details listed below were gathered from several different sources3. For the purpose of this
section, the sequence of events will begin on September 25 th when Paddock checked into the
Mandalay Bay and end with the LVMPD officers making entry into Paddock’s room. All times
in this section are approximates based upon different time sources and different time
stamps which were all utilized to document this section of the report. All dates and times
listed below occurred in the year 2017.

On or around September 9th Paddock made his room reservation for a Vista Suite ending in 235
but not a specific floor. On September 20th Paddock was internally4 assigned to room 33-235.
On September 21st Paddock was internally changed to room 32-235. On September 24th
Paddock was assigned to room 32-135.




3 LVMPD Officer Body Worn Cameras; UBER Video; Interviews to include officers, civilians & Mandalay Bay

Employees; Mandalay Bay Video Surveillance; Lock Interrogation Documents; Cell Phone Videos & Records.
4 All internal changes to Paddock’s rooms were done by a Mandalay Bay computer without Paddock’s

knowledge.
LVMPD Internal Oversight & Constitutional Policing                                                 Page 7 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000304
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 309 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

September 25th through October 1st

September 25th

Overview:
At approximately 1533 hours, Paddock checked into room 32-135 of the Mandalay Bay under
his name. Paddock booked the connecting room (32-134) for September 29th through October
2nd. When Paddock checked into room 32-134 on September 29th, he did so under his girlfriend,
Danley’s, name. Paddock was set to check out of both rooms on October 2 nd. From
approximately 1603 to 1656 hours, Paddock was seen at Mizuya Sushi (inside the Mandalay
Bay), he then drove his vehicle from self-park to valet5, and returned to the front desk with five
suitcase bags.

        At approximately 1656 hours, a bellman met Paddock and escorted him to room 32-135.
         Paddock requested to go through the service elevators and not through the guest
         elevators. According to interviews, this request is not uncommon for guests of the hotel.
         Paddock rolled one bag and a bellman used a luggage cart for the other four bags.
        From approximately 2137 to 2140 hours, Paddock had his vehicle removed from valet
         and Paddock left the Mandalay Bay.
        At approximately 2300 hours, Paddock arrived in Mesquite, Nevada.

September 26th

Overview:
Paddock spent time at his home in Mesquite, Nevada, Downtown Las Vegas and Mandalay Bay.

        From approximately 1012 to 1455 hours, according to cell phone records, Paddock’s cell
         phone showed in Mesquite, Nevada.
        At approximately 1535 hours, Paddock completed a wire transfer in Mesquite, Nevada of
         $50,000 from his Wells Fargo account to an account in the Philippines.
        From approximately 2012 to 2100 hours, Paddock drove from Mesquite, Nevada to The
         Ogden.
        From approximately 2102 to 2216 hours, Paddock walked around and gambled at the El
         Cortez Hotel.
        At approximately 2223 hours, Paddock returned to The Ogden.
        At approximately 2234 hours, Paddock departed The Ogden and drove to Mandalay Bay.
        From approximately 2245 to 2252 hours, Paddock valeted his vehicle at Mandalay Bay
         and took six suitcases (located on a luggage cart) and one rolling suitcase (Paddock
         rolled the suitcase himself) up to room 32-135 by way of the service elevator with help of
         a bellman. (The bellman who escorted Paddock on the September 25 th was different than
         the bellman who escorted Paddock on the September 26th.)
        At approximately 2308 hours, Paddock began gambling at Mandalay Bay and continued
         gambling into the next morning.


5 Confirmed by valet ticket #275263147

LVMPD Internal Oversight & Constitutional Policing                                                 Page 8 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000305
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 310 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

September 27th

Overview:
Paddock spent several hours gambling at Mandalay Bay. Paddock spoke with his VIP host
reference wanting the “Vista Suite” at the end of the hall with the double doors. Paddock was
insistent on the suite and connecting room. Paddock wanted to be in the 200 wing as it had a
better view, according to him. Paddock was upset about the room, but was not angry. Paddock
never mentioned the reason why he wanted a connecting room.
     At approximately 0713 hours, Paddock stopped gambling, which he was doing
       continuously since the previous night.
     At approximately 1556 hours, Paddock placed a room service order for two entrees
       totaling $94.33.
     At approximately 1632 hours, room 32-135 was cleaned by hotel staff. Paddock remained
       in the room as it was cleaned.
     At approximately 2003 hours, Paddock was seen in the valet area of Mandalay Bay with
       two rolling suitcases. Paddock had his vehicle removed from valet and left the Mandalay
       Bay at approximately 2015 hours.
     At approximately 2029 hours, Paddock arrived at The Ogden and entered a room at
       approximately 2031 hours.
     From approximately 2045 to 2200 hours, Paddock left The Ogden and drove to Mesquite,
       Nevada, where he arrived at approximately 2200 hours.
     At approximately 2300 hours, Paddock arrived at the Walmart in Mesquite, Nevada. He
       purchased luggage, razor blades, fake flowers, a vase, and a styrofoam ball.

September 28th

Overview:
In Mesquite, Nevada, Paddock purchased a .308 bolt action rifle, deposited $14,000 into a Wells
Fargo account, and wire transferred $50,000 to an account in the Philippines. Paddock visited a
gun range in Mesquite, Nevada, before traveling back to the Mandalay Bay.
     From approximately 0227 to 1420 hours, Paddock’s cell phone was located in Mesquite,
      Nevada according to cell phone records.
     From approximately 1444 to 1501 hours, Paddock made a $14,000 deposit at Wells
      Fargo and transferred $50,000 to a bank in the Philippines.
     At approximately 1523 hours, Paddock purchased a .308 bolt action rifle from a gun store
      in Mesquite, Nevada.
     From approximately 1723 to 1803 hours, Paddock was seen driving in the area of the City
      of Mesquite Landfill / gun range located at 3200 Mesquite Heights Road, in a rural area
      of Mesquite, Nevada.
     From approximately 2042 to 2146 hours, Paddock traveled from Mesquite, Nevada to the
      Mandalay Bay and parked in valet. Paddock was seen entering the Mandalay Bay with
      two rolling suitcases and a laptop bag.
     At approximately 2218 hours, Paddock began gambling at Mandalay Bay and continued
      gambling into the next morning.


LVMPD Internal Oversight & Constitutional Policing                                                 Page 9 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000306
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 311 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

September 29th

Overview:
A second refrigerator was delivered to Paddock’s room (32-135). Staff was asked to only change
linen’s and take out the trash in room 32-135. A staff member was told by Paddock not to vacuum
32-135 and not to remove the food service cart from the room. Staff was asked specifically to
change sheets and towels in room 32-134 and inform Paddock when room 32-134 was
completed. Paddock remained in room 32-135 and used his laptop as the rooms were being
cleaned.
     At approximately 0543 hours, Paddock stopped gambling, which he was doing
        continuously since the previous night.
     From approximately 1228 to 1314 hours, Paddock ate at Mizuya Sushi Sake and then
        returned to room 32-135.
     At approximately 1400 hours, rooms 32-135 and 32-134 were cleaned by hotel staff.
     At approximately 1506 hours, Paddock checked into room 32-134 (under Danley’s name)
        from the VIP check in counter at the Mandalay Bay.
     At approximately 1508 hours, Paddock took the guest elevator to the 32 nd floor.
     At approximately 1509 hours, Paddock entered room 32-134.
     From approximately 1509 to 0100 (September 30th) hours, Paddock remained inside
        rooms 32-134 and 32-135.
     At approximately 2311 hours, a room service ticket totaling $102.99 was charged to room
        32-134.
September 30th

Overview:
Paddock traveled to Mesquite, Nevada twice from Mandalay Bay. Paddock placed “Do Not
Disturb” signs on both 32-135 and 32-134. Paddock gambled for a couple of hours and brought
more suitcases up to his room.
    At approximately 0100 hours, Paddock drove to Mesquite, Nevada.
    At approximately 0556 hours, Paddock returned to the Mandalay Bay with four suitcases.
    From approximately 1204 to 1215 hours hotel staff serviced the private mini bar of room
       32-134. (Paddock placed the “Do Not Disturb” signs on the room doors sometime after
       1215 hours.)
    Between approximately 1300 to 1400 hours, Paddock was asked if he would like rooms
       32-135 and 32-134 cleaned. Paddock declined.
    From approximately 1452 hours to 1508 hours, Paddock removed his vehicle from valet
       and parked in the self-parking garage.
    At approximately 1512 hours, Paddock was observed exiting the parking garage elevator
       with two suitcase rolling bags.
    At approximately 1520 hours, Paddock was seen in a guest elevator with the two rolling
       suitcases and took them to his room.
    At approximately 1952 hours, Paddock drove from Mandalay Bay to Mesquite, Nevada
       and arrived at approximately 2057 hours.



LVMPD Internal Oversight & Constitutional Policing                                                Page 10 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000307
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 312 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

October 1st

Overview:
From approximately 0206 to 2040 hours, Paddock departed Mesquite, Nevada and returned to
Mandalay Bay. He spent several hours gambling, brought more suitcases to his room, and
ordered room service.
    At approximately 0206 hours, Paddock left Mesquite, Nevada.
    At approximately 0305 hours, Paddock arrived at the self-parking garage at the Mandalay
      Bay.
    From approximately 0324 to 0734 hours, Paddock walked around the casino and
      gambled. Paddock used both his own and Danley’s players cards.
    At approximately 0737 hours, Paddock returned to his room.
    From approximately 1222 to 1226 hours, Paddock moved his vehicle from the self-park
      garage to valet6. This valet transaction was the only parking transaction during his stay
      at Mandalay Bay that was completed in Danley’s name.
    At approximately 1229 hours, Paddock was observed waiting for an elevator with two
      rolling suitcases. There was also a third bag hanging from one of the rolling suitcases.
    At approximately 1233 hours, a room service ticket was opened for room 32-134.
    At approximately 1317 hours, Mandalay Bay valet parked Paddock’s vehicle in “Garage
      East”, space #317.7
    At approximately 1337 hours, the room service ticket8 was closed out for room 32-134 in
      Danley’s name. The check totaled $67.60 and included two entrees.
    From 1423 to 1940 hours, the doors for rooms 32-134 and 32-135 were manipulated
      multiple times. For example, the doors were opened, closed and the dead bolt locks were
      engaged and disengaged several times.
From approximately 2040 to 2205 hours, a series of events led up to the mass shooting
conducted by Paddock:

        At approximately 2040 hours, a HotSOS alarm was generated for room 32-129.
        At approximately 2118 hours, the HotSOS call was assigned to Security Officer Campos
         via his cellphone. Security Officer Campos was assigned five HotSOS calls during the
         2118 hours cellphone call. According to interviews of hotel staff, it is common practice to
         assign HotSOS calls to security officers and then immediately close out the HotSOS
         tickets prior to a security officers actually checking out the room. Security Officer Campos
         handled the HotSOS call for room 32-129 last.
        At approximately 2136 hours, the dead bolt to room 32-135 was engaged.
        At approximately 2140 hours, Jason Alden started his performance at the Route 91
         Festival.
        At approximately 2146 hours, the dead bolt to room 32-134 was engaged.




6 Valet ticket #275274484
7 This is the same space detectives located the vehicle in after the shooting
8 Room service ticket #51592684

LVMPD Internal Oversight & Constitutional Policing                                                Page 11 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000308
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 313 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                            Event: 171001-3519

Approximately 2146 to 2204 hours
        Security Officer Campos entered the service elevator at approximately 2146 hours and
         got off on the 30th floor at approximately 2147 hours.
        Security Officer Campos walked to the stairwell in the 100 wing of the 30 th floor and
         walked up to the 32nd floor.
        Security Officer Campos could not gain entry to the 32 nd floor due to the door being
         barricaded.9
        Security Officer Campos walked up the stairs to the 33 rd floor. Security Officer Campos
         walked down the 100-Wing of the 33rd floor to Center Core. He took a guest elevator to
         the 32nd floor.
        At approximately 2200 hours, Security Officer Campos exited the guest elevator and
         walked up the 100 Wing toward room 32-129. Security Officer Campos checked room 32-
         129 and found it was secure. Security Officer Campos walked into the foyer leading to
         the stairwell and observed the “L” bracket screwed into the door and frame.
        At approximately 2204 hours, Security Officer Campos picked up a house phone located
         inside the small foyer leading to the stairwell and called security dispatch to report the “L”
         bracket on the door to the stairs. Security dispatch transferred the call to maintenance
         dispatch. The maintenance dispatcher then transferred Security Officer Campos to the
         maintenance supervisor’s cell phone.
From approximately 2205 to 2216 hours, Paddock committed a mass shooting that left 58 people
dead and over 700 hundred injured:

Approximately 2205 hours
        Engineer Schuck was contacted by the maintenance dispatcher via his radio.
        Paddock fired two single gunshots into the Las Vegas Village area.
        Paddock fired an undetermined amount of gunshots into the Las Vegas Village area.
Approximately 2206 hours
        Security Officer Campos ended the phone call and hung up the house phone. After
         hanging up the phone, Security Officer Campos heard what he described as rapid drilling
         noises.
        Paddock fired approximately 100 rounds into the Las Vegas Village area.
        Security Officer Campos began walking down the 100-wing toward Center Core.
        Engineer Schuck was told by his supervisor to go to the 32nd floor.
        LVMPD unit 169SE broadcast over the Convention Center Area Command (CCAC) radio
         channel, “169SE, we got shots fired, 415A at the Route 91. Sounded like an automatic
         firearm.”
        Paddock fired rounds down the hallway at Security Officer Campos. Security Officer
         Campos was struck in the left calf with a bullet fragment. He took cover in the alcove
         between rooms 32-124 and 32-122.

9 The investigation would reveal the door leading from the stairwell to the 32 nd floor was barricaded by an “L”

bracket screwed into the door and the door frame.
LVMPD Internal Oversight & Constitutional Policing                                                     Page 12 of 81
Force Investigation Team
                                                                                       Guedes v. ATF / Codrea v. ATF
                                                                                                  Ex. 1 Page 000309
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 314 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                        Event: 171001-3519

        Security Officer Campos told his dispatcher via his radio, “Hey there’s shots fired in, uh,
         32-135.”
        Engineer Schuck’s dispatcher told him specifically where to go on the 32nd floor. Engineer
         Schuck left room 62-207 and walked to the service elevators with his equipment cart. The
         service elevators are located in the 200-wing of the hotel.
Approximately 2207 hours,
        Paddock fired approximately 95 rounds into the Las Vegas Village area.
        LVMPD Officers Varsin and Hendrex left the Mandalay Bay Security Office with two
         armed Mandalay Bay Security Officers.
        Paddock fired approximately 100 rounds into the Las Vegas Village area.
        Paddock fired approximately 94 rounds into the Las Vegas Village area.
Approximately 2208 hours
        Paddock fired the 1st round at the fuel tank. (Missed tank)
        LVMPD CAD event# 171001-3519 was generated for the shooting incident.
Approximately 2209 hours
        Paddock fired the 2nd round at the fuel tank. (Missed tank)
        Paddock fired the 3rd round at the fuel tank. (Missed tank)
        Paddock fired the 4th round at the fuel tank. (Missed tank)
        Paddock fired the 5th round at the fuel tank. 1st strike into the fuel tank. (Top strike)
        Paddock fired the 6th round at the fuel tank. 2nd strike into fuel tank. (Lower strike) The
         investigation was unable to determine when the 7th and 8th rounds were fired at the fuel
         tank.10
        Paddock fired an undetermined number of rounds into the Las Vegas Village area.
Approximately 2210 hours
        Engineer Schuck arrived at the Center Core of the 32nd floor and walked up the 100-wing
         toward room 32-135. As he walked, Engineer Schuck heard what he believed to be a jack
         hammer sound in the distance. Engineer Schuck quickly realized it was automatic
         gunfire.11 After the gunshots stopped, Security Officer Campos yelled at Engineer Schuck
         to take cover.
        Engineer Schuck turned and took cover in the alcove between rooms 32-119 and 32-117.
         Paddock fired rounds down the hallway at Engineer Schuck. He was not struck by gunfire.
         Engineer Shuck attempted to open room 32-117 with his master key card however the
         dead bolt lock was engaged and he was unable to gain entry into the room.
        Engineer Schuck stated over his radio, “Shannon, call the police. Someone’s firing a rifle
         on the 32nd floor down the hallway.”




10 There were eight .308 casings located inside of room 32-134
11 The investigation determined at the time Engineer Schuck heard the gunfire, Paddock fired the

approximately 21 rounds, referred to above, at the Las Vegas Village area.
LVMPD Internal Oversight & Constitutional Policing                                                 Page 13 of 81
Force Investigation Team
                                                                                   Guedes v. ATF / Codrea v. ATF
                                                                                              Ex. 1 Page 000310
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 315 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Approximately 2211 hours
        LVMPD Officers Varsin and Hendrex arrived at the Center Core area of the 31 st floor and
         began walking up the 100-wing along with armed security officers from Mandalay Bay.
        Paddock fired approximately 80-100 rounds into the Las Vegas Village area.
        Paddock fired approximately 95 rounds into the Las Vegas Village area.
Approximately 2212 hours
        Two armed Mandalay Bay security officers exited the guest elevator on the 32 nd floor and
         went to the Center Core.
        Paddock fired approximately 80-90 rounds into the Las Vegas Village area.
        Paddock fired an unknown number of rounds into the Las Vegas Village area. LVMPD
         Officers Clarkson and Cook were struck by gunfire during this volley.
        A Mandalay Bay security officer who was with LVMPD Officers Varsin and Hendrex
         advised over his radio, “We can hear rapid fire above us. We are on the 31 st floor. We
         can hear it above us.”
Approximately 2213 hours
        Paddock fired an unknown number of rounds into the Las Vegas Village area.
Approximately 2215 hours
        Paddock fired two separate volleys of an unknown number of rounds into the Las Vegas
         Village area.
Approximately 2216 hours
        LVMPD Officers Varsin and Hendrex along with Mandalay Bay security officers made
         entry into the stairwell on the 31st floor.
Approximately 2218 hours
        The heat detection indicator from inside room 32-135 detected no further readings from
         inside of the room.
Approximately 2241 hours
        A Strike Team which included K9 Sergeant Bitsko, K9 Officer Newton, SWAT Officer
         Hancock and Detective Walford ascended the stairs from the 30th floor. The Strike Team
         made entry and cleared the 31st floor.
Approximately 2256 hours
        The Strike Team reentered the stairwell from the 31st floor and walked up to the 32nd floor.
Approximately 2257 hours
        K9 Sergeant Bitsko and SWAT Officer Hancock manually breached the door barricaded
         with the “L” bracket.
LVMPD Internal Oversight & Constitutional Policing                                                Page 14 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000311
             Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 316 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Approximately 2320 hours
          The Strike Team conducted an explosive breach into room 32-135 and made entry. The
           Strike Team reported Paddock was down from an apparent self-inflected gunshot wound
           to the head.
Approximately 2326 hours
          The Strike Team made a second explosive breach from inside of room 32-135 into room
           32-134 through the connecting doors. Immediately after the explosive breach an LVMPD
           SWAT Officer negligently fired a three round burst from his rifle. The rounds fired from
           the SWAT officer’s rifle struck a chair, an entertainment center/cabinet and a wall.
After the Strike Team finished rendering rooms 32-134 and 32-135 safe, the scene was secured
until investigative personnel arrived and assumed control of the 32nd floor.

III.       VICTIMS

Deceased

Victims 1-31 were pronounced deceased by the coroner investigator who responded to the Las
Vegas Village venue and surrounding areas. The remaining victims were pronounced by the
attending physician at the corresponding medical facility they were transported to. After all
autopsies were performed, the Clark County Office of the Coroner Medical Examiner (CCOCME)
ruled the cause and manner of death for all deceased victims to be gunshot wound(s) and
homicide.

1. Jack Reginald Beaton
      Age 54
      Clark County Coroner’s Office Case Number: 17-10060
      Clark County Coroner’s Office Seal Number: 727327
      Time of Death: 10-02-2017 at 0545 hours

2. Christopher Louis Roybal
     Age 28
     Clark County Coroner’s Office Case Number: 17-10061
     Clark County Coroner’s Office Seal Number: 727302
     Time of Death: 10-02-2017 at 0545 hours

3. Lisa Marie Patterson
      Age 46
      Clark County Coroner’s Office Case Number: 17-10062
      Clark County Coroner’s Office Seal Number: 732484
      Time of Death: 10-02-2017 at 0545 hours




LVMPD Internal Oversight & Constitutional Policing                                                Page 15 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000312
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 317 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

4. Adrian Allan Murfitt
     Age 35
     Clark County Coroner’s Office Case Number: 17-10063
     Clark County Coroner’s Office Seal Number: 737364
     Time of Death: 10-02-2017 at 0545 hours

5. Hannah Lassette Ahlers
     Age 34
     Clark County Coroner’s Office Case Number: 17-10065
     Clark County Coroner’s Office Seal Number: 732473
     Time of Death: 10-02-2017 at 0545 hours

6. Austin William Davis
     Age 29
     Clark County Coroner’s Office Case Number: 17-10066
     Clark County Coroner’s Office Seal Number: 727385
     Time of Death: 10-02-2017 at 0545 hours

7. Stephen Richard Berger
      Age 44
      Clark County Coroner’s Office Case Number: 17-10067
      Clark County Coroner’s Office Seal Number: 732488
      Time of Death: 10-02-2017 at 0545 hours

8. Stacee Ann Etcheber
      Age 50
      Clark County Coroner’s Office Case Number: 17-10068
      Clark County Coroner’s Office Seal Number: 727388
      Time of Death: 10-02-2017 at 0545 hours

9. Christiana Duarte
     Age 22
     Clark County Coroner’s Case Number: 17-10069
     Clark County Coroner’s Seal Number: 732404
     Time of Death: 10-02-2017 at 0545 hours

10. Lisa Romero-Muniz
       Age 48
       Clark County Coroner’s Case Number: 17-10070
       Clark County Coroner’s Seal Number: 732458
       Time of Death: 10-02-2017 at 0545 hours

11. Heather Lorraine Alvarado
      Age 35
      Clark County Coroner’s Office Case Number: 17-10071
      Clark County Coroner’s Office Seal Number: 732423
      Time of Death: 10-02-2017 at 0545 hours
LVMPD Internal Oversight & Constitutional Policing                                                Page 16 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000313
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 318 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

12. Denise Cohen
      Age 58
      Clark County Coroner’s Case Number: 17-10072
      Clark County Coroner’s Office Seal Number: 732474
      Time of Death: 10-02-2017 at 0545 hours

13. Kurt Allen Von Tillow
      Age 55
      Clark County Coroner’s Office Case Number: 17-10073
      Clark County Coroner’s Office Seal Number: 732489
      Time of Death: 10-02-2017 at 0545 hours

14. Brennan Lee Stewart
       Age 30
       Clark County Coroner’s Case Number: 17-10074
       Clark County Coroner’s Seal Number: 732414
       Time of Death: 10-02-2017 at 0545 hours

15. Derrick Dean Taylor
       Age 56
       Clark County Coroner’s Office Case Number: 17-10075
       Clark County Coroner’s Office Seal Number: 732445
       Time of Death: 10-02-2017 at 0545 hours

16. Kelsey Breanne Meadows
       Age 28
       Clark County Coroner’s Office Case Number: 17-10076
       Clark County Coroner’s Office Seal Number: 732486
       Time of Death: 10-02-2017 at 0545 hours

17. Jennifer Topaz Irvine
       Age 42
       Clark County Coroner’s Office Case Number: 17-10077
       Clark County Coroner’s Office Seal Number: 727384
       Time of Death: 10-02-2017 at 0545 hours

18. William W. Wolfe Jr.
       Age 42
       Clark County Coroner’s Office Case Number: 17-10078
       Clark County Coroner’s Office Seal Number: 732415
       Time of Death: 10-02-2017 at 0545 hours

19. Carly Anne Kreibaum
       Age 33
       Clark County Coroner’s Office Case Number: 17-10079
       Clark County Coroner’s Office Seal Number: 732478
       Time of Death: 10-02-2017 at 0545 hours
LVMPD Internal Oversight & Constitutional Policing                                                Page 17 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000314
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 319 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

20. Laura Anne Shipp
       Age 50
       Clark County Coroner’s Office Case Number: 17-10080
       Clark County Coroner’s Office Seal Number: 732451
       Time of Death: 10-02-2017 at 0545 hours

21. Carrie Rae Barnette
       Age 34
       Clark County Coroner’s Office Case Number: 17-10085
       Clark County Coroner’s Office Seal Number: 727391
       Time of Death: 10-02-2017 at 0545 hours

22. Jordyn Nicole Rivera
       Age 21
       Clark County Coroner’s Office Case Number: 17-10101
       Clark County Coroner’s Office Seal Number: 732469
       Time of Death: 10-02-2017 at 0545 hours

23. Victor Loyd Link
       Age 55
       Clark County Coroner’s Office Case Number: 17-10102
       Clark County Coroner’s Office Seal Number: 732497
       Time of Death: 10-02-2017 at 0545 hours

24. Candice Ryan Bowers
      Age 40
      Clark County Coroner’s Office Case Number: 17-10103
      Clark County Coroner’s Office Seal Number: 732417
      Time of Death: 10-02-2017 at 0545 hours

25. Jordon Alan McIldoon
       Age 23
       Clark County Coroner’s Office Case Number: 17-10053
       Clark County Coroner’s Office Seal Number: 732487
       Time of Death: 10-02-2017 at 0545 hours

26. Keri Lynn Galvan
       Age 31
       Clark County Coroner’s Office Case Number: 17-10054
       Clark County Coroner’s Office Seal Number: 732499
       Time of Death: 10-02-2017 at 0545 hours

27. Dorene Anderson
      Age 49
      Clark County Coroner’s Office Case Number: 17-10057
      Clark County Coroner’s Office Seal Number: 727313
      Time of Death: 10-02-2017 at 0545 hours
LVMPD Internal Oversight & Constitutional Policing                                                Page 18 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000315
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 320 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

28. Neysa C. Tonks
      Age 46
      Clark County Coroner’s Office Case Number: 17-10058
      Clark County Coroner’s Office Seal Number: 727306
      Time of Death: 10-02-2017 at 0545 hours

29. Melissa V. Ramirez
      Age 26
      Clark County Coroner’s Office Case Number: 17-10059
      Clark County Coroner’s Office Seal Number: 732407
      Time of Death: 10-02-2017 at 0545 hours

30. Brian Scott Fraser
       Age 39
       Clark County Coroner’s Office Case Number: 17-10056
       Clark County Coroner’s Office Seal Number: 732408
       Time of Death: 10-02-2017 at 0545 hours

31. Tara Ann Roe
       Age 34
       Clark County Coroner’s Office Case Number: 17-10055
       Clark County Coroner’s Office Seal Number: 732441
       Time of Death: 10-02-2017 at 0545 hours

32. Bailey Schweitzer
       Age 20
       Clark County Coroner’s Office Case Number: 17-10051
       Clark County Coroner’s Office Seal Number: 732420
       Time of Death: 10-01-2017 at 2307 hours

33. Patricia Mestas
       Age 67
       Clark County Coroner’s Office Case Number: 17-10049
       Clark County Coroner’s Office Seal Number: 727390
       Time of Death: 10-01-2017 at 2250 hours

34. Jennifer Parks
       Age 36
       Clark County Coroner’s Office Case Number: 17-10052
       Clark County Coroner’s Office Seal Number: 727359
       Time of Death: 10-01-2017 at 2300 hours

35. Angela Gomez
      Age 20
      Clark County Coroner’s Office Case Number: 17-10050
      Clark County Coroner’s Office Seal Number: 732413
      Time of Death: 10-01-2017 at 2253 hours
LVMPD Internal Oversight & Constitutional Policing                                                Page 19 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000316
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 321 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

36. Denise Burditus
      Age 50
      Clark County Coroner’s Office Case Number: 17-10082
      Clark County Coroner’s Office Seal Number: 731590
      Time of Death: 10-02-2017 at 0047 hours

37. Cameron Robinson
      Age 28
      Clark County Coroner’s Office Case Number: 17-10083
      Clark County Coroner’s Office Seal Number: 732437
      Time of Death: 10-01-2017 at 2301 hours

38. James Melton
      Age 29
      Clark County Coroner’s Office Case Number: 17-10084
      Clark County Coroner’s Office Seal Number: 727311
      Time of Death: 10-01-2017 at 2320 hours

39. Quinton Robbins
      Age 20
      Clark County Coroner’s Office Case Number: 17-10046
      Clark County Coroner’s Office Seal Number: 731535
      Time of Death: 10-01-2017 at 2315 hours

40. Charleston Hartfield
      Age 34
      Clark County Coroner’s Office Case Number: 17-10086
      Clark County Coroner’s Office Seal Number: 727353
      Time of Death: 10-01-2017 at 2230 hours

41. Erick Silva
       Age 21
       Clark County Coroner’s Office Case Number: 17-10087
       Clark County Coroner’s Office Seal Number: 725563
       Time of Death: 10-01-2017 at 2230 hours

42. Teresa Nicol Kimura
       Age 38
       Clark County Coroner’s Office Case Number: 17-10088
       Clark County Coroner’s Office Seal Number: 725567
       Time of Death: 10-01-2017 at 2230 hours

43. Susan Smith
      Age 53
      Clark County Coroner’s Office Case Number: 17-10089
      Clark County Coroner’s Office Seal Number: 725552
      Time of Death: 10-01-2017 at 2230 hours
LVMPD Internal Oversight & Constitutional Policing                                                Page 20 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000317
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 322 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

44. Dana Leann Gardner
      Age 52
      Clark County Coroner’s Office Case Number: 17-10090
      Clark County Coroner’s Office Seal Number: 725569
      Time of Death: 10-01-2017 at 2250 hours

45. Thomas Day Jr.
      Age 54
      Clark County Coroner’s Office Case Number: 17-10091
      Clark County Coroner’s Office Seal Number: 725591
      Time of Death: 10-01-2017 at 2341 hours

46. John Joseph Phippen
       Age 56
       Clark County Coroner’s Office Case Number: 17-10092
       Clark County Coroner’s Office Seal Number: 725568
       Time of Death: 10-02-2017 at 0244 hours

47. Rachel Kathleen Parker
      Age 33
      Clark County Coroner’s Office Case Number: 17-10093
      Clark County Coroner’s Office Seal Number: 725561
      Time of Death: 10-01-2017 at 2230 hours

48. Sandra Casey
      Age 34
      Clark County Coroner’s Office Case Number: 17-10094
      Clark County Coroner’s Office Seal Number: 725550
      Time of Death: 10-01-2017 at 2230 hours

49. Jessica Klymchuk
       Age 34
       Clark County Coroner’s Office Case Number: 17-10095
       Clark County Coroner’s Office Seal Number: 727322
       Time of Death: 10-01-2017 at 2230

50. Andrea Lee Anna Castilla
      Age 28
      Clark County Coroner’s Office Case Number: 17-10096
      Clark County Coroner’s Office Seal Number: 727381
      Time of Death: 10-01-2017 at 2301 hours

51. Carolyn Lee Parsons
       Age 31
       Clark County Coroner’s Office Case Number: 17-10097
       Clark County Coroner’s Office Seal Number: 727382
       Time of Death: 10-01-2017 at 2300 hours
LVMPD Internal Oversight & Constitutional Policing                                                Page 21 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000318
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 323 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

52. Michelle Vo
       Age 32
       Clark County Coroner’s Office Case Number: 17-10098
       Clark County Coroner’s Office Seal Number: 727355
       Time of Death: 10-01-2017 at 2244 hours

53. Rocio Guillen
      Age 40
      Clark County Coroner’s Office Case Number: 17-10099
      Clark County Coroner’s Office Seal Number: 732409
      Time of Death: 10-01-2017 at 2318 hours

54. Christopher Hazencomb
      Age 44
      Clark County Coroner’s Office Case Number: 17-10105
      Clark County Coroner’s Office Seal Number: 732444
      Time of Death: 10-02-2017 at 1044 hours

55. Brett Schwanbeck
       Age 61
       Clark County Coroner’s Office Case Number: 17-10081
       Clark County Coroner’s Office Seal Number: 732471
       Time of Death: 10-03-2017 at 1328 hours

56. Rhonda M. LeRocque
      Age 42
      Clark County Coroner’s Office Case Number: 17-10045
      Clark County Coroner’s Office Seal Number: 542385
      Time of Death: 10-02-2017 at 0023 hours

57. Austin Cooper Meyer
      Age 24
      Clark County Coroner’s Office Case Number: 17-10047
      Clark County Coroner’s Office Seal Number: 540045
      Time of Death: 10-01-2017 at 2257 hours

58. Calla-Marie Medig
       Age 28
       Clark County Coroner’s Office Case Number: 17-10048
       Clark County Coroner’s Office Seal Number: 539069
       Time of Death: 10-01-2017 at 2246 hours




LVMPD Internal Oversight & Constitutional Policing                                                Page 22 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000319
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 324 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                          Event: 171001-3519

Living Victims

Documenting the living victims in this case has been a work in progress since October 1st. Source
material poured into the LVMPD’s Force Investigation Team (FIT) office post October 1 st and is
still being received.12

LVMPD recognizes that the approximate 22,000 people who attended the Route 91 festival are
all victims. That number does not take into consideration the hundreds and possibly thousands
that were walking along the Las Vegas Strip at the time of the shooting outside the Las Vegas
Village venue. The goal of the FIT team was to document those who actually sustained any type
of physical injury, no matter the degree. As previously stated in the introduction to this report,
this information is vital in order to grant assistance, properly categorize the level of crime and
most importantly, honor those who fell prey to this horrific act of violence.

IV.      SUSPECT

An extensive joint investigation involving the LVMPD and the Federal Bureau of Investigation
(FBI) began immediately after the incident into the life of Paddock. Every facet of Paddock’s life
was explored.

At the time of the incident Paddock was 64 years old. He owned residences in Mesquite and
Reno, Nevada and lived with his girlfriend Marilou Danley. Danley was in the Philippines at the
time of the incident. She left the country on September 14, 2017, and returned on October 3,
2017. Upon arriving in the United States, Danley was interviewed by investigators several times.
Interviews were also conducted with other relatives and acquaintances reference Paddock’s
background.

Danley stated Paddock’s demeanor changed over the course of the last year. According to her,
Paddock had become “distant” and their relationship was no longer intimate. Paddock was
described as “germaphobic” and had strong reactions to smells. Over the course of the last year
Paddock began to buy firearms and Danley believed it was a hobby of his.

During a stay at the Mandalay Bay in the beginning of September 2017, Danley recalled Paddock
behaving strangely. The two were staying in room 60-235 and she observed Paddock constantly
looking out the windows of the room which overlooked the Las Vegas Village venue. Paddock
would move from window to window looking at the site from different angles.

Paddock’s ex-wife, Peggy Reiko Paddock, described Paddock as intelligent and great with
numbers. She further stated he worked as an Internal Revenue Service Agent. Paddock later
worked as an auditor for Lockheed Martin and Boeing. According to her, Paddock began
purchasing real estate properties with his mother and renovating them. Paddock bought and
sold numerous properties throughout the years and, as far as she knew, sold the last property
in 2010.

12 Source material consisted of information from local area hospitals, notes taken by Crime Scene Analysts

who responded to local area hospitals to document the injured, voluntary statements from actual victims and
witnesses, and lastly, incident crime reports filed by hundreds of victims who sustained injury but waited to
travel home to receive medical care. Also included was a separate listing of victims provided by the FBI.
LVMPD Internal Oversight & Constitutional Policing                                                   Page 23 of 81
Force Investigation Team
                                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                                Ex. 1 Page 000320
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 325 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                         Event: 171001-3519


Paddock made numerous claims to friends and family that he consistently felt ill, in pain or
fatigued. An interview was conducted with a physician in Las Vegas who identified himself as
Paddock’s primary care physician since 2009. He last saw Paddock as a patient on or around
October 2016 for an annual checkup. He recalled the only major ailment Paddock had was a
slip and fall accident at a casino approximately 3 years earlier, which caused a muscle tear.

The physician described Paddock as “odd" in behavior with “little emotion” shown. He believed
Paddock may have had bipolar disorder however, Paddock did not want to discuss that topic
further with him. Paddock also refused anti-depressant medication but accepted prescriptions
for anxiety. He noted Paddock seemed fearful of medications, often refusing to take them. He
did not believe Paddock was abusing any medications.

Most of the people interviewed acknowledged Paddock’s gambling habits. Paddock was known
to gamble tens of thousands of dollars at a time and played at numerous casinos. Paddock was
often given complimentary rooms and meals at the casinos he frequented due to the amount of
money he gambled.

From 1982 through September of 2016, Paddock purchased approximately 29 firearms. These
purchases consisted of handguns, shotguns and one rifle. From October 2016 through
September 2017, Paddock purchased over 55 firearms along with firearm related accessories.
Most of the firearms were rifles of various calibers. With the exception of the revolver, every
firearm recovered in the Mandalay Bay was bought after September 2016.

During the course of the investigation it was learned Paddock had very limited contact with law
enforcement. Paddock was stopped by police on occasion for traffic related offenses receiving
only traffic citations. No arrest history was found for Paddock.

V.       WITNESS INTERVIEWS

The following information was taken from witness statements and compiled into a chronological
description of the events.

On 10-01-2017, LVMPD had 51 personnel assigned to work special events overtime for the
Route 91 Festival. The personnel staffing consisted of one lieutenant, five sergeants, forty-four
officers and one civilian. The event had officers staffed from 1300-0100 hours with officers
arriving and securing at various times.

The specific assignments for the event were West Traffic (1 sergeant, 10 officers), East Traffic
(1 sergeant, 10 officers), Interior Entry / Gates (1 sergeant, 6 officers), Interior Early Squad (1
sergeant, 8 officers), Interior Late Squad (1 sergeant, 8 officers), Event Coordinator (1 officer)
and Command Post (1 officer, 1 civilian). The assignments were supervised by Lieutenant
Spencer who was designated as the Incident Commander for the festival.13



13 Specific officers and assigned locations can be found on the Assignment List, ICS Form 204 for the event.

LVMPD Internal Oversight & Constitutional Policing                                                  Page 24 of 81
Force Investigation Team
                                                                                    Guedes v. ATF / Codrea v. ATF
                                                                                               Ex. 1 Page 000321
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 326 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

At approximately 2118 hours, Mandalay Bay Security Officer Campos was working his normal
duties when he was notified of several HotSOS calls in the 100 Wing tower that he was assigned
to monitor. The standard operating procedure for the Mandalay Bay security staff once an alarm
is received is to call the room and attempt to contact the guest. If there is no answer, a security
officer will be sent to check the door. These HotSOS calls are common and occur numerous
times throughout the day. The security dispatcher will typically close the alarm out once a
security officer is assigned. Security Dispatcher Brett Buck notified Security Officer Campos to
check several HotSOS calls. Room 32-129 was last on his list to check.

Security Officer Campos was on the 30th floor and en-route to room 32-129 via the stairwell
located at the north end of the 100 wing. Security Officer Campos attempted to enter the hallway
of the 32nd floor through the small foyer and discovered the door was locked. The doors are
always open due the stairwell being a fire escape and county codes require they remain
unlocked at all times. The door has a handle but no locking mechanism.

Security Officer Campos stated he walked down the stairwell to the 31st floor, entered the hallway
and walked to the Center Core. He used the guest elevator to go to the 32 nd floor. Video
surveillance showed Security Officer Campos actually went to the 33rd floor, then took a guest
elevator down to the 32nd floor.

Security Officer Campos proceeded directly to the end of the 100 wing hallway, opened the inner
door of the foyer entrance to the stairwell and observed the “L” bracket screwed into the door
frame and door that opens into the stairwell. He realized this is what kept the door secured.
Security Officer Campos utilized the house phone mounted inside the foyer to notify the security
dispatcher of the bracket. The security dispatcher passed the call to the engineering section.

Security Officer Campos hung up the phone, heard what he described as a loud rapid drilling
sound coming from room 32-135. He recalled the drilling sounded like it was coming from deep
inside the room.

While walking toward the Center Core, Security Officer Campos heard gunfire coming from room
32-135 and ran down the hallway. Security Officer Campos realized he was shot in his left calf
as he took cover in the alcove of rooms 32-122 and 32-124. Using both his radio and cell phone,
Security Officer Campos advised the security dispatcher he had been shot in the leg with a BB
/ Pellet gun and was injured. He stayed in this position on the phone with the dispatcher while
waiting for help. Security Officer Campos heard more gunshots coming from inside 32-135, but
no rounds were coming down the hallway.

As country music singer Jason Aldean performed on stage, LVMPD officers working the interior
of the event heard what they described as fireworks going off. Officer Hutchason and Special
Events Coordinator Rodriquez, who were in the Command Post with security personnel, used
the video monitors to look for the source of the noise. Upon recognizing the source of the noise
to be gunfire, Coordinator Rodriguez directed all officers to change their radios to the CCAC
radio channel. Coordinator Rodriguez monitored both the Events radio channel and CCAC radio
channel throughout the incident.



LVMPD Internal Oversight & Constitutional Policing                                                Page 25 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000322
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 327 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

LVMPD officers inside the Las Vegas Village recognized the sounds were coming from the
southwest. Part of the crowd started to move towards the exits. Shortly after hearing the initial
gunfire, LVMPD officers heard the first long burst of what they described as automatic gunfire.
Once officers recognized the sound to be gunfire, they immediately searched for the gunman.

Security personnel along with LVMPD officers were in the security office of Mandalay Bay with
two females being detained for trespass. They became aware via the radio of an active shooter
call. Security Manager Oelke headed towards the Luxor side of the property when another call
came over the radio that a security officer14 had been shot with a pellet gun in the tower of the
Mandalay Bay.

Security Manager Oelke ran to the Center Core guest elevators of the Mandalay Bay and met
with Security Managers Sottile, Umstott and LVMPD Officers Hendrex and Varsin. As they
arrived at the elevators, Engineering Supervisor Shannon Alsbury was holding the elevator door
open. Engineer Alsbury was using a key to lock out the elevator and keep it from being stopped
by guests trying to get on. There was conflicting information on the exact location of the
shooter(s) whether it was on the 31st, 32nd, or the 33rd floors. While on the elevator they decided
to check all three floors.

As the door opened on the 31st floor, Security Managers Oelke and Umstott and LVMPD Officers
Hendrex and Varsin exited and walked up the 100 wing upon hearing gunshots coming from an
unknown direction. Security Manager Sottile and Engineer Alsbury continued to the 32nd floor
on the elevator.

At the Las Vegas Village, LMVPD officers observed the crowd move away from the southwest
portion of the venue. They believed an active shooter was in that area. As officers moved toward
the stage they heard several more bursts of gunfire. Officers directed citizens to get on the
ground as they looked for a gunman. As officers moved through the crowd, they observed
several citizens wounded and deceased. Officer Polion advised LVMPD Dispatch of shots fired
and multiple casualties. The radio traffic was accidently broadcast on SEAC radio channel.

Officers assigned to the venue near Reno Avenue and Las Vegas Boulevard began to move
south along the Boulevard. They believed the gunfire was coming from the south end of Las
Vegas Village. As they moved southbound, officers directed civilians away from the area. The
officers received direct gunfire and took cover behind a wall as bullets impacted around them.
Between bursts of gunfire, officers continued to assist evacuating civilians and administering first
aid to the wounded.

Officers assigned to the venue near Mandalay Bay Drive and Las Vegas Boulevard heard the
initial gunshots followed by a long burst of gunfire. Detective Balonek, who was on Mandalay
Bay Drive east of Las Vegas Boulevard, believed the gunfire was coming from inside the Las
Vegas Village, or from an elevated position. He retrieved his binoculars from his vehicle and
scanned the north facing tower of Mandalay Bay. Approximately three-quarters of the way up
the tower on the north end, Detective Balonek observed a silhouette of a male standing in a
shooting position several feet back from a window. Detective Balonek could see the smoke from
the male shooting, however, no muzzle flashes were observed. Detective Balonek could not get
14 Security Officer Campos

LVMPD Internal Oversight & Constitutional Policing                                                Page 26 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000323
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 328 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

on the radio so he switched to the Northeast Area Command channel and broadcasted the
shooters location.

At the same time inside Mandalay Bay, Engineer Schuck was in room 62-207 working on a leak
when he was directed by his radio dispatcher and supervisor to respond to the 32nd floor stairwell
in the 100 wing to remove the “L” bracket that Security Officer Campos had called and reported.
Engineer Schuck utilized the 200 wing service elevator to go down to the 32nd floor. He gathered
his drill and other small tools needed to remove the bracket and walked through the Center Core
from the 200 wing to the 100 wing. Engineer Schuck walked approximately one third of the way
up the hallway when he observed Security Officer Campos poke his head into the hallway from
a space between two rooms on Engineer Schuck’s right hand side.

Engineer Schuck heard the sound of rapid gunfire coming from the end of the hallway. Security
Officer Campos looked out from his position and yelled for Engineer Schuck to take cover.
Engineer Schuck immediately took a step to his left into the alcove between two rooms. Gunfire
erupted down the hallway towards his direction. Engineer Schuck felt the concussion of the
rounds pass by where he was taking cover. An unknown object struck him in his back without
causing serious injuries other than a small bruise. Engineer Schuck also stated he could see
blood coming from Security Officer Campos’ calf area.

Below on the 31st floor, LVMPD Officers Varsin and Hendrex along with Security Managers
Oelke and Umstott walked up the 100 wing when they heard gunfire coming from the 32nd floor.
They moved to the stairwell at the end of the hall. As they got closer to the stairwell, the gunfire
continued and they smelled gunpowder. They entered the 100 wing stairwell and proceeded up
to the door of the 32nd floor. They posted up to block any possible escape by the shooter.

Detective Clarkson, assigned to the event in uniform, was on Las Vegas Boulevard north of
Mandalay Bay Drive when he heard the initial shots and radio traffic advising of multiple
casualties inside of the Las Vegas Village. Detective Clarkson and other officers took cover and
began searching for the shooter believing the shots were coming from the west. As patrol cars
and a prisoner transport van arrived at the intersection, Detective Clarkson and other officers
moved towards the vehicles for cover with the intention to move to Mandalay Bay.

CCAC patrol officers responded to the scene to assist. Officers Cook and Haynes arrived near
Las Vegas Boulevard and Mandalay Bay Drive and parked their patrol vehicle. Officers Cook
and Haynes moved towards the group that Detective Clarkson was with.

As the officers moved behind the patrol vehicles, they started receiving direct gunfire which
impacted the ground and patrol vehicles around them. Detective Clarkson received a gunshot
wound to the neck while taking cover behind a patrol vehicle. Officer Cook was struck by a bullet
in his right bicep that continued into his chest.

While behind the vehicles, the officers realized the gunfire was coming from an elevated position
and was directed at the patrol vehicles. During breaks in the gunfire, officers moved in teams of
two from the patrol vehicle to a block wall for better cover. Detective Clarkson and Officer Cook
were both transported to the hospitals by separate LVMPD vehicles.


LVMPD Internal Oversight & Constitutional Policing                                                Page 27 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000324
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 329 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

As the gunfire continued, officers inside the event moved through the Las Vegas Village and
provided direction for people trying to exit. This included the actions of Officer Hartfield who was
attending the concert in an off-duty capacity and was mortally wounded while taking police
action. Officers located wounded persons and began first aid measures and coordinated medical
efforts with off-duty medical personnel who were attending the concert.

Officers also directed people to the exits and towards positions of cover and concealment.
Exterior officers on the east side of the Las Vegas Village were swarmed by people as they fled
the gunfire. Officers directed them to continue east and north as they recognized the gunfire was
coming from Mandalay Bay. As officers began to encounter wounded civilians, casualty
collection points were set up and first aid was rendered. Officers assisted in getting the wounded
to hospitals via ambulances, private vehicles and patrol cars.

Exterior officers on the west side of the Las Vegas Village along Las Vegas Boulevard
encountered people as they fled the venue. Officers knew the gunfire was coming from Mandalay
Bay and directed people to stay behind cover and move to the north, away from gunfire. Officers
encountered several wounded people and provided first aid until they could be taken to medical
personnel. As officers moved south they formed Strike Teams and moved towards Mandalay
Bay.

Sergeants Richmond, Riddle, and Van Nest each formed Strike Teams from overtime officers
and patrol officers responding to the venue. The Strike Teams moved west across Las Vegas
Boulevard and into the parking lot of the Luxor Hotel, then south onto the Mandalay Bay property.
Upon entering Mandalay Bay, Strike Teams coordinated efforts with other LVMPD officers and
security personnel already inside the casino.

As Strike Teams entered the hotel through the main valet, they met hotel security and were
directed to the Center Core guest elevators. Each group was given information the shooter was
possibly on the 29th or 31st floors and taken there by elevator. After each group of officers were
taken to the upper floors, they instructed the hotel security guards to lock out the elevators. A
Strike Team, which included two SWAT officers, was taken to the Foundation Room located on
the top floor. Once inside the bar, officers began to move occupants to a safe location and clear
the bar.

On the 32nd floor, Security Officer Campos and Engineer Schuck were still pinned down in the
hallway. Engineer Schuck heard another round of rapid gunfire and believed it was being fired
towards the outside of the building. During a small break in the gunfire, Engineer Schuck and
Security Officer Campos ran from their position back towards the Center Core. Engineer Schuck
was checked for injuries by Engineer Alsbury who arrived on the 32nd floor with armed Mandalay
Bay Security Officers. Engineer Schuck stated the gunfire continued for several more long rapid
fire volleys with short breaks between volleys. He described the breaks in fire lasting only 5-6
seconds before the gunfire would continue.

As LVMPD officers arrived on the 32nd Floor, they proceeded up the 300 wing, officers made
entry into rooms and searched for occupants. Engineer Schuck redirected the officers to the 100
wing where the shooting had been coming from. The sound of gunfire had ceased so the officers
conducted slow and methodical evacuations as they moved up the hallway.
LVMPD Internal Oversight & Constitutional Policing                                                Page 28 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000325
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 330 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

After hearing the update of the shooters location, SWAT Officer O’Donnell and two patrol officers
left the group clearing the Foundation Room and responded to the 32nd floor. Upon exiting the
elevator, they encountered several officers already on the floor. The officers were moving up the
hallway towards the suspect’s room.

Engineer Shuck locked out the elevators to keep guests from ascending the tower.

Police personnel on the 32nd floor included a sergeant, SWAT officer, and patrol officers from
the Las Vegas Village and responding officers from various area commands. As occupants were
evacuated from their rooms, they were moved to the elevator bank and down the tower. Officers
discovered a small infant alone in one of the rooms. As evacuations continued, the nanny for
the infant was located in a room across the hall and reunited with the child. The officers stopped
evacuations approximately two thirds of the way up the hall.

At the Las Vegas Village, people who were hiding in multiple locations were evacuated. Officers
located several people hiding underneath the concert stage and inside tour buses located next
to the stage. Additional teams of officers arrived and swept the remaining areas of the Las Vegas
Village. Once evacuations were completed, the scene was secured around the Las Vegas
Village.

SWAT Officer Hancock, along with K9 Sergeant Bitsko and K9 Officer Newton went to the 31st
floor and came up the stairs to the 32nd floor. At the door, they met with LVMPD Officers Hendrex
and Varsin and Mandalay Bay security personnel. Officer Hancock attempted to open the first
of two doors to enter the hallway but could not due to the “L” bracket described earlier.

After the Strike Team arrived in the stairwell, SWAT Officer Hancock and K9 Sergeant Bitsko
manually breached the inner door leading to the foyer of the 32nd floor. From the foyer, the door
was cracked open enough to see the doors to rooms 32-135 and 32-134. Both doors were closed
and a room service cart was located in front of room 32-134. A white table cloth was draped over
the service cart with various items on top of the table cloth. Officers observed wires leading from
the service cart to room 32-134 and believed the suspect may have set some type of improvised
explosive device.

A decision was made to enter room 32-135 utilizing an explosive breach. Officers in the stairwell
notified the officers in the hallway that an explosive breach would be utilized. Over the radio they
became aware of the extent of injuries inside the Las Vegas Village. No gunfire had been heard
from the suspect’s room for approximately 40 minutes. It was decided entry was necessary to
the room to determine if the suspect was still inside and to stop any further shooting from the
room. SWAT Lieutenant Huddler was advised by SWAT Officer Hancock that the door to room
32-135 was going to be breached using explosives. K9 Officer Newton stepped into the hallway
and utilized a ballistic shield to provide cover for SWAT Officer Hancock as he set the breach on
the door while K9 Sergeant Bitsko covered the door to 32-134. K9 Sergeant Bitsko observed a
camera on the food cart in the hallway. He covered the camera, and turned it away from the
doorway while Officer Hancock hung the explosive on the door to room 32-135. Once the charge
was hung on the door, the officers returned to the stairwell.



LVMPD Internal Oversight & Constitutional Policing                                                Page 29 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000326
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 331 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

The approval for the breach was given by SWAT Lieutenant Huddler. The officers were notified
over the radio, the door to room 32-135 was going to be breached and to take cover. K9 Sergeant
Bitsko utilized the ballistic shield to keep the door from the foyer to the hallway open in case the
explosion damaged it. SWAT Officer Hancock observed approximately 12 officers now in the
stairwell behind him. He designated those that would be making entry into the suspect’s room
and others would be the downed officer rescue unit if needed.

The entry team consisted of K9 Sergeant Bitsko, K9 Officer Newton, SWAT Officer Hancock,
Officers Donaldson, Trzpis and Walford. Officers Burns and Thiele were assigned to post at the
door upon the team’s entry to guard the hallway. The explosive breach was made into room 32-
135 and broadcasted over the radio. The officers opened the stairwell door enough to see the
doorway to 32-135 and observed the breach was successful and the door was open into the
room. Inside the room, they observed a rifle with a scope and bipod on the floor just inside the
door. The officers waited for approximately 30 seconds before leaving the stairwell to see if there
was any reaction from Paddock.

Moving slowly and methodically, K9 Officer Newton entered first into the hallway with the shield
followed by the officers from stairwell. SWAT Officer O’Donnell and Officer Magsaysay joined
the Strike Team as they entered Paddock’s room.

From behind the shield, the Strike Team made entry into room 32-135. The team split into 2
teams as they entered. Team 1 went left into a bedroom and cleared it. Team 2 went to the right
and yelled Paddock was down. After clearing the bedroom, Team 1 held at the doorway into the
main living area of the room.

Team 2 encountered Paddock lying on the floor on his back. A small frame revolver was
observed on the ground above Paddock’s head. Apparent blood was located on the revolver
and a pool of blood had formed around Paddocks head. The officers believed Paddock had a
self-inflicted gunshot wound. The large window at Paddock’s feet was broken out and the curtain
was blowing into the room. On the floor next to the Paddock’s feet was a small sledge hammer
and Paddock was laying on top of a rifle. The officers also observed several more rifles, spent
ammunition throughout the living area, and several loaded magazines.

Team 2 continued through the living area to the right and encountered a closed, locked
connecting door leading to the adjoining room 32-134. Team 1 moved through the living space
up to Team 2 near the closed connector door. SWAT Officer Hancock and Officer Walford
attempted to kick the door open but determined it was a solid wood door inside a metal frame.
It was decided a second explosive breach was needed to gain entry into the adjoining room.

SWAT Officer Hancock breached the door. Immediately following the explosive breach, SWAT
Officer O’Donnell, had one negligent discharge of a three round burst from his rifle. Officers in
the hallway heard the shots fired and broadcasted shots had been fired inside the room. Officers
flooded into room 32-134 through the breached adjoining connector door.

As room 32-134 was cleared, several rifles were found inside the room. A small hallway
separated the main area of the room from the bathroom and main door. Another food service
cart draped in a white table cloth was in this hallway. On the cart was a laptop computer which
LVMPD Internal Oversight & Constitutional Policing                                                Page 30 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000327
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 332 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

was on and the monitor showed a live feed of the hallway where the officers had come from.
Inside the room, one of the large windows was also broken out.

A complete recheck of the rooms was made to ensure a person was not hiding under any
furniture. Several suitcases were observed throughout the rooms. Many of the suitcases
contained several loaded magazines. Officers also observed a camera attached to the peephole
on the main door of room 32-135. Once the recheck was completed, the SWAT and K9 officers
left the room due to reports of other shootings at other locations.

Sergeant Matchko was in the hallway and entered the rooms once they were cleared. Along with
officers still in the room, Sergeant Matchko secured the crime scene. Sergeant Matchko was
contacted by the command post and advised to attempt to locate any information reference
Paddock. Sergeant Matchko directed officers to look throughout the room in an attempt to locate
any cell phones or identification for Paddock. Identification and cellular phones were located, as
well as several room keys and player cards with Paddock and Danley’s name on it. Pictures of
the items were taken and sent to the command post as ordered. The officers also rolled Paddock
onto his side to check for identification but found none. After the search for identification was
completed, the officers exited and secured the room.

As officers cleared the Las Vegas Village, multiple reports of active shooters along Las Vegas
Boulevard at various hotel properties were broadcasted. Several officers from the exterior Las
Vegas Village posts joined Strike Teams and left to address those reports. As the active shooter
reports were cleared and determined to be unfounded, officers assigned to the Las Vegas Village
responded back to the command post for reassignment.

Officers assigned to the Las Vegas Village remained on post until they were relieved the next
morning. Officers maintained the security of the Las Vegas Village and the 32nd floor of the
Mandalay Bay crime scene as detectives and Crime Scene Analysts responded and began the
investigation.

VI.      SCENE DESCRIPTIONS

Route 91 Venue

Responsibility for documenting the venue scene was transferred from the LVMPD Homicide
Section to the FBI Evidence Recovery Team on October 2, 2017 at approximately 1445 hours.
The following scene description of the Las Vegas Village venue was authored by the LVMPD
Homicide Section.

The Route 91 Harvest Festival was an open air music event held at the Las Vegas Village. The
festival was dimly lit with street lights, variable stage lighting and lights from temporary light
stands on the perimeter. There was a chain link fence, with dark netting surrounding the entire
venue. On the west perimeter of the venue there was a decorative concrete block wall between
Las Vegas Boulevard South and the chain link fencing. This wall ran nearly the entire length of
the west side of the venue, from East Mandalay Bay Road to East Reno Avenue.



LVMPD Internal Oversight & Constitutional Policing                                                Page 31 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000328
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 333 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

The surface of the venue consisted of black asphalt, with defined seating areas covered with
artificial grass on both the northwest and south ends of the venue and vendors throughout. The
northwest artificial grass area was used for lawn chair seating. The large artificial grass areas
on the southern end was surrounded by seating, food vendors and portable bathrooms. A large
seating area with elevated bleachers and a covered VIP area was oriented near the southwest
corner of the venue. Four (4) pedestrian gates ran along the west side of the venue.

The Coca-Cola suites, additional seating areas, vendors, the medical tent and three (3)
pedestrian gates were located on the east side of the venue. The event’s Command Post (CP),
a television broadcast tent and one (1) pedestrian gate were oriented on the north end of the
venue.

The main stage was oriented on the south side of the venue. The main stage was covered by
green roofing and the sides were covered with black mesh. The main stage viewing area was
located in the southern portion of the venue, north of the main stage and was divided into two
(2) seating areas by metal pedestrian fencing. The fencing ran from a production tent, located in
the center of the viewing area, and eventually encompassed the main stage. In addition to the
fencing separating the east and west side grass areas, the production tent and vendors, helped
to define the two (2) areas. Production vehicles, concert buses, and trailers were oriented south
of the main stage.

Location and Description of the Bodies

A total of thirty one (31) bodies were located, documented, and eventually recovered from the
inside of the venue and on the exterior perimeter. Clark County Coroner Investigators responded
and assisted the LVMPD Homicide Detectives and Crime Scene Analysts conduct the
preliminary death investigations. Each victim was given an individual Clark County Coroner’s
Case and Seal Number. The time of death was determined to be 0545 hours for those recovered
from the venue and exterior perimeter. Davis Funeral Home responded and transported the
deceased to the CCOCME for a complete examination.




LVMPD Internal Oversight & Constitutional Policing                                                Page 32 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000329
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 334 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519




1. Jack Reginald Beaton
2. Christopher Louis Roybal
3. Lisa Marie Patterson
4. Adrian Allan Murfitt
5. Hannah Lassette Ahlers
6. Austin William Davis
7. Stephen Richard Berger
8. Stacee Ann Etcheber
9. Christiana Duarte
10. Lisa Romero-Muniz
11. Heather Lorraine Alvarado
12. Denise Cohen
13. Kurt Allen Von Tillow
14. Brennan Lee Stewart
15. Derrick Dean Taylor
16. Kelsey Breanne Meadows
17. Jennifer Topaz Irvine
18. William W. Wolfe Jr.
19. Carly Anne Kreibaum
20. Laura Anne Shipp
LVMPD Internal Oversight & Constitutional Policing                                                Page 33 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000330
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 335 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Four (4) bodies were located and recovered near the medical tent in the northeast portion of the
venue.

21. Carrie Rae Barnette
22. Jordyn Nicole Rivera
23. Victor Loyd Link
24. Candice Ryan Bowers

Seven additional victims were located and recovered from the exterior perimeter. Their body
positions and locations suggested they had been placed at these locations. The descriptions of
their injuries were obtained from the Clark County Coroner Investigator and the photographs
taken by an LVMPD Crime Scene Analyst.




25. Jordon Alan McIldoon
26. Keri Lynn Galvan
27. Dorene Anderson
28. Neysa C. Tonks
29. Melissa V. Ramirez
30. Brian Scott Fraser
31. Tara Ann Roe
LVMPD Internal Oversight & Constitutional Policing                                                Page 34 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000331
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 336 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


The remaining victims were transported to various hospitals throughout the greater Las Vegas
valley and pronounced deceased at their respective locations. Clark County Coroner
Investigators responded and assisted the LVMPD Crime Scene Analyst with documentation of
the decedents’ injuries. Each victim was given an individual Clark County Coroner’s Case and
Seal Number. The time of death was determined by the treating physicians. Davis and Hites
Funeral Home Services transported all victims from the hospital to the CCOCME for a complete
examination. The descriptions of their injuries were obtained from photographs taken by LVMPD
Crime Scene Analyst.

DESERT SPRINGS HOSPITAL

32. Bailey Schweitzer
33. Patricia Mestas
34. Jennifer Parks
35. Angela Gomez

SPRING VALLEY HOSPITAL

36. Denise Burditus
37. Cameron Robinson
38. James Melton

VALLEY HOSPITAL

39. Quinton Robbins

SUNRISE HOSPITAL

40. Charleston Hartfield
41. Erick Silva
42. Teresa Nicol Kimura
43. Susan Smith
44. Dana Leann Gardner
45. Thomas Day Jr.
46. John Joseph Phippen
47. Rachel Kathleen Parker
48. Sandra Casey
49. Jessica Klymchuk
50. Andrea Lee Anna Castilla
51. Carolyn Lee Parsons
52. Michelle Vo
53. Rocio Guillen
54. Christopher Hazencomb
55. Brett Schwanbeck

LVMPD Internal Oversight & Constitutional Policing                                                Page 35 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000332
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 337 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

UMC HOSPITAL

56. Rhonda M. LeRocque
57. Austin Cooper Meyer
58. Calla-Marie Medig


Mandalay Bay 32nd Floor




Scene

The scene was located in the 100-wing of the 32nd floor of the Mandalay Bay. The 100-wing
consisted of a north-south oriented hallway with even numbered rooms on the east side and odd
numbered rooms on the west side. The rooms ranged in number from 32-101 to 32-135. Room
32-135 was at the far north end of the 100-wing with south facing double entry doors. Room 32-
134 was at the north end of the 100-wing and was a connecting room to 32-135. Room 32-134
was east of the entry to 32-135, with a single entry door that faced west. A door leading to a
foyer room which led to the stairs was at the north end of the hallway, west of the entry to 32-
135, with a single entry door that faced east.




LVMPD Internal Oversight & Constitutional Policing                                                Page 36 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000333
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 338 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

100-Wing Hallway

The hallway consisted of alcoves containing access to four rooms, two rooms on the east side
of the hallway and two rooms on the west side of the hallway, with a segment of the hallway
between each alcove. Each alcove had a ceiling mounted light with two light shades, an exterior
blue shade and an interior white shade, as well as a light sconce on the walls between the doors.

Decorative molding was mounted to the walls the entire length of the hallway. There were
numerous bullet fragments throughout the hallway floor, from the north side of the alcove of
rooms 32-101 through 32-104 to the alcove of 32-133 through 32-135.

A room service cart containing numerous plates, food items, and silverware was on the east side
of the hallway, in front of room 32-134. A black "Logitech" camera with connected wires was on
top of the cart, at the south end. The camera was positioned in a south direction (down the
hallway) and taped to a plate. A white camera with connected wires was attached to the lower
portion of the cart, at the north end. The camera was positioned in a south direction (down the
hallway). Wires from both of the above described cameras went under the door and into room
32-134.

Room 32-135

Room 32-135 was a hotel suite located at the far north end of the hallway with south facing
double entry doors. The east door had two bullet holes above the door handle. The bullets
traveled north to south, entering the interior side of the door and exiting the exterior (hallway). A
camera was taped to the interior side of the east door inserted into the peephole. A hole was
partially drilled into the bottom of the south wall, east of the entry doors. The west door was
damaged (occurred during the explosive breach) and unattached to the door frame. The door
was lying on the floor inside of the suite. There were bullet holes in the west door, with the bullets
traveling north to south, entering the interior side and exiting the exterior (hallway).

The suite consisted of a south foyer room, a west bedroom (master bedroom) with attached
bathroom, and a north sitting area, a central bar/kitchenette, and a second bathroom east of the
central bar/kitchenette. A southeast living room which contained a couch, chairs, an
entertainment center/cabinet and a wall mounted TV. A connecting door which led to room 32-
134 was located southeast of the living room on the south wall. The entire north end of the suite
consisted of floor to ceiling windows.

Foyer Inside Room 32-135

The foyer had a table along the west wall. There was a white "Babysense" camera pointed in
the direction of the front entry doors at the south end of the table, and a black mini refrigerator
at the north end with a white styrofoam cooler on top. There were casings scattered on the floor
of the foyer, and on the table along the west wall. A black rifle with the muzzle pointed south,
was at the northeast portion of the foyer on the floor.




LVMPD Internal Oversight & Constitutional Policing                                                Page 37 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000334
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 339 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

An east-west hallway extended from the east side of the foyer. A black rifle on a bipod with the
muzzle pointed west, and a drill bit partially covered by a white towel were at the west end of the
hallway on the floor.

West Bedroom (Master Bedroom)

The bedroom was located west of the sitting area. There were east facing double entry doors
located northwest of the foyer in the west wall of the sitting area. The room had a desk with a
chair along the north wall, just inside the entry doors. There were tools on the desk and the chair.
A trashcan was on the floor east of the desk that had numerous empty ammunition boxes inside.
There was also a white bag on the floor that had empty ammunition boxes inside as well as a
broken Dell laptop computer. Two boxes containing empty ammunition boxes were on the floor
behind the entry doors.

A pillar was west of the desk. An empty red gym bag and an "Anran" home security system box
were on the floor west of the pillar. A chaise lounge was along the south wall with an open
suitcase containing clothing inside and a drill on top. There were chargers plugged into the south
wall, west of the chaise lounge.

The bed was along the south wall with nightstands on either side. The following items were
located on the bed: a Dell laptop computer, a passport in the name of "Stephen Paddock", four
Home Depot gift cards, a checkbook, and a cash out voucher for the Palms Casino dated
8/28/17. There were three suitcases west of the bed: two of which were empty and one had
clothing inside. A television was on a dresser to the north of the bed. There were drill bits and
tools on the top of the dresser. Eight empty rifle magazines were on the floor below the west end
of the dresser. An open suitcase with a tool box inside was east of the dresser. A closet was in
the wall east of the bed with a single shirt and a white bathrobe hanging inside.

The attached southeast bathroom had a tub along the north wall with two glass vacuum suction
holders on top of the tub ledge, a sink counter along the south wall with toiletries to include a
prescription for "Diazepam 10 MG" in the name of "Steve Paddock", and two inhalers. The toilet
room was to the east with a pair of boxers and a pair of shoes on the floor.

Sitting Area

The sitting area was north of the foyer. Floor to ceiling windows covered by curtains extended
along the length of the north end of the suite. There was a couch along the north side of the
room, a coffee table south of the couch, and two chairs pushed together (facing one another)
south of the coffee table. Pillars were located along the north wall near the northwest corner and
along the north wall near the northeast corner of the sitting area, at the northwest corner of the
living room.

A rifle magazine was between the west and central couch cushions of the north couch. The
coffee table was covered by white towels. A rifle and an empty rifle magazine were on the coffee
table. There were four rifles sitting on the pushed together chairs and a rifle magazine on the
north arm of the east chair. One rifle was on the floor east of the chairs. There were two suitcases


LVMPD Internal Oversight & Constitutional Policing                                                Page 38 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000335
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 340 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

on the floor east of the coffee table containing numerous loaded rifle magazines. An empty rifle
magazine was on the floor, east of the suitcases.

There was a stack of 14 loaded rifle magazines on the west side of the northeast pillar. A blue
plastic tube with a snorkel mouthpiece attached with green tape to the east end and a black
funnel with a fan inside at the west end extended from the east side of the suitcases, across the
coffee table, to the west side of the room, adjacent to the doors of the west bedroom.

A chair facing south, with a side table to the east, were at the west end along the northeast bank
of windows. The window located immediately east of the northwest pillar was shattered with
glass on the floor below it. Numerous casings were on the floor at the base of the window, south
into the room, and on the seat of the chair. A blue and yellow "Estwing" hammer was on the floor
at the east side of the northeast pillar, south of the broken window. The head of the hammer had
tape wrapped around it. The curtains in place over the broken window were damaged. Two rifles
with bipods were on the floor south of the chair.

A high top table was centrally located along the northeast bank of windows with a loaded rifle
magazine on the southeast end of the table. An open suitcase was on the floor south of the table
with numerous loaded rifle magazines inside. A rifle with a bipod was on the floor southeast of
the table. There were casings on the floor surrounding the table.

Decedent Stephen Paddock

Paddock was on the floor south of the chair and side table. He was wearing black pants, a long
sleeve brown shirt, black gloves, and grey shoes. Paddock was on his back with his head to the
south, feet to the north, and arms at his sides. There was apparent blood surrounding his nose
and mouth, and on the floor under his head. There was also apparent blood on the front of his
shirt. A rifle was on the floor under his legs. A grey box cutter was on the floor between his feet.
There were casings on the floor surrounding him. A silver/black colored "Smith & Wesson"
revolver with apparent blood on it was on the floor south of Paddock's head.

Bar/Kitchenette

The central bar/kitchenette was south of the sitting area east of the foyer and north of the east-
west hallway. There was a north bar counter (east-west orientation) with three chairs on the
north side of the counter. There were three rifles on the floor north of the west end of the counter
with a backpack under them. One rifle was on the seat of the westernmost chair; one rifle was
on the seat of the easternmost chair; and one rifle was located on the west end of the bar counter.
An empty silver colored rolling case was on the floor north of the counter, at the east end. A
Luxor sticker and a "29" sticker were on the back of the case.

At the west end of the bar counter was an "Anran" monitor with a video feed to the previously
described camera on the lower portion of the room service cart in the hallway, a laptop computer,
which provided a live feed to the camera attached to the peephole of the door, and a Samsung
cell phone in a black case.



LVMPD Internal Oversight & Constitutional Policing                                                Page 39 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000336
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 341 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                          Event: 171001-3519

Centrally located on the bar counter were bank cards and other cards in the name of "Stephen
Paddock" and room key card packets. At the east end of the bar counter was a black holster, a
black glove, binoculars, blue hat, brown wallet, tape roll, credit cards and a Nevada ID in the
name of "Stephen Paddock", a Player's card in the name of "Marilou Danley", valet ticket, a
notepad with "unplug phones" written on it, and a white handheld monitor, as well as a black
ZTE cell phone with the front and back cameras covered with tape and a Samsung Galaxy S6
active in a black case.

At the southwest corner of the bar was a sink. There were two loaded rifle magazines and a
"Tundra” fire extinguisher on the sink counter.

Living Room

The southeast living room was east of the bar/kitchenette at the east end of the east-west
hallway. There was a television mounted on the south wall with an entertainment center/cabinet
below, a couch to the north and east, and an orange chair to the west. The couch cushions were
off of the east couch and piled on the north couch and on the floor. A table was along the north
side of the north couch with four chairs.

A side table was west of the north couch. A "Meade" spotting scope was on the floor north of the
side table. A pink piece of paper with written measurements on one side was on the floor west
of the east couch.15

An open black suitcase containing soft rifle cases inside was on the floor north of the cabinet.
There were three casings on the floor west of the side table and at the east end of the east-west
hallway.16

There was a bullet hole through the east arm of the orange chair; two bullet holes into the cabinet
along the south wall; and one bullet hole into the south wall, between the entertainment
center/cabinet and the connecting door to 32-134.17

There were two suitcases along the west wall. A blue large bag with numerous towels, soft rifle
cases, and scope covers inside were also along the west wall.

Room 32-134

Room 32-134 was a single connecting hotel room, south of 32-135. The connecting door was
located at the south end of room 32-135 in the southwest corner of the southeast living room.
There was damage to the south adjoining door frame18and the damaged door was on the floor
inside room 32-134. The main entry door to the room was west facing, accessing the hallway. A
room service cart with an open laptop computer on the east end was in the entry hallway, east

15 This was the same note originally located on the table near Paddock’s body. The wind blew it off of the

table to this location.
16 These casings came from the SWAT Officer’s rifle.
17 These bullet holes came from the SWAT Officer’s rifle.


18 Occurred during the second explosive breach

LVMPD Internal Oversight & Constitutional Policing                                                   Page 40 of 81
Force Investigation Team
                                                                                     Guedes v. ATF / Codrea v. ATF
                                                                                                Ex. 1 Page 000337
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 342 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

of the entry door. There were wires connected from the laptop that ran under the entry door.
There was a video feed visible on the laptop of the hallway looking south from the previously
described black "Logitech" camera attached to the hallway room service cart.

The room was furnished with two beds with a nightstand in between along the south wall, a desk,
dresser, and chair along the north wall, a television mounted on the north wall, and floor to ceiling
windows on the east. The southernmost window was shattered with glass on the floor below it.
There were nine loaded rifle magazines on top of the dresser. The dresser drawers were open
and the bottom was broken. There were three rifles with bipods on the east bed and several
casings. One cartridge case was on the floor west of the east bed. There were two rifles on the
west bed, one of which was a bolt action. A pair of black gloves was on the west side of the west
bed. A pair of tan sandals were on the floor north of the west bed. A bullet hole was in the north
wall corresponding with a hole in the south wall of the living room, and one bullet hole was in the
comforter at the north end of the east bed.

There were two closets along the west wall with the door to the attached southwest bathroom.
The bathroom had a sink counter along the south side and tub to the north. Clothing was on the
floor under the sink counter along with a trashcan. There was a snorkel tube located inside the
trashcan.

VII.     EVIDENCE RECOVERY

Physical Evidence

During the course of the investigation, several items of evidentiary value were located and
impounded by LVMPD Crime Scene Analysts and FBI Evidence Recovery Team. The following
is a summary of key pieces of evidence located during searches of multiple locations.

Picture numbers listed below correspond with pictures attached in Appendix A of this report.

Mandalay Bay Location

 32nd Floor – 100 Wing – Stairwell Foyer Room (Picture 1)
 Metal “L” bracket with three screws securing it to the interior door/frame.

 32nd Floor – 100 Wing Hallway (Pictures 2-4)
 Two surveillance cameras from room service cart outside room 32-134.
 Bullet fragments

 32nd Floor – Room 32-135 – Main Room (Pictures 5-17)
 Make          Model        Serial Number       Description
 Colt          M4 Carbine   LE451984            AR-15 .223/5.56 with a bump stock,
                                                vertical fore grip and 100 round
                                                magazine. Front sight only.
 Noveske       N4           B15993              AR-15 .223/5.56 with a bump stock,
                                                vertical fore grip and 40 round
                                                magazine. EOTech optic.
LVMPD Internal Oversight & Constitutional Policing                                                Page 41 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000338
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 343 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

 LWRC                 M61C                   24-18648
                                                    AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine. No sights or optics.
 POF USA        P-308            UA-1600204         AR-10 .308/7.62 with a bipod, scope and
                                                    25 round magazine.
 Christensen CA-15               CA04625            AR-15 .223 Wylde with a bump stock,
 Arms                                               vertical fore grip and 100 round
                                                    magazine. No sights or optics.
 POF USA        P-15             PE-1600179         AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine. No sights or optics.
 Colt           Competition      CCR014544          AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine. No sights or optics.
 Smith          342 AirLite Ti CDZ7618              .38 caliber revolver with 4 cartridges, 1
 & Wesson                                           expended cartridge case.
 LWRC           M61C             5P03902            AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine. EOTech optic.
 FNH            FM15             FND000905          AR-10 .308/7.62 with a bipod, scope and
                                                    25 round magazine.
 Daniel         DD5V1            DD5007426          AR-10 .308/7.62 with a bipod, scope and
 Defense                                            25 round magazine.
 FNH            FN15             FNB024293          AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine. EOTech optic.
 POF USA        P15              03E-1603178        AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine. EOTech optic.
 Colt           M4 Carbine       LE564124           AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine.
 Daniel         M4A1             DDM4123629         AR-15 .223/5.56 with a bump stock,
 Defense                                            vertical fore grip and 100 round
                                                    magazine. EOTech optic.
 LMT            Def. 2000        LMT81745           AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine. No sights or optics.
 Daniel         DDM4V11          DDM4078072         AR-15 .223/5.56 with a bump stock,
 Defense                                            vertical fore grip. No magazine. EOTech
                                                    optic.
 Sig Sauer      SIG716           23D020868          AR-10 .308/7.62 with a bipod, red dot
                                                    optic and 25 round magazine.
 Daniel         DD5V1            DD5008362          AR-10 .308/7.62 with a bipod and scope.
 Defense                                            No magazine.
 Blue plastic hose with funnel, fan and SCUBA mouthpiece attached.

LVMPD Internal Oversight & Constitutional Policing                                                Page 42 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000339
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 344 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

 Surveillance camera mounted to room door peephole.
 Baby monitor camera (not mounted).
 Surveillance camera mounted to room door peephole.
 Small sledge hammer.
 Laptop computer.
 Surveillance camera monitor.
 Spotting scope.
 Binoculars.
 Expended .223/5.56 cartridge casings (approximately 1,050).
 Cellular phones.
 Nevada Driver’s License – Stephen Paddock.
 Mlife players card – Marilou Danley.
 Polymer 40 round AR-15 magazines (loaded).
 Steel 100 round AR-15 magazines (loaded).
 Polymer 25 round AR-10 magazines (loaded).
 Live Ammunition (approximately 5,280).
 Handwritten note with distance/bullet drop calculations.
 Suitcases, duffel bags, soft rifle cases, towels.

 32nd Floor – Room 32-135 – Bedroom Suite (Picture 18)
 Laptop computer (on bed).
 Disassembled laptop computer missing hard drive (on floor).
 Power hand drills.
 Empty ammunition boxes and plastic bags.
 Scuba mask.
 Loose ammunition.
 Miscellaneous hand tools and drill bits.
 Miscellaneous screws and mounting brackets.
 Suitcases, towels.
 Empty rifle magazines

 32nd Floor – Room 32-134 – Hotel Room (Pictures 19-21)
 Make         Model           Serial Number          Description
 FNH          FN15            FNCR000383             AR-15 .223/5.56 with a bump stock,
                                                     vertical fore grip and 100 round
                                                     magazine. No sights or optics.
 Ruger        American        695-93877              .308 caliber bolt action rifle with scope.
 LMT          LM308MWS        LMS18321               AR-10 .308/7.62 with a bipod and red
                                                     dot scope. No magazine.
 Ruger        SR0762          562-13026              AR-10 .308/7.62 with a bipod, scope and
                                                     25 round magazine.
 LMT          LM308MWS        LMS18300               AR-10 with a bipod, scope and 25 round
                                                     magazine.
 Laptop computer connected to hallway surveillance cameras.
 Polymer 25 round AR-10 magazines (loaded).
 Expended .308/7.62 cartridge casings (8).
LVMPD Internal Oversight & Constitutional Policing                                                Page 43 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000340
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 345 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

 Mandalay Bay – East Valet – Space 317 (Paddock’s Vehicle. Pictures 22-24)
 2017 Chrysler Pacifica, Nevada/74D401 towed to FBI garage.
 20x2 pound containers of exploding targets.
 10x1 pound containers of exploding targets.
 2x20 pound bags of explosive precursors.
 Polymer 25 round AR-10 .308/7.62 magazines (loaded).
 Polymer 40 round AR-15 .223/5.56 magazines (loaded).
 Boxed ammunition.
 Suitcases, towels.

 McCarran Airport – Fuel Tanks – East Mandalay Bay Road/Haven Street (Pictures 25-27)
 Bullet fragments

 1372 Babbling Brook Court Mesquite, Nevada (Paddock’s House)
 Make         Model          Serial Number     Description
 Smith        SW99           SAB5974           9mm semi-automatic pistol.
 & Wesson
 Smith        M&P9           HDU4086           9mm semi-automatic pistol.
 & Wesson
 Glock        17             BCGM344           9mm semi-automatic pistol.
 Mossberg     500            V0397109          12 gauge pump action shotgun.
 Sig Sauer    516            20J036999         AR-15 .223/5.56 rifle with a bipod and
                                               scope.
 Arma-Lite    SPRM001        M-10-13530        AR-15 .223/5.56 rifle with a bipod and
                                               scope.
 Mossberg     590            V0433557          12 gauge pump action shotgun.
 LWRC         M61C-IC-A5     24-19038          AR-15 .223/5.56 rifle with a bipod and
                                               scope.
 Mossberg     590            V0348193          12 gauge pump action shotgun.
 Mossberg     930            AF0001141         12 semi-automatic gauge shotgun.
 Arma-Lite    SPRM001        M-10-12006        AR-15 .223/5.56 rifle with a bipod and
                                               scope.
 Sig Sauer    516            20K046207         AR-15 .223/5.56 rifle, with a bipod. No
                                               sights or optics.
 Lantac       LA-R15 Raven LT-0297             AR-15 .223 Wylde rifle with a bipod and
                                               scope.
 Mossberg     590            P833785           12 gauge pump action shotgun.
 Arsenal      Saiga 12       H09423015L        AK-47 style semi-automatic 12 gauge
                                               shotgun.
 Arsenal      Saiga 12       H07420684         AK-47 style semi-automatic 12 gauge
                                               shotgun.
 Beretta      92F            C856302           9mm semi-automatic pistol.
 FN           5.7            386215450         5.7mm semi-automatic pistol.
 Handgun, shotgun, rifle ammunition.
 Exploding targets.
 Computer related items.
LVMPD Internal Oversight & Constitutional Policing                                                Page 44 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000341
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 346 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

 Soft body armor.

1735 Del Webb Parkway, Reno, Nevada (Paddock’s House)
 Make         Model       Serial Number       Description
 Smith        340         DCA2099             .357 caliber revolver.
 & Wesson
 Beretta      92A1        A098515Z            9mm semi-automatic pistol.
 Pietro
 Remington 870 Tactical   RS90036Z            12 gauge pump action shotgun.
 Arms
 Mossberg     590         V0187184            12 gauge pump action shotgun.
 Glock        17 Gen4     BBVN828             9mm semi-automatic pistol.
 Smith        M&P9        HHA9534             9mm semi-automatic pistol.
 & Wesson
 Smith        M&P9        HDL4053             9mm semi-automatic pistol.
 & Wesson
 Firearm ammunition.
 Rifle magazines.
 Computer related items.

Ammunition
Several types of ammunition were located within rooms 32-135 and 32-134 loaded into rifle
magazines for both the AR-15 and AR-10 style rifles. The AR-15 .223/5.56 rifle magazines were
loaded with hollow point and polymer tipped hollow point ammunition. The AR-10 .308/7.62 rifle
magazines and the bolt action rifle were loaded with Tracer, Frangible Incendiary, Armor
Piercing and Armor Piercing Incendiary ammunition.
A complete breakdown of the ammunition types loaded in the firearms, rifle magazines and
expended cartridge casings will be documented in the final report.
DNA

Several items of evidentiary value were collected for DNA analysis. At the time of this report the
DNA evidence collected has not yielded any significant results or indication that anyone else
was in the room.

Digital

There were approximately 1,965 leads investigated. There were approximately 21,560 hours of
video and 251,099 images obtained by investigators of the LVMPD and the FBI. Analysis found
529 sightings of Paddock.

Four laptop computers and three cellphones were located in 32-135 and 32-134. All laptop
computers and cellphones were given the FBI to be forensically analyzed. The forensic analysis
on all electronics located in 32-134 and 32-135 has been completed and the results of the
analysis is listed below.
LVMPD Internal Oversight & Constitutional Policing                                                Page 45 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000342
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 347 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Evidence Item HP Laptop Computer Recovered in Room 32-134

Browser Artifacts

The HP laptop computer contained internet artifacts from the following cloud storage services:
Dropbox.com, Box.com, and Microsoft One Drive. Dropbox and Microsoft One Drive were
installed on the laptop. Box.com was accessed through a web browser.

Google Maps

On 05-18-17 Google Map searches were performed for Venice Beach and Fenway Park.

The following queries were also made with Google Maps:

        Royal Rooters’ Club, Boston, MA
        Blandford Street. Station, United States
        Boston University Questrom School of Business
        Boston Hotel Buckminster, Beacon Street, Boston, MA
        Boston Arts Academy
        Official Red Sox Team Store
        Official Red Sox Team Store, 19 Yawkey Way, Boston, MA
        Venice Ale House
        Fairmont Miramar Hotel, Santa Monica, CA
        The Bungalow, 101 Wilshire Boulevard, Santa Monica, CA

Google Search Queries

On 05-18-17, searches were performed for "summer concerts 2017," "grant park functions,"
"biggest bear," "La Jolla Beach," "open air concert venues," "biggest open air concert venues
in USA," and "how crowded does Santa Monica Beach get."

On 09-04-17, searches were performed for "Las Vegas rentals," "Las Vegas condo rentals,"
"Las Vegas high rise condos rent," and "Las Vegas Ogden for rent."

On 09-05-17, searches were performed for "life is beautiful expected attendance," "life is
beautiful single day tickets," and "life is beautiful Vegas lineup."

On 09-15-17, searches were performed for "swat weapons," "ballistics chart 308," "SWAT
Las Vegas," "ballistic," and "do police use explosives."

Bing Search Queries

On 09-05-17, searches were performed for "Mandalay Bay Las Vegas," "Route 91 harvest
festival 2017 attendance," and "Route 91 harvest festival 2017."



LVMPD Internal Oversight & Constitutional Policing                                                Page 46 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000343
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 348 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

The following websites were accessed using an IE private browser:

        http://lineup.lifeisbeautiful.com/
        https://www.google.com/maps?hl=en&tab=wl
        https://lifeisbeautiful.com/ticket/
        http://search.topvegascondos.com/i/the-ogden-downtown-las-vegas-condos-forrent
        https://www.google.com/?
         gws_rd=ssl#q=how+crowded+does+santa+monica+beach+get&spf=149508223676
         1
        https://www.vividseats.com/blog/category/all-concerts/
        https://www.vividseats.com/blog/fenway-park-concerts-and-seating
        https://www.vividseats.com/blog/the-14-best-outdoor-concert-venues-in-the-us
        http://tsminteractive.com/what-are-the-most-crowded-beaches-in-america/
        https://www.yelp.com/biz/santa-monica-state-beach-santa-monica
        https://www.vividseats.com/blog/memorial-day-weekend-2017.html

The following websites were accessed using Internet Explorer:

        www.grantparkmusicfestival.com/ 05-18-17 0419 hours
        www.ticketmaster.com/ 05-18-17 at 0427 hours
        ticketmaster.com/ 05-18-17 at 0431 hours
        www.sandiego.org/ 05-18-17 at 0505 hours
        sandiego.org/ 05-18-17 at 0505 hours
        www.vividseats.com/ 05-18-17 at 0540 hours
        www.lasvegascondoexperts.com/ 09-04-17 at 2212 hours
        lasvegashighrisetour.com/ 09-04-17 at 2213 hours
        www.thehighrisegroup.com/ 09-04-17 at 2214 hours

Evidence Item Dell Laptop Computer Recovered in Room 32-135

Computer forensic analysis of a Dell laptop Model E5570 revealed numerous internet searches
for open air venues. Additionally, several hundred images of child pornography were located on
the computer’s hard drive. The investigation into the source of these images is ongoing. The
following internet searches from this laptop are indicated below:

Google Search Queries

        How tall is Mandalay Bay/ Unknown date
        NV gun shows/ 09-02-17 & 09-30-17
        Life is Beautiful 2017/ 09-20-2017
        Excalibur Hotel & Casino/ 09-23-17
        Las Vegas Academy of the Arts Performing Arts Center/ 09-23-17
        Fremont Hotel & Casino/ 09-23-17
        El Cortez Hotel & Casino/ 09-23-17
        Family Courts & Services Center/ 09-23-17
        Gary Reese Freedom Park/ 09-23-17
LVMPD Internal Oversight & Constitutional Policing                                                Page 47 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000344
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 349 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

         Cashman Center/ 09-23-17
         Cashman Field/ 09-23-17
         Neon Museum/ 09-23-17
         The Mob Museum/ 09-23-17
         Discovery Children’s Museum/ 09-23-17 & 09-26-17
         Arizona Charlie’s Decatur/ 09-23-17
         Where is hard drive located on e5570/ 09-28-17
         NHRA schedule 2017/ 09-30-17

VIII.     SUSPECT AUTOPSY

On 10-06-17, at approximately 1625 hours, under CCOCME case 17-10064 and FBI incident
number 4-LV-2215061 an autopsy was performed on the body of Paddock at the CCOCME by
Doctor Lisa Gavin.

Decedent
Name:                        Paddock, Stephen
Date of birth:               04-09-53
Gender:                      Male
Ethnicity:                   Caucasian
Height:                      73 inches
Weight:                      224 lbs
Hair:                        Gray
Eyes:                        Brown

Body bag seal #541486 removed at 1625 hours.

Specific Photography:
   Body bag seal
   Clothed body
   Pre-cleaned unclothed body
   Post-cleaned unclothed body
   Injuries
   X-Rays

The following persons were in attendance:

1)       Clark County Coroner Fudenberg
2)       Forensic Pathologist Doctor Gavin
3)       Detective Alsup
4)       Detective Colon
5)       SCSA Fletcher
6)       FBI ERT Agents (2)
7)       Forensic Technician Rosales



LVMPD Internal Oversight & Constitutional Policing                                                Page 48 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000345
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 350 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

The following items of evidence were retained by the FBI’s Evidence Recovery Team:

1)     One brown long sleeved shirt.
2)     One pair of black pants.
3)     One pair of white socks.
4)     One pair of black slip-on shoes.
5)     One pair of blue underwear.
6)     Paper tissue from the decedent’s ears.
7)     Print exemplars.
8)     One projectile recovered from the decedent’s head.

Synopsis

On October 6, 2017, detectives from the LVMPD along with a LVMPD Crime Scene Analyst,
attended the autopsy of Stephen Paddock at the CCOCME. Also present were members of the
FBI Evidence Recovery Team who retained all collected evidence.

The exam room was secured by Clark County Coroner, John Fudenberg. Forensic Pathologist
Doctor Lisa Gavin performed the autopsy with one assistant.

The decedent was x-rayed, photographed and cleaned prior to Doctor Gavin’s exam.
Preliminarily, the injuries noted were on the posterior of both calves and a gunshot wound to the
upper palette inside the decedent’s mouth with obvious damage to the upper teeth.

The cause of Paddock’s death was an interoral gunshot wound and the manner of death was
ruled a suicide.

IX.      INVESTIGATION

Mandalay Bay Hotel Room

LVMPD officers located several documents, to include photographs, identifying Paddock as the
suspect who was lying on the floor with an apparent gunshot wound to the head. Also located
inside the room investigators found documentation related to Danley who was later identified as
the longtime girlfriend of Paddock.

Located throughout the 100-wing hallway from the double doors of room 32-135 to the alcove
wall of room 32-105 were over 200 bullet strikes. The bullet strikes consisted of actual impacts
and holes. These strikes were caused by approximately 35 rounds fired down the 100-wing from
inside of room 32-135.

Law Enforcement and the CCOCME took custody of Paddock’s body. The body was
photographed and transported to the CCOCME where an autopsy was conducted.

The room was secured for evidence recovery. The FBI Evidence Recovery Team responded
and took the lead role on documentation and recovery of all evidence inside the hotel rooms and
hallway.
LVMPD Internal Oversight & Constitutional Policing                                                Page 49 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000346
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 351 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


Located inside the master bedroom of suite 32-135 were hand drills, drill bits, several
miscellaneous tools, and equipment Paddock used to drill holes, run wires, and set up
surveillance cameras that showed the 100 wing hallway. Inside the bedroom were several empty
ammunition boxes, live rounds, loaded rifle magazines, duffle bags, suitcases, two laptop
computers (one of which was broken and missing the hard drive), snorkeling kit bag, diving
mask, circular glass cutter with suction cup and miscellaneous personal items.

Located throughout the main living area of the suite were 18 rifles, one handgun, rifle casings,
and loaded magazines. A blue plastic tube, was fashioned with a fan on one end and snorkel
mouthpiece on the other end. A spotting scope on a tripod was on the floor near Paddocks body
and a slip of paper was on a small table with hand written distances on it. Several suitcases and
bags were throughout the main room containing personal items and loaded rifle magazines. A
laptop computer was located on the bar and connected to a live feed camera attached to the
peephole of the main door to suite 32-135.

Room 32-134 was an adjoining room to suite 32-135 used by Paddock. Located inside the room
were five rifles, casings, live ammunition and several loaded magazines. A pair of gloves were
located on one of the beds and sandals were located on the floor near the bed. Inside the
bathroom, a snorkel tube was located in the trash. A room service receipt and a cardboard box
with mailing labels was also located in the bathroom. In the walkway leading to the door to the
main hallway was a food service cart. A laptop computer was located on the food service cart.
It was connected to two live feed cameras and a battery pack with wires connecting it to the
cameras on the food service cart in the 100 wing hallway.

All evidence located and recovered inside suite 32-135 and room 32-134 indicated Paddock was
capable of watching people in the hallway. There was no suicide note or manifesto located inside
either room.

Paddock's Vehicle

Paddock’s vehicle was located in Mandalay Bay East Valet, 2nd floor, space 317 by investigators.
The vehicle a 2017 Chrysler Pacific bearing Nevada plate 79D401 had been backed into space
317 and was locked. The key for the vehicle was obtained from valet.

A search warrant was obtained and at 0325 hours, detectives with the LVMPD All-Hazard
Regional Multi agency Operations and Response Section (ARMOR) broke a window to the
vehicle, to allow an explosive detection dog access to the scent from inside the vehicle. A U.S.
Marshall explosive detection K9 moved around the vehicle and gave an alert to the presence of
explosive precursors.

Detectives secured the area on the belief there were explosive precursors within the vehicle.
ARMOR detectives requested LVMPD dispatch notify the Las Vegas Fire and Rescue Chemical,
Biological, Radiological, Nuclear and Explosive Task Force (CBRNE) respond. Las Vegas Fire
Rescue responded with their CBRNE vehicle along with FBI bomb technicians. Located inside
the vehicle were five bags which were x-rayed and removed by the FBI.


LVMPD Internal Oversight & Constitutional Policing                                                Page 50 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000347
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 352 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Upon rendering the vehicle safe, the vehicle and all items located inside were photographed. All
items removed from the vehicle were placed back inside and the vehicle was sealed. The vehicle
was subsequently towed from the Mandalay Bay Hotel to a secure FBI facility for a thorough
search and evidence collection.

Evidence collected from inside Paddock's vehicle included loaded rifle magazines for both AR-
15 and AR-10 style rifles. Also collected were 20 two pound containers of exploding targets, 10
one pound containers of exploding targets and 2 twenty pound bags of explosive precursors.

Paddock's Mesquite Residence

LVMPD detectives responded to Paddock's residence in Mesquite, Nevada. The residence was
located at 1372 Babbling Brook Court. Detectives obtained and served a search warrant at this
location. Inside the residence, seven shotguns, five handguns, six rifles, exploding targets,
firearm ammunition, rifle magazines and computer related items were recovered. These items
were impounded and turned over to the FBI for processing.

Paddock's Reno Residence

FBI Agents responded to Paddock's residence in Reno, Nevada. The residence was located at
1735 Del Webb Parkway, Reno, Nevada. Agents obtained and served a search warrant at this
location. Inside of the residence were two shotguns, five handguns, firearm ammunition, rifle
magazines and computer related items. The items were recovered by the FBI for processing.

Search Warrants and Legal Notices

The investigative process required information to be obtained from numerous sources and
venues to include but not limited to:

        Hotels and Casinos
        Firearms related businesses
        Residences of Stephen Paddock
        Vehicles of Stephen Paddock
        Internet providers
        Telephone companies
        Online retail businesses
        Email companies
During the course of the investigation law enforcement authored approximately 1,062 legal
notices. These legal notices were to obtain information or items from venues related to the
investigation. These legal documents included but are not limited to:

        Administrative Subpoenas
        Court Orders
        Search Warrants
        Grand Jury Subpoenas
LVMPD Internal Oversight & Constitutional Policing                                                Page 51 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000348
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 353 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Law Enforcement Tips and Leads

All tips or items that needed to be investigated or followed up were coordinated by the FBI and
the LVMPD. These leads were tracked using the Operational Response and Investigative Online
Network or ORION system through the FBI.

Investigators conducted interviews with 43 people directly associated with Paddock. These
included 24 gambling associates, 11 acquaintances and 8 blood relatives.

X.       PRELIMINARY FINDINGS FROM THE 1 OCTOBER INVESTIGATION

Investigators determined key findings as a result of this investigation:

        Paddock acted alone. Thousands of hours of digital media were reviewed and after all
         the interviews conducted, no evidence exists to indicate Paddock conspired with or acted
         in collusion with anybody else. This includes video surveillance, recovered DNA 19and
         analysis of cellular phones and computers belonging to Paddock.

        No suicide note or manifesto was found. Of all the evidence collected from rooms 32-135
         and 32-134, there was no note or manifesto stating Paddock’s intentions. The only
         handwritten documentation found in either room was the small note indicating
         measurements and distances related to the use of rifles.

        There was no evidence of radicalization or ideology to support any theory that Paddock
         supported or followed any hate groups or any domestic or foreign terrorist organizations.
         Despite numerous interviews with Paddock’s family, acquaintances and gambling
         contacts, investigators could not link Paddock to any specific ideology.

        Paddock committed no crimes leading up to the October 1 st mass shooting. All the
         weapons he purchased to include all the ammunition, were purchased legally. This
         includes all the purchases Paddock made at gun stores as well as online purchases.
         Paddock did not commit a crime until he fired the first round into the crowd at the Las
         Vegas Village.

        Reference the 1,965 investigated leads, 21,560 hours of video, 251,099 images obtained
         and 746 legal notices filed or sent, nothing was found to indicate motive on the part of
         Paddock or that he acted with anyone else.

        Security Officer Campos was not shot with a BB gun but rather sustained a gunshot
         wound from one of the rounds fired by Paddock down the hallway of the 100 wing on the
         32nd floor. Security Officer Campos did in fact have a pre-planned vacation to Mexico to
         go visit his father and Security Officer Campos asked law enforcement for permission to
         make this trip.



19 Deoxyribonucleic Acid

LVMPD Internal Oversight & Constitutional Policing                                                Page 52 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000349
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 354 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

        One aspect of the investigation focused on Paddock’s financials. The investigation proved
         Paddock was self-funded through his gambling and past real estate transactions. He was
         indebted to no one and in fact paid all his gambling debts off prior to the shooting.

        The investigation revealed several indicators of intent on the part of Paddock. Those
         indicators are as follows:

              1. Paddock had a reservation for a hotel during the Lollapalooza music festival held
                 at Grant Park in Chicago, Illinois during the month of August. Like Route 91, the
                 Lollapalooza festival was held in an open air venue. Paddock specifically
                 requested a room overlooking the venue when he made the reservation. The
                 reservation was cancelled two days prior to the check-in date.

              2. Paddock made lodging reservations during the Life is Beautiful music festival held
                 in Downtown Las Vegas, Nevada. The festival was also an open air music venue
                 attended by thousands of people. Paddock requested units overlooking the venue.
                 Paddock reserved three different units during the period and all faced the venue.
                 Paddock was observed in video surveillance transporting several suitcases from
                 his vehicle to the units he reserved. Paddock was alone for the trip and was never
                 accompanied by anyone for more than a casual conversation. Investigators have
                 been unable to determine if Paddock intended an attack during this festival or if he
                 used it as a means to plan a future attack.

              3. Paddock conducted several internet searches while planning his actions. Search
                 terms included open air concert venues, Las Vegas SWAT tactics, weapons and
                 explosives. Paddock also searched for various gun stores.

              4. The purchasing of over 55 firearms, which were mostly rifles in various calibers,
                 from October 2016 – September 2017. He also bought over 100 firearm related
                 items through various retailers during that period.

              5. During a stay in early September 2017, Paddock requested specific rooms that
                 overlooked the Las Vegas Village. According to Danley, Paddock spent time
                 looking at the Las Vegas Village venue from different angles and windows while
                 inside the room.




LVMPD Internal Oversight & Constitutional Policing                                                Page 53 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000350
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 355 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


Appendix A

Picture 1




(Door leading to the stairwell secured by “L” bracket)




LVMPD Internal Oversight & Constitutional Policing                                                Page 54 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000351
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 356 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


Picture 2




(View from 100 hallway towards room 32-135)




LVMPD Internal Oversight & Constitutional Policing                                                Page 55 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000352
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 357 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


Picture 3




(Food Service Cart in hallway with camera)




LVMPD Internal Oversight & Constitutional Policing                                                Page 56 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000353
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 358 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


Picture 4




(Food Service Cart in hallway with camera)




LVMPD Internal Oversight & Constitutional Policing                                                Page 57 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000354
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 359 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 5




(View from entry of 32-135 towards the sitting area)




LVMPD Internal Oversight & Constitutional Policing                                                Page 58 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000355
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 360 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 6




(View from foyer of room 32-135 towards the sitting area)




LVMPD Internal Oversight & Constitutional Policing                                                Page 59 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000356
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 361 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 7




(View from sitting area towards the living room)




LVMPD Internal Oversight & Constitutional Policing                                                Page 60 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000357
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 362 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


Picture 8




(View from sitting area towards the bar / kitchenette)




LVMPD Internal Oversight & Constitutional Policing                                                Page 61 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000358
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 363 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 9




(View from sitting area towards the bar / kitchenette)




LVMPD Internal Oversight & Constitutional Policing                                                Page 62 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000359
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 364 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 10




(View from sitting area towards master bedroom)




LVMPD Internal Oversight & Constitutional Policing                                                Page 63 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000360
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 365 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 11




(View of connecting doors between room 32-135 and 32-134)




LVMPD Internal Oversight & Constitutional Policing                                                Page 64 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000361
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 366 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 12




(Blue plastic hose with snorkel mouthpiece attached)




LVMPD Internal Oversight & Constitutional Policing                                                Page 65 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000362
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 367 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 13




(Surveillance camera mounted to room door peephole)




LVMPD Internal Oversight & Constitutional Policing                                                Page 66 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000363
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 368 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 14




(Small sledge hammer)




LVMPD Internal Oversight & Constitutional Policing                                                Page 67 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000364
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 369 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 15




(Handwritten note with distance/bullet drop calculations)




LVMPD Internal Oversight & Constitutional Policing                                                Page 68 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000365
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 370 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 16




(Damage to entry door of room 32-135)




LVMPD Internal Oversight & Constitutional Policing                                                Page 69 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000366
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 371 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 17




(Damage to entry door of room 32-135)




LVMPD Internal Oversight & Constitutional Policing                                                Page 70 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000367
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 372 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


Picture 18




(Desk in master bedroom of 32-135 with SCUBA mask and power hand drill)




LVMPD Internal Oversight & Constitutional Policing                                                Page 71 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000368
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 373 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519


Picture 19




(Interior of room 32-134 from connecting doors)




LVMPD Internal Oversight & Constitutional Policing                                                Page 72 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000369
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 374 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 20




(Interior of room 32-134 towards bathroom)




LVMPD Internal Oversight & Constitutional Policing                                                Page 73 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000370
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 375 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 21




(Hallway of room 32-134 with food service cart and laptop connected to cameras in 100
hallway)




LVMPD Internal Oversight & Constitutional Policing                                                Page 74 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000371
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 376 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519




Picture 22




(Paddock’s vehicle)




LVMPD Internal Oversight & Constitutional Policing                                                Page 75 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000372
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 377 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519




Picture 23
                                                                                                       ()




(Explosive precursors found in Paddock’s vehicle)




LVMPD Internal Oversight & Constitutional Policing                                                Page 76 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000373
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 378 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 24




(Exploding targets found in Paddock’s vehicle)




LVMPD Internal Oversight & Constitutional Policing                                                Page 77 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000374
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 379 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519

Picture 25




(McCarran International Airport fuel tank with bullet strikes)




LVMPD Internal Oversight & Constitutional Policing                                                Page 78 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000375
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 380 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519



Picture 26




(Upper bullet strike)




Picture 27




LVMPD Internal Oversight & Constitutional Policing                                                Page 79 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000376
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 381 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519




(Lower bullet strike)




Picture 28
LVMPD Internal Oversight & Constitutional Policing                                                Page 80 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000377
            Case 1:18-cv-02988-DLF Document 61-2 Filed 05/28/20 Page 382 of 382
                                       LAS VEGAS METROPOLITAN POLICE DEPARTMENT
                                   FORCE INVESTIGATION TEAM REPORT
                                                     CONTINUATION
                                                                                       Event: 171001-3519




(View of the Las Vegas Village from room 32-135)




LVMPD Internal Oversight & Constitutional Policing                                                Page 81 of 81
Force Investigation Team
                                                                                  Guedes v. ATF / Codrea v. ATF
                                                                                             Ex. 1 Page 000378
